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                                                                                             United States Bankruptcy Court
                                                                                                 Southern District of Texas

                                                                                                    ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                                  September 21, 2021
                           FOR THE SOUTHERN DISTRICT OF TEXAS                                    Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

                                                             §
     In re:                                                  §       Chapter 11
                                                             §
     AGILON ENERGY HOLDINGS II LLC, et al.                   §       Case No. 21-32156 (MI)
                                                             §
                          Debtors.1                          §       (Jointly Administered)
                                                             §

            FINAL ORDER (I) AUTHORIZING THE DEBTORS TO OBTAIN
           POSTPETITION FINANCING, (II) AUTHORIZING THE DEBTORS
        TO USE CASH COLLATERAL, (III) GRANTING LIENS AND PROVIDING
       SUPERPRIORITY ADMINISTRATIVE EXPENSE STATUS, (IV) GRANTING
      ADEQUATE PROTECTION TO THE PREPETITION SECURED PARTIES, (V)
     MODIFYING THE AUTOMATIC STAY, AND (VI) GRANTING RELATED RELIEF
                        (Related to Docket Nos. 177 and 190)

              The Court has considered the Emergency Motion for Entry of an Order (i) Authorizing

 Senior Secured Postpetition Financing Pursuant to 11 U.S.C. § 364, (ii) Authorizing Use of Cash

 Collateral Pursuant to 11 U.S.C. § 363, (iii) Granting Adequate Protection Pursuant to 11 U.S.C.

 §§ 361, 363, and 364, and (iv) Granting Related Relief (the “DIP Motion”)2 of Agilon Energy

 Holdings II, LLC (“Agilon”) and its subsidiaries, each as a debtor and debtor in possession

 (collectively, with Agilon, the “Debtors”) in the above-captioned chapter 11 cases (collectively,

 the “Cases”), seeking entry of an interim order (the “Interim DIP Order”) and a final order

 (this “Final DIP Order”) pursuant to sections 105, 361, 362, 363, 364(c)(l), 364(c)(2), 364(c)(3),



 1
     The debtors and debtors in possession in these Cases, along with the last four digits of their respective
     Employer Identification Numbers, are as follows: Agilon Energy Holdings II LLC (3389), Case No. 21-
     32156; Victoria Port Power LLC (4894), Case No. 21-32157; and Victoria City Power LLC (4169), Case
     No. 21-32158. The Debtors’ mailing address is: 480 Wildwood Forest Drive, Suite 475, Spring, Texas
     77380.
 2
     Capitalized terms used herein but not otherwise defined have the meanings ascribed to such terms in the
     Interim DIP Order, the DIP Motion, the DIP Credit Agreement, or the Prepetition Senior Secured NPA,
     each as defined herein, as applicable.


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 364(d), 364(e), 506, 507, and 552 of chapter 11 of title 11 of the United States Code (the

 “Bankruptcy Code”), Rules 2002, 4001, 6004, and 9014 of the Federal Rules of Bankruptcy

 Procedure (the “Bankruptcy Rules”), Rules 1075-1, 4001-1, 4002-1 and 9013-1 of the Bankruptcy

 Local Rules for the Southern District of Texas (the “Local Rules”), and the Procedures for

 Complex Cases in the Southern District of Texas (the “Complex Case Procedures”) inter alia:

          (i)      authorizing the Debtors to obtain senior secured postpetition financing on a
                   superpriority basis consisting of a senior secured superpriority credit facility in the
                   aggregate principal amount of up to $30,000,000.00 (the “DIP Facility”) consisting
                   of: (a) a new money multi-draw (x) term loan facility in the aggregate principal
                   amount of up to $6,000,000 on an interim basis (the “Interim DIP Term Loan”), a
                   portion of which was used to repay the Emergency DIP Facility in full, (y) term
                   loan facility in the aggregate principal amount of up to $15,000,000 minus the
                   principal amount of the Interim DIP Term Loan, on a final basis (the “Final DIP
                   Term Loans”, and together with the Interim DIP Term Loan, the “DIP Term
                   Loans”) and (b) roll-up loans to refinance on a one-to-one basis the Term Notes
                   and the Revolving Notes on a pro rata basis across the Prepetition Secured Parties’
                   holdings of the Senior Notes (as such terms are defined below), (x) upon entry of
                   the Interim DIP Order, the principal amount of the Interim DIP Term Loan on an
                   interim basis (the “Interim Roll-Up Loans”); and (y) upon entry of the Final DIP
                   Order, the principal amount of the Final DIP Term Loan on a final basis (the “Final
                   Roll-Up Loans” and together with the Interim Roll-Up Loans, the “Roll-Up Loans”;
                   and the DIP Term Loans, together with the Roll-Up Loans, collectively, the “DIP
                   Loans”), pursuant to the terms and conditions of that certain Senior Secured,
                   Superpriority Debtor-In-Possession Credit Agreement dated as of September 7,
                   2021 (as the same may be amended, restated, supplemented, waived or otherwise
                   modified from time to time, the “DIP Credit Agreement”), substantially in the form
                   attached hereto as Exhibit 1, by and among the Debtors, each as a “Borrower,” The
                   Prudential Insurance Company of America, as administrative agent under the DIP
                   Documents (as defined below, in such capacity, the “DIP Administrative Agent”),
                   Wilmington Trust, National Association, as collateral agent under the DIP
                   Documents (as defined below, in such capacity, the “DIP Collateral Agent” and,
                   together with the DIP Administrative Agent, the “DIP Agents”), and the lenders
                   party thereto (the “DIP Lenders” and, together with the DIP Agents, the “DIP
                   Secured Parties”);

          (ii)     authorizing the Debtors to execute and deliver the DIP Credit Agreement and any
                   other agreements, instruments, pledge agreements, guarantees, control agreements
                   and other loan documents and documents related thereto (including any security
                   agreements, mortgages, intellectual property security agreements, control
                   agreements, or notes) (as amended, restated, supplemented, waived, and/or
                   modified from time to time, and collectively, with the DIP Credit Agreement, the
                   “DIP Documents”) and to perform such other acts as may be necessary or desirable

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                   in connection with the DIP Documents;

          (iii)    granting the DIP Facility and all obligations owing thereunder and under, or secured
                   by, the DIP Documents to the DIP Secured Parties (collectively, including all
                   obligations described in the DIP Documents, the “DIP Obligations”) allowed
                   superpriority administrative expense claim status in each of the Cases and any
                   Successor Cases (as defined herein);

          (iv)     granting to the DIP Collateral Agent, for the benefit of the DIP Secured Parties
                   under the DIP Documents automatically perfected security interests in and liens on
                   all of the DIP Collateral (as defined herein), including, without limitation, all
                   property of the Debtors constituting “Cash Collateral” as defined in section 363(a)
                   of the Bankruptcy Code (“Cash Collateral”), which liens shall be subject to the
                   priorities set forth herein;

          (v)      authorizing and directing the Debtors to pay the principal, interest, fees, expenses
                   and other amounts payable under the DIP Documents as such become due and
                   payable, including, without limitation, letter of credit fees (including issuance and
                   other related charges), collateral agent’s fees, the reasonable fees and
                   disbursements of the DIP Lenders’ and the DIP Agents’ attorneys, advisors,
                   accountants and other consultants, all to the extent provided in, and in accordance
                   with, the DIP Documents;

          (vi)     authorizing the Debtors to use, on the terms described herein, the Prepetition
                   Collateral (as defined herein), including the Cash Collateral of the Prepetition
                   Secured Parties under the Prepetition Senior Secured Note Documents (each as
                   defined herein);

          (vii)    providing adequate protection to the Prepetition Secured Parties for any diminution
                   in value of their interests in the Prepetition Collateral, including Cash Collateral,
                   for any reason provided for under the Bankruptcy Code, including the imposition
                   of the automatic stay, the Debtors’ use, sale, or lease of the Prepetition Collateral,
                   including Cash Collateral, and the priming of their respective interests in the
                   Prepetition Collateral (including by the Carve Out) pursuant to the terms and
                   conditions set forth herein (“Diminution in Value”);

          (viii) vacating and modifying the automatic stay imposed by section 362 of the
                 Bankruptcy Code to the extent necessary to implement and effectuate the terms and
                 provisions of the DIP Documents and this Final DIP Order; and

          (ix)     deeming a portion of the Term Notes and Revolving Notes to be Roll-Up Loans
                   issued and outstanding under the DIP Documents and all obligations in connection
                   with such rolled-up Term Notes to constitute Obligations (as defined in the DIP
                   Documents) for all purposes thereof.

          The Court having considered the DIP Motion, the exhibits attached thereto, the Smith

 Declaration, the Second Smith Declaration, the DIP Documents, and the evidence submitted and
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 arguments made at the interim hearing held on September 2, 2021 (the “Interim Hearing”) and the

 final hearing held on September 21, 2021 (the “Final Hearing”); and the Court having entered the

 Interim Order (I) Authorizing the Debtors to Obtain Postpetition Financing, (II) Authorizing the

 Debtors to Use Cash Collateral, (III) Granting Liens and Providing Superpriority Administrative

 Expense Status, (IV) Granting Adequate Protection to the Prepetition Secured Parties,

 (V) Modifying the Automatic Stay, (VI) Scheduling a Final Hearing, and (VII) Granting Related

 Relief [ECF No. 190]; and notice of the Final Hearing having been given in accordance with

 Bankruptcy Rules 2002, 4001(b), (c) and (d), all applicable Local Rules, and the Interim DIP

 Order; and the Interim Hearing and Final Hearing having been held and concluded; and all

 objections, if any, to the relief requested in the DIP Motion having been withdrawn, resolved or

 overruled by the Court; and it appearing that approval of the relief requested in the DIP Motion is

 necessary for the Debtors and their estates, and otherwise is fair and reasonable and in the best

 interests of the Debtors, their estates, and all parties in interest, and is essential for the continued

 operation of the Debtors’ businesses and the maximization of the value of the Debtors’ assets; and

 it appearing that the Debtors’ entry into the DIP Credit Agreement is a sound and prudent exercise

 of the Debtors’ business judgment; and after due deliberation and consideration, and good and

 sufficient cause appearing therefor;

 BASED UPON THE RECORD ESTABLISHED AT THE INTERIM HEARING AND

 FINAL HEARING, THE COURT MAKES THE FOLLOWING FINDINGS OF FACT

 AND CONCLUSIONS OF LAW:3


 3
     The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of
     law pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule
     9014. To the extent that any of the following findings of fact constitute conclusions of law, they are
     adopted as such. To the extent any of the following conclusions of law constitute findings of fact, they
     are adopted as such.

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                   A.     Petition Date. On June 27, 2021 (the “Petition Date”), each of the Debtors

 filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code with the United States

 Bankruptcy Court for the Southern District of Texas (the “Court”).

                   B.     Debtors in Possession. The Debtors have continued in the management

 and operation of their businesses and properties as debtors in possession pursuant to sections 1107

 and 1108 of the Bankruptcy Code.

                   C.     Jurisdiction and Venue. This Court has jurisdiction over the Cases, the

 DIP Motion, and the parties and property affected hereby pursuant to 28 U.S.C. § 1334. Venue

 for the Cases and proceedings on the DIP Motion is proper before this Court pursuant to 28 U.S.C.

 §§ 1408 and 1409. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

                   D.     Committee Formation. On July 30, 2021, the United States Trustee for

 the Southern District of Texas (the “U.S. Trustee”) appointed an official committee of unsecured

 creditors in these Cases pursuant to section 1102 of the Bankruptcy Code (the “Committee”)

 [ECF No. 81].

                   E.     Notice. Notice of the DIP Motion and the Final Hearing have been provided

 in accordance with the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the Complex

 Case Procedures, and the Interim DIP Order.

                   F.     Debtors’ Stipulations. After consultation with their attorneys and financial

 advisors, and without prejudice to the rights of parties in interest as set forth in paragraph 44 herein,

 the Debtors admit, stipulate, acknowledge, and agree as follows (paragraphs F(i)through F(vii)

 below are referred to herein, collectively, as the “Debtors’ Stipulations”):

                   Prepetition Notes. Pursuant to that certain Senior Secured Note Purchase
                   Agreement dated as of February 23, 2018 (as amended, restated, supplemented, or
                   otherwise modified from time to time, the “Prepetition Senior Secured NPA,” and
                   collectively with the Financing Documents (as defined in the Prepetition Senior


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                   Secured NPA) and any other agreements and documents executed or delivered in
                   connection therewith, each as may be amended, restated, supplemented, waived or
                   otherwise modified from time to time, the “Prepetition Senior Secured Note
                   Documents”), among (a) Agilon Energy Holdings II, LLC (the “Issuer”), (b) the
                   guarantors party thereto (the “Prepetition Guarantors”), (c) Wilmington Trust,
                   National Association as the Collateral Agent under the Collateral Agency
                   Agreement (each as defined in the Prepetition Senior Secured NPA, in such
                   capacity, the “Prepetition Agent”), (d) Manufacturers and Traders Trust Company,
                   as the letter of credit issuing bank thereunder; and (e) the purchasers and
                   noteholders party thereto (collectively, the “Senior Secured Noteholders” and
                   together with the Prepetition Agent, the “Prepetition Secured Parties”), the
                   Prepetition Secured Parties provided for the issuance by the Borrower of Revolving
                   Notes and Term Notes (each as defined below) and other financial accommodations
                   to, and guaranteed letters of credit for the account of, the Prepetition Secured Parties
                   pursuant to the Prepetition Senior Secured Note Documents (the “Prepetition
                   Financing”).

                   Prepetition Obligations. The Prepetition Financing provided the Borrower with,
                   among other things, up to $73 million in aggregate principal amount of Notes
                   comprised of Senior Secured Term Notes in the initial aggregate principal amount
                   of $50,000,000 (as defined in the Prepetition Senior Secured Note Documents, the
                   “Term Notes”), Senior Secured Revolving Notes in the aggregate principal amount
                   of $23,000,000 (as defined in the Prepetition Senior Secured Documents, the
                   “Revolving Notes” and, together with the Term Notes, the “Senior Notes”). As of
                   the Petition Date, the aggregate principal amount outstanding on the Prepetition
                   Financing was not less than approximately $67,337,9754 (collectively, together
                   with accrued and unpaid interest, outstanding letters of credit, any reimbursement
                   obligations (contingent or otherwise) in respect of letters of credit, any fees,
                   expenses and disbursements (including, without limitation, attorneys’ fees,
                   accountants’ fees, auditor fees, appraisers’ fees and financial advisors’ fees, and
                   related expenses and disbursements), treasury, cash management, bank product and
                   derivative obligations, indemnification obligations, guarantee obligations, and
                   other charges, amounts and costs of whatever nature owing, whether or not
                   contingent, whenever arising, accrued, accruing, due, owing, or chargeable in
                   respect of any of the Issuer or the Prepetition Guarantors’ obligations pursuant to,
                   or secured by, the Prepetition Senior Secured Note Documents and all interest, fees,
                   prepayment premiums, costs and other charges allowable under section 506(b) of
                   the Bankruptcy Code, the “Prepetition Obligations”).

                   Prepetition Liens and Prepetition Collateral. As more fully set forth in the
                   Prepetition Senior Secured Note Documents, prior to the Petition Date, the Issuer
                   and the Prepetition Guarantors granted to the Prepetition Agent, for the benefit of

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     Such amount does not include all secured obligations under the Senior Notes, including, without
     limitation, costs, expenses, fees (including attorneys’ fees), indemnities, reimbursement obligations and
     other charges and obligations that may be due and payable under the Prepetition Senior Secured Note
     Documents.

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                   itself and the other Prepetition Secured Parties, a security interest in and continuing
                   lien (the “Prepetition Liens”) on substantially all of their assets and property (with
                   certain exceptions set out in the Prepetition Senior Secured Note Documents),
                   including a first priority security interest in and continuing lien on the Collateral
                   (as defined in the Prepetition Senior Secured Note Documents) and all proceeds,
                   products, accessions, rents, and profits thereof, in each case whether then owned or
                   existing or thereafter acquired or arising (collectively, the “Prepetition Collateral”).

                   Validity, Perfection, and Priority of Prepetition Liens and Prepetition Obligations.
                   The Debtors acknowledge and agree that as of the Petition Date (a) the Prepetition
                   Liens on the Prepetition Collateral were valid, binding, enforceable, non-avoidable,
                   and properly perfected and were granted to, or for the benefit of, the Prepetition
                   Secured Parties for fair consideration and reasonably equivalent value; (b) the
                   Prepetition Liens were senior in priority over any and all other liens on the
                   Prepetition Collateral, subject only to certain liens senior by operation of law
                   (solely to the extent such liens were valid, non-avoidable, and senior in priority to
                   the Prepetition Liens as of the Petition Date and properly perfected prior to the
                   Petition Date or perfected subsequent to the Petition Date as permitted by section
                   546(b) of the Bankruptcy Code) or otherwise permitted by the Prepetition Senior
                   Secured Note Documents (collectively, the “Permitted Prior Liens”), if any; (c) the
                   Prepetition Obligations constitute legal, valid, binding, and non-avoidable
                   obligations of the Debtors enforceable in accordance with the terms of the
                   applicable Prepetition Senior Secured Note Documents; (d) no offsets,
                   recoupments, challenges, objections, defenses, claims, or counterclaims of any kind
                   or nature to any of the Prepetition Liens or Prepetition Obligations exist, and no
                   portion of the Prepetition Liens or Prepetition Obligations is subject to any
                   challenge or defense including, without limitation, avoidance, disallowance,
                   disgorgement, recharacterization, or subordination (equitable or otherwise)
                   pursuant to the Bankruptcy Code or any other applicable law; (e) the Debtors and
                   their estates have no claims, objections, challenges, causes of action, and/or choses
                   in action, including, without limitation, avoidance claims under Chapter 5 of the
                   Bankruptcy Code or applicable state law equivalents or actions for recovery or
                   disgorgement, against any of the Prepetition Secured Parties or any of their
                   respective affiliates, agents, attorneys, advisors, professionals, officers, directors,
                   and employees arising out of, based upon or related to the Prepetition Financing;
                   and (f) the Debtors waive, discharge, and release any right to challenge any of the
                   Prepetition Obligations, the priority of the Debtors’ obligations thereunder, and the
                   validity, extent, and priority of the liens securing the Prepetition Obligations.

                   Release. The Debtors hereby stipulate and agree that they forever and irrevocably
                   release, discharge, and acquit the DIP Agents, the DIP Lenders, the Prepetition
                   Secured Parties, and each of their respective successors, assigns, affiliates,
                   subsidiaries, parents, officers, shareholders, directors, employees, attorneys and
                   agents, past, present and future, and their respective heirs, predecessors, successors
                   and assigns (collectively, the “Releasees”) of and from any and all claims,
                   controversies, disputes, liabilities, obligations, demands, damages, expenses
                   (including reasonable attorneys’ fees), debts, liens, actions and causes of action of

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                   any and every nature whatsoever relating to, as applicable, the Emergency DIP
                   Facility (as defined in the Emergency DIP Order), the Emergency DIP Order, the
                   DIP Facility, the DIP Documents, the Prepetition Financing, the Prepetition Senior
                   Secured Note Documents, and/or the transactions contemplated hereunder or
                   thereunder occurring prior to entry of this Final DIP Order, including (x) any so-
                   called “lender liability” or equitable subordination or recharacterization claims or
                   defenses, (y) any and all claims and causes of action arising under the Bankruptcy
                   Code, and (z) any and all claims and causes of action with respect to the validity,
                   priority, perfection or avoidability of the liens or claims of the DIP Collateral
                   Agent, the DIP Administrative Agent, the DIP Lenders, and the Prepetition Secured
                   Parties. The Debtors further waive and release any defense, right of counterclaim,
                   right of set-off or deduction to the payment of the Prepetition Obligations and the
                   DIP Obligations which the Debtors may now have or may claim to have against the
                   Releasees, arising out of, connected with or relating to any and all acts, omissions
                   or events occurring prior to this Court entering this Final DIP Order.

                   Default by the Debtors. The Debtors acknowledge and stipulate that Events of
                   Default have occurred under the Prepetition Senior Secured Note Documents as a
                   result of, among other things, the Cases and that the Debtors are in default of their
                   obligations under the Prepetition Senior Secured Note Documents. As of the
                   Petition Date, interest will be accruing on the Prepetition Obligations at the default
                   rate in accordance with the provisions of the Prepetition Senior Secured Note
                   Documents, subject to any limitations imposed by the Bankruptcy Code.

                   Cash Collateral. All of the Debtors’ cash, including any cash in deposit accounts
                   of the Debtors, wherever located, constitutes Cash Collateral of the Prepetition
                   Secured Parties.

                   G.     Permitted Prior Liens. Nothing herein shall constitute a finding or ruling

 by this Court that any alleged Permitted Prior Lien is valid, senior, enforceable, prior, perfected,

 or non-avoidable. Moreover, nothing shall prejudice the rights of any party-in-interest, including,

 but not limited to the Debtors, the DIP Secured Parties, the Prepetition Secured Parties, or the

 Committee, to challenge the validity, priority, enforceability, seniority, avoidability, perfection, or

 extent of any alleged Permitted Prior Lien and/or security interests.

                   H.     Continuation of Prepetition Liens. In light of the integrated nature of the

 DIP Facility, the DIP Documents, and the Prepetition Senior Secured Note Documents, the

 Prepetition Liens, and the DIP Liens that prime certain of the Prepetition Liens, are continuing

 liens, and the DIP Collateral is and will continue to be encumbered by such liens.

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                   I.   Findings Regarding Corporate Authority. Each Debtor has all requisite

 corporate power and authority to execute and deliver the DIP Documents to which it is a party and

 to perform its obligations thereunder.

                   J.   Findings Regarding Postpetition Financing

                                Request for Postpetition Financing. The Debtors seek authority on

 a final basis to (a) continue borrowing under the DIP Facility on the terms described herein and in

 the DIP Documents, and (b) to continue to use Cash Collateral on the terms described herein, to

 administer their Cases and fund their operations.

                                Priming of the Prepetition Liens. The priming of the Prepetition

 Liens on the Prepetition Collateral under section 364(d) of the Bankruptcy Code, as contemplated

 by the DIP Facility and as further described below, will enable the Debtors to obtain the DIP

 Facility and to continue to operate their businesses to the benefit of their estates and creditors. The

 Prepetition Agent, for the benefit of itself and the other Prepetition Secured Parties, is entitled to

 receive adequate protection as set forth in the Interim DIP Order and this Final DIP Order pursuant

 to sections 361, 363, and 364 of the Bankruptcy Code, for any Diminution in Value of each of the

 Prepetition Secured Parties’ respective interests in the Prepetition Collateral (including Cash

 Collateral).

                                Need for Postpetition Financing and Use of Cash Collateral. The

 Debtors have a continuing critical need to use Cash Collateral and to continue to obtain credit

 pursuant to the DIP Facility in order to, among other things, enable the orderly continuation of

 their operations and to administer and preserve the value of their estates. The ability of the Debtors

 to maintain business relationships with their vendors, contractors, suppliers, and customers, and

 otherwise finance their operations requires the availability of working capital from the DIP Facility



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 and the use of Cash Collateral, the absence of either of which would immediately and irreparably

 harm the Debtors, their estates, and parties in interest. The Debtors do not have sufficient available

 sources of working capital and financing to operate their businesses or maintain their properties in

 the ordinary course of business without the DIP Facility and authorized use of Cash Collateral.

                                No Credit Available on More Favorable Terms. The DIP Facility is

 the best source of debtor-in-possession financing available to the Debtors. Given their current

 financial condition, financing arrangements, and capital structure, the Debtors have been and

 continue to be unable to obtain financing from sources other than the DIP Lenders on terms more

 favorable than the DIP Facility. The Debtors are unable to obtain unsecured credit allowable under

 section 503(b)(1) of the Bankruptcy Code as an administrative expense. The Debtors have also

 been unable to obtain: (a) unsecured credit solely having priority over that of administrative

 expenses of the kind specified in sections 503(b), 507(a), and 507(b) of the Bankruptcy Code;

 (b) credit secured solely by a lien on property of the Debtors and their estates that is not otherwise

 subject to a lien; or (c) credit secured solely by a junior lien on property of the Debtors and their

 estates that is subject to a lien. Financing on a postpetition basis on better terms is not otherwise

 available without granting the DIP Agents, for the benefit of themselves and the other DIP Secured

 Parties: (1) perfected security interests in and liens on (each as provided herein) all of the Debtors’

 existing and after-acquired assets (other than any Excluded Assets under the DIP Documents) with

 the priorities set forth herein; (2) superpriority claims and liens; and (3) the other protections set

 forth in the Interim DIP Order and this Final DIP Order.

                                Use of Proceeds of the DIP Facility. As a condition to entry into

 the DIP Credit Agreement and other DIP Documents, the extension of credit under the DIP Facility

 and the authorization to use Cash Collateral, the DIP Secured Parties and the Prepetition Secured



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 Parties require, and the Debtors have agreed, that proceeds of the DIP Facility and the Cash

 Collateral shall be used, in each case in a manner consistent with the terms and conditions of this

 Final DIP Order, the DIP Credit Agreement and the other DIP Documents and in accordance with

 the budget (as the same may be modified from time to time consistent with the terms of this Final

 DIP Order and the DIP Documents and subject to such variances as permitted in this Final DIP

 Order and the DIP Credit Agreement, the “Budget”).5

                                   Application of Proceeds of Collateral. As a condition to entry into

 the DIP Credit Agreement, the continued extension of credit under the DIP Facility, and

 authorization to use Cash Collateral, the Debtors, the DIP Secured Parties, and the Prepetition

 Secured Parties have agreed that, as of the commencing on the date of the Interim Hearing, the

 Debtors shall apply the proceeds of DIP Collateral in accordance with this Final DIP Order and

 the Budget.

                                   Refinancing of Certain Prepetition Obligations. Consistent with the

 terms of the Interim DIP Order, concurrently with the Debtors’ incurrence of the Interim DIP Term

 Loan and the Interim Roll-Up Loans, the Debtors used the Interim Roll-Up Loans to refinance and

 discharge a portion of the Prepetition Obligations held by the Prepetition Secured Parties.

 Concurrently with the Debtors’ incurrence of the Final DIP Term Loans and the Final Roll-Up

 Loans, the Debtors shall use the Final Roll-Up Loans to refinance and discharge on a one-to-one

 basis the Prepetition Obligations held by the Prepetition Secured Parties.            Notwithstanding

 anything to the contrary in this Final DIP Order, all Roll-Up Loans are subject to Challenge (as

 defined below) of parties in interest to the extent set forth in paragraph 44 of this Final DIP Order.

                   K.      Adequate Protection. Until such time as the Prepetition Obligations are


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     A copy of the current Budget is attached to the Interim DIP Order as Exhibit 2.

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 Paid in Full,6 the Prepetition Agent, for the benefit of itself and the other Prepetition Secured

 Parties, is entitled to receive adequate protection solely to the extent of any Diminution in Value

 of its respective interests in the Prepetition Collateral as set forth in this Final DIP Order.

                   L.       Sections 506(c) and 552(b). In light of: (i) the DIP Secured Parties’

 agreement that their liens and superpriority claims shall be subject to the Carve Out; (ii) the

 Prepetition Secured Parties’ agreement that their liens shall be subject to the Carve Out and

 subordinate to the DIP Liens; and (iii) the payment of prepetition claims and/or expenses as set

 forth in the Budget and first day motions in accordance with and subject to the terms and conditions

 and entry of this Final DIP Order and the DIP Documents, (a) the Prepetition Secured Parties are

 each entitled to a waiver of any “equities of the case” exception under section 552(b) of the

 Bankruptcy Code, and (b) the DIP Secured Parties and the Prepetition Secured Parties are each

 entitled to a waiver of the provisions of section 506(c) of the Bankruptcy Code.

                   M.       Good Faith of the DIP Agents and DIP Lenders.

                                    Willingness to Provide Financing. The DIP Lenders have indicated

 a willingness to provide financing to the Debtors subject to: (a) entry of this Final DIP Order;




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     “Paid in Full” means the indefeasible repayment in full in cash of all obligations (including principal,
     interest, fees, prepayment premiums, expenses, indemnities, other than contingent indemnification
     obligations for which no claim has been asserted) under the applicable credit documents, the cash
     collateralization or repayment in full in cash of all treasury and cash management obligations, hedging
     obligations, and bank product obligations, and the cancelation, replacement, backing, or cash
     collateralization of letters of credit, in each case, in accordance with the terms of the applicable credit
     documents. No facility or loan shall be deemed to have been Paid in Full until such time as, with respect
     to the applicable facility, (a) the commitments to lend thereunder have been terminated, (b) with respect
     to the Challenge Deadline (i) the Challenge Deadline (as defined in paragraph 44 of this Final DIP Order)
     shall have occurred without the timely and proper commencement of a Challenge or (ii) if a Challenge is
     timely and properly asserted prior to the Challenge Deadline, upon the final, non-appealable disposition
     of such Challenge; and (c) with respect to the Prepetition Obligations and DIP Obligations, as applicable,
     the Prepetition Agent and other Prepetition Secured Parties, or DIP Lenders, as applicable, have received
     (i) a countersigned payoff letter in form and substance satisfactory to such party and (ii) releases in form
     and substance satisfactory to such party, each in its sole discretion.

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 (b) approval of the terms and conditions of the DIP Facility and the DIP Documents; (c)

 satisfaction of the closing conditions set forth in the DIP Documents; and (d) findings by this Court

 that the DIP Facility is essential to the Debtors’ estates, that the DIP Secured Parties are extending

 credit to the Debtors pursuant to the DIP Documents in good faith, and that the DIP Secured

 Parties’ claims, superpriority claims, security interests, and liens and other protections and releases

 granted pursuant to the Interim DIP Order, this Final DIP Order and the DIP Documents will have

 the protections provided by section 364(e) of the Bankruptcy Code.

                                Business Judgment and Good Faith Pursuant to Section 364(e) of

 the Bankruptcy Code. The terms and conditions of the DIP Facility and the DIP Documents, and

 the fees paid and to be paid thereunder, are fair, reasonable, and the best available to the Debtors

 under the circumstances, are ordinary and appropriate for secured financing to debtors in

 possession, reflect the Debtors’ exercise of prudent business judgment consistent with their

 fiduciary duties, and are supported by reasonably equivalent value and consideration. The terms

 and conditions of the DIP Facility and the use of Cash Collateral were negotiated in good faith and

 at arms’ length among the Debtors, the DIP Secured Parties, and the Prepetition Secured Parties,

 with the assistance and counsel of their respective advisors. Use of Cash Collateral and credit to

 be extended under the DIP Facility shall be deemed to have been allowed, advanced, made, or

 extended in good faith by the DIP Secured Parties and the Prepetition Secured Parties within the

 meaning of section 364(e) of the Bankruptcy Code

          Based upon the foregoing findings and conclusions, the DIP Motion, the Smith

 Declaration, the Second Smith Declaration, and the record before the Court with respect to the DIP

 Motion, and after due consideration and good and sufficient cause appearing therefor,

          IT IS HEREBY ORDERED that:



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                   1.   DIP Financing Approved. The DIP Motion is granted, the DIP Facility,

 including the Roll-Up Loans, is authorized and approved, and the use of Cash Collateral is

 authorized, in each case on a final basis, subject to the terms and conditions set forth in the DIP

 Documents and this Final DIP Order. Any objections to this Final DIP Order to the extent not

 withdrawn, waived, settled, or resolved are hereby denied and overruled.

                                   DIP Facility Authorization

                   2.   Authorization of the DIP Facility. The DIP Facility is hereby approved.

 The Debtors are expressly and immediately authorized and empowered to execute and deliver the

 DIP Documents and to incur and to perform the DIP Obligations in accordance with, and subject

 to, the terms of this Final DIP Order and the DIP Documents, and to deliver all instruments,

 certificates, agreements, and documents that may be required, necessary or advisable for the

 performance by the Debtors under the DIP Facility and the creation and perfection of the DIP Liens

 (as defined herein) described in and provided for by this Final DIP Order and the DIP Documents.

 The Debtors are hereby authorized and directed on a final basis to pay, in accordance with the

 Interim DIP Order, this Final DIP Order (including paragraph 35 herein) and the DIP Documents,

 the principal, interest, fees, payments, expenses, and other amounts described in the DIP

 Documents as such amounts become due and payable and without need to obtain further Court

 approval, including closing fees, administrative agent’s fees, the reasonable and documented fees

 and disbursements of the DIP Lenders’ and DIP Agents’ attorneys, advisors, accountants, and

 other consultants, in such cases, reimbursable under the DIP Documents, whether or not such fees

 arose before or after the Petition Date, and to take any other actions that may be necessary or

 appropriate, all to the extent provided in this Final DIP Order or the DIP Documents. All

 collections and proceeds, whether from ordinary course collections, asset sales, insurance


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 recoveries, condemnations, or otherwise, will be deposited and applied as required by this Final

 DIP Order and the DIP Documents. Upon execution and delivery, the DIP Documents shall

 represent valid and binding obligations of the Debtors, enforceable against each of the Debtors and

 their estates in accordance with their terms.

                   3.   Authorization to Borrow. From the entry of this Final DIP Order through

 and including the DIP Termination Date (as defined below), and subject to the terms, conditions,

 and limitations on availability (as applicable) set forth in the DIP Documents and this Final DIP

 Order, the Debtors are hereby authorized, on a final basis, to continue borrowing under the DIP

 Facility.

                   4.   DIP Obligations. The DIP Documents and this Final DIP Order shall

 constitute and evidence the validity and binding effect of the DIP Obligations, which shall be

 enforceable against the Debtors, their estates, and any successors thereto, including any trustee

 appointed in the Cases, or in any case under Chapter 7 of the Bankruptcy Code upon the conversion

 of any of the Cases, or in any other proceedings superseding or related to any of the foregoing

 (collectively, the “Successor Cases”). The DIP Obligations include all loans, letter of credit

 reimbursement obligations, and any other indebtedness or obligations, contingent or absolute,

 which may now or from time to time be owing by any of the Debtors to any of the DIP Secured

 Parties, in each case, under, or secured by, the DIP Documents, the Interim DIP Order, or this Final

 DIP Order, including all principal, accrued interest (at the rate set out in the DIP Facility), costs,

 fees, expenses and other amounts as provided in the DIP Documents. The Debtors shall be jointly

 and severally liable for the DIP Obligations, which shall be due and payable, without notice or

 demand, and the use of Cash Collateral shall automatically cease on the DIP Termination Date (as

 defined herein) in each case, except as provided in paragraph 30 herein. No obligation, payment,



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 transfer, or grant of collateral security hereunder or under the DIP Documents (including any DIP

 Obligation or DIP Liens (as defined below), and including in connection with any adequate

 protection provided to the Prepetition Secured Parties hereunder) shall be stayed, restrained,

 voidable, avoidable, or recoverable, under the Bankruptcy Code or under any applicable law

 (including under sections 502(d), 544, and 547 to 550 of the Bankruptcy Code or under any

 applicable state Uniform Voidable Transactions Act, Uniform Fraudulent Transfer Act, Uniform

 Fraudulent Conveyance Act, or similar statute or common law), or subject to any avoidance,

 reduction, setoff, recoupment, offset, recharacterization, subordination (whether equitable,

 contractual, or otherwise), counterclaim, cross-claim, defense, or any other challenge under the

 Bankruptcy Code or any applicable law or regulation by any person or entity.

                   5.   DIP Liens. In order to secure the DIP Obligations, subject to the Carve Out,

 pursuant to sections 361, 362, 364(c)(2), 364(c)(3), and 364(d) of the Bankruptcy Code, the DIP

 Collateral Agent, for the benefit of itself and the DIP Secured Parties, was granted (and is hereby

 granted on a final basis), continuing, valid, binding, enforceable, non-avoidable, and automatically

 and properly perfected postpetition security interests in and liens (collectively, the “DIP Liens”)

 on all real and personal property, whether now existing or hereafter arising and wherever located,

 tangible and intangible, of each of the Debtors (the “DIP Collateral”): (a) all cash, cash equivalents,

 deposit accounts, securities accounts, accounts, other receivables (including credit card

 receivables), chattel paper, contract rights, inventory (wherever located), instruments, documents,

 securities (whether or not marketable) and investment property (including, without limitation, all

 of the issued and outstanding capital stock or equivalents of each of its subsidiaries), hedge

 agreements, furniture, fixtures, equipment (including documents of title), goods, franchise rights,

 trade names, trademarks, servicemarks, copyrights, patents, license rights, intellectual property,



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 general intangibles (including, for the avoidance of doubt, payment intangibles), rights to the

 payment of money (including, without limitation, tax refunds and any other extraordinary

 payments), supporting obligations, guarantees, letter of credit rights, causes of action, and all

 substitutions, indemnification rights, all present and future intercompany debt, books and records

 related to the foregoing, accessions and proceeds of the foregoing, wherever located, including

 insurance or other proceeds; (b) all proceeds of leased real property; (c) the proceeds of actions

 brought under section 549 of the Bankruptcy Code to recover any postpetition transfer of DIP

 Collateral; (d) subject to the marshalling provisions of paragraph 47 hereof, any commercial tort

 claims, (e) subject to the marshalling provisions of paragraph 47 hereof, the proceeds of any

 avoidance actions brought against any insider (as defined in section 101(31) of the Bankruptcy

 Code) of the Debtors pursuant to Chapter 5 of the Bankruptcy Code or applicable state law

 equivalents; (f) subject to the marshalling provisions of paragraph 47 hereof, the proceeds of any

 avoidance actions against any non-insider, which action is not listed in the Debtors’ statements of

 financial affairs filed at ECF Nos. 99, 100, and 101; (g) proceeds of the Debtors’ rights under

 sections 506(c) (solely to the extent such rights result from the use of the DIP Facility or the DIP

 Collateral and are, therefore, enforceable against parties other than the DIP Agents, DIP Lenders

 or the Prepetition Secured Parties) and 550 of the Bankruptcy Code; and (h) all DIP Collateral that

 was not otherwise subject to valid, perfected, enforceable, and unavoidable liens on the Petition

 Date. The DIP Liens shall not attach to the avoidance actions against non-insiders listed in the

 Debtors’ statement of financial affairs filed at ECF Nos. 99. 100 and 101 (collectively, the

 “Scheduled Non-Insider Avoidance Actions”). Nothing in this Final DIP Order shall affect the

 rights of Utilities, as defined in the Final Order providing Adequate Assurance of Utility Payments

 [Docket No. 53] (the “Utilities Order”), pursuant to the Utilities Order, with respect to the



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 Adequate Assurance Deposit (as defined in the Utilities Order) being held in the Adequate

 Assurance Account (as defined in the Utilities Order).

                   6.   DIP Lien Priority. The DIP Liens are valid, automatically perfected,

 non-avoidable, senior in priority, and superior to any security, mortgage, collateral interest, lien,

 or claim to any of the DIP Collateral, except that the DIP Liens shall be subject to the Carve Out

 as set forth in this Final DIP Order and shall otherwise be junior only to Permitted Prior Liens, if

 any. Other than as set forth herein or in the DIP Documents, the DIP Liens shall not be made

 subject to or pari passu with any lien or security interest heretofore or hereinafter granted in the

 Cases or any Successor Cases and shall be valid and enforceable against any trustee appointed in

 the Cases or any Successor Cases, upon the conversion of any of the Cases to a case under Chapter

 7 of the Bankruptcy Code (or in any other Successor Case), and/or upon the dismissal of any of

 the Cases or Successor Cases. The DIP Liens shall not be subject to section 510, 549, or 550 of

 the Bankruptcy Code. No lien or interest avoided and preserved for the benefit of the estate

 pursuant to section 551 of the Bankruptcy Code shall be pari passu with or senior to the DIP Liens.

                   7.   DIP Superpriority Claims. The DIP Secured Parties were granted and are

 hereby granted on a final basis, pursuant to section 364(c)(1) of the Bankruptcy Code, an allowed

 superpriority administrative expense claim in each of the Cases and any Successor Cases

 (collectively, the “DIP Superpriority Claims”) for all DIP Obligations. The DIP Superpriority

 Claims shall have priority over any and all other obligations, liabilities and indebtedness of each

 Debtor of the kind specified in section 503(b) and 507(b) of the Bankruptcy Code, including, to

 the extent allowed under the Bankruptcy Code, any and all administrative expense claims and

 unsecured claims against the Debtors or their estates in any of the Cases and any Successor Cases,

 at any time existing or arising, of any kind or nature whatsoever, including, without limitation,



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 administrative expenses of the kinds specified in or ordered pursuant to sections 105, 328, 330,

 331, 364, 503(a), 503(b), 507(a) (other than 507(a)(1)), 507(b), 546(c), 726 (to the extent permitted

 by law), 1113, and 1114 of the Bankruptcy Code, and any other provision of the Bankruptcy Code,

 to the extent provided under section 364(c)(1) of the Bankruptcy Code, other than the Carve Out.

 No lien or interest avoided and preserved for the benefit of the estate pursuant to section 551 of

 the Bankruptcy Code shall be pari passu with or senior to the DIP Superpriority Claims. The DIP

 Superpriority Claims shall have priority, to the extent provided by section 507(b) of the

 Bankruptcy Code, over all administrative expense claims and unsecured claims against the Debtors

 or their estates, now existing or hereafter arising, of any kind or nature whatsoever, other than the

 Carve Out. Notwithstanding the foregoing, the DIP Superpriority Claims shall (i) to the extent

 applicable pursuant to this Final DIP Order, be subject to the marshalling provisions of paragraph

 47 hereof; and (ii) not extend to any Scheduled Non-Insider Avoidance Actions.

                   8.   No Obligation to Extend Credit. The DIP Secured Parties shall have no

 obligation to make any loan or advance, or to issue, amend, renew, or extend any letters of credit

 under the DIP Documents, unless all of the conditions precedent to the making of such extension

 of credit or the issuance, amendment, renewal, or extension of such letter of credit or bankers’

 acceptance be deemed issued under and subject to the DIP Documents and this Final DIP Order

 have been satisfied in full or waived by the DIP Secured Parties in accordance with the terms of

 the DIP Documents.

                   9.   Use of Proceeds of DIP Facility. From and after the Petition Date, the

 Debtors shall use advances of credit under the DIP Facility, in accordance with the Budget (subject

 to such variances as permitted in this Final DIP Order and the DIP Credit Agreement), only for the

 purposes specifically set forth in this Final DIP Order, the DIP Documents, and the Budget and in



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 compliance with the terms and conditions in this Final DIP Order and the DIP Documents.

                   10.   DIP Roll-Up Loans. Upon entry of this Final DIP Order, without any

 further action by the Debtors or any other party, and as a condition to the provision of liquidity

 under the DIP Facility, and concurrently with the Debtors’ incurrence of the Final DIP Term Loans

 and the Final Roll-Up Loans, the Debtors shall use the Final Roll-Up Loans to refinance and

 discharge on a one-to-one basis the Prepetition Obligations held by the Prepetition Secured Parties.

 Notwithstanding anything to the contrary in this Final DIP Order, all Roll-Up Loans are subject to

 Challenge of parties in interest to the extent set forth in paragraph 44 of this Final DIP Order.

                               Authorization to Use Cash Collateral


                   11.   Authorization to Use Cash Collateral. Subject to the terms and conditions

 of this Final DIP Order, the DIP Facility, and the DIP Documents and in accordance with the

 Budget (subject to such variances as permitted in this Final DIP Order and the DIP Documents),

 the Debtors are authorized on a final basis to continue using Cash Collateral until the DIP

 Termination Date (as defined herein); provided, however, that, upon the Termination Declaration

 Date, the Carve-Out shall be funded and available to satisfy Allowed Professional Fees (as defined

 in paragraph 39 of this Final DIP Order); provided, further, that during the Remedies Notice Period

 (as defined herein), the Debtors may use Cash Collateral (subject to the Budget) to satisfy expenses

 that are critical to keeping the Debtors’ business operating as approved by the DIP Lenders or

 approved by the Court. Nothing in this Final DIP Order shall authorize the disposition of any

 assets of the Debtors or their estates outside the ordinary course of business, or any Debtor’s use

 of any Cash Collateral or other proceeds resulting therefrom, except as permitted in this Final DIP

 Order, the DIP Facility, the DIP Documents, and in accordance with the Budget (subject to such




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 variances as permitted in this Final DIP Order and the DIP Documents).

                   12.   Prepetition Adequate Protection Liens. Pursuant to sections 361, 363(e),

 and 364(d) of the Bankruptcy Code, as adequate protection of the interests of the Prepetition

 Secured Parties in the Prepetition Collateral to the extent of any Diminution in Value of such

 interests in the Prepetition Collateral, the Debtors hereby grant to the Prepetition Agent, for the

 benefit of the Prepetition Secured Parties, continuing, valid, binding, enforceable, and perfected

 postpetition security interests in and liens (the “Adequate Protection Liens”) on the DIP Collateral.

 Notwithstanding the foregoing, the Adequate Protection Liens shall (i) to the extent applicable

 pursuant to this Final DIP Order, be subject to the marshalling provisions of paragraph 47 hereof;

 and (ii) not extend to any Scheduled Non-Insider Avoidance Actions.

                   13.   Priority of Adequate Protection Liens. The Adequate Protection Liens shall

 be subject to the Carve Out as set forth in this Final DIP Order and shall otherwise be junior only

 to: (i) the DIP Liens; and (ii) Permitted Prior Liens, if any. The Adequate Protection Liens shall

 be senior to all other security interests in, liens on, or claims against any of the DIP Collateral.

 Except as provided herein, the Adequate Protection Liens shall not be made subject to or pari

 passu with any lien or security interest heretofore or hereinafter in the Cases or any Successor

 Cases, and shall be valid and enforceable against any trustee appointed in any of the Cases or any

 Successor Cases, or upon the dismissal of any of the Cases or Successor Cases. The Adequate

 Protection Liens shall not be subordinated to or made pari passu with any lien, security interest or

 administrative claim under section 364 of the Bankruptcy Code or otherwise; provided, however,

 that the Debtors shall not create, incur or suffer to exist any postpetition liens or security interests

 other than: (i) those granted pursuant to this Final DIP Order; (ii) carriers’, mechanics’, operators’,

 warehousemen’s, repairmen’s or other similar ordinary course liens arising in the ordinary course



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 of business; (iii) pledges and deposits in connection with workers’ compensation, unemployment

 insurance and other social security legislation; and (iv) deposits to secure the payment of any

 postpetition statutory obligations and performance bonds. The Adequate Protection Liens shall

 not be subject to sections 510, 549, or 550 of the Bankruptcy Code. No lien or interest avoided

 and preserved for the benefit of the estate pursuant to section 551 of the Bankruptcy Code shall be

 pari passu with or senior to the Prepetition Liens or the Adequate Protection Liens. For the

 avoidance of doubt, notwithstanding anything contained in this Final DIP Order to the contrary,

 the Adequate Protection Liens and the Adequate Protection Superpriority Claims (as defined

 below) shall not prime, affect, impair, or limit (A) any ad valorem tax liens, (B) any properly

 perfected operators’ or mechanics’ liens or security interests securing any claim against any of the

 Debtors, or (C) any right of offset or recoupment as against any of the Debtors, in each case solely

 to the extent that such liens, security interests, or rights of offset or recoupment were valid, senior,

 non-avoidable, and had priority over the Prepetition Liens as of the Petition Date. The right of any

 party (including, for the avoidance of doubt, ProEnergy) to assert (or oppose) any such lien, right

 or interest is not impaired by this Final DIP Order and is expressly preserved.

                   14.   Adequate Protection Superpriority Claims. As further adequate protection

 of the interests of the Prepetition Secured Parties in the Prepetition Collateral against any

 Diminution in Value of such interests in the Prepetition Collateral, the Prepetition Secured Parties

 are hereby granted as and to the extent provided by section 507(b) of the Bankruptcy Code, an

 allowed superpriority administrative expense claim in each of the Cases and any Successor Cases

 (the “Adequate Protection Superpriority Claims”). Notwithstanding the foregoing, the Adequate

 Protection Superpriority Claims shall (i) to the extent applicable pursuant to this Final DIP Order,

 be subject to the marshalling provisions of paragraph 47 hereof; and (ii) not extend to any



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 Scheduled Non-Insider Avoidance Actions.

                   15.   Priority of the Adequate Protection Superpriority Claims. Except as set

 forth herein, the Adequate Protection Superpriority Claims shall have priority, to the extent

 provided by section 507(b) of the Bankruptcy Code, over all administrative expense claims and

 unsecured claims against the Debtors or their estates, now existing or hereafter arising, of any kind

 or nature whatsoever, including, without limitation, administrative expenses of the kinds specified

 in or ordered pursuant to sections 105, 328, 330, 331, 503(a), 503(b), 507(a) (other than 507(a)(1),

 506(c), 507(b), 546(c), 726 (to the extent permitted by law), 1113, and 1114 of the Bankruptcy

 Code; provided, however, the Adequate Protection Superpriority Claims shall be subject to the

 Carve Out and shall otherwise have priority in the following order: (a) the DIP Superpriority

 Claim, and (b) the Adequate Protection Superpriority Claims.

                   16.   Adequate Protection Fees and Expenses and Protections for Prepetition

 Secured Parties. As further adequate protection (the “Adequate Protection Fees and Expenses”),

 the Debtors are authorized and directed to provide adequate protection to the Prepetition Secured

 Parties in the form of payment in cash (and as to fees and expenses, without the need for the filing

 of a formal fee application) immediately upon entry of this Final DIP Order, payment of the

 reasonable and documented fees, out-of-pocket expenses, and disbursements (including the

 reasonable and documented fees, out-of-pocket expenses, and disbursements of counsel, financial

 advisors, auditors, third-party consultants, and other vendors) incurred by the Prepetition Secured

 Parties (a) arising prior to the Petition Date and reimbursable under the Prepetition Senior Secured

 Note Documents including reasonable and documented fees and expenses of (1) Morgan, Lewis

 & Bockius LLP, (2) Gray Reed & McGraw LLP, and (3) FTI Consulting, Inc. (the “Prepetition

 Senior Secured Noteholder Advisors”); and counsel to the Prepetition Agent, Ballard Spahr LLP



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 (together with the Prepetition Senior Secured Noteholder Advisors, the “Prepetition Secured Party

 Advisors”), and (b) in accordance with the procedures set forth in paragraph 35 hereof, arising

 subsequent to the Petition Date and reimbursable under the Prepetition Senior Secured Note

 Documents, including reasonable and documented fees and expenses of the Prepetition Secured

 Party Advisors.

                   17.   For the avoidance of doubt, the Debtors shall (a) use commercially

 reasonable efforts to preserve the value of all of their assets, (b) comply with all applicable laws

 and regulations in the operation of their businesses, and (c) carry and maintain, at their own

 expense (through the use of cash collateral and the proceeds of the DIP Facility), valid and

 collectible insurance covering substantially all of their insurable assets.

                   18.   Adequate Protection Reservation. Except as set forth in paragraphs 12 and

 14 of this Final DIP Order, nothing herein shall impair or modify the application of section 507(b)

 of the Bankruptcy Code in the event that the adequate protection provided hereunder to the

 Prepetition Secured Parties is insufficient to compensate for any Diminution in Value of their

 respective interests in the Prepetition Collateral. The receipt by the Prepetition Secured Parties of

 the adequate protection provided herein shall not be deemed an admission that the interests of the

 Prepetition Secured Parties are adequately protected. Further, this Final DIP Order shall not

 prejudice or limit the rights of the Prepetition Secured Parties to seek additional relief with respect

 to the use of Cash Collateral or for additional adequate protection, and all parties in interests’ rights

 are reserved with respect thereto. The Committee reserves all rights to argue that the payment of

 amounts set forth in the Budget does not constitute a basis for Diminution in Value.

                                     Provisions Common to
                             DIP Financing and Use of Cash Collateral

                   19.   Amendment of the DIP Documents. The DIP Documents may from time to


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 time be amended, modified, or supplemented by the parties thereto without further order of the

 Court if the amendment, modification, or supplement is (a) immaterial or non-adverse to the

 Debtors and their estates and (b) in accordance with the DIP Documents, with a copy of any such

 amendment, modification, or supplement to be provided promptly by the Debtors to the

 Committee. In the case of a material amendment, modification, waiver, or supplement to the DIP

 Documents that is adverse to the Debtors, their estates or stakeholders, the Debtors shall provide

 notice (which may be provided through electronic mail or facsimile) to counsel to the Committee

 and the U.S. Trustee at least five (5) business days prior to the proposed effectiveness of such

 amendment, modification, or supplement; provided, that executed waivers need only be provided

 to such parties substantially concurrently with the effectiveness thereof; provided, further,

 however, any such material or adverse amendment, modification, or supplement shall be filed with

 the Court, and waiver of compliance with any covenant or extension of the period for compliance

 shall not be deemed to be adverse to the Debtors or their estates.

                   20.   Budget Maintenance. The use of borrowings under the DIP Facility and the

 use of Cash Collateral shall be in accordance with the Budget, subject in all respects to the

 variances set forth in the DIP Credit Agreement. The Budget shall depict all line items required

 under the DIP Credit Agreement, and such Budget shall be approved by, and in form and substance

 satisfactory to the DIP Lenders, and the Prepetition Secured Parties, each in their sole discretion

 (it being acknowledged and agreed that the Budget attached hereto has been approved by the DIP

 Lenders and the Prepetition Secured Parties) and as otherwise required in accordance with the DIP

 Documents. Other than as expressly provided in the DIP Documents, the Debtors shall not be

 permitted to update the Budget other than once in the sixth week following the entry of this Final

 DIP Order. The Budget shall be transmitted to the advisors to the Lender Advisors (as defined



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 below). Each such updated, modified, or supplemented budget shall be approved in writing

 (including by email) by, and shall be in form and substance satisfactory to, the DIP Lenders and

 the Prepetition Secured Parties (each in their sole discretion), and no such updated, modified, or

 supplemented budget shall be effective until so approved, and once so approved shall be deemed

 the Budget; provided, however, that in the event the parties cannot agree as to an updated, modified

 or supplemented budget within three (3) business days of such proposed updated, modified or

 supplemented budget’s delivery to the Lender Advisors, such disagreement shall constitute an

 immediate DIP Event of Default (as defined below) once the period covered by the prior approved

 Budget has terminated, unless a new Budget has been approved by the end of such period, (and at

 all times thereafter such then-current approved Budget shall remain in effect unless and until a

 new Budget is approved by the DIP Lenders and the Prepetition Secured Parties). Any updated

 Budget shall be promptly delivered to counsel and financial advisors to the Committee. No

 revisions shall be made to the Budget with respect to the fees and expenses of the Committee’s

 professionals absent express written consent of Committee’s counsel.

                   21.   Budget Compliance: Obligations of the Debtors to the DIP Secured Parties.

 The Debtors shall at all times comply with the Budget, subject to the variances set forth in the DIP

 Credit Agreement. The Debtors shall provide all reports and other information, including any

 Variance Reports (as defined in the DIP Credit Agreement) as required in the DIP Documents, and

 shall concurrently deliver such reporting to counsel and financial advisors for the Committee. The

 Debtors’ failure to comply with the Budget (including the variances set forth in the DIP Credit

 Agreement) or to provide the reports and other information required in the DIP Documents shall

 constitute a DIP Event of Default (as defined herein) following the expiration of any applicable

 cure period set forth in the applicable DIP Document unless waived in accordance with the terms



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 of the DIP Documents.

                   22.   Modification of Automatic Stay.       The automatic stay imposed under

 section 362(a)(2) of the Bankruptcy Code is hereby modified as necessary to effectuate all of the

 terms and provisions of this Final DIP Order, including, without limitation, to: (a) permit the

 Debtors to grant the DIP Liens, Adequate Protection Liens, DIP Superpriority Claims, and

 Adequate Protection Superpriority Claims; (b) permit the Debtors to perform such acts as the DIP

 Agents, DIP Lenders, or Prepetition Secured Parties, as applicable, may reasonably request to

 assure the perfection and priority of the liens granted herein; (c) permit the Debtors to incur all

 liabilities and obligations to the DIP Secured Parties, and the Prepetition Secured Parties under the

 DIP Documents, the DIP Facility, and this Final DIP Order, as applicable; and (d) authorize the

 Debtors to pay, and the DIP Secured Parties and the Prepetition Secured Parties to retain and apply,

 payments made in accordance with the terms of this Final DIP Order.

                   23.   Perfection of DIP Liens and Adequate Protection Liens. This Final DIP

 Order shall be sufficient and conclusive evidence of the creation, validity, perfection, and priority

 of all liens granted herein, including the DIP Liens and the Adequate Protection Liens, without the

 necessity of filing or recording any financing statement, mortgage, notice, or other instrument or

 document which may otherwise be required under the law or regulation of any jurisdiction or the

 taking of any other action (including, for the avoidance of doubt, entering into any deposit account

 control agreement or mortgage) to validate or perfect (in accordance with applicable non-

 bankruptcy law) the DIP Liens and the Adequate Protection Liens, or to evidence or entitle the

 DIP Secured Parties and the Prepetition Secured Parties to the priorities granted herein.

 Notwithstanding the foregoing, each of the DIP Collateral Agent and the Prepetition Agent, as

 applicable, is authorized to file, in the applicable registries of deeds and other appropriate public



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 records, as it in its sole discretion deems necessary or advisable, such financing statements,

 security agreements, mortgages, leasehold mortgages, notices of liens, and other similar

 documents to perfect in accordance with applicable non-bankruptcy law or to otherwise evidence

 the DIP Liens and the Adequate Protection Liens, and all such financing statements, mortgages,

 leasehold mortgages, notices, and other documents shall be deemed to have been filed or recorded

 as of the Petition Date; provided, however, that no such filing or recordation shall be necessary or

 required in order to create or perfect the DIP Liens or the Adequate Protection Liens. The Debtors

 are authorized and directed to execute and deliver promptly upon demand to the DIP Collateral

 Agent and the Prepetition Agent, as applicable, all such financing statements, deposit account

 control agreements, mortgages, leasehold mortgages, notices, and other documents and/or

 applicable amendments as the DIP Collateral Agent or the Prepetition Agent may reasonably

 request. Each of the DIP Collateral Agent and the Prepetition Agent may file a copy of this Final

 DIP Order as a financing statement with any filing or recording office or with any registry of deeds

 or similar office, in addition to or in lieu of such financing statements, notices of lien, or similar

 instrument. To the extent that the Prepetition Agent is the secured party under any security

 agreement, mortgage, leasehold mortgage, landlord waiver, credit card processor notices or

 agreements, financing statement, account control agreements, or any other Prepetition Senior

 Secured Note Documents or is listed as loss payee or additional insured under any of the Debtors’

 insurance policies, the DIP Agent shall also be deemed to be the secured party under such

 documents or to be the loss payee or additional insured, as applicable. The Prepetition Agent shall

 serve as agent for the DIP Collateral Agent for purposes of perfecting the DIP Collateral Agent’s

 liens on all DIP Collateral that, without giving effect to the Bankruptcy Code and this Final DIP

 Order, is of a type such that perfection of a lien therein may be accomplished only by possession



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 or control by a secured party.

                   24.   Application of Proceeds of Collateral. As a condition to the entry of the

 DIP Documents, the extension of credit under the DIP Facility, and the authorization to use Cash

 Collateral, from the date of the Interim Hearing, the Debtors shall apply all net proceeds of

 DIP Collateral, including whether sold in the ordinary course or otherwise, as provided in the DIP

 Documents (without a reduction in commitments thereunder); provided, however, that the net

 proceeds from the sale of any DIP Collateral that is subject to one or more Permitted Prior Liens

 shall be paid first to the holders of such Permitted Prior Liens.

                   25.   Protections of Rights of the Prepetition Secured Parties.

                         (a)      Without the prior written consent of each of the DIP Secured Parties

 and the Prepetition Secured Parties, unless all DIP Obligations and Prepetition Obligations

 (excluding contingent indemnification obligations for which no claim has been asserted) have

 been, or contemporaneously will be, Paid in Full and the lending commitments under the DIP

 Facility have terminated, in any of these Cases, any Successor Cases, the Debtors shall neither

 seek entry of, nor support any motion or application seeking entry of, and otherwise shall object

 to any motion or application seeking entry of, any order (including any order confirming any plan

 of reorganization or liquidation) that authorizes any of the following: (i) the obtaining of credit or

 the incurring of indebtedness that is secured by a security, mortgage, or collateral interest or other

 lien on all or any portion of the DIP Collateral or Prepetition Collateral and/or that is entitled to

 administrative priority status, in each case that is superior to or pari passu with the DIP Liens, the

 DIP Superpriority Claims, the Prepetition Liens, the Adequate Protection Liens, and/or the

 Adequate Protection Superpriority Claims except as expressly set forth in this Final DIP Order or

 the DIP Documents; (ii) the use of Cash Collateral for any purpose other than as permitted in the



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 DIP Documents and this Final DIP Order; or (iii) any modification of any of the DIP Secured

 Parties’ or the Prepetition Secured Parties’ rights under this Final DIP Order, the DIP Documents

 or the Prepetition Senior Secured Note Documents with respect any DIP Obligations or Prepetition

 Obligations. Nothing in this paragraph shall prohibit the Committee from filing a motion seeking

 entry of a Court order authorizing the use of Cash Collateral. It shall be an Event of Default under

 the DIP Documents under this Final DIP Order if, in any of these Cases or any Successor Cases,

 the Debtors take or fail to take any of the actions contemplated with respect to provisions (i)

 through (iii) of the previous sentence or if any order is entered granting any of the relief enumerated

 in provisions (i) through (iii) of the previous sentence.

                         (b)    No Debtor shall object to any DIP Secured Parties, or any

 Prepetition Secured Parties (subject to the rights preserved in paragraph 44), credit bidding up to

 the full amount of the applicable outstanding DIP Obligations and Prepetition Obligations, in each

 case including any accrued interest, fees, and expenses, in any sale of any DIP Collateral or

 Prepetition Collateral, as applicable, whether such sale is effectuated through sections 363 or 1129

 of the Bankruptcy Code, by a Chapter 7 trustee under section 725 of the Bankruptcy Code, or

 otherwise.

                   26.   Credit Bidding. In connection with any sale process authorized by the

 Court, (a) the DIP Secured Parties (or any such party’s designee), and (b) subject to the rights

 preserved in paragraph 44, the Prepetition Secured Parties (or any such party’s designee) may

 credit bid, consistent with the applicable DIP Documents and/or Prepetition Senior Secured Note

 Documents, some or all of their claims for their respective priority collateral (each a “Credit Bid”)

 to the extent permitted by section 363(k) of the Bankruptcy Code. Each of the DIP Secured Parties

 (or any such party’s designee) and, subject to the rights preserved in paragraph 44, the Prepetition



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 Secured Parties (or any such party’s designee) shall each be considered a “Qualified Bidder” with

 respect to its respective rights to acquire all or any of the pledged assets by Credit Bid.

                   27.   Proceeds of Subsequent Financing.        If the Debtors, any trustee, any

 examiner with expanded powers, or any responsible officer subsequently appointed in these Cases

 or any Successor Cases, shall obtain credit or incur debt pursuant to sections 364(b), 364(c), or

 364(d) of the Bankruptcy Code or in violation of the DIP Documents at any time prior to the DIP

 Obligations and Prepetition Obligations being Paid in Full, and the termination of the DIP Secured

 Parties’ obligation to extend credit under the DIP Facility, including subsequent to the

 confirmation of any plan with respect to any or all of the Debtors and the Debtors’ estates, and

 such facilities are secured by any DIP Collateral, then all the cash proceeds derived from such

 credit or debt shall immediately be turned over to the DIP Secured Parties to be applied in

 accordance with this Final DIP Order and the DIP Documents.

                   28.   Cash Collection. From and after the date of the entry of the Interim DIP

 Order, all collections and proceeds of any DIP Collateral or Prepetition Collateral and all Cash

 Collateral that shall at any time come into the possession, custody, or control of any Debtor, or to

 which any Debtor is now or shall become entitled at any time, shall, to the extent required by the

 DIP Documents, be promptly deposited in the account(s) designated in the DIP Documents (or in

 such other accounts as are designated by the DIP Lenders from time to time), which accounts

 (except as otherwise set forth in the applicable DIP Documents) shall be subject to the sole

 dominion and control of the DIP Collateral Agent in accordance with the applicable DIP

 Documents (and, for the avoidance of doubt, the DIP Collateral Agent shall be authorized to issue

 notices of exclusive control or similar notices under existing control agreements). The Debtors

 shall maintain no accounts except those specifically authorized by the DIP Lenders.



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                   29.   Disposition of DIP Collateral. The Debtors shall not sell, transfer, lease,

 encumber, or otherwise dispose of any portion of the DIP Collateral or the Prepetition Collateral

 other than in the ordinary course of business, without the prior written consent of the DIP Lenders

 and the Prepetition Secured Parties unless the DIP Obligations and the Prepetition Obligations will

 be Paid in Full from the proceeds of such transaction (and no such consent shall be implied, from

 any other action, inaction or acquiescence by the DIP Lenders, the Prepetition Secured Parties, or

 from any order of this Court), except as expressly provided for in the DIP Documents or otherwise

 ordered by the Court.

                   30.   DIP Maturity Date. On the DIP Maturity Date: (a) all DIP Obligations shall

 be immediately due and payable, all commitments to extend credit under the DIP Facility will

 terminate, other than as may be required in paragraph 39 with respect to the Carve Out, (b) any

 treasury and cash management, hedging obligations and bank product obligations constituting

 Obligations (as defined in the DIP Credit Agreement) shall be cash collateralized, and such cash

 collateral shall not be subject to any right of offset or recoupment but shall be subject to the Carve

 Out; (c) all authority to use DIP Collateral shall cease, provided, however, that upon the DIP

 Maturity Date, the Carve Out shall be funded and available to satisfy Allowed Professional Fees

 (as defined in paragraph 39 of this Final DIP Order) and (d) upon the expiration of the DIP

 Remedies Notice Period, the applicable DIP Agent, acting at the direction of the DIP Lenders,

 shall be entitled to otherwise exercise the rights and remedies under the DIP Documents in

 accordance with this Final DIP Order (including paragraph 32). For the purposes of this Final DIP

 Order, the “DIP Maturity Date” shall mean the Maturity Date (as defined in the DIP Credit

 Agreement).

                   31.   DIP Events of Default. The occurrence of any of the following events,



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 unless waived by the DIP Lenders in advance, in writing, and in accordance with the terms of the

 DIP Documents, shall constitute an event of default (collectively, the “DIP Events of Default”):

 (a) the failure of the Debtors to perform, in any respect, any of the terms, provisions, conditions,

 covenants, or obligations under this Final DIP Order (regardless of whether such term, provision,

 condition, covenant or obligation expressly provides that such failure constitutes a DIP Event of

 Default); or (b) the occurrence of a “DIP Event of Default” under this Final DIP Order or an “Event

 of Default” under the DIP Credit Agreement.

                   32.   Rights and Remedies Upon DIP Event of Default. Immediately upon the

 occurrence and during the continuation of a DIP Event of Default, notwithstanding the provisions

 of section 362 of the Bankruptcy Code, without any application, motion, or notice to, hearing

 before, or order from the Court, but subject to the terms of this Final DIP Order (and the DIP

 Remedies Notice Period), the applicable DIP Agent, acting at the direction of the DIP Lenders, or

 the DIP Lenders, as applicable, may declare (any such declaration shall, upon delivery by

 electronic mail (or other electronic means) to counsel to the Debtors, counsel to the Committee,

 and the U.S. Trustee, be referred to herein as a “DIP Termination Declaration”) (a) all DIP

 Obligations owing under the DIP Documents to be immediately due and payable, (b) the

 termination, reduction, or restriction of any further commitment to extend credit to the Debtors to

 the extent any such commitment remains under the DIP Facility, (c) the termination of the DIP

 Facility and the DIP Documents as to any future liability or obligation of the DIP Secured Parties,

 but without affecting any of the DIP Liens or the DIP Obligations, (d) a termination, reduction, or

 restriction on the ability of the Debtors to use Cash Collateral, and (e) the delivery of the Carve

 Out Trigger Notice (as defined herein) to the Debtors (as applicable) has occurred, (the date which

 is the earliest to occur of the Maturity Date and any date a DIP Termination Declaration or Carve



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 Out Trigger Notice is delivered to the Debtors in accordance with this Final DIP Order shall be

 referred to herein as the “DIP Termination Date”); provided that prior to the exercise of any right

 against the DIP Collateral, the applicable DIP Agent, acting at the direction of the DIP Lenders,

 or the DIP Lenders, as applicable, shall be required to file a motion with the Court using a CM/ECF

 emergency code seeking emergency relief from the automatic stay and set a hearing (the “Stay

 Relief Motion”) on at least five (5) business days’ written notice to counsel to the Debtors, counsel

 to the Committee, and the U.S. Trustee of the DIP Secured Parties’ intent to exercise their rights

 and remedies (the “DIP Remedies Notice Period”) and, during the DIP Remedies Notice Period

 and at the hearing on the Stay Relief Motion, the Debtors, and/or the Committee may contest the

 relief requested in the Stay Relief Motion; provided, that the burden shall be on any party (other

 than the Committee, as to whom the burden will be in accordance with applicable law) opposing

 the exercise of such remedies and/or the Stay Relief Motion.

                   33.   Upon the Court’s ruling with respect to the Stay Relief Motion, the Court

 may fashion an appropriate remedy including a determination that a DIP Event of Default

 occurred, including that the DIP Collateral Agent, acting at the direction of the DIP Lenders, shall

 be entitled to exercise all rights and remedies with respect to the DIP Collateral provided for in

 this Final DIP Order, including the right to foreclose on, or otherwise exercise its rights with

 respect to all or any portion of the DIP Collateral, as permitted by the Court. In the event that no

 objections to the Stay Relief Motion are filed by any of the Debtors, the Committee or any party

 in interest with requisite standing within the DIP Remedies Notice Period and upon the filing of a

 certificate of no objection by the DIP Agents or DIP Lenders, then the DIP Termination Date shall

 be deemed to have occurred for all purposes and the automatic stay will automatically be modified

 such that: (a) the DIP Secured Parties shall be entitled to exercise their rights and remedies in



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 accordance with the DIP Documents and this Final DIP Order to satisfy the DIP Obligations, DIP

 Superpriority Claim, and DIP Liens, subject to the Carve Out (to the extent applicable) and

 Permitted Prior Liens, and (b) the Prepetition Secured Parties shall be entitled to exercise their

 rights and remedies in accordance with the Prepetition Senior Secured Notes Documents and this

 Final DIP Order to satisfy the Prepetition Obligations and Adequate Protection Liens, subject to

 the Carve Out (to the extent applicable) and Permitted Prior Liens. Subject to the terms and

 conditions of this Final DIP Order, and in accordance with the Budget, the Debtors are authorized

 to use Cash Collateral until the DIP Termination Date; provided, however, that during the DIP

 Remedies Notice Period, the Debtors may use Cash Collateral solely in accordance with paragraph

 11 hereof. Notwithstanding the foregoing, neither any DIP Agent nor any DIP Lender will exercise

 remedies with respect to the DIP Collateral on less than five (5) days’ written notice to the Debtors,

 the Committee, and the U.S. Trustee.

                   34.   Good Faith Under Section 364(e) of the Bankruptcy Code; No Modification

 or Stay of this Final DIP Order. The DIP Secured Parties and Prepetition Secured Parties have

 acted at arms’ length in good faith in connection with this Final DIP Order and are entitled to, and

 may rely upon, the protections granted herein and by section 364(e) of the Bankruptcy Code.

                   35.   DIP Fees, and Other Expenses. The Debtors are authorized and directed to

 pay all reasonable and documented prepetition and postpetition fees and out of pocket expenses of

 the DIP Agents and DIP Lenders in connection with the DIP Facility, including reasonable and

 documented attorneys’ fees, monitoring and appraisal fees, financial advisory fees, fees and

 expenses of other consultants, and indemnification and reimbursement of reasonable and

 documented fees and expenses of (1) Morgan, Lewis & Bockius LLP, (2) Gray Reed & McGraw

 LLP, (3) FTI Consulting, Inc., and (4) and Ballard Spahr LLP (together with the Prepetition



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 Secured Parties Advisors, the “Lender Advisors”), subject to the review procedures set forth in

 this paragraph 35. With respect to postpetition fees or expenses payable herein, invoices shall be

 in summary format with reasonably sufficient detail such that the nature and extent of the services

 can be evaluated (and shall not be required to contain specific time entries and which may be

 redacted or modified to the extent necessary to delete any information subject to the attorney-client

 privilege, any information constituting attorney work product, or any other confidential

 information, and the provision of such invoices shall not constitute any waiver of the

 attorney-client privilege or of any benefits of the attorney work product doctrine), and shall be

 provided to counsel to the Debtors, the Committee, and the U.S. Trustee (the “Fee Notice Parties”).

 If no objection to payment of the requested fees and expenses is made in writing by any of the

 Fee Notice Parties within ten (10) business days after delivery of such invoices (the “Fee Objection

 Period”), then, without further order of, or application to, the Court or notice to any other party,

 such fees and expenses shall be promptly paid by the Debtors and, in any case, within ten (10)

 business days after expiration of the Fee Objection Period. If an objection is made by any of the

 Fee Notice Parties within the Fee Objection Period to payment of the requested fees and expenses,

 then only the disputed portion of such fees and expenses shall not be paid until the objection is

 resolved by the applicable parties in good faith or by order of the Court, and the undisputed portion

 shall be promptly paid by the Debtors. Payments of any amounts set forth in this paragraph 35

 shall not be subject to recharacterization, subordination, or disgorgement, subject to the rights

 preserved in paragraph 45 and unless otherwise expressly provided herein.

                   36.   Indemnification.   The Debtors shall indemnify and hold harmless the

 DIP Secured Parties in accordance with the terms and conditions of the DIP Documents.

                   37.   Proofs of Claim. Notwithstanding any order entered by this Court in



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 relation to the establishment of a bar date in any of the Cases or any Successor Cases to the

 contrary, the DIP Agents, the DIP Lenders, the Prepetition Agent, and the Prepetition Secured

 Parties will not be required to file proofs of claim in any of the Cases or Successor Cases for any

 claims arising under the DIP Documents, including under the Emergency DIP Facility, or the

 Prepetition Senior Secured Note Documents.             The Debtors’ stipulations, admissions, and

 acknowledgments and the provisions of this Final DIP Order shall be deemed to constitute a timely

 filed proof of claim for the DIP Secured Parties and the Prepetition Secured Parties with regard to

 all claims arising under the DIP Documents, including the Emergency DIP Facility, or the

 Prepetition Senior Secured Note Documents, as the case may be. Notwithstanding the foregoing,

 each of the Prepetition Secured Parties is authorized, in its sole discretion, but not required, to file

 (and amend and/or supplement, as it sees fit) a proof of claim and/or aggregate or master proofs of

 claim in each of the Cases or Successor Cases for any claim described herein (with any such

 aggregate or master proof of claim filed in any of the Cases deemed to be filed in all Cases of each

 of the Debtors and asserted against all of the applicable Debtors). Any proof of claim filed by any

 Prepetition Secured Party shall be deemed to be in addition to and not in lieu of any other proof of

 claim that may be filed by any of the Prepetition Secured Parties. Any order entered by the Court

 in relation to the establishment of a bar date in any of the Cases or Successor Cases shall not apply

 to any claim of the DIP Secured Parties or the Prepetition Secured Parties. The provisions set forth

 in this paragraph are intended solely for the purpose of administrative convenience and shall not

 affect the substantive rights of any party-in-interest or their respective successors-in-interest.

                   38.   Rights of Access and Information. Without limiting the rights of access and

 information afforded the DIP Secured Parties (under the DIP Documents) or the Prepetition

 Secured Parties (under the Prepetition Senior Secured Note Documents), the Debtors shall be, and



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 hereby are, required to afford representatives, agents and/or employees of the DIP Secured Parties

 and representatives, agents, and/or employees of the Prepetition Secured Parties reasonable access

 to the Debtors’ premises and their books and records in accordance with the DIP Documents and

 Prepetition Senior Secured Note Documents, as applicable, and shall reasonably cooperate, consult

 with, and provide to such persons all such information as may be reasonably requested. In

 addition, the Debtors authorize their financial advisors, investment bankers and other financial

 consultants to provide to the DIP Secured Parties and the Prepetition Secured Parties all such

 information as may be reasonably requested with respect to the business, results of operations and

 financial condition of any of the Debtors. Any customary or ongoing reporting provided by the

 Debtors to the DIP Secured Parties and the Prepetition Secured Parties also shall be concurrently

 provided by the Debtors to the Committee.

                   39.    Carve Out.

                          (a)    Carve Out. As used in this Final DIP Order, the “Carve Out” means

 the sum of (i) all fees required to be paid to the Clerk of the Court and to the Office of the United

 States Trustee under section 1930(a) of title 28 of the United States Code pursuant to 31 U.S.C. §

 3717 plus interest at the statutory rate (without regard to the notice set forth in (iii) below); (ii) all

 reasonable fees and expenses up to $75,000 incurred by a trustee under section 726(b) of the

 Bankruptcy Code (without regard to the notice set forth in (iii) below); (iii) to the extent allowed

 at any time, whether by interim order, procedural order, or otherwise, all unpaid fees and expenses

 set forth in the Budget, other than any restructuring, sale, success, or other transaction fee of any

 investment bankers or financial advisors of the Debtors or the Committee7 (the “Allowed



 7
     The Carve Out does not include any success fee or other fee due and payable upon consummation of a
     transaction.

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 Professional Fees”) incurred by persons or firms retained by the Debtors pursuant to section 327,

 328, or 363 of the Bankruptcy Code (the “Debtor Professionals”) and the Committee pursuant to

 section 328 or 1103 of the Bankruptcy Code (together with the Debtor Professionals, the

 “Professional Persons”) at any time before or on the first business day following delivery by the

 DIP Lenders of a Carve Out Trigger Notice (as defined below), whether allowed by the Court prior

 to or after delivery of a Carve Out Trigger Notice; and (iv) Allowed Professional Fees of

 Professional Persons in an aggregate amount not to exceed $350,000.00 incurred after the first

 business day following delivery by the DIP Lenders of the Carve Out Trigger Notice, to the extent

 allowed at any time, whether by interim order, procedural order, or otherwise (the amounts set

 forth in this clause (iv) being the “Post-Carve Out Trigger Notice Cap”). For purposes of the

 foregoing, “Carve Out Trigger Notice” shall mean a written notice delivered by email (or other

 electronic means) by the DIP Lenders to the Debtors, their lead restructuring counsel, the U.S.

 Trustee, and counsel to the Committee, which notice may be delivered following the occurrence

 and during the continuation of a DIP Event of Default and acceleration of the DIP Obligations

 under the DIP Facility, stating that the Post-Carve Out Trigger Notice Cap has been invoked.

                        (b)     Carve-Out Reserves. For the avoidance of doubt, the DIP Secured

 Parties shall be entitled to maintain at all times a reserve (the “Carve-Out Reserve”) in an amount

 (the “Carve-Out Reserve Amount”) equal to the sum of (i) the aggregate amount of Allowed

 Professional Fees contemplated to be unpaid in the Budget at the applicable time, plus (ii) the Post-

 Carve Out Trigger Notice Cap, plus (iii) the amounts contemplated under paragraph 39(a)(i) and

 39(a)(ii) above. Promptly upon request by the DIP Lenders, and in no event later than two (2)

 Business Days after such request, the Debtors shall deliver to the DIP Lenders (and concurrently

 to counsel and financial advisors for the Committee) a report setting forth the Carve-Out Reserve



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 Amount as of the date of such request, and the DIP Lenders shall be entitled to rely upon such

 reports in accordance with the DIP Documents.

                        (c)     Carve Out Reserves. On the day on which a Carve Out Trigger

 Notice is given by the DIP Lenders to the Debtors with a copy to counsel to the Committee and

 the U.S. Trustee (the “Termination Declaration Date”), the Carve Out Trigger Notice (i) shall be

 deemed a draw request and notice of borrowing by the Debtors for DIP Loans under the DIP

 Documents in an amount equal to the sum of (x) the amounts set forth in paragraphs 39(a)(i) and

 39(a)(ii) above, and (y) the then unpaid amounts of the Allowed Professional Fees pursuant to the

 Budget (any such amounts actually advanced shall constitute DIP Loans) and (ii) shall also

 constitute a demand to the Debtors, and authorization for the Debtors, to utilize all cash on hand

 as of such date and any available cash thereafter held by any Debtor to fund a reserve in an amount

 equal to the sum of the amounts set forth in paragraphs 39(a)(i) and 39(a)(ii), and unpaid amounts

 of the Allowed Professional Fees pursuant to the Budget (which cash amounts shall reduce, on a

 dollar for dollar basis, the draw requests and applicable DIP Loans pursuant to clause (i) of this

 paragraph (c)). The Debtors shall deposit and hold such amounts in an account designated by the

 DIP Lenders and, if applicable, the cash on hand exclusively to pay such unpaid Allowed

 Professional Fees (each, a “Pre-Carve Out Trigger Notice Reserve”) prior to any and all other

 claims. On the Termination Declaration Date, the Carve Out Trigger Notice (iii) shall also be

 deemed a request by the Debtors for DIP Loans under the DIP Documents in an amount equal to

 the Post-Carve Out Trigger Notice Cap (any such amounts actually advanced shall constitute DIP

 Loans), and (iv) shall also constitute a demand to the Debtors to utilize all cash on hand as of such

 date and any available cash thereafter held by any Debtor, after funding the Pre-Carve Out Trigger

 Notice Reserve, to fund a reserve in an amount equal to the Post-Carve Out Trigger Notice Cap



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 (which cash amounts shall reduce, on a dollar for dollar basis, the draw requests and applicable

 DIP Loans pursuant to clause (iii) of this paragraph (c)). The Debtors shall deposit and hold such

 amounts in an account designated by the DIP Lenders under the DIP Documents in trust in respect

 of amounts funded by the DIP Lenders and, if applicable, cash on hand exclusively to pay such

 Allowed Professional Fees benefiting from the Post-Carve Out Trigger Notice Cap (each, a “Post-

 Carve Out Trigger Notice Reserve” and, together with the Pre-Carve Out Trigger Notice

 Reserve(s), the “Carve Out Reserves”) prior to any and all other claims. On the first business day

 following the Termination Declaration Date and the deemed requests for the making of DIP Loans

 as provided in this paragraph (c), notwithstanding anything in the DIP Credit Agreement to the

 contrary, including with respect to (1) the existence of a Default (as defined in the DIP Documents)

 or Event of Default, (2) the failure of the Debtors to satisfy any or all of the conditions precedent

 for the making of any DIP Loan under the DIP Documents, (3) any termination of the

 Commitments (as defined in the DIP Credit Agreement) following an Event of Default, or (4) the

 occurrence of a DIP Termination Date, each DIP Lender with an outstanding Commitment shall

 make available such DIP Lender’s pro rata share of such DIP Loans.

                         (d)     Application of Carve Out Reserves.

                                 (i)     All funds in the Pre-Carve Out Trigger Notice Reserve shall

 be used first to pay the obligations set forth in subparagraphs (a)(i) through (a)(iii) of the definition

 of Carve Out set forth above (the “Pre-Carve Out Amounts”), but not, for the avoidance of doubt,

 the Post-Carve Out Trigger Notice Cap, until paid in full. If after payment in full of the Pre-Carve

 Out Amounts, the Pre-Carve Out Trigger Notice Reserve has not been reduced to zero, subject to

 clause (iii) below, all remaining funds in the account funded by (x) the DIP Lenders and/or from

 proceeds of DIP Collateral shall be distributed (A) first, to the DIP Lenders on account of the DIP



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 Obligations until such obligations have been Paid in Full, and (B) second, to the Prepetition

 Secured Parties on account of the Prepetition Obligations until such obligations have been Paid in

 Full.

                                (ii)    All funds in the Post-Carve Out Trigger Notice Reserve shall

 be used first to pay the obligations set forth in clause (iv) of the definition of Carve Out set forth

 in paragraph 39(a) above (the “Post-Carve Out Amounts”). If, after such application, the Post-

 Carve Out Trigger Notice Reserve has not been reduced to zero, subject to clause (iii) below, all

 remaining funds in the account funded by the DIP Lenders and/or from proceeds of DIP Collateral

 shall be distributed (A) first, to the DIP Lenders on account of the DIP Obligations until such

 obligations have been Paid in Full and (B) second, to the Prepetition Secured Parties on account

 of the Prepetition Obligations until such obligations have been Paid in Full.

                                (iii)   Notwithstanding anything to the contrary in the DIP

 Documents or this Final DIP Order, if either of the Carve Out Reserves is not funded in full in the

 amounts set forth in this paragraph 39, then, any excess funds in one of the Carve Out Reserves

 following the payment of the Pre-Carve Out Amounts and Post-Carve Out Amounts, respectively,

 shall be used to fund the other Carve Out Reserve to the extent of any shortfall in funding prior to

 making any payments to the DIP Lenders.

                                (iv)    Notwithstanding anything to the contrary in the DIP

 Documents or this Final DIP Order, following delivery of a Carve Out Trigger Notice, the DIP

 Collateral Agent shall not sweep or foreclose on cash (including cash received as a result of the

 sale or other disposition of any assets) of the Debtors until the Carve Out Reserves have been fully

 funded, but shall have a security interest in any residual interest in the Carve Out Reserves, with

 any excess paid as provided in subparagraphs (i), (ii), and (iii) above of this paragraph 39(d).



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                               (v)     Notwithstanding anything to the contrary in this Final DIP

 Order, the failure of the Carve Out Reserves to satisfy in full the Allowed Professional Fees shall

 not affect the priority of the Carve Out with respect to any shortfall (as described below), and, in

 no way shall any Budget, Carve Out, Post-Carve Out Trigger Notice Cap or Carve Out Reserves

 be construed as a cap or limitation on the amount of the Allowed Professional Fees due and payable

 by the Debtors. For the avoidance of doubt and notwithstanding anything to the contrary in this

 Final DIP Order, or in the DIP Documents, or in the Prepetition Senior Secured Documents, the

 Carve Out shall be senior to all liens and claims securing the DIP Facility, the Adequate Protection

 Liens, and the Adequate Protection Superpriority Claims, and any and all other forms of adequate

 protection, liens, or claims securing the DIP Obligations or the obligations under the Prepetition

 Senior Secured Note Documents.

                        (e)    No Direct Obligation to Pay Allowed Professional Fees. None of

 the DIP Secured Parties and the Prepetition Secured Parties shall be responsible for the payment

 or reimbursement of any fees or disbursements of any Professional Person incurred in connection

 with the Cases or any Successor Cases under any chapter of the Bankruptcy Code. Nothing in this

 Final DIP Order or otherwise shall be construed to obligate the DIP Secured Parties or Prepetition

 Secured Parties in any way, to pay compensation to, or to reimburse expenses of, any Professional

 Person or to guarantee that the Debtors have sufficient funds to pay such compensation or

 reimbursement.

                        (f)    Payment of Allowed Professional Fees Prior to the Termination

 Declaration Date. Any payment or reimbursement made prior to the occurrence of the Termination

 Declaration Date in respect of any Allowed Professional Fees shall not reduce the Carve Out.

                        (g)    Payment of Carve Out on or After the Termination Declaration



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 Date. Following the delivery of the Carve Out Trigger Notice, all Allowed Professional Fees shall

 be paid from the applicable Carve Out Reserve, and no Professional Person shall seek payment of

 any Allowed Professional Fees from any other source until the applicable Carve Out Reserve has

 been exhausted. Any payment or reimbursement made on or after the occurrence of the

 Termination Declaration Date in respect of any Allowed Professional Fees shall permanently

 reduce the Carve Out on a dollar-for-dollar basis. Any funding of the Carve Out shall be added

 to, and made a part of, the DIP Obligations secured by the DIP Collateral and shall be otherwise

 entitled to the protections granted under this Final DIP Order, the DIP Documents, the Bankruptcy

 Code, and applicable law.

                   40.   Limitations on Use of DIP Proceeds, Cash Collateral, and Carve Out. The

 DIP Facility, the DIP Collateral, the Prepetition Collateral, the Cash Collateral, and the Carve Out

 may not be used in connection with: (a) subject to the provisions of Paragraph 25, paying any

 prepetition claim except in accordance with the Budget, (b) preventing, hindering, or delaying any

 of the DIP Secured Parties or the Prepetition Secured Parties’ permitted enforcement or realization

 upon any of the DIP Collateral or Prepetition Collateral; (c) using or seeking to use Cash Collateral

 except as provided for in this Final DIP Order and the DIP Documents; (d) selling or otherwise

 disposing of DIP Collateral without the consent of the DIP Collateral Agent, acting at the direction

 of the DIP Lenders, or Prepetition Collateral without the consent of the Prepetition Agent; (e) using

 or seeking to use any insurance proceeds constituting DIP Collateral except as provided for in this

 Final DIP Order and the DIP Documents without the consent of the DIP Collateral Agent, acting

 at the direction of the DIP Lenders, or the Prepetition Agent; (f) incurring Indebtedness (as defined

 in the applicable DIP Documents) without the prior consent of the DIP Lenders, except to the

 extent permitted under the DIP Documents; (g) seeking to amend or modify any of the rights



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 granted to the DIP Secured Parties or the Prepetition Secured Parties under this Final DIP Order,

 the DIP Documents, or the Prepetition Senior Secured Note Documents, including seeking to use

 Cash Collateral and/or DIP Collateral on a contested basis; (h) objecting to or challenging in any

 way the DIP Liens, DIP Obligations, Prepetition Liens, Prepetition Obligations, DIP Collateral

 (including Cash Collateral) or, as the case may be, Prepetition Collateral, or any other claims or

 liens, held by or on behalf of any of the DIP Secured Parties or the Prepetition Secured Parties,

 respectively; (i) asserting, commencing, or prosecuting any claims or causes of action whatsoever,

 including any actions under Chapter 5 of the Bankruptcy Code or applicable state law equivalents

 or actions to recover or disgorge payments, against any of the DIP Secured Parties, the Prepetition

 Secured Parties, or any of their respective affiliates, agents, attorneys, advisors, professionals,

 officers, directors, and employees; (j) litigating, objecting to, challenging, or contesting in any

 manner, or raising any defenses to, the validity, extent, amount, perfection, priority, or

 enforceability of any of the DIP Obligations, the DIP Liens, the Prepetition Liens, Prepetition

 Obligations, or any other rights or interests of any of the DIP Secured Parties or the Prepetition

 Secured Parties; or (k) seeking to subordinate, recharacterize, disallow, or avoid the DIP

 Obligations, or the Prepetition Obligations; provided, however, that the Carve Out and such

 collateral proceeds and loans under the DIP Documents may be used for allowed fees and

 expenses, in an amount not to exceed $75,000 in the aggregate, incurred solely by the Committee,

 in investigating (but not prosecuting or challenging), the Prepetition Lien and Claim Matters (as

 defined herein), which amount is subject to adjustment pursuant to Court order or as otherwise

 agreed in writing between the DIP Lenders, the Prepetition Secured Parties and the Committee.

                   41.   Payment of Compensation. Nothing herein shall be construed as a consent

 to the allowance of any professional fees or expenses of any Professional Person or shall affect the



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 right of the DIP Secured Parties or the Prepetition Secured Parties to object to the allowance and

 payment of such fees and expenses. The Debtors shall be permitted to pay fees and expenses

 allowed and payable by final order (that has not been vacated or stayed, unless the stay has been

 vacated) under sections 328, 330, 331, and 363 of the Bankruptcy Code, as the same may be due

 and payable.

                   42.   ProEnergy Services, LLC. For the avoidance of doubt, any lien on assets of

 the Debtors held by ProEnergy Services, LLC (“ProEnergy”) that is valid, non-avoidable, and

 senior in priority to the Prepetition Liens as of the Petition Date and properly perfected prior to the

 Petition Date is included in Permitted Prior Liens. The Debtors shall provide to ProEnergy a copy

 of the Monthly Report attached as Schedule 6.02(h) of the Credit Agreement on the same day it is

 provided to the DIP Lenders. The Monthly Report shall be provided to ProEnergy through its

 counsel and shall be kept confidential by ProEnergy and its counsel. Notwithstanding anything to

 the contrary, none of the Debtors’ assets over which ProEnergy asserts a Permitted Prior Lien will

 be sold without at least three (3) business days’ notice to ProEnergy and an opportunity to be heard.

                   43.   Notwithstanding any other provision of this Order, nothing in this Order

 shall limit or otherwise affect (a) the rights of ProEnergy to assert an entitlement to adequate

 protection as permitted under applicable law or, (b) the rights of any party to object to, or challenge,

 any such assertion of entitlement to adequate protection. All such rights of all parties are hereby

 preserved.

                   44.   Effect of Stipulations on Third Parties.

                         (a)     Generally. The admissions, stipulations, agreements, releases, and

 waivers set forth in paragraph F of this Final DIP Order (collectively, the “Prepetition Lien and

 Claim Matters”) are and shall be binding on the Debtors, any subsequent trustee, responsible



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 person, examiner with expanded powers, any other estate representative, and all creditors and

 parties in interest and all of their successors in interest and assigns, including the Committee,

 unless and to the extent that a party in interest with proper standing granted by order of the Court

 (or other court of competent jurisdiction) has properly filed an adversary proceeding or contested

 matter under the Bankruptcy Rules (other than the Debtors, as to which any Challenge (as defined

 below) is irrevocably waived and relinquished) and (i) has timely filed the appropriate pleadings,

 and timely commenced the appropriate proceeding required under the Bankruptcy Code and

 Bankruptcy Rules, including as required pursuant to Part VII of the Bankruptcy Rules (in each

 case subject to the limitations set forth in this paragraph 44) challenging the Prepetition Lien and

 Claim Matters (including any challenge with respect to the Roll-Up Loans) (each such proceeding

 or appropriate pleading commencing a proceeding or other contested matter, a “Challenge”) by no

 later than the earlier of (I) November 1, 2021, or (II) the deadline established by order of the Court

 for objections to any motion seeking the entry of an order confirming a plan of the Debtors or the

 sale of all or substantially all the assets of the Debtors (as applicable, the “Challenge Deadline”),

 as such applicable date may be extended in writing from time to time (email shall suffice) in the

 sole discretion of the Prepetition Secured Parties or by this Court for good cause shown pursuant

 to an application filed by a party in interest prior to the expiration of the Challenge Deadline, and

 (ii) this Court enters judgment in favor of the plaintiff or movant in any such timely and properly

 commenced Challenge proceeding and any such judgment has become a final judgment that is not

 subject to any further review or appeal. Notwithstanding anything contained herein to the contrary,

 the Challenge Deadline in subparagraph (I) above will be tolled for the Committee if it formally

 moves for an order of this Court conferring standing or authority (the “Standing Motion”) prior to

 the Challenge Deadline, from the date the Committee so moves until five (5) business days from



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 the date when standing is granted or denied pursuant to an order of the Court with regard to such

 Standing Motion; provided, that the Challenge Deadline: (a) will only be tolled if such Standing

 Motion attaches a proposed complaint identifying the specific Challenge(s) that the Committee

 proposes to assert and the defendant(s) against whom such Challenge(s) are proposed to be

 asserted, and (b) will only be tolled with respect to such Challenge(s) and defendant(s) specifically

 identified therein. Notwithstanding anything to the contrary herein, if the Cases are converted to

 chapter 7 prior to the expiration of the Challenge Deadline, (1) the chapter 7 trustee shall have

 until the later of the Challenge Period or the sixtieth (60th) day after the conversion of the Cases

 to chapter 7 to commence a Challenge, subject to any further extension by order of the Court for

 cause.

                        (b)     Binding Effect. To the extent no Challenge is timely commenced by

 the Challenge Deadline, or to the extent such proceeding does not result in a final and

 non-appealable judgment or order of this Court that is inconsistent with the Prepetition Lien and

 Claim Matters, then, without further notice, motion, or application to, order of, or hearing before,

 this Court and without the need or requirement to file any proof of claim, the Prepetition Lien and

 Claim Matters shall, pursuant to this Final DIP Order, become binding, conclusive, and final on

 any person, entity, or party in interest in the Cases, and their successors and assigns, and in any

 Successor Case for all purposes and shall not be subject to challenge or objection by any party in

 interest, including a trustee, responsible individual, examiner with expanded powers, or other

 representative of the Debtors’ estates. Notwithstanding anything to the contrary herein, if any such

 proceeding is timely commenced, the Prepetition Lien and Claim Matters shall nonetheless remain

 binding on all other parties in interest and preclusive as provided in subparagraph (a) above except

 to the extent that any of such Prepetition Lien and Claim Matters is expressly the subject of a



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 timely filed Challenge, which Challenge is successful as set forth in a final judgment as provided

 in subparagraph (a) above, and only as to plaintiffs or movants that have complied with the terms

 hereof. To the extent any such Challenge proceeding is timely and properly commenced, the

 Prepetition Secured Parties shall be entitled to payment of the related costs and expenses,

 including, but not limited to, reasonable attorneys’ fees, incurred under the Prepetition Senior

 Secured Note Documents in defending themselves in any such proceeding as adequate protection.

 Upon a successful Challenge brought pursuant to this paragraph 44, the Court may fashion any

 appropriate remedy.

                       (c)     Nothing herein shall limit the Committee’s ability to (x) file a timely

 Standing Motion in respect of any timely Challenge for which it cannot obtain standing as a matter

 of law because the applicable Debtor is a limited liability company (an “LLC Challenge Motion”),

 and (y) seek pursuant to such LLC Challenge Motion a mechanism by which to prosecute such

 Challenge, provided that the Committee otherwise satisfies the requirements set forth in this

 paragraph 44. In the event the Committee files a timely LLC Challenge Motion for which it cannot

 obtain standing, and provided that the Committee otherwise satisfies the requirements set forth in

 this paragraph 44, the expiration of the Challenge Deadline solely for the specific Challenge set

 forth in the LLC Challenge Motion, and solely as to the defendant(s) named therein, shall be tolled

 pending further order of the Court, and applicable parties shall meet and confer with respect to an

 appropriate process (if any) for the prosecution of any such Challenge. If timely notified of a

 Challenge for which the Committee cannot gain standing because the applicable Debtor is a limited

 liability company, the Debtors (or a designated representative) shall, to the extent permitted by

 applicable law, retain the authority to prosecute such Challenge.

                       (d)     Notwithstanding anything to the contrary herein, any Challenge,



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 Standing Motion, or LLC Standing Motion commenced by the Committee (the “Committee

 Action”) may be pursued by any chapter 7 trustee in these cases (a “Chapter 7 Trustee”), appointed

 subsequent to the filing of the Committee Action, in the Chapter 7 Trustee’s sole and exclusive

 discretion. The filing of a Notice of Substitution of Trustee for and in the stead of the Committee

 in the Committee Action, shall be automatically effective upon filing, without further Order of the

 Court, and the Chapter 7 Trustee shall be deemed automatically substituted for the Committee,

 which substitution shall be deemed retroactive to the date of the filing of the Committee Action.

                   45.   No Third Party Rights. Except as explicitly provided for herein, this Final

 DIP Order does not create any rights for the benefit of any third party, creditor, equity holder or

 any direct, indirect, or incidental beneficiary.

                   46.   Section 506(c) Claims. Subject to entry of a Final DIP Order, no costs or

 expenses of administration which have been or may be incurred in the Cases at any time shall be

 charged against the DIP Secured Parties, the Prepetition Secured Parties, or any of their respective

 claims, the DIP Collateral, or the Prepetition Collateral pursuant to sections 105 or 506(c) of the

 Bankruptcy Code, or otherwise, without the prior written consent of the DIP Secured Parties or

 the Prepetition Secured Parties, as applicable, and no such consent shall be implied from any other

 action, inaction, or acquiescence by any such parties.

                   47.   No Marshaling/Applications of Proceeds. Subject to entry of a Final DIP

 Order, the DIP Secured Parties and the Prepetition Secured Parties shall not be subject to the

 equitable doctrine of “marshaling” or any other similar doctrine with respect to any of the

 DIP Collateral or the Prepetition Collateral, as the case may be, and proceeds shall be received and

 applied pursuant to this Final DIP Order and the DIP Documents, notwithstanding any other

 agreement or provision to the contrary; provided, however, that the DIP Agents and the Prepetition



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 Secured Parties shall use commercially reasonable efforts to first use all DIP Collateral other than

 the proceeds of the avoidance actions and commercial tort claims under paragraph 5(c), (d), (e)

 and (f) hereof to repay the DIP Obligations and to satisfy the Adequate Protection Liens.

                   48.   Section 552(b). The Prepetition Secured Parties shall each be entitled to all

 of the rights and benefits of section 552(b) of the Bankruptcy Code, and the “equities of the case”

 exception under section 552(b) of the Bankruptcy Code shall not apply to the Prepetition Secured

 Parties, with respect to proceeds, products, offspring or profits of any of the Prepetition Collateral.

                   49.   Access to DIP Collateral. Subject to the rights and procedures included in

 paragraphs 32 and 33 hereof and effective upon entry of this Final DIP Order, upon expiration of

 the Remedies Notice Period, the DIP Secured Parties and the Prepetition Secured Parties shall be

 permitted to (a) access and recover any and all DIP Collateral, and (b) enter onto any leased

 premises of any Debtor that constitutes DIP Collateral and exercise all of the Debtors’ rights and

 privileges as lessee under such lease in connection with an orderly liquidation of the DIP

 Collateral, provided, however, in the case of clause (b), the DIP Secured Parties and/or Prepetition

 Secured Parties can only enter upon a leased premises after expiration of the DIP Remedies Notice

 Period and/or DIP Event of Default in accordance with (i) a separate written agreement by and

 between the DIP Secured Parties or the Prepetition Secured Parties, as applicable, and any

 applicable landlord, (ii) pre-existing rights of the DIP Secured Parties or the Prepetition Secured

 Parties, as applicable, and any applicable landlord under applicable non-bankruptcy law, (iii)

 consent of the applicable landlord, or (iv) entry of an order of this Court obtained by motion of the

 applicable DIP Secured Party or Prepetition Secured Party on such notice to the landlord as shall

 be required by this Court; provided, however, solely with respect to rent due to a landlord of any

 such leased premises, the DIP Secured Parties and/or the Prepetition Secured Parties, as applicable,



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 shall be obligated only to reimburse the Debtors for the payment of rent of the Debtors that first

 accrues after delivery of the DIP Termination Declaration in accordance with paragraph 32 herein

 that is payable during the period of such occupancy by the DIP Secured Parties and/or Prepetition

 Secured Parties, as applicable, calculated on a daily per diem basis; provided, further, that nothing

 herein shall relieve the Debtors of their obligations pursuant to section 365(d)(3) of the Bankruptcy

 Code for the payment of postpetition rent and other charges under any lease of non-residential real

 property through and including any assumption and/or rejection of any lease. Nothing herein shall

 require the DIP Secured Parties or the Prepetition Secured Parties to assume any lease as a

 condition to the rights afforded in this paragraph.

                   50.   Limits on Lender Liability. Nothing in this Final DIP Order, any of the DIP

 Documents, the Prepetition Senior Secured Note Documents, or any other documents related

 thereto shall in any way be construed or interpreted to impose or allow the imposition upon the

 DIP Secured Parties or the Prepetition Secured Parties of any liability for any claims arising from

 any activities by the Debtors in the operation of their businesses or in connection with the

 administration of these Cases. The DIP Secured Parties and the Prepetition Secured Parties shall

 not, solely by reason of having made loans under the DIP Facility or the Prepetition Senior Secured

 Note Documents or permitted the use of Cash Collateral, be deemed in control of the operations

 of the Debtors or to be acting as a “responsible person” or “owner or operator” with respect to the

 operation or management of the Debtors (as such terms, or any similar terms, are used in the United

 States    Comprehensive     Environmental     Response,     Compensation      and   Liability   Act,

 42 U.S.C. §§ 9601 et seq., as amended, or any similar federal or state statute). Nothing in this

 Final DIP Order or the DIP Documents, shall in any way be construed or interpreted to impose or

 allow the imposition upon the DIP Secured Parties or any of the Prepetition Secured Parties of any



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 liability for any claims arising from the prepetition or postpetition activities of any of the Debtors.

                   51.   Insurance Proceeds and Policies.        Until all DIP Obligations and all

 Prepetition Obligations are Paid in Full, and the DIP Secured Parties’ obligation to extend credit

 under the DIP Facility has terminated, the Debtors shall obtain and maintain insurance with respect

 to the DIP Collateral as required under the DIP Facility. Upon entry of the Interim DIP Order and

 to the fullest extent provided by applicable law, the DIP Collateral Agent (on behalf of the DIP

 Secured Parties) and the Prepetition Agent (on behalf of the Prepetition Secured Parties) were and

 shall continue to be deemed to be, without any further action or notice, named as additional insured

 and loss payee on each insurance policy maintained by the Debtors that in any way relates to the

 DIP Collateral (the “DIP Collateral Insurance Policies”). Notwithstanding the foregoing, to the

 extent not already completed, upon entry of this Final DIP Order, the Debtors shall immediately

 take any and all steps necessary under the DIP Collateral Insurance Policies to name both the DIP

 Collateral Agent (on behalf of the DIP Secured Parties) and the Prepetition Agent (on behalf of

 the Prepetition Secured Parties) as additional insureds and loss payees on each DIP Collateral

 Insurance Policy.

                   52.   Joint and Several Liability. Nothing in this Final DIP Order shall be

 construed to constitute a substantive consolidation of any of the Debtors’ estates, it being

 understood, however, that the Debtors shall be jointly and severally liable for the obligations

 hereunder and all DIP Obligations in accordance with the terms hereof and of the DIP Facility and

 the DIP Documents.

                   53.   Rights Preserved. Notwithstanding anything herein to the contrary, the

 entry of this Final DIP Order is without prejudice to, and does not constitute a waiver of, expressly

 or implicitly, subject to the Prepetition Senior Secured Note Documents: (a) the DIP Secured



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 Parties’ and Prepetition Secured Parties’ right to seek any other or supplemental relief in respect

 of the Debtors; (b) any of the rights of any of the DIP Secured Parties and/or the Prepetition

 Secured Parties under the Bankruptcy Code or under any other applicable law, including the right

 to (i) request modification of the automatic stay of section 362 of the Bankruptcy Code, (ii) request

 dismissal of any of the Cases or Successor Cases, conversion of any of the Cases to cases under

 Chapter 7, or appointment of a Chapter 11 trustee or examiner with expanded powers, or (iii)

 propose, subject to the provisions of section 1121 of the Bankruptcy Code, a Chapter 11 plan or

 plans; or (c) any other rights, claims, or privileges (whether legal, equitable, or otherwise) of any

 of the DIP Secured Parties or Prepetition Secured Parties. Notwithstanding anything herein to the

 contrary, the entry of this Final DIP Order is without prejudice to, and does not constitute a waiver

 of, expressly or implicitly, the Debtors’, the Committee’s, or any party in interest’s right to oppose

 any of the relief requested in accordance with the immediately preceding sentence except as

 expressly set forth in this Final DIP Order.

                   54.   No Waiver by Failure to Seek Relief. The failure, or delay for any period,

 of the DIP Secured Parties or Prepetition Secured Parties to seek relief or otherwise exercise their

 rights and remedies under this Final DIP Order, the DIP Documents, the Prepetition Senior

 Secured Note Documents, or applicable law, as the case may be, shall not constitute a waiver of

 any of the rights hereunder, thereunder, or otherwise of the DIP Secured Parties or the Prepetition

 Secured Parties.

                   55.   Binding Effect of Final DIP Order. Immediately upon execution by this

 Court, the terms and provisions of this Final DIP Order shall become valid and binding upon and

 inure to the benefit of the Debtors, the DIP Secured Parties, the Prepetition Secured Parties, all

 other creditors of any of the Debtors, the Committee, or any other court appointed committee, and



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 all other parties in interest and their respective successors and assigns, including any trustee or

 other fiduciary hereafter appointed in any of the Cases, any Successor Cases, or upon dismissal of

 any Case or Successor Case.

                   56.   No Modification of Final DIP Order. Until and unless the DIP Obligations

 and the Prepetition Obligations have been Paid in Full (such payment being without prejudice to

 any terms or provisions contained in the DIP Facility which survive such discharge by their terms)

 the Debtors shall not seek or consent to, directly or indirectly: (a) without the prior written consent

 of the DIP Lenders, (i) any modification, stay, vacatur, or amendment to this Final DIP Order; or

 (ii) a priority claim for any administrative expense or unsecured claim against the Debtors (now

 existing or hereafter arising of any kind or nature whatsoever, including any administrative

 expense of the kind specified in sections 503(b), 506(c), 507(a), or 507(b) of the Bankruptcy Code)

 in any of the Cases or Successor Cases, equal or superior to the DIP Superpriority Claims or

 Adequate Protection Superpriority Claims, other than the Carve Out; (b) without the prior written

 consent of the DIP Lenders, any order allowing use of Cash Collateral (other than as permitted

 during the DIP Remedies Notice Period) resulting from DIP Collateral or Prepetition Collateral in

 a manner inconsistent with this Final DIP Order, provided that nothing in this paragraph shall

 prohibit the Committee from filing a motion seeking entry of a Court order authorizing the use of

 Cash Collateral, and if the Committee files such motion, the DIP Secured Parties agree not to

 object to the such motion on the basis of the Committee’s lack of standing but otherwise reserve

 their rights to raise any other arguments, claims or defenses; (c) without the prior written consent

 of the DIP Collateral Agent, acting at the direction of the DIP Lenders, any lien on any of the DIP

 Collateral with priority equal or superior to the DIP Liens, except as specifically provided in the

 DIP Documents, other than the Carve Out; or (d) without the prior written consent of the



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 Prepetition Agent, any lien on any of the DIP Collateral with priority equal or superior to the

 Prepetition Liens or Adequate Protection Liens, other than the Carve Out. The Debtors shall not

 seek or consent to, directly or indirectly any amendment, modification, or extension of this Final

 DIP Order without the prior written consent, as provided in the foregoing, of the DIP Lenders

 and/or the DIP Agents, as applicable, and no such consent shall be implied by any other action,

 inaction or acquiescence of the DIP Lenders and/or the DIP Agents, as applicable.

                   57.   Final DIP Order Controls. In the event of any inconsistency between the

 terms and conditions of the DIP Documents, the Interim DIP Order, and this Final DIP Order, the

 provisions of this Final DIP Order shall govern and control.

                   58.   Discharge. The DIP Obligations and the obligations of the Debtors with

 respect to the adequate protection provided herein shall not be discharged by the entry of an order

 confirming any plan of reorganization in any of the Cases, notwithstanding the provisions of

 section 1141(d) of the Bankruptcy Code, unless such obligations have been Paid in Full, on or

 before the effective date of such confirmed plan of reorganization, or each of the DIP Secured

 Parties and the Prepetition Secured Parties, as applicable, has otherwise agreed in writing. None

 of the Debtors shall propose or support any plan of reorganization or sale of all or substantially all

 of the Debtors’ assets, or order confirming such plan or approving such sale, that does not require

 that all DIP Obligations be Paid in Full, and the payment of the Debtors’ obligations with respect

 to the adequate protection provided for herein, in full in cash within a commercially reasonable

 period of time (and in no event later than the effective date of such plan of reorganization or sale)

 (a “Prohibited Plan or Sale”) without the written consent of each of the DIP Secured Parties and

 the Prepetition Secured Parties, as applicable. For the avoidance of doubt, the Debtors’ proposal

 or support of a Prohibited Plan or Sale, or the entry of an order with respect thereto, shall constitute



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 a DIP Event of Default hereunder and an Event of Default under the DIP Documents.

                   59.   Survival. The provisions of this Final DIP Order and any actions taken

 pursuant hereto shall survive entry of any order which may be entered: (a) confirming any plan of

 reorganization in any of the Cases; (b) converting any of the Cases to a case under Chapter 7 of

 the Bankruptcy Code; (c) dismissing any of the Cases or any Successor Cases; or (d) pursuant to

 which this Court abstains from hearing any of the Cases or Successor Cases. The terms and

 provisions of this Final DIP Order, including the claims, liens, security interests, and other

 protections granted to the DIP Secured Parties and Prepetition Secured Parties pursuant to the

 Interim DIP Order, this Final DIP Order and/or the DIP Documents, notwithstanding the entry of

 any such orders described in (a)-(d), above, shall continue in the Cases, in any Successor Cases,

 or following dismissal of the Cases or any Successor Cases, and shall maintain their priority as

 provided by this Final DIP Order until: (x) in respect of the DIP Facility, all the DIP Obligations,

 pursuant to the DIP Documents and this Final DIP Order, have been Paid in Full (such payment

 being without prejudice to any terms or provisions contained in the DIP Facility which survive

 such discharge by their terms); and (y) in respect of the Prepetition Financing, all of the Prepetition

 Obligations pursuant to the Prepetition Senior Secured Note Documents and this Final DIP Order,

 have been Paid in Full. The terms and provisions concerning the indemnification of the DIP

 Agents and DIP Lenders shall continue in the Cases, in any Successor Cases, following dismissal

 of the Cases or any Successor Cases, following termination of the DIP Documents and/or the

 indefeasible repayment of the DIP Obligations.

                   60.   This Final DIP Order is effective on entry and is not stayed.




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                   61.   Retention of Jurisdiction. The Court has and will retain jurisdiction to

 enforce the terms of any and all matters arising from or related to the DIP Facility and/or this Final

 DIP Order.

Signed: September
        October 17,21, 2021
                    2018
  Signed: __________
                                                       Marvin Isgur
                                                        ____________________________________
                                                       United States Bankruptcy Judge
                                                                       Marvin Isgur
                                                           United States Bankruptcy Judge




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                                     Exhibit 1

                             DIP CREDIT AGREEMENT




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                           SENIOR SECURED SUPERPRIORITY
                       DEBTOR-IN-POSSESSION CREDIT AGREEMENT

                                 dated as of September __, 2021

                                            among

                           AGILON ENERGY HOLDINGS II, LLC,
                             VICTORIA PORT POWER LLC,
                                          AND
                              VICTORIA CITY POWER LLC
                                    as the Borrowers,

                    THE PRUDENTIAL INSURANCE COMPANY OF AMERICA,
                                  as Administrative Agent

                                              and,

                      WILMINGTON TRUST, NATIONAL ASSOCIATION,
                                  as Collateral Agent,

                                              and

                           The Lenders Party Hereto from Time to Time




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                             SENIOR SECURED SUPERPRIORITY
                         DEBTOR-IN-POSSESSION CREDIT AGREEMENT

         This SENIOR SECURED SUPERPRIORITY DEBTOR-IN-POSSESSION CREDIT
 AGREEMENT (“Agreement”) is entered into as of September __, 2021, among AGILON ENERGY
 HOLDINGS II, LLC, a Texas limited liability company (“Agilon” or “Administrative Borrower”),
 VICTORIA PORT POWER, LLC, a Texas limited liability company (“Victoria Port”), VICTORIA
 CITY POWER LLC, a Texas limited liability company (“Victoria City”, together with Victoria Port, the
 “Project Companies” and the Project Companies, collectively with Agilon, the “Borrowers” and each a
 “Borrower”), each lender from time to time party hereto (collectively, the “Lenders” and individually, a
 “Lender”), THE PRUDENTIAL INSURANCE COMPANY OF AMERICA, as administrative agent
 for the Secured Parties (in such capacity, the “Administrative Agent”) and WILMINGTON TRUST,
 NATIONAL ASSOCIATION, as collateral agent for the Secured Parties (the “Collateral Agent”).

                                    PRELIMINARY STATEMENTS:

         WHEREAS, on June 27, 2021 (the “Petition Date”), the Borrowers commenced Chapter 11 case
 numbers 21-32156, 21-32157 and 21-32158, as jointly administered for procedural purposes as Chapter 11
 case number 21-32156 (individually each a “Case” and collectively, the “Cases”) by filing with the United
 States Bankruptcy Court for the Southern District of Texas, Houston Division (the “Bankruptcy Court”)
 voluntary petitions for relief under the Bankruptcy Code and have continued to operate their business as
 debtor-in-possession pursuant to section 1107 and 1108 thereof;

          WHEREAS, on July 12, 2021, the Borrowers, the Lenders and the Agent entered into that certain
 Emergency Senior Secured Superpriority Debtor-in-Possession Financing Term Sheet which was approved
 pursuant to an order of the Bankruptcy Court on July 15, 2021 (the “Emergency DIP Order” and such date,
 the “Emergency DIP Order Entry Date”), whereby the Lenders, committed to extend to the Borrowers,
 delayed draw term loans in an aggregate principal amount of up to $1,000,000 on terms and conditions
 described therein (the “Emergency DIP Facility” and each such loan a “Emergency DIP Loan” and
 collectively, the “Emergency DIP Loans”). On the date hereof, immediately prior to giving effect to any
 extensions of credit hereunder, the aggregate outstanding principal amount of the Emergency DIP Loans is
 $1,000,000;

          WHEREAS, the Borrowers have requested and the Lenders have agreed to make loans to the
 Borrowers consisting of a priming, secured superpriority debtor-in-possession delayed draw term loan
 credit facility in the aggregate principal amount of up to $30,000,000 (inclusive of the Roll-Up (as defined
 below)), which shall be used (a) to refinance and repay in full, in cash, all outstanding obligations in
 connection with the Emergency DIP Facility, (b) for Adequate Protection Fees and Expenses, (c) for the
 Carve Out, (d) to roll-up a portion of the Prepetition Indebtedness, and (e) for working capital purposes of
 the Borrowers during the Case, in each case, in accordance with the DIP Budget, subject to the terms and
 conditions of this Agreement and, when entered, the Interim DIP Order or the Final DIP Order (each as
 defined herein), as applicable;

         WHEREAS, the Lenders are willing to extend such credit to the Borrowers under this Agreement
 upon the terms and subject to the conditions set forth in this Agreement and the Interim DIP Order or the
 Final DIP Order, as applicable.

          NOW THEREFORE, in consideration of the mutual covenants and agreements herein contained,
 the parties hereto covenant and agree as follows:




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                                          ARTICLE I
                             DEFINITIONS AND ACCOUNTING TERMS

          1.01    Defined Terms. All terms defined in the UCC and used herein shall have the same
 definitions herein as specified therein. If, however, a term is defined in Article 9 of the UCC differently
 than in another Article of the UCC, the term has the meaning specified in Article 9. As used in this
 Agreement, the following terms shall have the meanings set forth below:

         “Acceptable Sale Provisions” means the provisions set forth on Schedule 1.

        “Adequate Protection Fees and Expenses” has the meaning ascribed to such term in the Interim
 DIP Order or, upon entry of the Final DIP Order, in the Final DIP Order, as applicable.

        “Adequate Protection Liens” has the meaning ascribed to such term in the Interim DIP Order or,
 upon entry of the Final DIP Order, in the Final DIP Order, as applicable.

        “Adequate Protection Superpriority Claims” has the meaning ascribed to such term in the Interim
 DIP Order or, upon entry of the Final DIP Order, in the Final DIP Order, as applicable.

        “Administrative Agent” means The Prudential Insurance Company of America in its capacity as
 administrative agent for the Secured Parties under any of the Loan Documents, or any successor
 administrative agent.

         “Administrative Agent’s Office” means the Administrative Agent’s address and, as appropriate,
 account as set forth in wire instructions provided by the Administrative Agent to the Administrative
 Borrower, or such other address or account as the Administrative Agent may from time to time notify in
 writing to the Administrative Borrower and the Lenders.

        “Administrative Questionnaire” means an Administrative Questionnaire in form and substance
 approved by the Administrative Agent.

          “Affiliate” ” means, at any time, and with respect to any Person, any other Person that at such time
 directly or indirectly through one or more intermediaries Controls, or is Controlled by, or is under common
 Control with, such first Person. Unless the context otherwise clearly requires, any reference to an
 “Affiliate” is a reference to an Affiliate of any of the Borrowers. Notwithstanding anything to the contrary
 in this definition, none of the Lenders shall be deemed to be an Affiliate of any Borrower.

          “Agent-Related Persons” means each Agent, together with their respective Affiliates, successors
 and assigns and the officers, direct and indirect owners, directors, employees, agents, advisors, attorneys,
 controlling persons and members of each of the foregoing.

         “Agents” means the Administrative Agent and the Collateral Agent.

         “Agreement” has the meaning specified in the preamble hereto.

         “Anti-Corruption Laws” means any law or regulation in a U.S. or any non-U.S. jurisdiction
 regarding bribery or any other corrupt activity, including the U.S. Foreign Corrupt Practices Act and the
 U.K. Bribery Act 2010.

         “Anti-Money Laundering Laws” means any law or regulation in a U.S. or any non-U.S. jurisdiction
 regarding money laundering, drug trafficking, terrorist-related activities or other money laundering


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 predicate crimes, including the Currency and Foreign Transactions Reporting Act of 1970 (otherwise
 known as the Bank Secrecy Act) and the USA PATRIOT Act.

         “Applicable Margin” means, (a) with respect to LIBOR Loans, 8.00% per annum, computed on the
 basis of the actual number of days elapsed over a year of 360 days or (b) with respect to Prime Loans,
 7.00% per annum, computed on the basis of the actual number of days elapsed over a year of 365 or 366
 days, as applicable.

          “Applicable Percentage” means with respect to any Lender at any time, the percentage (carried out
 to the ninth decimal place) of the Facility represented by the sum of such Lender’s Commitment at such
 time, plus the principal amount of such Lender’s Loans at the relevant time of reference thereto.

          “Approvals” means any and all approvals, permits, permissions, licenses, authorizations, consents,
 certifications, actions, orders, waivers, exemptions, variances, franchises, filings, declarations, rulings,
 registrations, applications and notices to, from or issued by any Person.

         “Approved Accountant” is defined in Section 6.01.

         “Approved Fund” means any Fund that is administered or managed by (a) a Lender, (b) an Affiliate
 of a Lender or (c) an entity or an Affiliate of an entity that administers or manages a Lender.

         “Assignee Group” means two or more Eligible Assignees that are Affiliates of one another or two
 or more Approved Funds managed by the same investment advisor.

         “Assignment and Assumption” means an assignment and assumption entered into by a Lender and
 an Eligible Assignee (with the consent of any party whose consent is required by Section 11.06(b)), and
 accepted by the Administrative Agent, in substantially the form of Exhibit C or any other form approved
 by the Administrative Agent.

          “Auction” means the sale of all or substantially all of any of the Borrowers’ assets or Equity
 Interests in accordance with the requirements for the Sale Process.

         “Audited Financial Statements” has the meaning specified in Section 5.05(a).

         “Automatic Stay” means the automatic stay imposed under section 362 of the Bankruptcy Code.

          “Available Tenor” means, as of any date of determination and with respect to the then-current
 Benchmark, as applicable, (x) if the then current Benchmark is a term rate or is based on a term rate, any
 tenor for such Benchmark that is or may be used for determining the length of an Interest Period pursuant
 to this Agreement as of such date and not including, for the avoidance of doubt, any tenor for such
 Benchmark that is then-removed from the definition of “Interest Period” pursuant to Section 2.12(d), or (y)
 if the then current Benchmark is not a term rate nor based on a term rate, any payment period for interest
 calculated with reference to such Benchmark pursuant to this Agreement as of such date.

         “Availability Period” means, the period from and including the Closing Date to the earliest of (a)
 the Maturity Date, (b) the date of termination of the Commitments pursuant to Section 2.04 and (c) the date
 of termination of the commitment of each Lender to make Loans pursuant to Section 8.02.

       “Bail-In Action” means the exercise of any Write-Down and Conversion Powers by the applicable
 EEA Resolution Authority in respect of any liability of an EEA Financial Institution.



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         “Bail-In Legislation” means, with respect to any EEA Member Country implementing Article 55
 of Directive 2014/59/EU of the European Parliament and of the Council of the European Union, the
 implementing law for such EEA Member Country from time to time, which is described in the EU Bail-In
 Legislation Schedule.

         “Bankruptcy Code” means 11 U.S.C. §101 et seq.

         “Bankruptcy Court” has the meaning specified in the recitals hereto.

         “Benchmark” means, initially, LIBO Rate; provided, that if a Benchmark Transition Event, a Term
 SOFR Transition Event or an Early Opt-in Election, as applicable, and its related Benchmark Replacement
 Date have occurred with respect to LIBO Rate or the then-current Benchmark, then “Benchmark” means
 the applicable Benchmark Replacement to the extent that such Benchmark Replacement has replaced such
 prior benchmark rate pursuant to Section 2.12(a) or Section 2.12(f).

         “Benchmark Replacement” means, for any Available Tenor, the first alternative set forth in the
 order below that can be determined by the Required Lenders for the applicable Benchmark Replacement
 Date:

         (1) the sum of: (a) Term SOFR and (b) the related Benchmark Replacement Adjustment;

         (2) the sum of: (a) Daily Simple SOFR and (b) the related Benchmark Replacement Adjustment;

         (3) the sum of: (a) the alternate benchmark rate that has been selected by the Required Lenders as
 the replacement for the then-current Benchmark for the applicable Corresponding Tenor giving due
 consideration to (i) any selection or recommendation of a replacement benchmark rate or the mechanism
 for determining such a rate by the Relevant Governmental Body or (ii) any evolving or then-prevailing
 market convention for determining a benchmark rate as a replacement for the then-current Benchmark for
 U.S. dollar-denominated syndicated credit facilities at such time and (b) the related Benchmark
 Replacement Adjustment;

          provided, that, in the case of clause (1), such Unadjusted Benchmark Replacement is displayed on
 a screen or other information service that publishes such rate from time to time as selected by the Required
 Lenders in their reasonable discretion; provided, further, that, with respect to a Term SOFR Transition
 Event, on the applicable Benchmark Replacement Date, the “Benchmark Replacement” shall revert to and
 shall be determined as set forth in clause (1) of this definition. If the Benchmark Replacement as determined
 pursuant to clause (1), (2) or (3) above would be less than the Floor, the Benchmark Replacement will be
 deemed to be the Floor for the purposes of this Agreement and the other Transaction Documents.

         “Benchmark Replacement Adjustment” means, with respect to any replacement of the then current
 Benchmark with an Unadjusted Benchmark Replacement for any applicable Available Tenor for any setting
 of such Unadjusted Benchmark Replacement:

          (1) for purposes of clauses (1) and (2) of the definition of “Benchmark Replacement,” the first
 alternative set forth in the order below that can be determined by the Required Lenders:

          (a) the spread adjustment, or method for calculating or determining such spread adjustment, (which
 may be a positive or negative value or zero) as of the Reference Time such Benchmark Replacement is first
 set for such Available Tenor that has been selected or recommended by the Relevant Governmental Body
 for the replacement of such Benchmark with the applicable Unadjusted Benchmark Replacement for the
 applicable Corresponding Tenor;


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          (b) the spread adjustment (which may be a positive or negative value or zero) as of the Reference
 Time such Benchmark Replacement is first set for such Available Tenor that would apply to the fallback
 rate for a derivative transaction referencing the ISDA Definitions to be effective upon an index cessation
 event with respect to such Benchmark for the applicable Corresponding Tenor; and

         (2) for purposes of clause (3) of the definition of “Benchmark Replacement,” the spread adjustment,
 or method for calculating or determining such spread adjustment, (which may be a positive or negative
 value or zero) that has been selected by the Required Lenders for the applicable Corresponding Tenor giving
 due consideration to (i) any selection or recommendation of a spread adjustment, or method for calculating
 or determining such spread adjustment, for the replacement of such Benchmark with the applicable
 Unadjusted Benchmark Replacement by the Relevant Governmental Body on the applicable Benchmark
 Replacement Date or (ii) any evolving or then-prevailing market convention for determining a spread
 adjustment, or method for calculating or determining such spread adjustment, for the replacement of such
 Benchmark with the applicable Unadjusted Benchmark Replacement for U.S. dollar denominated
 syndicated credit facilities;

         provided that, (x) in the case of clause (1) above, such adjustment is displayed on a screen or other
 information service that publishes such Benchmark Replacement Adjustment from time to time as selected
 by the Required Lenders in their reasonable discretion and (y) if the then-current Benchmark is a term rate,
 more than one tenor of such Benchmark is available as of the applicable Benchmark Replacement Date and
 the applicable Unadjusted Benchmark Replacement will not be a term rate, the Available Tenor of such
 Benchmark for purposes of this definition of “Benchmark Replacement Adjustment” shall be deemed to be
 the Available Tenor that has approximately the same length (disregarding business day adjustments) as the
 payment period for interest calculated with reference to such Unadjusted Benchmark Replacement.

         “Benchmark Replacement Conforming Changes” means, with respect to any Benchmark
 Replacement, any technical, administrative or operational changes (including changes to the definition of
 “Prime Rate,” the definition of “Business Day,” the definition of “Interest Period,” timing and frequency
 of determining rates and making payments of interest, timing of borrowing requests or prepayment,
 conversion or continuation notices, length of lookback periods, the applicability of breakage provisions,
 and other technical, administrative or operational matters) that the Required Lenders decide may be
 appropriate to reflect the adoption and implementation of such Benchmark Replacement and to permit the
 administration thereof by Administrative Agent and the Lenders in a manner substantially consistent with
 market practice (or, if the Required Lenders decide that adoption of any portion of such market practice is
 not administratively feasible or if the Required Lenders determine that no market practice for the
 administration of such Benchmark Replacement exists, in such other manner of administration as the
 Required Lenders decide is reasonably necessary in connection with the administration of this Agreement
 and the other Loan Documents).

          “Benchmark Replacement Date” means the earliest to occur of the following events with respect
 to the then-current Benchmark:

          (1) in the case of clause (1) or (2) of the definition of “Benchmark Transition Event,” the later of
 (a) the date of the public statement or publication of information referenced therein and (b) the date on
 which the administrator of such Benchmark (or the published component used in the calculation thereof)
 permanently or indefinitely ceases to provide all Available Tenors of such Benchmark (or such component
 thereof);

        (2) in the case of clause (3) of the definition of “Benchmark Transition Event,” the date determined
 by the Required Lenders, which date shall promptly follow the public statement or publication of
 information referenced therein;

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          (3) in the case of a Term SOFR Transition Event, the date that is set forth in the Term SOFR Notice
 provided to the Company pursuant to paragraph 2C(viii), which date shall be at least thirty (30) days from
 the date of the Term SOFR Notice; or

        (4) in the case of an Early Opt-in Election, the sixth (6th) Business Day after the date notice of such
 Early Opt-in Election is provided to the Borrowers and the Lenders.

          For the avoidance of doubt, (i) if the event giving rise to the Benchmark Replacement Date occurs
 on the same day as, but earlier than, the Reference Time in respect of any determination, the Benchmark
 Replacement Date will be deemed to have occurred prior to the Reference Time for such determination and
 (ii) the “Benchmark Replacement Date” will be deemed to have occurred in the case of clause (1) or (2)
 above with respect to any Benchmark upon the occurrence of the applicable event or events set forth therein
 with respect to all then-current Available Tenors of such Benchmark (or the published component used in
 the calculation thereof).

          “Benchmark Transition Event” means the occurrence of one or more of the following events with
 respect to the then-current Benchmark:

         (1) a public statement or publication of information by or on behalf of the administrator of such
 Benchmark (or the published component used in the calculation thereof) announcing that such administrator
 has ceased or will cease to provide all Available Tenors of such Benchmark (or such component thereof),
 permanently or indefinitely, provided that, at the time of such statement or publication, there is no successor
 administrator that will continue to provide any Available Tenor of such Benchmark (or such component
 thereof);

          (2) a public statement or publication of information by the regulatory supervisor for the
 administrator of such Benchmark (or the published component used in the calculation thereof), the Board
 of Governors of the Federal Reserve System, the Federal Reserve Bank of New York, an insolvency official
 with jurisdiction over the administrator for such Benchmark (or such component), a resolution authority
 with jurisdiction over the administrator for such Benchmark (or such component) or a court or an entity
 with similar insolvency or resolution authority over the administrator for such Benchmark (or such
 component), which states that the administrator of such Benchmark (or such component) has ceased or will
 cease to provide all Available Tenors of such Benchmark (or such component thereof) permanently or
 indefinitely, provided that, at the time of such statement or publication, there is no successor administrator
 that will continue to provide any Available Tenor of such Benchmark (or such component thereof); or

          (3) a public statement or publication of information by the regulatory supervisor for the
 administrator of such Benchmark (or the published component used in the calculation thereof) announcing
 that all Available Tenors of such Benchmark (or such component thereof) are no longer representative.

          For the avoidance of doubt, a “Benchmark Transition Event” will be deemed to have occurred with
 respect to any Benchmark if a public statement or publication of information set forth above has occurred
 with respect to each then-current Available Tenor of such Benchmark (or the published component used in
 the calculation thereof).

        “Benchmark Unavailability Period” means the period (if any) (x) beginning at the time that a
 Benchmark Replacement Date pursuant to clause (1) or (2) of that definition has occurred if, at such time,
 no Benchmark Replacement has replaced the then-current Benchmark for all purposes hereunder and under
 any Transaction Document in accordance with Section 2.12 and (y) ending at the time that a Benchmark
 Replacement has replaced the then-current Benchmark for all purposes hereunder and under any Loan
 Document in accordance with Section 2.12.

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        “Bidding Procedures Order” means an order in form and substance satisfactory to the Required
 Lenders approving the Sale Process and including the Acceptable Sale Provisions.

           “Blocked Person” means (i) a Person whose name appears on the list of Specially Designated
 Nationals and Blocked Persons published by OFAC, (ii) a Person, entity, organization, country or regime
 that is blocked or a target of sanctions that have been imposed under U.S. Economic Sanctions Laws or (iii)
 a Person that is an agent, department or instrumentality of, or is otherwise beneficially owned by, controlled
 by or acting on behalf of, directly or indirectly, any Person, entity, organization, country or regime described
 in clause (i) or (ii).

         “Borrower” and “Borrowers” has the meaning specified in the preamble hereto.

         “Borrowing” means the borrowing of a Loan pursuant to Article II hereof.

         “Business Day” means any day other than a Saturday, Sunday or other day on which commercial
 banks are authorized to close under the Laws of, or are in fact closed in, New York or Texas.

        “Capitalized Leases” means, at any time, a lease with respect to which the lessee is required
 concurrently to recognize the acquisition of an asset and the incurrence of a liability in accordance with
 GAAP.

         “Carve Out” has the meaning specified in the Interim DIP Order or, upon entry of the Final DIP
 Order, in the Final DIP Order, as applicable.

         “Cash Balance Report” has the meaning specified in Section 6.01(c).

       “Cash Equivalents” means any of the following types of Investments, to the extent owned by any
 Borrower free and clear of all Liens (other than Liens created by Article XII or permitted by Section 7.01):

                 (a) readily marketable obligations issued or directly and fully guaranteed or insured by the
         United States of America or any agency or instrumentality thereof having maturities of not more
         than three hundred sixty (360) days from the date of acquisition thereof; provided that the full faith
         and credit of the United States of America is pledged in support thereof;

                   (b) time deposits with, or insured certificates of deposit or bankers’ acceptances of, any
         commercial bank that (i) (A) is a Lender or (B) is organized under the laws of the United States of
         America, any state thereof or the District of Columbia or is the principal banking subsidiary of a
         bank holding company organized under the laws of the United States of America, any state thereof
         or the District of Columbia, and is a member of the Federal Reserve System, (ii) issues (or the
         parent of which issues) commercial paper rated as described in clause (c) of this definition and
         (iii) has combined capital and surplus of at least $1,000,000,000, in each case with maturities of
         not more than one hundred eighty (180) days from the date of acquisition thereof;

                  (c) commercial paper issued by any Person organized under the laws of any state of the
         United States of America and rated at least “Prime-1” (or the then equivalent grade) by Moody’s
         or at least “A-1” (or the then equivalent grade) by S&P, in each case with maturities of not more
         than one hundred eighty (180) days from the date of acquisition thereof; and

                (d) Investments, classified in accordance with GAAP as current assets of any Borrower,
         in money market investment programs registered under the Investment Company Act of 1940,
         which are administered by financial institutions that have the highest rating obtainable from either


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         Moody’s or S&P, and the portfolios of which are limited solely to Investments of the character,
         quality and maturity described in clauses (a), (b) and (c) of this definition.

        “Cash Management Order” means an order, in form and substance acceptable to the Required
 Lenders in their sole discretion, entered by the Bankruptcy Court with respect to the Borrowers’ use of a
 cash management system in accordance with the terms of this Agreement and the DIP Orders.

          “Change in Law” means the occurrence, after the date of this Agreement, of any of the following:
 (a) the adoption or taking effect of any law, rule, regulation or treaty, (b) any change in any law, rule,
 regulation or treaty or in the administration, interpretation, implementation or application thereof by any
 Governmental Authority or (c) the making or issuance of any request, rule, guideline or directive (whether
 or not having the force of law) by any Governmental Authority; provided that notwithstanding anything
 herein to the contrary, (x) the Dodd-Frank Wall Street Reform and Consumer Protection Act and all
 requests, rules, guidelines or directives thereunder or issued in connection therewith and (y) all requests,
 rules, guidelines or directives promulgated by the Bank for International Settlements, the Basel Committee
 on Banking Supervision (or any successor or similar authority) or the United States regulatory authorities,
 in each case pursuant to Basel III, shall in each case be deemed to be a “Change in Law”, regardless of the
 date enacted, adopted, implemented or issued.

        “Closing Date” means the first date all the conditions precedent in Section 4.01 are satisfied or
 waived in accordance with Section 11.01.

         “Code” means the Internal Revenue Code of 1986, as amended from time to time, and the rules and
 regulations promulgated thereunder from time to time.

         “Collateral” has the meaning specified in Section 12.01(a).

          “Collateral Agent” means Wilmington Trust, National Association in its capacity as collateral agent
 for the Secured Parties under any of the Loan Documents, or any successor collateral agent.

          “Commitment” means, as to each Lender, its obligation to make Loans to the Borrowers pursuant
 to Section 2.01(a) in an aggregate principal amount at any one time outstanding not to exceed the amount
 set forth opposite such Lender’s name on Schedule 2.01 under the caption “Facility Commitment” or
 opposite such caption in the Assignment and Assumption pursuant to which such Lender becomes a party
 hereto, as applicable, as such amount may be adjusted from time to time in accordance with this Agreement.
 The aggregate Commitments of the Lenders as of the date hereof is fifteen million dollars ($15,000,000),
 or such lesser amount as may be determined by the Bankruptcy Court; provided, however, prior to the Final
 Order Entry Date, such aggregate amount shall for all Lenders not exceed the Interim Commitment Amount.

         “Committed Loan Notice” means a notice of Borrowing, converting, or continuing a Loan pursuant
 to Section 2.02(a), which, if in writing, shall be substantially in the form of Exhibit A.

         “Committee” means the official creditors’ committee of creditors holdings unsecured claims,
 appointed by the Office of the United Stated Trustee of the Bankruptcy Court on July 30, 2021, in respect
 of the Cases pursuant to section 1102(a) of the Bankruptcy Code.

       “Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. § 1 et seq.), as
 amended from time to time, and any successor statute.

         “Connection Income Taxes” means Other Connection Taxes that are imposed on or measured by
 net income (however denominated) or that are franchise Taxes or branch profits Taxes.


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         “Contractual Obligation” means, with respect to any Person, any provision of any document or
 undertaking (other than a Loan Document) to which such Person is a party or by which it or any of its
 property is bound or to which any of its property is subject.

         “Control” means the possession, directly or indirectly, of the power to direct or cause the direction
 of the management and policies of a Person, whether through the ownership of voting securities, by contract
 or otherwise. “Controlling” and “Controlled” have meanings correlative thereto.

         “Controllable Costs” means fuel transportation costs, water costs and other fixed costs associated
 with operating the Projects, in each case, as indicated as “Controllable Costs” in the DIP Budget.

         “Controlled Entity” means (a) any of the Borrower’s respective Controlled Affiliates and (b) any
 of the Borrower’s parent companies and their respective Controlled Affiliates. As used in this definition,
 “Control” means the possession, directly or indirectly, of the power to direct or cause the direction of the
 management and policies of a Person, whether through the ownership of voting securities, by contract or
 otherwise.

          “Controlled Account” means each deposit account and securities account that is subject to a Lien
 and, from and after the Interim Order Entry Date, shall each be subject to an account control agreement in
 favor of the Collateral Agent and in form and substance reasonably satisfactory to the Administrative Agent
 and the Required Lenders.

         “Corresponding Tenor” with respect to any Available Tenor means, as applicable, either a tenor
 (including overnight) or an interest payment period having approximately the same length (disregarding
 business day adjustment) as such Available Tenor.

         “Credit Extension” means a Borrowing.

          “Daily Simple SOFR” means, for any day, SOFR, with the conventions for this rate (which will
 include a lookback) being established by the Required Lenders in accordance with the conventions for this
 rate selected or recommended by the Relevant Governmental Body for determining “Daily Simple SOFR”
 for business loans; provided, that if the Required Lenders decide that any such convention is not
 administratively feasible for the Administrative Agent or the Lenders, then the Required Lenders may
 establish another convention in its reasonable discretion.

         “Debtor Relief Laws” means the Bankruptcy Code of the United States, and all other liquidation,
 conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium, rearrangement,
 receivership, insolvency, reorganization, or similar debtor relief laws of the United States or other
 applicable jurisdictions from time to time in effect and affecting the rights of creditors generally.

         “Default” means any event or condition that constitutes an Event of Default or that, with the giving
 of any notice, the passage of time, or both, would be an Event of Default.

          “Default Rate” means (a) with respect to any Obligation for which an interest rate is specified, an
 interest rate per annum equal to 2.0% in excess of the interest rate otherwise applicable thereto and (b) with
 respect to any Obligation for which an interest rate is not specified or available, an interest rate per annum
 equal to the Prime Rate plus the Applicable Margin with respect to Prime Loans plus 2.0%, in each case,
 to the fullest extent permitted by applicable Laws.

         “Demand for Collateral” means a demand by a Project Party for additional cash or other collateral
 assets under a Material Project Document.


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         “DIP Budget” has the meaning specified in Section 6.01(c).

         “DIP Orders” means the Interim DIP Order, the Final DIP Order and any amendment, modification
 or supplement thereto in form and substance acceptable to the Required Lenders in their sole discretion.

          “Disposition” or “Dispose” means the sale, transfer, license, lease or other disposition (including
 any sale and leaseback transaction) of any property by any Person (or the granting of any option or other
 right to do any of the foregoing), including any sale, assignment, transfer or other disposal, with or without
 recourse, of any notes or accounts receivable or any rights and claims associated therewith.

         “Distributions” means any (a) distribution of any nature or kind, either directly or indirectly, to any
 equity holder of any Borrower, including any dividend or distribution in cash or property of any kind and
 any “Tax Distributions” (as defined in any Borrower’s limited liability company Operating Agreement); a
 purchase, redemption, reduction, return or any other payment of capital; or any repayment or reduction of
 Indebtedness owing to an equity holder of any Borrower or any Affiliate of any of them; (b) loans or other
 payments to an equity holder of any Borrower or any Affiliate of any of them; and (c) payment for or on
 behalf of an equity holder of any Borrower or any Affiliate of any of them by way of guaranty, indemnity
 or otherwise including in connection with any Indebtedness; but shall not include any payments made to a
 Project Party under a Material Project Document.

         “Division/Series Transaction” means, with respect to any Person, a division of any such Person
 into two or more Persons pursuant to Section 18-217 of the Delaware Limited Liability Act (or any similar
 provision in any other applicable jurisdiction), or an allocation of assets of such person pursuant to such a
 division.

         “Dollar” and “$” mean lawful money of the United States.

         “Early Opt-in Election” means, if the then-current Benchmark is LIBO Rate, the occurrence of:

         (1) a notification by the Required Lenders to each of the other parties hereto that at least five
 currently outstanding U.S. dollar-denominated syndicated credit facilities at such time contain (as a result
 of amendment or as originally executed) a SOFR-based rate (including SOFR, a term SOFR or any other
 rate based upon SOFR) as a benchmark rate (and such syndicated credit facilities are identified in such
 notice and are publicly available for review), and

        (2) the joint election by the Required Lenders and the Administrative Borrower to trigger a fallback
 from LIBO Rate and the provision by the Required Lenders of written notice of such election to the
 Administrative Agent and the other Lenders.

          “Easements” means (i) with respect to the Victoria Port Project, those easements listed on Part I of
 Schedule 2, and (ii) with respect to the Victoria City Project, those easements listed on Part II of Schedule
 2, and, in each case, each additional easement that benefits a Project entered into after the Closing Date
 with the prior written consent of the Required Lenders.

          “EEA Financial Institution” means (a) any credit institution or investment firm established in any
 EEA Member Country which is subject to the supervision of an EEA Resolution Authority, (b) any entity
 established in an EEA Member Country which is a parent of an institution described in clause (a) of this
 definition, or (c) any financial institution established in an EEA Member Country which is a subsidiary of
 an institution described in clauses (a) or (b) of this definition and is subject to consolidated supervision with
 its parent.



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         “EEA Member Country” means any of the member states of the European Union, Iceland,
 Liechtenstein, and Norway.

         “EEA Resolution Authority” means any public administrative authority or any Person entrusted
 with public administrative authority of any EEA Member Country (including any delegee) having
 responsibility for the resolution of any credit institution or investment firm established in any EEA Member
 Country.

         “Eligible Assignee” means any Person that meets the requirements to be an assignee under Section
 11.06(b)(iii), (v) and (vi) (subject to such consents, if any, as may be required under Section 11.06(b)(iii)).

         “Emergency DIP Facility” has the meaning specified in the recitals hereto.

         “Emergency DIP Loan” has the meaning specified in the recitals hereto.

         “Emergency DIP Obligations” means all advances to, and debts, liabilities, fees, obligations,
 indemnifications, covenants and duties of, any Borrower arising under the Emergency DIP Order or
 otherwise with respect to the Emergency DIP Facility, whether direct or indirect, absolute or contingent
 and due and owing as of the Closing Date.

         “Emergency DIP Order” has the meaning specified in the recitals hereto.

         “Emergency DIP Order Entry Date” has the meaning specified in the recitals hereto.

          “Environmental Claim” means any and all administrative, regulatory or judicial actions, suits,
 demands, decrees, claims, liens, judgments, written warning notices, written notices of noncompliance or
 violation, investigations, proceedings, removal or remedial actions or orders, or damages (foreseeable and
 unforeseeable, including consequential and punitive damages), penalties, fees, out-of-pocket costs,
 expenses, disbursements, attorneys’ or consultants’ fees, relating in any way to any actual or alleged breach
 or violation of any Environmental Law or any Required Approval issued under any such Environmental
 Law (hereafter “Environmental Proceedings”), including (a) any and all Environmental Proceedings by
 Governmental Authorities for enforcement, cleanup, removal, response, remedial or other actions or
 damages pursuant to any applicable Environmental Law, and (b) any and all Environmental Proceedings
 by any third party seeking damages, contribution, indemnification, cost recovery, compensation or
 injunctive relief resulting from Hazardous Material or arising from alleged injury or threat of injury to
 health, safety or the environment.

         “Environmental Laws” means any and all federal, state, local, and foreign statutes, laws,
 regulations, ordinances, rules, judgments, orders, decrees, permits, concessions, grants, franchises, licenses,
 agreements or governmental restrictions relating to pollution and the protection of the environment, the
 treatment, use, generation, handling or storage of Hazardous Materials or the release of any Hazardous
 Materials.

          “Equity Interests” means, with respect to any Person, all of the shares of capital stock of (or other
 ownership or profit interests in) such Person, all of the warrants, options or other rights for the purchase or
 acquisition from such Person of shares of capital stock of (or other ownership or profit interests in) such
 Person, all of the securities convertible into or exchangeable for shares of capital stock of (or other
 ownership or profit interests in) such Person or warrants, rights or options for the purchase or acquisition
 from such Person of such shares (or such other interests), and all of the other ownership or profit interests
 in such Person (including partnership, member or trust interests therein), whether voting or nonvoting, and



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 whether or not such shares, warrants, options, rights or other interests are outstanding on any date of
 determination.

         “ERCOT” means Electric Reliability Council of Texas, Inc.

          “ERCOT Protocols” means the document adopted, published and amended from time to time by
 ERCOT, and approved by the Texas Public Utility Commission, to govern electric transmission in ERCOT,
 including any attachments, exhibits or publications referenced in the document, and settlement policies,
 rules, guidelines, procedures, standards and criteria of ERCOT.

         “ERISA” means the Employee Retirement Income Security Act of 1974, as amended from time to
 time, and the rules and regulations promulgated thereunder from time to time in effect.

         “ERISA Affiliate” means, with respect to any Borrower, any trade or business (whether or not
 incorporated) that is treated as a single employer together with any Borrower under section 414 of the Code.

       “EU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule published by the
 Loan Market Association (or any successor thereto), as in effect from time to time.

         “Event of Default” has the meaning specified in Section 8.01.

         “Event of Eminent Domain” means any compulsory transfer or taking by condemnation, eminent
 domain or exercise of a similar power, or transfer or sale under threat of such compulsory transfer or taking,
 of any part of a Project, a Site or other Collateral, by any agency, department, authority, commission, board,
 instrumentality or political subdivision of the State of Texas, the United States or another Governmental
 Authority having jurisdiction.

         “Excess Cash” means, as of any date of determination, the dollar amount of (a) the Borrowers’
 unrestricted cash and Cash Equivalents that are in Controlled Accounts that exceeds $300,000 minus (b)
 the sum of (i) amounts on deposit for any Demand for Collateral and (ii) the amount of forecasted
 disbursements in the DIP Budget projected to be made during the next four weeks after such date of
 determination.

         “Exchange Act” means the Securities Exchange Act of 1934, as amended from time to time.

          “Excluded Taxes” means, with respect to any Lender or any other recipient of any payment to be
 made by or on account of any obligation of any Borrower, (a) net income taxes (including branch profits
 and similar taxes, if any) and franchise taxes imposed on any such recipient by the United States of America,
 any political subdivision thereof or therein, or any other country or any political subdivision of any country,
 in which any recipient is organized, or has its principal office or, in the case of any Lender, its applicable
 lending office, (b) in the case of any such recipient that is not a United States person (as defined in section
 7701(a)(30) of the Code), any U.S. federal withholding tax that is imposed on amounts payable to such
 recipient pursuant to a law in effect on the date on which (i) such recipient becomes a party to the Agreement
 or designates a new lending office, except in each case to the extent that, pursuant to Section 11.06, amounts
 with respect to such Taxes were payable either to such Lender's assignor immediately before such Lender
 became a party hereto or to such Lender immediately before it changed its lending office, (c) any Taxes
 attributable to such recipient’s failure to comply with Section 3.01(e) hereof, and (d) any U.S. federal
 withholding Taxes attributable to FATCA.

      “Exempt Wholesale Generator” means an “exempt wholesale generator” under Section 1262 of
 PUHCA and the implementing regulations of the FERC, at 18 C.F.R. §§ 366.1 and 366.7 (2017).


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         “Extraordinary Receipt” means any payments received by any Borrower of (i) proceeds of
 judgments, proceeds of settlements, or other consideration of any kind received in connection with any
 cause of action or claim, (ii) indemnity payments, and (iii) tax refunds.

         “Facility” means, at any time, (a) the aggregate amount of Commitments of all Lenders at such
 time, and (b) the aggregate principal amount of the Loans of all Lenders outstanding at such time.

          “FATCA” means (a) sections 1471 through 1474 of the Code, as of the date of this Agreement (or
 any amended or successor version that is substantively comparable and not materially more onerous to
 comply with), together with any current or future regulations or official interpretations thereof, (b) any
 treaty, law or regulation of any other jurisdiction, or relating to an intergovernmental agreement between
 the United States of America and any other jurisdiction, which (in either case) facilitates the implementation
 of the foregoing clause (a), and (c) any agreements entered into pursuant to section 1471(b)(1) of the Code.

         “Federal Funds Rate” means, for any day, the rate per annum equal to the weighted average of the
 rates on overnight Federal funds transactions with members of the Federal Reserve System arranged by
 Federal funds brokers on such day, as published by the Federal Reserve Bank of New York on the Business
 Day next succeeding such day; provided that (a) if such day is not a Business Day, the Federal Funds Rate
 for such day shall be such rate on such transactions on the next preceding Business Day as so published on
 the next succeeding Business Day, and (b) if no such rate is so published on such next succeeding Business
 Day, the Federal Funds Rate for such day shall be the average rate (rounded upward, if necessary, to a
 whole multiple of 1/100 of 1%) charged to JPMorgan Chase Bank, N.A. on such day on such transactions
 as determined by the L/C Issuing Bank.

           “FERC” means the Federal Energy Regulatory Commission, or any successor agency to its duties
 and responsibilities and, in connection with Section 215 of the FPA, any national or regional electric
 reliability organization so certified or determined by the FERC.

          “Final DIP Order” means, collectively, a final order of the Bankruptcy Court, in form and substance
 satisfactory to the Required Lenders in their sole discretion, entered in the Cases pursuant to section 364 of
 the Bankruptcy Code approving this Agreement and the other Loan Documents on a final basis, confirming
 the Interim DIP Order and authorizing (i) the Borrower to obtain credit as contemplated hereunder, (ii) the
 Borrowers to incur the Obligations and grant Liens under the Loan Documents and (iii) the Borrowers to
 use cash collateral.

        “Final Order Entry Date” means the date on which the Final DIP Order is entered on the docket of
 the Bankruptcy Court.

         “Final Roll-Up Loans” has the meaning set forth in Section 2.01(c).

         “Floor” means 1.00% per annum.

         “Force Majeure Event” means an event or circumstance beyond the reasonable control of the
 Person claiming the existence of a Force Majeure Event, that could not have been prevented by the exercise
 of reasonable care by such Person and that has a material effect on the ability of such Person to perform its
 obligations (assuming the foregoing conditions are satisfied), acts of God, strikes, lockouts or other
 industrial disturbances of a regional or national scope, acts of the public enemy, orders of a governmental
 authority, insurrection, riots, epidemics, civil disturbances, explosions, nuclear accidents, wars, or breakage
 of equipment due to a Force Majeure Event.




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          “Foreign Lender” means any Lender that is organized under the Laws of a jurisdiction other than
 that in which the Borrowers are resident for tax purposes. For purposes of this definition, the United States,
 each State thereof and the District of Columbia shall be deemed to constitute a single jurisdiction.

        “FPA” means the Federal Power Act, 16 U.S.C. §§791 et seq., as amended, and the regulations of
 the FERC thereunder.

         “FRB” means the Board of Governors of the Federal Reserve System of the United States.

         “Fund” means any Person (other than a natural person) that is (or will be) engaged in making,
 purchasing, holding or otherwise investing in commercial loans and similar extensions of credit in the
 ordinary course of its activities.

         “GAAP” means generally accepted accounting principles as in effect from time to time in the
 United States of America.

          “Governmental Authority” means (a) the government of (i) the United States or any State or other
 political subdivision thereof, or (ii) any other jurisdiction in which any Borrower conducts all or any part
 of its business, or which asserts jurisdiction over any properties of any Borrower, (b) any entity exercising
 executive, legislative, judicial, regulatory or administrative functions of, or pertaining to, any such
 government, or (c) ERCOT.

          “Guarantee” means, with respect to any Person, any obligation (except the endorsement in the
 ordinary course of business of negotiable instruments for deposit or collection) of such Person guaranteeing
 or in effect guaranteeing any indebtedness, dividend or other obligation of any other Person in any manner,
 whether directly or indirectly, including (without limitation) obligations incurred through an agreement,
 contingent or otherwise, by such Person: (a) to purchase such indebtedness or obligation or any property
 constituting security therefor, (b) to advance or supply funds (i) for the purchase or payment of such
 indebtedness or obligation, or (ii) to maintain any working capital or other balance sheet condition or any
 income statement condition of any other Person or otherwise to advance or make available funds for the
 purchase or payment of such indebtedness or obligation, (c) to lease properties or to purchase properties or
 services primarily for the purpose of assuring the owner of such indebtedness or obligation of the ability of
 any other Person to make payment of the indebtedness or obligation, or (d) otherwise to assure the owner
 of such indebtedness or obligation against loss in respect thereof. In any computation of the indebtedness
 or other liabilities of the obligor under any Guarantee, the indebtedness or other obligations that are the
 subject of such Guarantee shall be assumed to be direct obligations of such obligor. The term “Guarantee”
 as a verb has a corresponding meaning.

         “Hazardous Materials” means any and all pollutants, toxic or hazardous wastes or other substances
 that might pose a hazard to health and safety, the removal of which may be required or the generation,
 manufacture, refining, production, processing, treatment, storage, handling, transportation, transfer, use,
 disposal, release, discharge, spillage, seepage or filtration of which is or shall be restricted, prohibited or
 penalized by any applicable law including, but not limited to, asbestos, urea formaldehyde foam insulation,
 polychlorinated biphenyls, petroleum, petroleum products, lead based paint, radon gas or similar restricted,
 prohibited or penalized substances.

         “Indebtedness” with respect to any Person means, at any time, without duplication:

                (a)     its liabilities for borrowed money and its redemption obligations in respect of
         mandatorily redeemable Preferred Stock;



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                 (b) its liabilities for the deferred purchase price of property acquired by such Person
         (excluding accounts payable arising in the ordinary course of business but including all liabilities
         created or arising under any conditional sale or other title retention agreement with respect to any
         such property);

                 (c) (i) all liabilities appearing on its balance sheet in accordance with GAAP in respect of
         Capital Leases and (ii) all liabilities which would appear on its balance sheet in accordance with
         GAAP in respect of Synthetic Leases assuming such Synthetic Leases were accounted for as
         Capital Leases;

                   (d) all liabilities for borrowed money secured by any Lien with respect to any property
         owned by such Person (whether or not it has assumed or otherwise become liable for such
         liabilities);

                 (e) all its liabilities in respect of letters of credit or instruments serving a similar function
         issued or accepted for its account by banks and other financial institutions (whether or not
         representing obligations for borrowed money);

                    (f) the aggregate Swap Termination Value of all Swap Contracts of such Person; and

                 (g) any Guarantee of such Person with respect to liabilities of a type described in any of
         clauses (a) through (f) hereof.

         Indebtedness of any Person shall include all obligations of such Person of the character described
 in clauses (a) through (g) to the extent such Person remains legally liable in respect thereof notwithstanding
 that any such obligation is deemed to be extinguished under GAAP.

         “Indemnified Losses” is defined in Section 11.04(b).

         “Indemnified Parties” is defined in Section 11.04(b).

          “Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or with respect to
 any payment made by or on account of any obligation of any Borrower under any Loan Document and (b)
 to the extent not described in (a), Other Taxes.

        “Independent Engineer” means any independent engineering firm approved by the Required
 Lenders.

         “Independent Manager” means Hugh Smith, who is engaged pursuant to the terms of that certain
 consulting agreement, dated as of December 8, 2020, by and between him and Parent, as the same may be
 amended or otherwise modified with the prior written consent of the Required Lenders.

         “Information” has the meaning specified in Section 11.07.

         “Initial DIP Budget” has the meaning specified in Section 4.01(d).

        “Interest Payment Date” means, the last day of each calendar month (or, if such day is not a
 Business Day, the next succeeding Business Day) and the Maturity Date.

         “Interest Period” means, as to each LIBOR Loan, the period commencing on the date such LIBOR
 Loan is disbursed or converted to or continued as a LIBOR Loan and ending on the date one (1) month


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 thereafter (subject to availability), as selected by the Administrative Borrower in its Committed Loan
 Notice; provided, that:

                 (a)     any Interest Period that would otherwise end on a day that is not a Business Day
         shall be extended to the next succeeding Business Day unless such Business Day falls in another
         calendar month, in which case such Interest Period shall end on the next preceding Business Day;

                  (b)     any Interest Period that begins on the last Business Day of a calendar month (or on
         a day for which there is no numerically corresponding day in the calendar month at the end of such
         Interest Period) shall end on the last Business Day of the calendar month at the end of such Interest
         Period; and

                    (c)   no Interest Period shall extend beyond the Maturity Date.

         “Interim Commitment Amount” means an aggregate principal amount equal to six million dollars
 ($6,000,000.00), or such lesser amount as may be determined by the Bankruptcy Court.

          “Interim DIP Order” means an interim order of the Bankruptcy Court, substantially in the form
 attached hereto as Annex II (or in the form and substance reasonably satisfactory to the Required Lenders
 in their sole discretion), entered in the Cases pursuant to section 364 of the Bankruptcy Code, approving
 this Agreement and the other Loan Documents on an interim basis and authorizing, among other things, (i)
 the Borrowers to obtain credit as contemplated hereunder, (ii) the Borrowers to incur the Obligations and
 grant Liens under the Loan Documents, and (iii) the Borrowers to use cash collateral.

         “Interim Order Entry Date” means the date on which the Interim DIP Order is entered on the docket
 of the Bankruptcy Court.

         “Interim Roll-Up Loans” has the meaning set forth in Section 2.01(c).

          “Investment” means, as to any Person, any direct or indirect acquisition or investment by such
 Person, whether by means of (a) the purchase or other acquisition of Equity Interests of another Person, (b)
 a loan, advance or capital contribution to, Guarantee or assumption of debt of, or purchase or other
 acquisition of any other debt or interest in, another Person, or (c) the purchase or other acquisition (in one
 transaction or a series of transactions) of assets of another Person that constitute a business unit or all or a
 substantial part of the business of such Person. For purposes of covenant compliance, the amount of any
 Investment shall be the amount actually invested, without adjustment for subsequent increases or decreases
 in the value of such Investment.

         “Insurance Proceeds” means all amounts and proceeds (including instruments) in respect of any
 Loss payable under any insurance policy maintained by or on behalf of any Borrower, other than proceeds
 received under business interruption insurance.

         “IRS” means the United States Internal Revenue Service.

          “ISDA Definitions” means the 2006 ISDA Definitions published by the International Swaps and
 Derivatives Association, Inc. or any successor thereto, as amended or supplemented from time to time, or
 any successor definitional booklet for interest rate derivatives published from time to time by the
 International Swaps and Derivatives Association, Inc. or such successor thereto.

         “Laws” means, collectively, all international, foreign, Federal, state and local statutes, treaties,
 rules, guidelines, regulations, ordinances, codes and administrative or judicial precedents or authorities,


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 including the interpretation or administration thereof by any Governmental Authority charged with the
 enforcement, interpretation or administration thereof, and all applicable administrative orders, directed
 duties, requests, licenses, authorizations and permits of, and agreements with, any Governmental Authority,
 in each case whether or not having the force of law.

         “Lender” has the meaning specified in the introductory paragraph hereto and, as the context
 requires.

         “Lending Office” means, as to any Lender, the office or offices of such Lender described as such
 in such Lender’s Administrative Questionnaire, or such other office or offices as a Lender may from time
 to time notify the Administrative Borrower and the Administrative Agent.

          “LIBO Rate” means the rate per annum as published by ICE Benchmark Administration Limited
 (or any successor page or other commercially available source as the Required Lenders may designate from
 time to time) as of 11:00 a.m., London time, two (2) Business Days prior to the commencement of the
 requested Interest Period, for a term, and in an amount, comparable to the Interest Period and the amount
 of the LIBOR Loan requested (whether as an initial LIBOR Loan or as a continuation of a LIBOR Loan or
 as a conversion of a Prime Loan to a LIBOR Loan) by Borrowers in accordance with this Agreement (and,
 if any such published rate is below the Floor then in effect, then the rate shall be deemed to be the Floor).
 Each determination of the LIBO Rate shall be made by the Required Lenders and shall be conclusive in the
 absence of manifest error. The LIBO Rate shall be no less than the Floor.

         “LIBOR Loan” means any Loan that bears interest at a rate based on the LIBO Rate.

         “Lien” means, with respect to any Person, any mortgage, lien, pledge, charge, security interest or
 other encumbrance, or any interest or title of any vendor, lessor, lender or other secured party to or of such
 Person under any conditional sale or other title retention agreement or Capital Lease, upon or with respect
 to any property or asset of such Person (including in the case of stock, stockholder agreements, voting trust
 agreements and all similar arrangements).

         “Loan” has the meaning specified in Section 2.01(a).

          “Loan Documents” means, collectively, (a) this Agreement, (b) the Notes, (c) the DIP Orders and
 any Cash Management Order, and (d) each other agreement, certificate, document or instrument delivered
 by any Borrower in connection with any Loan Document, whether or not specifically mentioned herein or
 therein; provided that no Swap Contract shall constitute a Loan Document hereunder.

         “Local Account” means with respect to Agilon, account no. 1004204226, established and
 maintained at Allegiance Bank.

          “Loss” means any loss, theft, destruction, damage, casualty, Event of Eminent Domain, title defect
 or failure, zoning change, taking, condemnation, seizure, confiscation or requisition of or with respect to a
 Project or any part thereof.

          “Loss Proceeds” means the aggregate amount of all Insurance Proceeds (including, without
 limitation, title insurance proceeds), other than proceeds received under business interruption insurance,
 and any other proceeds paid to, or for the benefit of, any Borrower in connection with any Loss.

         “Material Adverse Effect” means a material adverse effect on one or more of the following: (a) the
 business, operations or condition of any Borrower or the Borrowers (financial or otherwise) of any
 Borrower; (b) the ability of any Borrower to perform its obligations under any of the Loan Documents or


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 Material Project Documents to which it is a party; (c) the rights or remedies of the Agents or any Lender;
 or (d) the validity, enforceability or priority of the Liens granted to the Collateral Agent to secure the
 Obligations; provided that, the filing of the Cases, the events leading to the filing of the Cases, the events
 that typically result from the filing of a case under Chapter 11 of the Bankruptcy Code shall not constitute
 a Material Adverse Effect.

         “Material Contract” means (a) any energy purchase or sale agreement or heat rate call option or
 other energy hedge arrangement entered into after the Closing Date, (b) any other Contractual Obligation
 of any Borrower that is material to development, financing, construction, operation or maintenance of a
 Project or (c) any Contractual Obligation pursuant to which the aggregate payments to be made by any
 Borrower or the aggregate liabilities to be incurred by such Borrower thereunder exceed $100,000 in any
 year.

          “Material Project Documents” each of the documents and agreements that were or are material to
 the operation of any of the Debtors businesses as set forth on Schedule 5.21, in each case, as in effect on or
 after January 1, 2021, as amended, restated, supplemented or otherwise modified (including the status of
 each such document and agreement, whether terminated or in effect), together with any document or
 agreement that amends, supplements or replaces any of the foregoing with the prior written consent of the
 Required Lenders.

          “Maturity Date” means, the earliest of (a) March 1, 2022, (b) the earlier of the date (i) the Borrowers
 enter into (or file a motion with the Bankruptcy Court or otherwise support another Person taking action to
 pursue the Bankruptcy Court for approval of) a purchase agreement, unless such purchase agreement is
 entered into in connection with the Auction conducted pursuant to the Bidding Procedures Order, and (ii)
 the Borrowers file a motion or otherwise support another person taking action to pursue the Bankruptcy
 Court for approval of a sale (other than an Auction conducted pursuant to the Bidding Procedures Order),
 (c) the consummation of a sale of all or substantially all of the assets of any of the Borrowers or any Equity
 Interests of a Borrower pursuant to section 363 of the Bankruptcy Code or otherwise, (d) the effective date
 of a Plan of Reorganization or liquidation in the Cases, (e) the date of filing or support by the Borrowers of
 a Plan of Reorganization that (i) does not provide for indefeasible payment in full in cash of all Obligations
 in connection with the Facility and all obligations in connection with the Prepetition Senior Secured Note
 Documents and (ii) is not otherwise acceptable to the Required Lenders, (f) the filing of a motion by the
 Borrowers seeking dismissal of any Cases, the dismissal of any of the Cases, the filing of a motion by the
 Borrowers seeking to convert any of the Cases to a case under Chapter 7 of the Bankruptcy Code or the
 conversion of any of the Cases to a case under Chapter 7 of the Bankruptcy Code, (g) the acceleration of
 the Obligations under the Facility following the occurrence of an Event of Default under the Loan
 Documents, and (h) the appointment of a Chapter 11 trustee.

         “Milestones” means each of the milestones set forth in Annex I.

         “Moody’s” means Moody’s Investors Service, Inc., or any successor entity.

         “Multiemployer Plan” means any Plan that is a “multiemployer plan” (as such term is defined in
 Section 4001(a)(3) of ERISA).

         “MW” means a megawatt (or 1,000 kilowatts) of electric capacity.

         “Net Cash Proceeds” means:

                 (a)     with respect to any Disposition by any Borrower, or any Extraordinary Receipt
         received or paid to the account of any Borrower, the excess, if any, of (i) the sum of cash and Cash

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         Equivalents received in connection with such transaction (including any cash or Cash Equivalents
         received by way of deferred payment pursuant to, or by monetization of, a note receivable or
         otherwise, but only as and when so received) over (ii) the sum of (A) the principal amount of any
         Indebtedness that is secured by the applicable asset and that is required to be repaid in connection
         with such transaction (other than Indebtedness under the Loan Documents), (B) the reasonable and
         customary out-of-pocket expenses incurred by such Borrower in connection with such transaction
         and (C) income taxes reasonably estimated to be actually payable within one year of the date of the
         relevant transaction as a result of any gain recognized in connection therewith; provided that, if the
         amount of any estimated taxes pursuant to subclause (C) exceeds the amount of taxes actually
         required to be paid in cash within one year of the date of the relevant transaction, the aggregate
         amount of such excess shall constitute Net Cash Proceeds; and

                 (b)      with respect to the sale or issuance of any Equity Interest by any Borrower, or the
         incurrence or issuance of any Indebtedness by any Borrower, the excess of (i) the sum of the cash
         and Cash Equivalents received in connection with such transaction over (ii) reasonable
         underwriting discounts and commissions, and other reasonable and customary out-of-pocket
         expenses, incurred by such Borrower in connection therewith.

        “Note” means a promissory note made by the Borrowers in favor of a Lender evidencing Loans
 made by such Lender, substantially in the form of Exhibit B.

         “NOx” is defined in Section 6.20.

        “Obligations” means all advances to, and debts, liabilities, fees, obligations, indemnifications,
 covenants and duties of, any Borrower arising under any Loan Document or otherwise with respect to any
 Loan, whether direct or indirect (including those acquired by assumption), absolute or contingent, due or
 to become due, now existing or hereafter arising.

        “OFAC” means the Office of Foreign Assets Control of the United States Department of the
 Treasury.

         “OFAC Sanctions Program” means any economic or trade sanction that OFAC is responsible for
 administering and enforcing.       A list of OFAC Sanctions Programs may be found at
 http://www.treasury.gov/resource-center/sanctions/Programs/Pages/Programs.aspx.

         “Operator” means a provider of management, operations, maintenance, and repair services for
 energy generation facilities acceptable to the Required Lenders.

         “Organization Documents” means, (a) with respect to any corporation, the certificate or articles of
 incorporation and the bylaws (or equivalent or comparable constitutive documents with respect to any non-
 U.S. jurisdiction); (b) with respect to any limited liability company, the certificate or articles of formation
 or organization and operating agreement; and (c) with respect to any partnership, joint venture, trust or
 other form of business entity, the partnership, joint venture or other applicable agreement of formation or
 organization and any agreement, instrument, filing or notice with respect thereto filed in connection with
 its formation or organization with the applicable Governmental Authority in the jurisdiction of its formation
 or organization and, if applicable, any certificate or articles of formation or organization of such entity.

         “Other Connection Taxes” means, with respect to any Recipient, Taxes imposed as a result of a
 present or former connection between such Recipient and the jurisdiction imposing such Tax (other than
 connections arising from such Recipient having executed, delivered, become a party to, performed its
 obligations under, received payments under, received or perfected a security interest under, engaged in any

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 other transaction pursuant to or enforced any Loan Document, or sold or assigned an interest in any Loan
 or Loan Document).

          “Other Taxes” means all present or future stamp, court or documentary, intangible, recording, filing
 or similar Taxes that arise from any payment made under, from the execution, delivery, performance,
 enforcement or registration of, from the receipt or perfection of a security interest under, or otherwise with
 respect to, any Loan Document, except any such Taxes that are Other Connection Taxes imposed with
 respect to an assignment.

         “Parent” means Agilon Energy II, LLC, a Texas limited liability company.

         “Participant” has the meaning specified in Section 11.06(d).

         “Participant Register” has the meaning specified in Section 11.06(e).

         “PBGC” means the Pension Benefit Guaranty Corporation referred to and defined in ERISA or any
 successor thereto.

          “Permitted Investment” means any (a) marketable direct obligation of the United States of America,
 (b) marketable obligation directly and fully guaranteed as to interest and principal by the United States of
 America, (c) demand deposit in any Controlled Account, or time deposit, certificate of deposit and banker’s
 acceptance issued by any member bank of the Federal Reserve System which is organized under the laws
 of the United States of America or any state thereof or any United States branch of a foreign bank, in each
 case whose equity capital is in excess of $500,000,000 and whose long-term debt securities are rated “A”
 or better by S&P and “A2” or better by Moody’s, (d) commercial paper or tax exempt obligations given the
 highest rating by Moody’s and S&P, (e) obligations of a commercial bank described in clause (c) above, in
 respect of the repurchase of obligations of the type as described in clauses (a) and (b) hereof, provided that
 such repurchase obligation shall be fully secured by obligations of the type described in said clauses (a) and
 (b) and the possession of such obligation shall be transferred to, and segregated from other obligations
 owned by, any such bank, (f) money market instruments rated “AAA” by S&P and “Aaa” by Moody’s, (g)
 Eurodollar certificates of deposit issued by any bank described in clause (c) above, and (h) marketable
 securities rated not less than “A-1” by S&P or not less than “Prime-1” by Moody’s. In no event shall
 Permitted Investments include any obligation, certificate of deposit, acceptance, commercial paper or
 instrument which by its terms matures more than one hundred eighty (180) days after the date of investment,
 unless a bank meeting the requirements of clause (c) above shall have agreed to repurchase such obligation,
 certificate of deposit, acceptance, commercial paper or instrument at its purchase price plus earned interest
 within no more than ninety (90) days after its purchase thereunder.

          “Permitted Lien” means: (a) Liens created pursuant to the Loan Documents; (b) Liens for taxes,
 assessments or governmental charges or levies not yet due and payable or Liens for taxes, assessments or
 governmental charges or levies being contested in good faith and by appropriate proceedings for which
 adequate reserves have been established and which proceedings have the effect of preventing the forfeiture
 or sale of the property or asset subject to such Lien; (c) Liens in respect of property or assets of any Borrower
 arising by operation of law, which were incurred in the ordinary course of business and do not secure
 Indebtedness for borrowed money, such as carriers’, warehousemen’s, materialmen’s and mechanics’ Liens
 and other similar Liens arising in the ordinary course of business which in each such circumstance (i) do
 not individually or in the aggregate materially detract from the value of the property or assets of any
 Borrower and do not materially impair the use thereof in the operation of the business of any Borrower or
 (ii) are being contested in good faith by appropriate proceedings, which proceedings have the effect of
 preventing the forfeiture or sale of the property or asset subject to such Lien and for which adequate reserves
 have been established; (d) easements, rights-of-way, restrictions (including zoning restrictions),

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 encroachments, protrusions and other similar charges or encumbrances, and minor title deficiencies, in each
 case whether now or hereafter in existence, not securing Indebtedness and not materially interfering with
 the conduct of the business of any Borrower; (e) Liens specified on Schedule B to each Title Policy; and
 (f) customary banker’s and similar Liens in respect of deposit accounts that are subject to satisfactory
 account control agreements in favor of the Collateral Agent.

         “Permitted Prior Liens” has the meaning given to such term under the DIP Orders.

          “Person” means an individual, partnership, corporation, limited liability company, association,
 trust, unincorporated organization, business entity or Governmental Authority.

         “Petition Date” has the meaning specified in the recitals hereto.

         “Plan” means an “employee benefit plan” (as defined in Section 3(3) of ERISA) subject to Title I
 of ERISA that is or, within the preceding six years, has been established or maintained, or to which
 contributions are or, within the preceding six years, have been made or required to be made, by any
 Borrower or any ERISA Affiliate or with respect to which any Borrower or any ERISA Affiliate may have
 any liability.

         “Plan of Reorganization” means a Chapter 11 plan of reorganization submitted by the Borrowers,
 or any of the Borrowers, to the Bankruptcy Court in connection with the Cases, or any Case, as applicable,
 and as amended, restated, amended and restated, supplemented or otherwise modified from time to time.

         “Platform” has the meaning specified in Section 11.02(c).

         “Pledged Debt” means any promissory notes or tangible chattel paper.

         “Pledged Equity” has the meaning specified in Section 12.01(d).

          “Preferred Stock” means any class of capital stock of a Person that is preferred over any other class
 of capital stock (or similar Equity Interests) of such Person as to the payment of dividends or the payment
 of any amount upon liquidation or dissolution of such Person.

          “Prepetition Agent” means Wilmington Trust, National Association, as collateral agent for the
 Prepetition Noteholders and depositary under the Prepetition Senior Secured Note Documents.

          “Prepetition Collateral” means any and all “Collateral” (as defined under the Prepetition Senior
 Secured Note Documents) that any Borrower has pledged, or purported to have pledged, to secure the
 Prepetition Indebtedness.

         “Prepetition Indebtedness” means the Obligations as defined in the Prepetition Senior Secured
 NPA.

          “Prepetition L/C Issuing Bank” means Manufacturers and Traders Trust Company, as letter of
 credit issuing bank under the Prepetition Senior Secured NPA.

        “Prepetition Letters of Credit” means the letters of credit issued by the Prepetition L/C Issuing
 Bank under the Prepetition Senior Secured NPA prior to the Petition Date.




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         “Prepetition Liens” means the Liens in the Prepetition Collateral securing the Prepetition
 Indebtedness pursuant to the Prepetition Senior Secured Note Documents as in effect prior to the Petition
 Date.

        “Prepetition Noteholders” means the “holders” under and as defined in the Prepetition Senior
 Secured NPA.

         “Prepetition Revolving Notes” means the “Revolving Notes” as defined in the DIP Orders.

          “Prepetition Secured Parties” means the Prepetition Agent, the Prepetition Noteholders and the
 Prepetition L/C Issuing Bank.

        “Prepetition Senior Secured Note Documents” means the Prepetition Senior Secured NPA and the
 “Financing Documents” under and as defined in the Prepetition Senior Secured NPA as in effect on the
 date hereof, as such Prepetition Senior Secured Note Documents have been amended, restated,
 supplemented or otherwise modified on or before the Petition Date, as in effect on such date.

         “Prepetition Senior Secured NPA” means that certain Senior Secured Note Purchase Agreement,
 dated as of February 23, 2018, among Agilon, the Prepetition Noteholders and Manufacturers and Traders
 Trust Company as letter of credit issuing bank, as the same has been amended, restated, supplemented or
 otherwise modified on or before the Petition Date, as in effect on such date.

         “Prepetition Term Notes” means the “Term Notes” as defined in the DIP Orders.

          “Prime Rate” means a fluctuating rate per annum (based on the actual number of days elapsed over
 a year of 365 or 366 days) equal on any given day to the rate of interest most recently displayed on the
 Bloomberg Screen BTMM for that day opposite the caption "OPEN" (or on such other substitute
 Bloomberg Screen that displays such rate), or as set forth on such other recognized electronic source used
 for the purpose of displaying such rate as selected by the Required Lenders (or if such rate for such day
 does not appear on the Bloomberg Screen BTMM (or any substitute screen), or if there shall at any time,
 for any reason, no longer exists a Bloomberg Screen BTMM (or any substitute screen), a comparable
 replacement rate determined by the Required Lenders at such time (which determination shall be conclusive
 absent manifest error) (the “Reference Rate”); the Prime Rate shall automatically fluctuate, without special
 notice to any Borrower or any other Person, upward and downward as and in the amount by which the
 Reference Rate shall fluctuate. The Reference Rate is set by Bloomberg L.P. as a general reference rate of
 interest, taking into account such factors as Bloomberg L.P. may deem appropriate. The Reference Rate is
 not necessarily the lowest or best rate actually charged to any customer, and such rate may not correspond
 with future increases or decreases in interest rates charged by other lenders or market rates in general.
 Bloomberg L.P. may make various business or other loans at rates of interest having no relationship to the
 Reference Rate. Without notice to any Borrower or any other Person, the Reference Rate shall change
 automatically from time to time, as determined by Bloomberg L.P.

         “Prime Loan” means any Loan that bears interest at a rate based on the Prime Rate.

         “Project Companies” means Victoria Port and Victoria City.

         “Project Party” means each Person party to the Material Project Documents other than a Borrower.

         “Projects” means (a) the Victoria Port Project and (b) the Victoria City Project.




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         “property” or “properties” means, unless otherwise specifically limited, real or personal property
 of any kind, tangible or intangible, choate or inchoate.

         “Proposed DIP Budget” has the meaning specified in Section 6.01(c).

         “Professional Fees” means all accrued and unpaid claims for fees and expense reimbursements of
 Professional Persons retained by the Borrowers.

          “Professional Person” means a Person who is an attorney, accountant, appraiser, auctioneer or
 financial advisor or other professional person who is retained with approval of the Bankruptcy Court by
 any Borrower pursuant to section 327, 328 or 363 of the Bankruptcy Code or by any committee pursuant
 to section 1103 of the Bankruptcy Code.

         “Prudent Industry Practices” means “Good Utility Practice” as such term is defined in Rule 25.5 of
 the Substantive Rules of the Public Utility Commission of Texas or its successor.

        “PTE” means a prohibited transaction class exemption issued by the U.S. Department of Labor, as
 any such exemption may be amended from time to time.

         “PUCTX” means the Public Utility Commission of Texas or any successor agency.

         “PUHCA” means the Public Utility Holding Company Act of 2005, as amended, and all rules and
 regulations of the FERC adopted thereunder.

        “PURA” means the Public Utility Regulatory Act, TEX. UTIL. CODE ANN. §§ 11.001 - 66.017
 (Vernon 1998 & Supp. 2005) and the regulations of the PUCTX thereunder.

        “Recipient” means the Administrative Agent, any Lender or any other recipient of any payment to
 be made by or on account of any Obligation of any Borrower hereunder or under any other Loan Document.

          “Reference Time” with respect to any setting of the then-current Benchmark means (1) if such
 Benchmark is LIBO Rate, 11:00 a.m. (London time) on the day that is two London banking days preceding
 the date of such setting, and (2) if such Benchmark is not LIBO Rate, the time determined by the Required
 Lenders in their reasonable discretion.

         “Register” has the meaning specified in Section 11.06(c).

         “Related Parties” means, with respect to any Person, such Person’s Affiliates and the partners,
 directors, officers, employees, agents, trustees, administrators, managers, representatives and advisors of
 such Person and of such Person’s Affiliates.

          “Relevant Governmental Body” means the Board of Governors of the Federal Reserve System or
 the Federal Reserve Bank of New York, or a committee officially endorsed or convened by the Board of
 Governors of the Federal Reserve System or the Federal Reserve Bank of New York, or any successor
 thereto.

         “Remedies Notice Period” has the meaning specified in Section 8.02(a).

        “Required Approval” means all Approvals required in connection with the execution, delivery and
 performance of the Transaction Documents or the operation and maintenance of the Project, and the



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 generation, transmission and sale of energy generated by the Project as contemplated under the Transaction
 Documents.

         “Required Lenders” means, as of any date of determination Lenders holding more than 50% of the
 sum of (i) Loans outstanding on such date and (ii) the Commitments.

          “Responsible Officer” means, with respect to a Borrower, the Independent Manager and any other
 officer of a Borrower with responsibility for the administration of the relevant portion of this Agreement.

          “Roll-Up” means the substitution and exchange of Prepetition Indebtedness into Roll-Up Loans
 and the principal amount due as of the date of the applicable DIP Order in respect of, and as a result of, the
 Prepetition Indebtedness rolled into the Obligations, in each case, as set forth in Section 2.01(c).

         “Roll-Up Loans” has the meaning set forth in Section 2.01(c).

       “S&P” means Standard & Poor’s Financial Services LLC, a subsidiary of The McGraw-Hill
 Companies, Inc., or any successor thereto.

          “Sale Process” means the implementation of bidding and sale procedures in respect of all of the
 Borrowers’ assets and property, approved by an order of the Bankruptcy Court (including the Bidding
 Procedures Order) and in accordance with the Acceptable Sale Provisions, in form and substance
 satisfactory to the Required Lenders.

          “Sanctions” means any and all economic or financial sanctions, sectoral sanctions, secondary
 sanctions, trade embargoes and anti-terrorism laws, including but not limited to those imposed,
 administered or enforced from time to time by the U.S. government (including those administered by OFAC
 or the U.S. Department of State), the United Nations Security Council, the European Union, Her Majesty’s
 Treasury, or other relevant sanctions authority with jurisdiction over any Lender, any Borrower or any of
 its Affiliates.

         “Sanctioned Country” means at any time, a country or territory which is itself the subject or target
 of any Sanctions (including, as of the Closing Date, Cuba, Iran, North Korea, Sudan, Syria and Crimea).

          “Sanctioned Person” means, at any time, (a) any Person listed in any Sanctions-related list of
 designated Persons maintained by OFAC (including, without limitation, OFAC’s Specially Designated
 Nationals and Blocked Persons List and OFAC’s Consolidated Non-SDN List), the U.S. Department of
 State, the United Nations Security Council, the European Union, Her Majesty’s Treasury, or other relevant
 sanctions authority, (b) any Person operating, organized or resident in a Sanctioned Country or (c) any
 Person owned or controlled by any such Person or Persons described in clauses (a) and (b), including a
 Person that is deemed by OFAC to be a Sanctions target based on the ownership of such legal entity by
 Sanctioned Peron(s).

         “Secondary Term SOFR Conversion Date” has the meaning set forth in Section 2.12(f).

         “Secured Parties” means, collectively, the Collateral Agent, Administrative Agent, the Lenders,
 each co-agent or sub-agent appointed by the Collateral Agent or the Administrative Agent from time to
 time pursuant to Section 9.02, and the other Persons the Obligations owing to which are or are purported to
 be secured by the Collateral hereunder or under any Loan Document.

         “Securities” or “Security” shall have the meaning specified in Section 2(1) of the Securities Act.



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         “Securities Act” means the Securities Act of 1933, as amended from time to time, and the rules and
 regulations promulgated thereunder from time to time in effect.

         “Securities Purchase Agreement” means the Securities Purchase Agreement, dated as of February
 23, 2018 among Agilon and the purchasers of the securities party thereto.

         “Site Leases” means the Victoria Port Site Lease and the Victoria City Site Lease.

         “Sites” means (a) the Victoria Port Site and (b) the Victoria City Site.

         “SOFR” means, with respect to any Business Day, a rate per annum equal to the secured overnight
 financing rate for such Business Day published by the SOFR Administrator on the SOFR Administrator’s
 Website on the immediately succeeding Business Day.

          “SOFR Administrator” means the Federal Reserve Bank of New York (or a successor administrator
 of the secured overnight financing rate).

          “SOFR Administrator’s Website” means the website of the Federal Reserve Bank of New York,
 currently at http://www.newyorkfed.org, or any successor source for the secured overnight financing rate
 identified as such by the SOFR Administrator from time to time.

        “Sponsors” means Castleman Power Investment II, LLC, a Texas limited liability company, and
 Castleman Power Development, LLC, a Texas limited liability company.

         “State Sanctions List” means a list that is adopted by any state Governmental Authority within the
 United States of America pertaining to Persons that engage in investment or other commercial activities in
 Iran or any other country that is a target of economic sanctions imposed under U.S. Economic Sanctions
 Laws.

          “Subordinated Debt” means all Indebtedness of the Borrowers under the Subordinated Notes and
 all other obligations of the Borrowers under the Subordinated Note Documents.

        “Subordinated Note Documents” means the Securities Purchase Agreement, the Subordinated
 Notes and the other “Financing Documents” (as defined in the Securities Purchase Agreement).

         “Subordinated Notes” means the 15.00% Senior Subordinated Notes due November 30, 2025
 issued pursuant to the Securities Purchase Agreement.

          “Subsidiary” means, as to any Person, any other Person in which such first Person or one or more
 of its Subsidiaries or such first Person and one or more of its Subsidiaries owns sufficient equity or voting
 interests to enable it or them (as a group) ordinarily, in the absence of contingencies, to elect a majority of
 the directors (or Persons performing similar functions) of such second Person, and any partnership or joint
 venture if more than a 50% interest in the profits or capital thereof is owned by such first Person or one or
 more of its Subsidiaries or such first Person and one or more of its Subsidiaries (unless such partnership or
 joint venture can and does ordinarily take major business actions without the prior approval of such Person
 or one or more of its Subsidiaries).

         “Swap Contract” means (a) any and all interest rate swap transactions, basis swap transactions,
 basis swaps, credit derivative transactions, forward rate transactions, commodity swaps, commodity
 options, forward commodity contracts, equity or equity index swaps or options, bond or bond price or bond
 index swaps or options or forward foreign exchange transactions, cap transactions, floor transactions,


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 currency options, spot contracts or any other similar transactions or any of the foregoing (including, but
 without limitation, any options to enter into any of the foregoing), and (b) any and all transactions of any
 kind, and the related confirmations, which are subject to the terms and conditions of, or governed by, any
 form of master agreement published by the International Swaps and Derivatives Association, Inc., any
 International Foreign Exchange Master Agreement.

          “Swap Termination Value” means, in respect of any one or more Swap Contracts, after taking into
 account the effect of any legally enforceable netting agreement relating to such Swap Contracts, (a) for any
 date on or after the date such Swap Contracts have been closed out and termination value(s) determined in
 accordance therewith, such termination value(s), and (b) for any date prior to the date referenced in clause
 (a), the amounts(s) determined as the mark-to-market values(s) for such Swap Contracts, as determined
 based upon one or more mid-market or other readily available quotations provided by any recognized dealer
 in such Swap Contracts.

          “Synthetic Lease” means, at any time, any lease (including leases that may be terminated by the
 lessee at any time) of any property (a) that is accounted for as an operating lease under GAAP and (b) in
 respect of which the lessee retains or obtains ownership of the property so leased for U.S. federal income
 tax purposes, other than any such lease under which such Person is the lessor.

         “TCEQ” is defined in Section 6.20.

         “Taxes” means all present or future taxes, levies, imposts, duties, deductions, withholdings
 (including backup withholding), assessments, fees or other charges imposed by any Governmental
 Authority, including any interest, additions to tax or penalties applicable thereto.

         “Term SOFR” means, for the applicable Corresponding Tenor as of the applicable Reference Time,
 the forward-looking term rate based on SOFR that has been selected or recommended by the Relevant
 Governmental Body.

         “Term SOFR Notice” means a notification by the Required Lenders to the Administrative Agent,
 the other Lenders and the Administrative Borrower of the occurrence of a Term SOFR Transition Event.

        “Term SOFR Transition Event” means the determination by the Required Lenders that (a) Term
 SOFR has been recommended for use by the Relevant Governmental Body, and is determinable for each
 Available Tenor, (b) the administration of Term SOFR is administratively feasible for the Administrative
 Agent and the Lenders and (c) a Benchmark Transition Event has previously occurred resulting in a
 Benchmark Replacement in accordance with Section 2.12 that is not Term SOFR.

         “Test Date” is defined in Section 7.25(b).

         “Threshold Amount” means $75,000.

        “Title Policy” means the T-2 Loan Policy of Title Insurance with respect to each Site, together with
 such endorsements as are required by the Lenders, issued in connection with the Prepetition Indebtedness.

          “Transaction” means collectively, (a) the entering into by the Borrowers of the Loan Documents,
 (b) the extension of the Facility by the Lenders to the Borrowers and (c) the payment of all fees and expenses
 incurred in connection with the foregoing.

       “Transaction Documents” means, collectively, the Loan Documents and the Material Project
 Documents.


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         “Type” means, with respect to a Loan, its character as a Prime Loan or a LIBOR Loan.

          “UCC” means the Uniform Commercial Code as in effect in the State of New York; provided that,
 if perfection or the effect of perfection or non-perfection or the priority of any security interest in any
 Collateral is governed by the Uniform Commercial Code as in effect in a jurisdiction other than the State
 of New York, “UCC” means the Uniform Commercial Code as in effect from time to time in such other
 jurisdiction for purposes of the provisions hereof relating to such perfection, effect of perfection or non-
 perfection or priority.

          “Unadjusted Benchmark Replacement” means the applicable Benchmark Replacement excluding
 the related Benchmark Replacement Adjustment.

         “USA PATRIOT Act” means United States Public Law 107-56, Uniting and Strengthening
 America by Providing Appropriate Tools Required to Intercept and Obstruct Terrorism (USA PATRIOT
 ACT) Act of 2001, as amended from time to time, and the rules and regulations promulgated thereunder
 from time to time in effect.

         “U.S. Economic Sanctions Laws” means those laws, executive orders, enabling legislation or
 regulations administered and enforced by the United States pursuant to which economic sanctions have
 been imposed on any Person, entity, organization, country or regime, including the Trading with the Enemy
 Act, the International Emergency Economic Powers Act, the Iran Sanctions Act, the Sudan Accountability
 and Divestment Act and any other OFAC Sanctions Program.

         “United States” and “U.S.” mean the United States of America.

         “Variable Costs” means the cost of fuel and other variable operations and maintenance costs
 incurred when power is generated by the Projects, in each case, as indicated as “Variable Costs” in the DIP
 Budget.

         “Variance Report” has the meaning specified in Section 6.01(c).

         “Victoria City” means Victoria City Power LLC, a Texas limited liability company.

          “Victoria City Project” means Victoria City’s approximately 100 MW gas-fired power generating
 station, to be developed, constructed, located and operated on the Victoria City Site.

         “Victoria City Site” means the real property on which the Victoria City Project is to be located, the
 legal description of which is set forth in the Victoria City Site Lease, and all related easements, rights-of-
 way and other rights and interests.

         “Victoria City Site Lease” means the Ground Lease Agreement, dated February 23, 2018, between
 Victoria City, LLC and Victoria City.

         “Victoria Port” means Victoria Port Power LLC, a Texas limited liability company.

         “Victoria Port Master Lease” means the Ground Lease, dated November 21, 2017, between
 Victoria County Navigation District and Victoria Bloomington, LLC, as amended by First Amendment to
 Ground Lease dated as of February 23, 2018.

          “Victoria Port Project” means Victoria Port’s approximately 100 MW gas-fired power generating
 station, to be developed, constructed, located and operated on the Victoria Port Site.


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         “Victoria Port Site” means the real property on which the Victoria Port Project is to be located, the
 legal description of which is set forth in the Victoria Port Site Lease, and all related easements, rights-of-
 way and other rights and interests.

         “Victoria Port Site Lease” means the Sublease Agreement, dated February 23, 2018, between
 Victoria Bloomington, LLC and Victoria Port.

         “Weekly Lender Call Date” has the meaning specified in Section 6.23.

         “Write-Down and Conversion Powers” means, with respect to any EEA Resolution Authority, the
 write-down and conversion powers of such EEA Resolution Authority from time to time under the Bail-In
 Legislation for the applicable EEA Member Country, which write-down and conversion powers are
 described in the EU Bail-In Legislation Schedule.

       1.02    Other Interpretive Provisions. With reference to this Agreement and each other Loan
 Document, unless otherwise specified herein or in such other Loan Document:

          (a)      The definitions of terms herein shall apply equally to the singular and plural forms of the
 terms defined. Whenever the context may require, any pronoun shall include the corresponding masculine,
 feminine and neuter forms. The words “include,” “includes” and “including” shall be deemed to be
 followed by the phrase “without limitation.” The word “will” shall be construed to have the same meaning
 and effect as the word “shall.” Unless the context requires otherwise, (i) any definition of or reference to
 any agreement, instrument or other document (including any Organization Document) shall be construed
 as referring to such agreement, instrument or other document as from time to time amended, supplemented
 or otherwise modified (subject to any restrictions on such amendments, supplements or modifications set
 forth herein or in any other Loan Document), (ii) any reference herein to any Person shall be construed to
 include such Person’s successors and assigns, (iii) the words “herein,” “hereof” and “hereunder,” and words
 of similar import when used in any Loan Document, shall be construed to refer to such Loan Document in
 its entirety and not to any particular provision thereof, (iv) all references in a Loan Document to Articles,
 Sections, Preliminary Statements, Exhibits and Schedules shall be construed to refer to Articles and
 Sections of, and Preliminary Statements, Exhibits and Schedules to, the Loan Document in which such
 references appear, (v) any reference to any law shall include all statutory and regulatory provisions
 consolidating, amending, replacing or interpreting such law and any reference to any law or regulation shall,
 unless otherwise specified, refer to such law or regulation as amended, modified or supplemented from time
 to time, and (vi) the words “asset” and “property” shall be construed to have the same meaning and effect
 and to refer to any and all tangible and intangible assets and properties, including cash, securities, accounts
 and contract rights.

        (b)     In the computation of periods of time from a specified date to a later specified date, the
 word “from” means “from and including;” the words “to” and “until” each mean “to but excluding;” and
 the word “through” means “to and including.”

         (c)     Section headings herein and in the other Loan Documents are included for convenience of
 reference only and shall not affect the interpretation of this Agreement or any other Loan Document.

         1.03       Accounting Terms.

          (a)     Generally. All accounting terms not specifically or completely defined herein shall be
 construed in conformity with, and all financial data (including financial ratios and other financial
 calculations) required to be submitted pursuant to this Agreement shall be prepared in conformity with,



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 GAAP applied on a consistent basis, as in effect from time to time, applied in a manner consistent with that
 used in preparing the Audited Financial Statements, except as otherwise specifically prescribed herein.

          (b)      Changes in Accounting Treatment. If at any time any change in GAAP would affect the
 computation of any financial ratio or requirement set forth in any Loan Document, and either the
 Administrative Borrower or the Required Lenders shall so request, the Administrative Agent, the Lenders
 and the Administrative Borrower shall negotiate in good faith to amend such ratio or requirement to
 preserve the original intent thereof in light of such change in GAAP (subject to the approval of the Required
 Lenders); provided that, until so amended, (i) such ratio or requirement shall continue to be computed in
 accordance with GAAP prior to such change therein and (ii) the Borrowers shall provide to the
 Administrative Agent and the Lenders financial statements and other documents required under this
 Agreement or as reasonably requested hereunder setting forth a reconciliation between calculations of such
 ratio or requirement made before and after giving effect to such change in GAAP. If any change in GAAP
 or application thereof would require that leases treated as operating leases hereunder prior to such change
 shall be treated as Capitalized Leases hereunder.

          (c)      Consolidation of Variable Interest Entities. All references herein to consolidated financial
 statements of the Borrowers or to the determination of any amount for the Borrowers on a consolidated
 basis or any similar reference shall, in each case, be deemed to include each variable interest entity that the
 Borrowers are required to consolidate pursuant to FASB Interpretation No. 46 – Consolidation of Variable
 Interest Entities: an interpretation of ARB No. 51 (January 2003) as if such variable interest entity were a
 Subsidiary as defined herein.

          (d)    Valuation of Indebtedness and Financial Instruments. Notwithstanding any other provision
 herein or in any other Loan Document, for purposes of determining compliance with any covenant
 (including the computation of any financial covenant) contained herein, Indebtedness of the Borrowers
 shall be deemed to be carried at 100% of the outstanding principal amount thereof, and the effects of FASB
 ASC 825 and FASB ASC 470-20 on financial liabilities shall be disregarded.

         1.04    Times of Day. Unless otherwise specified, all references herein to times of day shall be
 references to Eastern time (daylight or standard, as applicable).

                                          ARTICLE II
                             THE COMMITMENTS AND CREDIT EXTENSIONS

         2.01       Loans.

          (a)     Subject to the terms and conditions set forth herein or in any DIP Order, each Lender
 severally, and not jointly, agrees to make loans to the Borrowers (A) on and after the Closing Date but prior
 to the Final Order Entry Date, two (2) Borrowings which shall be at least seven (7) days apart and in
 accordance with the DIP Budget, in an aggregate amount not to exceed such Lender’s Applicable
 Percentage of the Interim Commitment Amount, and (B) after the Final Order Entry Date until the last day
 of the Availability Period, from time to time but no more frequently than once every seven (7) days and in
 accordance with the DIP Budget, in an amount not to exceed such Lender’s remaining Commitment
 (collectively, the “Loan”). The Loans extended on the applicable Borrowing date shall be used in
 accordance with Section 6.11. Notwithstanding anything to the contrary, the principal amount of the Loans
 to be made shall be subject to reduction (but not increase) to any lesser such amount approved by the
 Bankruptcy Court pursuant to the Interim DIP Order.

        (b)         Amounts borrowed under this Section 2.01(a) and repaid or prepaid may not be
 reborrowed.

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          (c)     Subject to the terms and conditions set forth herein and in the DIP Order, (i) upon entry of
 the Interim DIP Order, a portion of the Prepetition Indebtedness held by the Prepetition Noteholders which
 are also Lenders (or are Affiliates of Lenders) hereunder shall be automatically substituted and exchanged
 for (and repaid by) Loans hereunder in an aggregate principal amount equal to six million dollars
 ($6,000,000.00), constituting for each Lender $1.00 of Prepetition Indebtedness of such Lender (or its
 Affiliate) for each $1.00 of such Lender’s Applicable Percentage of the Interim Commitment Amount,
 which substitution and exchange shall be on a pro rata basis of the Prepetition Secured Parties’ holdings of
 the Prepetition Term Notes and Prepetition Revolving Notes (the “Interim Roll-Up Loans”), and such
 Interim Roll-Up Loans shall be deemed funded on the Closing Date, and shall constitute and be deemed to
 be Loans hereunder as of such date, and (ii) upon the Final Order Entry Date, a portion of the Prepetition
 Indebtedness held by the Prepetition Noteholders which are also Lenders (or Affiliates of Lenders)
 hereunder shall be automatically substituted and exchanged for (and repaid by) Loans hereunder in an
 aggregate principal amount equal to nine million dollars ($9,000,000.00), constituting for each Lender
 $1.00 of Prepetition Indebtedness of such Lender (or its Affiliate) for each $1.00 of such Lender’s
 Applicable Percentage of an amount equal to the difference between the remaining Commitment and the
 Interim Commitment Amount, which substitution and exchange shall be on a pro rata basis of the
 Prepetition Secured Parties’ holdings of the Prepetition Term Notes and Prepetition Revolving Notes (the
 “Final Roll-Up Loans”; together with the Interim Roll-Up Loans, collectively, the “Roll-Up Loans”), and
 such Final Roll-Up Loans shall be deemed funded on the Final Order Entry Date, and shall constitute and
 shall be deemed to be Loans for all purposes hereunder and under the other Loan Documents as of such
 date. Without limiting the foregoing, such Roll-Up Loans shall be allocated among the Lenders based on
 each Lender’s Applicable Percentage, in each case without constituting a novation or satisfaction of the
 exchanged Prepetition Indebtedness. The parties hereto acknowledge and agree that, upon entry of the
 applicable DIP Order, the applicable principal amount of the Prepetition Indebtedness shall be rolled into
 the DIP Facility and deemed to constitute Obligations.

         2.02       Borrowings.

         (a)     Each Loan Borrowing, each conversion of Loans from one Type to another Type, and each
 continuation of LIBOR Loans shall be made upon the Administrative Borrower’s irrevocable delivery of a
 Committed Loan Notice to the Administrative Agent. Each Committed Loan Notice must be received by
 the Administrative Agent not later than 1 p.m. one (1) Business Day prior to the requested date of any Loan
 Borrowing, conversion, or continuation; provided that no such notice shall be required for the deemed
 funding of the Roll-Up Loans pursuant to Section 2.01(c). Each Borrowing, conversion, or continuation of
 Loans shall be in a principal amount of $100,000 or a whole multiple of $50,000 in excess thereof unless
 otherwise agreed to by the Lenders. Each Committed Loan Notice shall specify (i) the requested date of
 the Borrowing, conversion, or continuation (which shall be a Business Day), (ii) the principal amount of
 Loans to be Borrowed, converted, or continued, and (iii) the Type of Loans to be Borrowed or to which
 existing Loans are to be converted.

          (b)     Following receipt of a Committed Loan Notice that is appropriately completed and signed
 by a Responsible Officer of the Administrative Borrower, the Administrative Agent shall promptly notify
 each Lender of the amount of its Applicable Percentage under the Facility. Each Lender shall make the
 amount of its Loan available to the Administrative Agent in immediately available funds at the
 Administrative Agent’s Office not later than 1:00 p.m. on the Business Day specified in the applicable
 Committed Loan Notice. Upon satisfaction of the applicable conditions set forth in Section 4.02 (and, if
 such Borrowing is on the Closing Date, Section 4.01), the Administrative Agent shall make all funds so
 received available to the Borrowers in like funds as received by the Administrative Agent by wire transfer
 of such funds in accordance with instructions provided to (and reasonably acceptable to) the Administrative
 Agent by the Administrative Borrower.


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          (c)     Except as otherwise provided herein, a LIBOR Loan may be continued or converted only
 on the last day of an Interest Period for such LIBOR Loan. During the existence of a Default, no Loans may
 be requested as, converted to or continued as LIBOR Loans without the consent of the Required Lenders,
 and the Required Lenders may demand that any or all of the outstanding LIBOR Loans be converted
 immediately to Prime Loans.

         2.03       Prepayments.

          (a)    Optional. The Borrowers may, upon notice to the Lenders, at any time or from time to
 time voluntarily prepay Loans in whole or in part; provided that (A) such notice must be received by each
 Lender not later than 11:00 a.m. one (1) Business Day prior to any date of prepayment of Loans; and (B)
 any prepayment of Loans shall be in a principal amount of $250,000 or a whole multiple of $50,000 in
 excess thereof or, in each case, if less, the entire principal amount thereof then outstanding. Each such
 notice shall specify the date and amount of such prepayment. The Lenders will promptly notify the
 Administrative Agent of its receipt of each such notice, and of the amount of such Lender’s ratable portion
 of such prepayment (based on such Lender’s Applicable Percentage). If such notice is given by the
 Administrative Borrower, the Borrowers shall make such prepayment and the payment amount specified in
 such notice shall be due and payable on the date specified therein. Each such prepayment shall be paid to
 the Lenders in accordance with their respective Applicable Percentages in respect of each of the relevant
 Facilities.

         (b)        Mandatory.

                 (i)    The entire principal amount of all outstanding Loans shall be repaid in full on the
         Maturity Date.

                (ii)    If any Borrower Disposes (other than such Dispositions expressly permitted
         pursuant to Section 7.05) of any property, the Borrowers shall prepay an aggregate principal
         amount of Loans equal to 100% of such Net Cash Proceeds immediately upon receipt thereof by
         such Borrower.

                 (iii)   Upon receipt by any Borrower of any cash capital contribution to such Borrower,
         the Borrowers shall prepay an aggregate principal amount of Loans equal to 100% of all Net Cash
         Proceeds received therefrom immediately upon receipt thereof by such Borrower.

                 (iv)    Upon the incurrence or issuance by any Borrower of any Indebtedness (other than
         Indebtedness expressly permitted to be incurred or issued pursuant to Section 7.02), the Borrowers
         shall prepay an aggregate principal amount of Loans equal to 100% of all Net Cash Proceeds
         received therefrom immediately upon receipt thereof by such Borrower.

                (v)     Upon any Extraordinary Receipt received by or paid to or for the account of any
         Borrower, the Borrowers shall prepay an aggregate principal amount of Loans equal to 100% of all
         Net Cash Proceeds received therefrom immediately upon receipt thereof by such Borrower.

                  (vi)    At any time the amount of the Borrowers’ Excess Cash on any Interest Payment
         Date is greater than $0, the Borrowers shall first immediately pay any accrued but unpaid interest
         in cash until the amount of such accrued but unpaid interest is $0 in accordance with Section
         2.06(c). If the balance of the Excess Cash is greater than $0 after giving effect to the payment of
         any accrued but unpaid interest in accordance with Section 2.06(c), the Borrowers shall then prepay
         an aggregate principal amount of the Loans equal to 100% of such remaining Excess Cash on such
         Interest Payment Date.

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         (c)     Effect on Swap Contracts. Any prepayment shall be without prejudice to any Borrower’s
 obligations under any Swap Contract, which shall remain in full force and effect subject to the terms of
 such Swap Contract (including provisions that may require a reduction, modification or early termination
 of a swap transaction, in whole or in part, in the event of such prepayment, and may require the Borrowers
 to pay any fees or other amounts for such reduction, modification or early termination), and no such fees
 or amounts shall be deemed a penalty hereunder or otherwise.

         2.04       Termination or Reduction of Commitments.

         (a)        Mandatory.

                 (i)     All of the Commitments, if not sooner terminated, shall terminate on the earlier to
         occur of the Maturity Date and the last day of the Availability Period.

                 (ii)    Upon each Borrowing of a Loan, the aggregate amount of Commitments
         outstanding at the time of such Borrowing shall be reduced by the aggregate amount of Loans
         funded on the date of such Borrowing.

        2.05     Repayment of Loans. The Borrowers shall repay to the Lenders the principal amount of
 the Loans on the Maturity Date.

          2.06    Interest. (a) Subject to the provisions of Section 2.06(b), (i) each LIBOR Loan under the
 Facility shall bear interest on the outstanding principal amount thereof for each Interest Period from the
 applicable Borrowing date at a rate per annum equal to the LIBO Rate for such Interest Period plus the
 Applicable Margin and (ii) each Prime Loan under the Facility shall bear interest on the outstanding
 principal amount thereof from the applicable Borrowing date at a rate per annum equal to the Prime Rate
 plus the Applicable Margin.

         (b)       (i) If any amount payable by the Borrowers is not paid when due (without regard to any
 applicable grace periods), whether at stated maturity, by acceleration or otherwise, such amount shall
 thereafter bear interest at an interest rate per annum at all times equal to the Default Rate to the fullest extent
 permitted by applicable Laws.

                 (ii)    While any Event of Default exists, the Borrowers shall pay interest on the principal
         amount of all outstanding Obligations hereunder at an interest rate per annum at all times equal to
         the Default Rate to the fullest extent permitted by applicable Laws; provided that while any
         delinquent amount is accruing interest at the Default Rate pursuant to Section 2.06(b)(i) above,
         such delinquent amount shall not also accrue interest at the Default Rate under this Section
         2.06(b)(ii).

                  (iii)   Accrued and unpaid interest on past due amounts (including interest on past due
         interest and interest accruing at the Default Rate) shall be due and payable upon demand.

         (c)      (a)    Interest on each Loan shall be due and payable in cash in arrears on each Interest
 Payment Date applicable thereto and at such other times as may be specified herein and shall be due on the
 Maturity Date; provided that subject to the immediately following proviso, the Administrative Borrower
 may elect to not make such payment of interest in cash on any Interest Payment Date and such interest shall
 continue to accrue; provided, however, that notwithstanding the foregoing, at any time the amount of the
 Borrowers’ Excess Cash on any Interest Payment Date is greater than $0, the Borrowers shall immediately
 pay any accrued but unpaid interest in cash as set forth in Section 2.03(b)(vi). Payments in cash with respect



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 to accrued interest shall be applied in the order as elected by the Lenders. Interest hereunder shall be due
 and payable in accordance with the terms hereof before and after judgment.

         2.07       Fees.

          (a)    Upfront Fee. The Borrowers will pay to the Administrative Agent, for the account of each
 Lender, an upfront fee (the “Upfront Fee”) equal to 2.0% of the amount of the Commitment, to be
 distributed to each Lender on a pro rata basis based on such Lender’s Applicable Percentage of the
 Commitments. The entire amount of the Upfront Fee shall be fully earned, due and owing on the Closing
 Date and shall be payable in cash on the Maturity Date.

         (b)      Unused Line Fee. The Borrowers will pay to the Administrative Agent for the account of
 each Lender, on a pro rata basis based on such Lender’s Applicable Percentage, an unused line fee equal
 the actual daily amount by which the Commitments exceed the outstanding principal amount of the Loans
 times 0.50% per annum (the “Unused Line Fee”). The Unused Line Fee shall be fully earned, due and
 owing on the first day after the end of each fiscal month and on the Maturity Date and shall be payable in
 cash on the Maturity Date. The unused line fee shall accrue at all times from the Closing Date until the
 Maturity Date, including at any time during which one or more of the conditions in Article IV is not met.

          (c)      Agency Fee. The initial agency fee of $50,000 per annum (the “Agency Fee”) will be paid
 to the Collateral Agent on the Closing Date, to the extent not previously paid with the proceeds of the Initial
 Emergency DIP Loan (pursuant to and as defined in the Emergency DIP Order). A subsequent Agency Fee
 shall be due and payable by the Borrower to the Collateral Agent on each annual anniversary of the Closing
 Date.

           (d)      Fees Generally. All fees will be payable in U.S. dollars in immediately available funds to
 the Administrative Agent or as directed by the Required Lenders, free and clear of, and without deduction
 for, any and all present or future applicable taxes, levies, imposts, deductions, charges or withholdings and
 all liabilities with respect thereto (with appropriate gross-up for withholding taxes). Once paid, no fee will
 be refundable under any circumstances and will not be subject to counterclaim setoff or otherwise affected.

          2.08    Computation of Interest and Fees; Retroactive Adjustments of Applicable Rate. All
 computations of fees and interest shall be made on the basis of a 360-day year and actual days elapsed
 (which results in more fees or interest, as applicable, being paid than if computed on the basis of a 365-day
 year). Interest shall accrue on each Loan for the day on which the Loan is made, and shall not accrue on a
 Loan, or any portion thereof, for the day on which the Loan or such portion is paid, provided that any Loan
 that is repaid on the same day on which it is made shall, subject to Section 2.10(a), bear interest for one
 day. Each determination by the Required Lenders of an interest rate or fee hereunder shall be conclusive
 and binding for all purposes, absent manifest error.

         2.09     Evidence of Debt. The Credit Extensions made by each Lender shall be evidenced by one
 or more accounts or records maintained by such Lender and by the Administrative Agent in the ordinary
 course of business. The accounts or records maintained by the Administrative Agent and each Lender shall
 be conclusive absent manifest error of the amount of the Credit Extensions made by the Lenders to the
 Borrowers and the interest and payments thereon. Any failure to so record or any error in doing so shall
 not, however, limit or otherwise affect the obligation of the Borrowers hereunder to pay any amount owing
 with respect to the Obligations. In the event of any conflict between the accounts and records maintained
 by any Lender and the accounts and records of the Administrative Agent in respect of such matters, the
 accounts and records of the Administrative Agent shall control in the absence of manifest error. Upon the
 request of any Lender made through the Administrative Agent, the Borrowers shall execute and deliver to
 such Lender a Note, which shall evidence such Lender’s Loans in addition to such accounts or records.

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 Each Lender may attach schedules to its Note and endorse thereon the date, amount and maturity of its
 Loans and payments with respect thereto.

         2.10       Payments Generally; Administrative Agent’s Clawback.

          (a)     General. All payments to be made by the Borrowers shall be made without condition or
 deduction for any counterclaim, defense, recoupment or setoff. Except as otherwise expressly provided
 herein, all payments by the Borrowers hereunder shall be made to the Administrative Agent, for the account
 of the respective Lenders to which such payment is owed, at the Administrative Agent’s Office in Dollars
 and in immediately available funds not later than 2:00 p.m. on the date specified herein. The Administrative
 Agent will promptly distribute to each Lender its Applicable Percentage in respect of the Facility (or other
 applicable share as provided herein) of such payment in like funds as received by wire transfer to such
 Lender’s Lending Office. All payments received by the Administrative Agent after 2:00 p.m. shall be
 deemed received on the next succeeding Business Day and any applicable interest or fee shall continue to
 accrue. If any payment to be made by the Borrowers shall come due on a day other than a Business Day,
 payment shall be made on the next following Business Day, and such extension of time shall be reflected
 on computing interest or fees, as the case may be.

         (b)      Failure to Satisfy Conditions Precedent. If any Lender makes available to the
 Administrative Agent funds for any Loan to be made by such Lender as provided in the foregoing provisions
 of this Article II, and such funds are not made available to the Borrowers by the Administrative Agent
 because the conditions to the applicable Credit Extension set forth in Article IV are not satisfied or waived
 in accordance with the terms hereof, the Administrative Agent shall return such funds (in like funds as
 received from such Lender) to such Lender, without interest.

         (c)      Obligations of Lenders Several. The obligations of the Lenders hereunder to make Loans
 and to make payments pursuant to Section 11.04(c) are several and not joint. The failure of any Lender to
 make any Loan or to make any payment under Section 11.04(c) on any date required hereunder shall not
 relieve any other Lender of its corresponding obligation to do so on such date, and no Lender shall be
 responsible for the failure of any other Lender to so make its Loan, to purchase its participation or to make
 its payment under Section 11.04(c).

         (d)      Funding Source. Nothing herein shall be deemed to obligate any Lender to obtain the funds
 for any Loan in any particular place or manner or to constitute a representation by any Lender that it has
 obtained or will obtain the funds for any Loan in any particular place or manner.

          (e)      Insufficient Funds. If at any time insufficient funds are received by and available to the
 Administrative Agent to pay fully all amounts of principal, interest and fees then due hereunder, such funds
 shall be applied (i) first, toward payment of interest and fees then due hereunder, ratably among the parties
 entitled thereto in accordance with the amounts of interest and fees then due to such parties, and (ii) second,
 toward payment of principal then due hereunder, ratably among the parties entitled thereto in accordance
 with the amounts of principal then due to such parties.

         2.11     Sharing of Payments by Lenders. If any Lender shall, by exercising any right of setoff or
 counterclaim or otherwise, obtain payment in respect of (x) Obligations in respect of the Facility due and
 payable to such Lender hereunder and under the other Loan Documents at such time in excess of its ratable
 share (according to the proportion of (i) the amount of such Obligations due and payable to such Lender at
 such time to (ii) the aggregate amount of the Obligations in respect of the Facility due and payable to all
 Lenders hereunder and under the other Loan Documents at such time) of payments on account of the
 Obligations in respect of the Facility due and payable to all Lenders hereunder and under the other Loan
 Documents at such time obtained by all the Lenders at such time or (y) Obligations in respect of any of the

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 Facility owing (but not due and payable) to such Lender hereunder and under the other Loan Documents at
 such time in excess of its ratable share (according to the proportion of (i) the amount of such Obligations
 owing (but not due and payable) to such Lender at such time to (ii) the aggregate amount of the Obligations
 in respect of the Facility owing (but not due and payable) to all Lenders hereunder and under the other Loan
 Documents at such time) of payment on account of the Obligations in respect of the Facility owing (but not
 due and payable) to all Lenders hereunder and under the other Loan Documents at such time obtained by
 all of the Lenders at such time, then the Lender receiving such greater proportion shall (a) notify the
 Administrative Agent of such fact, and (b) purchase (for cash at face value) participations in the Loans of
 the other Lenders, or make such other adjustments as shall be equitable, so that the benefit of all such
 payments shall be shared by the Lenders ratably in accordance with the aggregate amount of Obligations
 in respect of the Facility then due and payable to the Lenders or owing (but not due and payable) to the
 Lenders, as the case may be, provided that:

                 (i)      if any such participations are purchased and all or any portion of the payment
         giving rise thereto is recovered, such participations shall be rescinded and the purchase price
         restored to the extent of such recovery, without interest; and

                 (ii)     the provisions of this Section shall not be construed to apply to (A) any payment
         made by any Borrower pursuant to and in accordance with the express terms of this Agreement or
         (B) any payment obtained by a Lender as consideration for the assignment of or sale of a
         participation in any of its Loans to any assignee or participant, other than to any Borrower (as to
         which the provisions of this Section shall apply).

          Each Borrower consents to the foregoing and agrees, to the extent it may effectively do so under
 applicable law, that any Lender acquiring a participation pursuant to the foregoing arrangements may
 exercise against any Borrower rights of setoff and counterclaim with respect to such participation as fully
 as if such Lender were a direct creditor of such Borrower in the amount of such participation.

         2.12       Benchmark Replacement Setting.

          (a)      Notwithstanding anything to the contrary herein or in any other Loan Document, if a
 Benchmark Transition Event or an Early Opt-in Election, as applicable, and its related Benchmark
 Replacement Date have occurred prior to the Reference Time in respect of any setting of the then-current
 Benchmark, then (x) if a Benchmark Replacement is determined in accordance with clause (1) or (2) of the
 definition of “Benchmark Replacement” for such Benchmark Replacement Date, such Benchmark
 Replacement will replace such Benchmark for all purposes hereunder and under any Loan Document in
 respect of such Benchmark setting and subsequent Benchmark settings without any amendment to, or
 further action or consent of any other party to, this Agreement or any other Loan Document and (y) if a
 Benchmark Replacement is determined in accordance with clause (3) of the definition of “Benchmark
 Replacement” for such Benchmark Replacement Date, such Benchmark Replacement will replace such
 Benchmark for all purposes hereunder and under any Loan Document in respect of any Benchmark setting
 at or after 5:00 p.m. on the fifth (5th) Business Day after the date notice of such Benchmark Replacement
 is provided to the Lenders without any amendment to, or further action or consent of any other party to, this
 Agreement or any other Loan Document.

          (b)     In connection with the implementation of a Benchmark Replacement, the Required
 Lenders will have the right to make Benchmark Replacement Conforming Changes from time to time and,
 notwithstanding anything to the contrary herein or in any other Loan Document, any amendments
 implementing such Benchmark Replacement Conforming Changes will become effective without any
 further action or consent of any other party to this Agreement or any other Loan Document.


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          (c)     The Administrative Borrower (at the direction of the Required Lenders) will promptly
 notify the other Lenders of (i) any occurrence of a Benchmark Transition Event (other than the Benchmark
 Transition Event that occurred prior to March 30, 2021), a Term SOFR Transition Event or an Early Opt-
 in Election, as applicable, and its related Benchmark Replacement Date, (ii) the implementation of any
 Benchmark Replacement, (iii) the effectiveness of any Benchmark Replacement Conforming Changes, (iv)
 the removal or reinstatement of any tenor of a Benchmark pursuant to clause (d) below and (v) the
 commencement or conclusion of any Benchmark Unavailability Period. Any determination, decision or
 election that may be made by the Required Lenders pursuant to this Section 2.12, including any
 determination with respect to a tenor, rate or adjustment or of the occurrence or non-occurrence of an event,
 circumstance or date and any decision to take or refrain from taking any action or any selection, will be
 conclusive and binding absent manifest error and may be made in its or their sole discretion and without
 consent from any other party to this Agreement or any other Loan Document, except, in each case, as
 expressly required pursuant to this Section 2.12.

          (d)      Notwithstanding anything to the contrary herein or in any other Transaction Document, at
 any time (including in connection with the implementation of a Benchmark Replacement), (i) if the then-
 current Benchmark is a term rate (including Term SOFR or LIBO Rate) and either (A) any tenor for such
 Benchmark is not displayed on a screen or other information service that publishes such rate from time to
 time as selected by the Required Lenders in their reasonable discretion or (B) the regulatory supervisor for
 the administrator of such Benchmark has provided a public statement or publication of information
 announcing that any tenor for such Benchmark is or will be no longer representative, then the Required
 Lenders may modify the definition of “Interest Period” for any Benchmark settings at or after such time to
 remove such unavailable or non-representative tenor and (ii) if a tenor that was removed pursuant to clause
 (i) above either (A) is subsequently displayed on a screen or information service for a Benchmark (including
 a Benchmark Replacement) or (B) is not, or is no longer, subject to an announcement that it is or will no
 longer be representative for a Benchmark (including a Benchmark Replacement), then the Required
 Lenders may modify the definition of “Interest Period” for all Benchmark settings at or after such time to
 reinstate such previously removed tenor.

         (e)     Upon the Administrative Borrower’s receipt of notice of the commencement of a
 Benchmark Unavailability Period, the Borrowers may revoke any request for a Loan bearing interest based
 on the LIBO Rate, conversion to or continuation of LIBOR Loans to be made, converted or continued
 during any Benchmark Unavailability Period and, failing that, the Borrowers will be deemed to have
 converted any such request into a request for a Borrowing of or conversion to Prime Rate Loans.

          (f)      Notwithstanding anything to the contrary herein or in any other Loan Document and
 subject to the proviso below in this paragraph, if a Term SOFR Transition Event and its related Benchmark
 Replacement Date have occurred prior to the Reference Time in respect of any setting of the then-current
 Benchmark, then (i) the applicable Benchmark Replacement will replace the then-current Benchmark for
 all purposes hereunder or under any Transaction Document in respect of such Benchmark setting (the
 “Secondary Term SOFR Conversion Date”) and subsequent Benchmark settings, without any amendment
 to, or further action or consent of any other party to, this Agreement or any other Loan Document; and (ii)
 Loans outstanding on the Secondary Term SOFR Conversion Date bearing interest based on the then-
 current Benchmark shall be deemed to have been converted to Loans bearing interest at the Benchmark
 Replacement with a tenor approximately the same length as the interest payment period of the then-current
 Benchmark; provided that, this Section 2.12(f) shall not be effective unless the Required Lenders have
 delivered to the Administrative Borrower a Term SOFR Notice.

         (g)      This Section 2.12 provides a mechanism for determining an alternative rate of interest in
 the event that the London interbank offered rate is no longer available or in certain other circumstances.
 The Lenders and the Administrative Agent do not warrant or accept any responsibility for and shall not

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 have any liability with respect to, the administration, submission or any other matter related to the London
 interbank offered rate or other rates in the definition of LIBO Rate or with respect to any alternative or
 successor rate thereto, or replacement rate therefor.

                                          ARTICLE III
                           TAXES, YIELD PROTECTION AND ILLEGALITY

         3.01       Taxes. For purposes of this Section 3.01, the term “applicable law” includes FATCA.

         (a)     Payments Free of Taxes; Obligation to Withhold; Payments on Account of Taxes. (i) Any
 and all payments by or on account of any obligation of any Borrower hereunder or under any other Loan
 Document shall to the extent permitted by applicable Laws be made free and clear of and without reduction
 or withholding for any Taxes. If, however, applicable Laws require any Borrower or the Administrative
 Agent to withhold or deduct any Tax, such Tax shall be withheld or deducted in accordance with such Laws
 as determined by any Borrower or the Administrative Agent, as the case may be, upon the basis of the
 information and documentation to be delivered pursuant to subsection (e) below, and the full amount so
 deducted or withheld shall be timely paid to the relevant Governmental Authority in accordance with
 applicable law.

                 (ii)    If any Borrower or the Administrative Agent shall be required by the Code to
         withhold or deduct any Taxes, including both United States Federal backup withholding and
         withholding taxes, from any payment, then (A) the Administrative Agent shall withhold or make
         such deductions as are determined by the Administrative Agent to be required based upon the
         information and documentation it has received pursuant to subsection (e) below, (B) the
         Administrative Agent shall timely pay the full amount withheld or deducted to the relevant
         Governmental Authority in accordance with the Code, and (C) to the extent that the withholding or
         deduction is made on account of Indemnified Taxes or Other Taxes, the sum payable by the any
         Borrower shall be increased as necessary so that after any required withholding or the making of
         all required deductions (including deductions applicable to additional sums payable under this
         Section) the Administrative Agent or any Lender, as the case may be, receives an amount equal to
         the sum it would have received had no such withholding or deduction been made.

         (b)     Payment of Other Taxes by the Borrowers. Without limiting the provisions of subsection
 (a) above, the Borrowers shall timely pay to the relevant Governmental Authority in accordance with
 applicable law, or at the option of the Administrative Agent timely reimburse it for the payment of, any
 Other Taxes.

          (c)     Tax Indemnifications. (i) Without limiting the provisions of subsection (a) or (b) above,
 the Borrowers shall, and do hereby, jointly and severally, indemnify each Recipient, and shall make
 payment in respect thereof within ten (10) days after demand therefor, for the full amount of any
 Indemnified Taxes or Other Taxes (including Indemnified Taxes or Other Taxes imposed or asserted on or
 attributable to amounts payable under this Section) withheld or deducted by the Borrowers or the
 Administrative Agent or paid by or required to be withheld or deducted from a payment to such Recipient,
 as the case may be, and any penalties, interest and reasonable expenses arising therefrom or with respect
 thereto, whether or not such Indemnified Taxes or Other Taxes were correctly or legally imposed or asserted
 by the relevant Governmental Authority. The Borrowers shall also, and do hereby, jointly and severally,
 indemnify the Administrative Agent, and shall make payment in respect thereof within ten (10) days after
 demand therefor, for any amount which a Lender for any reason fails to pay indefeasibly to the
 Administrative Agent as required by clause (ii) of this subsection. A certificate as to the amount of any
 such payment or liability delivered to the Borrowers by a Lender (with a copy to the Administrative Agent),


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 or by the Administrative Agent on its own behalf or on behalf of a Lender, shall be conclusive absent
 manifest error.

                 (ii)     Without limiting the provisions of subsection (a) or (b) above, each Lender shall,
         and does hereby, severally indemnify the Administrative Agent, and shall make payment in respect
         thereof within ten (10) days after demand therefor, for (x) any Indemnified Taxes attributable to
         such Lender (but only to the extent that the Borrowers have not already indemnified the
         Administrative Agent for such Indemnified Taxes and without limiting the obligation of the
         Borrowers to do so), (y) any Taxes attributable to such Lender’s failure to comply with the
         provisions of Section 11.06 relating to the maintenance of a Participant Register, and (z) any
         Excluded Taxes attributable to such Lender, in each case, that are payable or paid by the
         Administrative Agent in connection with any Loan Document, and any reasonable expenses arising
         therefrom or with respect thereto, whether or not such Taxes were correctly or legally imposed or
         asserted by the relevant Governmental Authority. Each Lender hereby authorizes the
         Administrative Agent to set off and apply any and all amounts at any time owing to such Lender
         under this Agreement or any other Loan Document against any amount due to the Administrative
         Agent under this clause (ii). The agreements in this clause (ii) shall survive the resignation and/or
         replacement of the Administrative Agent, any assignment of rights by, or the replacement of, a
         Lender, the termination of the Commitments and the repayment, satisfaction or discharge of all
         other Obligations.

          (d)      Evidence of Payments. As soon as practicable after any payment of Taxes by any Borrower
 or the Administrative Agent to a Governmental Authority as provided in this Section 3.01, the Borrowers
 shall deliver to the Administrative Agent or the Administrative Agent shall deliver to the Borrowers, as the
 case may be, a copy of a receipt issued by such Governmental Authority evidencing such payment, a copy
 of any return required by Laws to report such payment or other evidence of such payment reasonably
 satisfactory to the Borrowers or the Administrative Agent, as the case may be.

         (e)      Status of Lenders; Tax Documentation. (i) Each Lender shall deliver to the Borrowers
 and to the Administrative Agent, at the time or times prescribed by applicable Laws or when reasonably
 requested by the Borrowers or the Administrative Agent, such properly completed and executed
 documentation prescribed by applicable Laws or by the taxing authorities of any jurisdiction and such other
 reasonably requested information as will permit the Borrowers or the Administrative Agent, as the case
 may be, to make such payments without withholding or at a reduced rate of withholding. In addition, any
 Lender, if reasonably requested by the Borrowers or the Administrative Agent, shall deliver such other
 documentation prescribed by applicable Laws or reasonably requested by the Borrower or the
 Administrative Agent as will enable the Borrowers or the Administrative Agent to determine whether or
 not such Lender is subject to backup withholding or information reporting requirements. Notwithstanding
 anything to the contrary in the preceding sentence, the completion, execution and submission of such
 documentation (other than such documentation set forth in clauses (ii)(A) and (ii)(B) below) shall not be
 required if in the Lender’s reasonable judgment such completion, execution or submission would subject
 such Lender to any material unreimbursed cost or expense or would materially prejudice the legal or
 commercial position of such Lender.

                (ii)     Without limiting the generality of the foregoing, if any Borrower is resident for tax
         purposes in the United States,

                             (A)    any Lender that is a “United States person” within the meaning of section
                    7701(a)(30) of the Code shall deliver to the Borrowers and the Administrative Agent
                    executed copies of Internal Revenue Service Form W-9 certifying that such Lender is not
                    subject to backup withholding tax; and

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                             (B)      each Foreign Lender that is entitled under the Code or any applicable
                    treaty to an exemption from or reduction of withholding tax with respect to payments
                    hereunder or under any other Loan Document shall deliver to the Borrowers and the
                    Administrative Agent (in such number of copies as shall be requested by the recipient) on
                    or prior to the date on which such Foreign Lender becomes a Lender under this Agreement
                    (and from time to time thereafter upon the request of the Borrowers or the Administrative
                    Agent, but only if such Foreign Lender is legally entitled to do so), whichever of the
                    following is applicable:

                                     (I)     in the case of a Foreign Lender claiming the benefits of an income
                            tax treaty to which the United States is a party (x) with respect to payments of
                            interest under any Loan Document, executed originals of IRS Form W-8BEN or
                            W-8BEN-E, as applicable, establishing an exemption from, or reduction of, U.S.
                            federal withholding Tax pursuant to the “interest” article of such tax treaty and (y)
                            with respect to any other applicable payments under any Loan Document, IRS
                            Form W-8BEN or W-8BEN-E, as applicable, establishing an exemption from, or
                            reduction of, U.S. federal withholding Tax pursuant to the “business profits” or
                            “other income” article of such tax treaty,

                                     (II)     executed originals of Internal Revenue Service Form W-8ECI,

                                     (III)   executed originals of Internal Revenue Service Form W-8IMY
                            and all required supporting documentation, or

                                     (IV)     in the case of a Foreign Lender claiming the benefits of the
                            exemption for portfolio interest under section 881(c) of the Code, (x) a certificate
                            to the effect that such Foreign Lender is not (A) a “bank” within the meaning of
                            section 881(c)(3)(A) of the Code, (B) a “10 percent shareholder” of any Borrower
                            within the meaning of section 871(h)(3)(B) of the Code, or (C) a “controlled
                            foreign corporation” described in section 881(c)(3)(C) of the Code and (y)
                            executed originals of Internal Revenue Service Form W-8BEN or W-8BEN-E, as
                            applicable;

                             (C)     any Foreign Lender shall, to the extent it is legally entitled to do so, deliver
                    to the Administrative Borrower and the Administrative Agent (in such number of copies
                    as shall be requested by the recipient) on or prior to the date on which such Foreign Lender
                    becomes a Lender under this Agreement (and from time to time thereafter upon the
                    reasonable request of the Administrative Borrower or the Administrative Agent), executed
                    originals of any other form prescribed by applicable Laws as a basis for claiming
                    exemption from or a reduction in United States Federal withholding tax together with such
                    supplementary documentation as may be prescribed by applicable Laws to permit the
                    Borrowers or the Administrative Agent to determine the withholding or deduction required
                    to be made.

                 (iii)  Each Lender shall promptly update any form or certification it previously delivered
         that expires or becomes or obsolete or inaccurate in any respect, or promptly notify the
         Administrative Borrower and the Administrative Agent in writing of its legal inability to do so.

         (f)      Treatment of Certain Refunds. If any party determines, in its sole discretion exercised in
 good faith, that it has received a refund of any Taxes as to which it has been indemnified pursuant to this
 Section 3.01 (including by the payment of additional amounts pursuant to this Section 3.01), it shall pay to

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 the indemnifying party an amount equal to such refund (but only to the extent of indemnity payments made
 under this Section with respect to the Taxes giving rise to such refund), net of all out-of-pocket expenses
 (including Taxes) of such indemnified party and without interest (other than any interest paid by the relevant
 Governmental Authority with respect to such refund). Such indemnifying party, upon the request of such
 indemnified party, shall repay to such indemnified party the amount paid over pursuant to this subsection
 (f) (plus any penalties, interest or other charges imposed by the relevant Governmental Authority) in the
 event that such indemnified party is required to repay such refund to such Governmental Authority.
 Notwithstanding anything to the contrary in this subsection (f), in no event will the indemnified party be
 required to pay any amount to an indemnifying party pursuant to this subsection (f), the payment of which
 would place the indemnified party in a less favorable net after-Tax position than the indemnified party
 would have been in if the Tax subject to indemnification and giving rise to such refund had not been
 deducted, withheld or otherwise imposed and the indemnification payments or additional amounts with
 respect to such Tax had never been paid. This paragraph shall not be construed to require any indemnified
 party to make available its Tax returns (or any other information relating to its Taxes that it deems
 confidential) to the indemnifying party or any other Person.

         (g)    Survival. Each party’s obligations under this Section 3.01 shall survive the resignation
 and/or replacement of the Administrative Agent, any assignment of rights by, or the replacement of, a
 Lender, the termination of the Commitments and the repayment, satisfaction or discharge of all other
 Obligations.

         3.02       Increased Costs.

         (a)        Increased Costs Generally. If any Change in Law shall:

                  (i)    impose, modify or deem applicable any reserve, special deposit, compulsory loan,
         insurance charge or similar requirement against assets of, deposits with or for the account of, or
         credit extended or participated in by, any Lender;

                  (ii)      subject any Lender to any Taxes (other than (A) Indemnified Taxes, (B) Taxes
         described in clauses (b) through (d) of the definition of Excluded Taxes and (C) Connection Income
         Taxes) on its loans, loan principal, commitments, or other obligations, or its deposits, reserves,
         other liabilities or capital attributable thereto; or

                 (iii)    impose on any Lender any other condition, cost or expense (other than Taxes)
         affecting this Agreement or Loans made by such Lender or participation therein;

 and the result of any of the foregoing shall be to increase the cost to such Lender or such other Recipient of
 making or maintaining any Loan (or of maintaining its obligation to make any such Loan), or to reduce the
 amount of any sum received or receivable by such Lender or such other Recipient hereunder (whether of
 principal, interest or any other amount) then, upon request of such Lender or such other Recipient, the
 Borrowers will pay to such Lender or such other Recipient, as the case may be, such additional amount or
 amounts as will compensate such Lender or such other Recipient, as the case may be, for such additional
 costs incurred or reduction suffered.

          (b)     Capital Requirements. If any Lender determines that any Change in Law affecting such
 Lender or any Lending Office of such Lender or such Lender’s holding company, if any, regarding capital
 or liquidity requirements has or would have the effect of reducing the rate of return on such Lender’s capital
 or on the capital of such Lender’s holding company, if any, as a consequence of this Agreement, the
 Commitments of such Lender or the Loans made by such Lender, to a level below that which such Lender
 or such Lender’s holding company could have achieved but for such Change in Law (taking into

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 consideration such Lender’s and the policies of such Lender’s holding company with respect to capital
 adequacy), then from time to time the Borrowers will pay to such Lender such additional amount or amounts
 as will compensate such Lender or such Lender’s holding company for any such reduction suffered.

         (c)      Certificates for Reimbursement. A certificate of a Lender setting forth the amount or
 amounts necessary to compensate such Lender or its holding company, as the case may be, as specified in
 subsection (a) or (b) of this Section and delivered to the Administrative Borrower shall be conclusive absent
 manifest error. The Borrowers shall pay such Lender the amount shown as due on any such certificate
 within ten (10) days after receipt thereof.

          (d)      Delay in Requests. Failure or delay on the part of any Recipient to demand compensation
 pursuant to the foregoing provisions of this Section shall not constitute a waiver of such Recipient’s right
 to demand such compensation, provided that the Borrowers shall not be required to compensate a Recipient
 pursuant to the foregoing provisions of this Section for any increased costs incurred or reductions suffered
 more than nine months prior to the date that such Recipient notifies the Administrative Borrower of the
 Change in Law giving rise to such increased costs or reductions and of such Recipient’s intention to claim
 compensation therefor (except that, if the Change in Law giving rise to such increased costs or reductions
 is retroactive, then the nine-month period referred to above shall be extended to include the period of
 retroactive effect thereof).

         3.03  Survival. All of the Borrowers’ obligations under this Article III shall survive termination
 of the Commitments, repayment of all other Obligations hereunder, and resignation of the Administrative
 Agent.

                                           ARTICLE IV
                            CONDITIONS PRECEDENT TO CREDIT EXTENSIONS

          4.01     Conditions to the Closing Date. The obligation of each Lender to make its initial Loans
 hereunder, including the deemed funding of the Roll-Up Loans pursuant to Section 2.01(c) is subject to
 satisfaction of the following conditions precedent:

         (a)     Each Lender’s receipt of the following, each of which shall be originals or copies (followed
 promptly by originals) unless otherwise specified, each properly executed by a Responsible Officer of the
 signing Borrower, each dated the Closing Date (or, in the case of certificates of governmental officials, a
 recent date before the Closing Date) and each in form and substance satisfactory to each of the Lenders:

                    (i)       executed counterparts of this Agreement;

                    (ii)      a Note executed by the Borrowers in favor of each Lender requesting a Note;

                    (iii)     duly executed counterparts of each other Loan Document, if any, together with:

                            (A)     confirmation that the Collateral Agent is in receipt of all certificates
                    representing the Pledged Equity accompanied by undated stock or membership interest
                    powers executed in blank and instruments evidencing any Pledged Debt pursuant to
                    Section 12.01 indorsed in blank,

                            (B)      confirmation that the Administrative Agent has received
                    acknowledgement copies of proper financing statements duly filed on or before the Closing
                    Date under the UCC of all jurisdictions that the Required Lenders may deem necessary or
                    desirable in order to perfect the Liens created pursuant to the DIP Orders and/or hereunder;


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                           (C)    results of searches or other evidence reasonably satisfactory to the
                    Required Lenders (in each case dated as of a date reasonably satisfactory to the Required
                    Lenders), and

                            (D)      evidence of the completion of all other actions, recordings and filings of
                    or with respect to this Agreement that the Required Lenders may deem necessary or
                    desirable in order to perfect the Liens created pursuant to the DIP Orders and/or hereunder;

                  (iv)    certificates executed by a Responsible Officer of each Borrower (i) attaching such
         documents and certifications as the Required Lenders may reasonably require to evidence that each
         Borrower is duly organized or formed, including without limitation the Organization Documents
         for such Borrower, and that each Borrower is validly existing, in good standing and qualified to
         engage in business in each jurisdiction where its ownership, lease or operation of properties or the
         conduct of its business requires such qualification; (ii) attaching resolutions or other action
         authorizing the actions of such Borrower under the Loan Documents; and (iii) evidencing the
         identity, authority and capacity of each Responsible Officer thereof authorized to act as a
         Responsible Officer in connection with this Agreement and the other Loan Documents to which
         such Borrower is a party or is to be a party;

                 (v)      a certificate executed by a Responsible Officer of the Borrowers certifying that all
         governmental and third-party consents, licenses and approvals, if any, necessary in connection with
         the DIP Facility, the operation of each Debtors’ business and the Transactions hereunder have been
         obtained and remain in effect;

                (vi)     a certificate executed by a Responsible Officer of the Borrowers certifying (A) that
         the conditions specified in Sections 4.02(a) and (b) have been satisfied, and (B) since the
         Emergency DIP Order Entry Date, no change, occurrence or development shall have occurred or
         become known to the Borrowers that has had or could reasonably be expected to have a Material
         Adverse Effect;

                (vii)  certificates of insurance and endorsements reasonably satisfactory to the Required
         Lenders demonstrating the Borrowers’ compliance with Section 6.07;

                    (viii)   [reserved]; and

                (ix)    such other assurances, certificates, documents or consents as any Lender
         reasonably may require.

        (b)      The Borrowers shall have filed an application with the Bankruptcy Court to retain each of
 Grant Thornton LLP, as their financial advisor and ERM as their investment banker in connection with the
 Cases and the Sale Process, such applications to be satisfactory to the Required Lenders.

         (c)     The Borrowers shall have delivered to the Agents account control agreements in favor of
 the Collateral Agent and in form and substance satisfactory to the Required Lenders for each of the
 Borrowers’ deposit accounts located at Allegiance Bank.

         (d)     The Required Lenders shall have received the initial DIP Budget (the “Initial DIP Budget”)
 in form and substance acceptable to the Required Lenders in their sole discretion, certified by a Responsible
 Officer of the Borrowers, certifying that the projections therein have been prepared in good faith based on
 reasonable assumptions, and that such projections contain no statements or conclusions (and there are no
 omissions of information) which are based upon or include information known to the Borrowers to be


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 misleading in any material respect or which fail to take into account information known to the Borrowers
 regarding materials reported therein.

         (e)      All fees required to be paid to the Administrative Agent, Collateral Agent and the Lenders
 on or before the Closing Date, shall have been paid.

         (f)      The Borrowers shall have paid all reasonable and documented fees, charges and
 disbursements of counsel to the Lenders, the Collateral Agent and the Administrative Agent (directly to
 such counsel if requested by the Lenders, the Collateral Agent or Administrative Agent) to the extent
 invoiced prior to or on the Closing Date, plus such additional amounts of such fees, charges and
 disbursements as shall constitute its reasonable estimate of such fees, charges and disbursements incurred
 or to be incurred by it through the closing proceedings (provided that such estimate shall not thereafter
 preclude a final settling of accounts between the Borrowers and the Administrative Agent, Collateral Agent
 and/or the Lenders).

         (g)      The Collateral Agent shall have a valid first priority perfected Lien on the Collateral,
 subject only to the Carve Out and the Permitted Prior Liens.

         (h)     Each Lender, the Collateral Agent and the Administrative Agent shall have received, to the
 extent applicable, not less than five (5) days prior to the Closing Date, all documentation and other
 information that the Administrative Agent requests in order to comply with requirements of Anti-Money
 Laundering Laws, including, without limitation, the USA PATRIOT Act and any applicable “know your
 customer” rules and regulations.

         (i)        Bankruptcy Matters.

                 (i)      Entry of Interim DIP Order. The Bankruptcy Court shall have approved and
         entered the Interim DIP Order no later than September 2, 2021, in form and substance satisfactory
         to the Required Lenders in their sole discretion. The Interim DIP Order shall not have been
         reversed, stayed or vacated and shall have not been amended, supplemented or otherwise modified
         absent prior written consent of the Required Lenders or subject to any motion for reversal,
         modifications, amendment, appeal, leave to appeal, or stay; provided that no Lender shall be
         required to fund any Borrowing to the extent that the Interim DIP Order does not approve the Roll-
         Up that is to be consummated pursuant to Section 2.01(c)(i).

                  (ii)    Cash Management. The Borrowers shall have established or shall maintain a cash
         management systems acceptable to the Required Lenders and if requested by the Required Lenders,
         the entry by the Bankruptcy Court of a Cash Management Order shall be a condition to the funding
         by the Lenders of the initial Loan hereunder. To the extent a Cash Management Order has been
         entered by the Bankruptcy Court prior to the Closing Date, the Borrowers shall have taken all steps
         necessary to comply with such Cash Management Order. Any Cash Management Order shall not
         have been reversed, stayed or vacated and shall have not been amended, supplemented or otherwise
         modified absent prior written consent of the Required Lenders or subject to any motion for reversal,
         modifications, amendment, appeal, leave to appeal, or stay.

                  (iii)   First Day Pleadings and First Day Orders. All “first day” orders shall not have
         been amended or supplemented in any manner that could be adverse to the Agents’ or the Lenders’
         interests or be inconsistent, in an material respect, with the terms hereof or with the Interim DIP
         Order unless such amendment or supplement shall have been approved in advance in writing by
         the Required Lenders.



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                 (iv)    Control Over Collateral. No trustee, examiner, or receiver shall have been
         appointed or designated with respect to the Borrowers’ business, properties or assets and the
         Bankruptcy Court shall not have entered any order granting any party, other than the Borrowers
         and the Agents, control over any Collateral.

 Without limiting the generality of the provisions of Section 9.06, for purposes of determining compliance
 with the conditions specified in this Section 4.01, each Lender that has signed this Agreement shall be
 deemed to have consented to, approved or accepted or to be satisfied with, each document or other matter
 required thereunder to be consented to or approved by or acceptable or satisfactory to a Lender unless the
 Administrative Agent shall have received notice from such Lender prior to the proposed Closing Date
 specifying its objection thereto.

       4.02   Conditions to all Credit Extensions. The obligation of each Lender to honor any
 Committed Loan Notice is subject to the following conditions precedent:

          (a)     The representations and warranties of each Borrower contained in Article V or any other
 Loan Document, or which are contained in any document furnished at any time under or in connection
 herewith or therewith, shall be true and correct in all material respects (except that such materiality qualifier
 shall not be applicable to the extent that any representation or warranty is already qualified or modified by
 materiality or subject to any dollar threshold in the text thereof) on and as of the date of such Credit
 Extension, except to the extent that such representations and warranties specifically refer to an earlier date,
 in which case they shall be true and correct as of such earlier date, and except that for purposes of this
 Section 4.02, the representations and warranties contained in Sections 5.05(a) and (b) shall be deemed to
 refer to the most recent statements furnished pursuant to Sections 6.01(a) and (b), respectively.

         (b)      No Default or Event of Default shall exist, or would result from such proposed Credit
 Extension or from the application of the proceeds thereof and the making of such Credit Extension shall
 not violate any requirement of Law and shall not be enjoined, temporarily, preliminarily or permanently.

         (c)    Except with respect to the Roll-Up Loans deemed funded pursuant to Section 2.01(c), the
 Administrative Agent shall have received a Committed Loan Notice in accordance with the requirements
 hereof.

          (d)       With respect to any Credit Extension requested after the Final Order Entry Date, the Final
 DIP Order (i) shall have been entered on the docket of the Bankruptcy Court on the date that is on or before
 twenty-one (21) calendar days after the Interim Order Entry Date, (ii) shall be in full force and effect and
 shall not have been vacated, stayed, reversed, overturned or modified in any respect without the written
 consent of the Required Lenders in their sole discretion, and shall not have been reversed, stayed or vacated
 and shall have not been amended, supplemented or otherwise modified absent prior written consent of the
 Required Lenders or subject to any motion for reversal, modifications, amendment, appeal, leave to appeal,
 or stay, and (iii) shall approve the Roll-Up.

         (e)     Each Borrowing shall demonstrate prospective compliance with the DIP Budget and the
 applicable Variance Report for such period.

          Each Committed Loan Notice submitted by the Borrowers shall be deemed to be a representation
 and warranty that the conditions specified in Sections 4.02(a) and (b) have been satisfied on and as of the
 date of the applicable Credit Extension.




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                                         ARTICLE V
                               REPRESENTATIONS AND WARRANTIES

         Each Borrower represents and warrants to the Administrative Agent and the Lenders that:

          5.01    Existence, Qualification and Power. Each Borrower (a) is duly organized or formed,
 validly existing and, as applicable, in good standing under the Laws of the jurisdiction of its incorporation
 or organization, (b) has all requisite power and authority and all requisite governmental licenses,
 authorizations, consents and approvals to (i) own or lease its assets and carry on its business and (ii) execute,
 deliver and perform its obligations under the Loan Documents to which it is a party and consummate the
 Transaction subject to the entry of the DIP Orders, and (c) is duly qualified and is licensed and, as
 applicable, in good standing under the Laws of each jurisdiction where its ownership, lease or operation of
 properties or the conduct of its business requires such qualification or license; except in each case referred
 to in clause (b)(i) or (c), to the extent that failure to do so could not reasonably be expected to have a
 Material Adverse Effect. No Borrower is an EEA Financial Institution.

          5.02    Authorization; No Contravention. Subject to the entry of the DIP Orders, the execution,
 delivery and performance by each Borrower of each Loan Document to which such Borrower is or is to be
 a party have been duly authorized by all necessary corporate or other organizational action, and do not and
 will not (a) contravene the terms of any of such Borrower’s Organization Documents; (b) conflict with or
 result in any breach or contravention of, or the creation of any Lien under, or require any payment to be
 made under (i) any Contractual Obligation (other than any applicable anti-assignment provisions in effect
 as of the Petition Date) to which such Borrower is a party or affecting such Borrower or the properties of
 such Borrower or (ii) any order, injunction, writ or decree of any Governmental Authority or any arbitral
 award to which such Borrower or its property is subject; or (c) violate any Law.

           5.03   Governmental Authorization. Subject to the entry of the DIP Orders, no approval, consent,
 exemption, authorization, or other action by, or notice to, or filing with (other than the filings required by
 the Loan Documents and the DIP Orders), any Governmental Authority or any other Person is necessary or
 required in connection with (a) the execution, delivery or performance by, or enforcement against, any
 Borrower of this Agreement or any other Loan Document or for the consummation of the Transaction,
 (b) the grant by any Borrower of the Liens granted by it pursuant to Article XII hereof, (c) the perfection
 or maintenance of the Liens created pursuant to Article XII hereof (including the first priority nature thereof,
 subject only to the Carve Out and the Permitted Prior Liens) or (d) the exercise by the Agents or any Lender
 of its rights under the Loan Documents or the remedies in respect of the Collateral pursuant to Article XII
 hereof, except for the Required Approvals listed on Part I of Schedule 5.03, all of which have been duly
 obtained, taken, given or made and are in full force and effect, and each Required Approval listed in Part
 II of Schedule 5.03 is not required to be obtained until after the Closing Date, and such Required Approvals
 can be obtained when required without material expense or for aggregate fees and costs not exceeding the
 amounts budgeted therefor in the DIP Budget.

         5.04      Binding Effect. This Agreement has been, and each other Loan Document, when delivered
 hereunder, will have been, duly executed and delivered by each Borrower that is party thereto. This
 Agreement constitutes, and each other Loan Document when so delivered will constitute, a legal, valid and
 binding obligation of such Borrower, enforceable against each Borrower that is party thereto in accordance
 with its terms, subject to the entry of the DIP Orders and further subject to applicable bankruptcy,
 insolvency, reorganization, moratorium or other laws affecting creditors’ rights generally, including the
 Cases, and further subject to general principles of equity regardless of whether considered in a proceeding
 in equity or at law.




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         5.05       Financial Statements; No Material Adverse Effect.

         (a)        [Reserved].

         (b)      Since the Petition Date, there has been no event or circumstance, either individually or in
 the aggregate, that has had or could reasonably be expected to have a Material Adverse Effect.

         (c)        [Reserved].

         (d)     Each DIP Budget was prepared in good faith on the basis of the assumptions stated therein,
 which assumptions were fair in light of the conditions existing at the time of delivery of such DIP Budget,
 and represented, at the time of delivery, the Borrowers’ good faith estimate of its future financial condition
 and performance.

          5.06     Litigation. To the knowledge of the Borrowers after due inquiry, other than the Cases and
 as set forth on Schedule 5.06, there are no actions, suits, investigations or proceedings pending or threatened
 against or affecting any Borrower or any property of any Borrower, including either Project, in any court
 or before any arbitrator of any kind or before or by any Governmental Authority that (x) could, individually
 or in the aggregate, reasonably be expected to have a Material Adverse Effect or (y) or that questions the
 validity of any of the Transaction Documents.

          5.07     No Default. No Borrower is (a) in “Default” or “Event of Default” under the Loan
 Documents, (b) in default under any material agreement or instrument to which it is a party or by which it
 is bound (excluding the Material Project Documents which are addressed in Section 5.21), which has not
 been waived or cured within any applicable notice and cure period, (c) in default or in violation of any
 order, judgment, decree or ruling of any court, arbitrator or Governmental Authority in any material respect,
 or (d) in violation of any applicable law, ordinance, rule or regulation (including without limitation the USA
 PATRIOT Act but excluding Environmental Laws which are addressed in Section 5.09) of any
 Governmental Authority in any material respect. No Default has occurred and is continuing or would result
 from the consummation of the transactions contemplated by the Agreement or any other Loan Document.

         5.08       Ownership of Property; Liens; Leases; Investments.

          (a)    The Borrowers have good and sufficient title to their respective properties that individually
 or in the aggregate are material to its business, in each case free and clear of Liens other than Permitted
 Liens and other Liens permitted under Section 7.01.

         (b)      To the best of the Borrowers’ knowledge after due inquiry, Schedule 5.08(b) sets forth a
 complete and accurate list of all Liens on the property or assets of each Borrower on the date hereof (other
 than the Liens in favor of the Collateral Agent securing the Obligations hereunder), showing as of the date
 hereof the lienholder thereof, the principal amount of the obligations secured thereby and the property or
 assets of such Borrower subject thereto. To the best of the Borrowers’ knowledge after due inquiry, the
 property of each Borrower is subject to no Liens, other than Liens set forth on Schedule 5.08(b), and as
 otherwise permitted by Section 7.01.

          (c)      Subject to Section 6.14 and except as set forth on Schedule 5.08(c), each Project Company
 has good, valid, marketable and indefeasible leasehold and easement interests in such Project Company’s
 Site and the improvements thereon and the portions of its Project that constitute real property, and other
 real property rights and interest necessary for the construction, ownership, operation and maintenance of
 its Project, in each case free and clear of Liens (other than Permitted Liens and other Liens permitted under
 Section 7.01). Each Site Lease is valid and subsisting and in full force and effect and has not been


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 terminated. The real property interests, easements and other rights of each Project Company set forth in
 the applicable Title Policy and encumbered by the applicable Prepetition Senior Secured Note Document
 and the Loan Documents:

                  (i) Except as set forth on Schedule 5.08, comprise all of the real property interests
         necessary to secure any right required with respect to (1) the use, operation or maintenance of its
         Project in accordance with all requirements of law, including all Required Approvals, and (2) the
         generation, transmission and sale of energy generated by its Project up to the point of
         interconnection with the electric grid in accordance with all requirements of law, including all
         Required Approvals;

                  (ii)    Except as set forth on Schedule 5.08(c), are sufficient to enable its Project to be
         located, used, operated and routinely maintained on its Site through December 31, 2028; and

                  (iii)    provide adequate ingress and egress for any reasonable purpose in connection with
         the use, leasing, operation and routine maintenance of its Project through December 31, 2028.

         (d)        [Reserved].

         (e)        [Reserved].

         (f)      The Project Companies have no knowledge (after due inquiry) of any gas, oil or mineral
 rights with respect to the Sites, the exercise of which could interfere with the Project Companies’ use of the
 surface of the Sites or the Projects.

         (g)    Schedule 5.08(g) sets forth a complete and accurate list of all Investments held by any
 Borrower on the date hereof, showing as of the date hereof the amount, obligor or issuer and maturity, if
 any, thereof.

         5.09       Environmental Matters.

          (a)    The Borrowers have no knowledge (after due inquiry) of any Environmental Claim and
 there is no pending proceeding that has been instituted raising any Environmental Claim, in each case,
 against any Borrower or a Site, alleging any damage to the environment or violation of any Environmental
 Laws that could, individually or in the aggregate, reasonably be expected to result in a Material Adverse
 Effect.

          (b)     The Borrowers have no knowledge (after due inquiry) of any facts which would give rise
 to any Environmental Claim, public or private, of violation of Environmental Laws or damage to the
 environment emanating from, occurring on or in any way related to either Site that could, individually or
 in the aggregate, reasonably be expected to result in a Material Adverse Effect.

         (c)      Except to the extent that could not reasonably be expected to result in a Material Adverse
 Effect, neither Project Company has stored any Hazardous Materials on its Site or has disposed of any
 Hazardous Materials in a manner contrary to any Environmental Laws.

         (d)      All buildings on either Site (if any) are in compliance with applicable Environmental Laws,
 except to the extent that failure to be in compliance could not, individually or in the aggregate, reasonably
 be expected to result in a Material Adverse Effect.

         (e)        No Lien has been recorded pursuant to any Environmental Law with respect to either Site.


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        (f)     To the extent available, the Borrowers have provided to the Lenders copies of all
 environmental audits, reports, assessments, Required Approvals obtained pursuant to Environmental Laws,
 and any other material environmental document related to either Project or either Site.

        (g)      Neither Project Company will be considered the owner or operator under applicable laws
 for any pre-existing structure, device, equipment, tankage, or waste management unit or similar
 improvements not used in operations represented in any application made by the Project Company for an
 Approval existing or which may have existed at the applicable Site.

          (h)      There is no aboveground or underground storage tankage regulated under applicable law
 that is not described in an application for an Approval.

         (i)     Emissions associated with neither of the Projects will be aggregated with the emissions
 from other sources under applicable laws.

         (j)      Neither Project, as built and operated, will include sources of air emissions that are not
 specifically identified in the relevant application for Approval.

         (k)      To the Borrowers’ knowledge after due inquiry, no navigable waters or waters of the
 United States, as defined under applicable law or described by judicial authority are present on either Site
 that are not reflected on the most recent National Wetlands Inventory Map, and the construction and
 operation of neither Project will involve the discharge of fill into any such waters.

         (l)      To the Borrowers’ knowledge after due inquiry, no species or habitat of a species listed as
 endangered or threatened under applicable law will be affected by the operation of either Project and is
 present on either Site.

          (m)     To the Borrowers’ knowledge after due inquiry, no sites listed on or eligible for listing on
 the National Register of Historic Places, or otherwise having historical, archeological or cultural
 significance, are present at either Site.

         5.10     Insurance. The properties of the Borrowers are insured with financially sound and
 reputable insurance companies not Affiliates of the Borrowers, in such amounts, with such deductibles and
 covering such risks as are customarily carried by companies engaged in similar businesses and owning
 similar properties in localities where such Borrower operates.

          5.11    Taxes. The Borrowers have filed all tax returns that are required to have been filed in any
 jurisdiction, and except as set forth on Schedule 5.11, have paid all Taxes shown to be due and payable on
 such returns and all other Taxes and assessments levied upon any Borrower or their respective properties,
 assets, income or franchises, to the extent such Taxes and assessments have become due and payable and
 before they have become delinquent, except for any Taxes and assessments the amount, applicability or
 validity of which is currently being contested in good faith by appropriate proceedings without thereby
 incurring any material risk of the imposition or enforcement of any Lien and with respect to which such
 Borrower has established adequate reserves in accordance with GAAP. No Borrower knows of any basis
 for any other Tax or assessment that could reasonably be expected to have a Material Adverse Effect.

         5.12       Organization and Ownership of Interests in Borrower; Affiliates; Officers; No
 Subsidiaries.

        (a)     To the best of the Borrowers’ knowledge after due inquiry, Schedule 5.12(a) contains a
 complete and correct list and description of (i) the Sponsors’ and any other Person’s ownership interests in


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 the Parent and the Parent’s ownership interests in Agilon and Agilon’s ownership interests in each Project
 Company, and (ii) each Borrower’s directors, managers, and officers, as applicable.

         (b)     Set forth on Schedule 5.12(b) is a complete and accurate list of each Borrower, showing as
 of the Closing Date (as to each Borrower), the jurisdiction of its incorporation, the address of its principal
 place of business and its U.S. taxpayer identification number.

          (c)      The limited liability company membership interests of each Project Company are validly
 issued, are fully paid and nonassessable and are owned solely by Agilon free and clear of any Lien (except
 the Carve Out, the Permitted Prior Liens and the Liens created pursuant to Article XII hereof).

         (d)     Agilon does not own any Equity Interests in any Person other than the Project Companies,
 and the Project Companies do not own any Equity Interests in any Person.

         5.13       Margin Regulations; Status under Certain Statutes.

         (a)      No Borrower is engaged, nor will engage, principally or as one of its important activities,
 in the business of purchasing or carrying margin stock (within the meaning of Regulation U issued by the
 FRB), or extending credit for the purpose of purchasing or carrying margin stock, and is not otherwise
 engaged and will not otherwise engage in any activity in violation of Regulations T, U or X issued by the
 FRB.

         (b)      No Borrower is an “investment company” or a company “controlled” by an “investment
 company” within the meaning of the Investment Company Act of 1940, as amended, or an “investment
 adviser” within the meaning of the Investment Advisers Act of 1940, as amended.

         (c)    To the best of the Borrowers’ knowledge after due inquiry, each Material Project
 Document is effective pursuant to the terms thereof and has received all approvals, authorizations, and
 acceptances required to be effective from every applicable Governmental Authority.

         (d)      Each Borrower is in compliance with all and are not in violation of any applicable
 requirements and rules of the PUCTX, ERCOT or FERC, including but not limited to all requirements
 applicable to any Borrower under Section 215 of the FPA. No Borrower requires permission or
 authorization from, or is required to deliver any notice to, FERC or the PUCTX in order to execute and
 deliver the Transaction Documents to which it is a party or to enter into and perform the transactions
 contemplated thereby.

          (e)     Solely as a result of the execution and delivery of the Loan Documents and the entering
 into and performance of the Transactions contemplated thereby, none of the Secured Parties nor any
 Affiliates thereof shall become subject to, or not exempt from, regulation either by the FERC (under either
 of the FPA or PUHCA) or by the PUCTX under PURA, except by the exercise by the Secured Parties of
 certain remedies allowed under the Loan Documents. No prior authorization, approval, registration, filing,
 or notice by or with the PUCTX or any other Governmental Authority is required for the execution and
 delivery of any Loan Documents and the granting of the Liens under the Loan Documents, or the
 performance of payment obligations under any Loan Documents.

          5.14    Disclosure. Each Borrower has disclosed to the Lenders all agreements, instruments and
 corporate or other restrictions to which it is subject, and all other matters known to it, that, individually or
 in the aggregate, could reasonably be expected to result in a Material Adverse Effect. No report, financial
 statement, certificate or other information, including any DIP Budget, furnished by or on behalf of any
 Borrower to the Administrative Agent or any Lender in connection with the negotiation of this Agreement


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 or delivered hereunder or under any other Loan Document (in each case as modified or supplemented by
 other information so furnished) contains any material misstatement of fact or, when taken as a whole, omits
 to state any material fact necessary to make the statements therein, in the light of the circumstances under
 which they were made, not materially misleading; provided that, with respect to projected financial
 information, other forward-looking information and information of a general economic or general industry
 nature, each Borrower represents only that such information was prepared in good faith based upon
 assumptions believed to be reasonable at the time (it being understood that such projected financial
 information is not to be viewed as facts and that the actual results may vary materially from such projected
 financial information).

         5.15       [Reserved].

         5.16   Licenses, Permits, Etc. Except as set forth in Part II of Schedule 5.03 and Part II of
 Schedule 5.21 or where failure to do so could not reasonably be expected to result in a Material Adverse
 Effect:

          (a)     The Borrowers own or possess all licenses, permits, franchises, authorizations, patents,
 copyrights, proprietary software, service marks, trademarks and trade names, or rights thereto, that
 individually or in the aggregate are material to the construction and operation of the Projects, without known
 conflict with the rights of others.

         (b)     To the knowledge of the Borrowers after due inquiry, no product or service of any
 Borrower infringes in any material respect any license, permit, franchise, authorization, patent, copyright,
 proprietary software, service mark, trademark, trade name or other right owned by any other Person.

         (c)      To the knowledge of the Borrowers after due inquiry, there is no violation by any Person
 of any right of any Borrower with respect to any material license, permit, franchise, authorization, patent,
 copyright, proprietary software, service mark, trademark, trade name or other right owned or used by such
 Borrower.

          5.17    Casualty, Etc. Neither the businesses nor the properties of any Borrower are affected by
 any fire, explosion, accident, strike, lockout or other labor dispute, drought, storm, hail, earthquake,
 embargo, act of God or of the public enemy or other casualty (whether or not covered by insurance) that,
 either individually or in the aggregate, could reasonably be expected to have a Material Adverse Effect.

          5.18     Labor Relations; Force Majeure Events; Access to Utilities. No strike, slowdown or
 stoppage is pending or, to any Borrower’s knowledge after due inquiry, threatened, against any Borrower,
 their contractors or either Project. None of any Borrower or a Project or any other Project Party has suffered
 any Force Majeure Event that is continuing. All utility services (including electricity) necessary for the
 construction, development, ownership, operation and maintenance of each Project for its intended purposes
 are available at the applicable Site or can reasonably be expected to be commercially available as and when
 required upon commercially reasonable terms and consistent with the schedule and budget for the Projects.

          5.19    Use of Proceeds. The proceeds of the Loans will be used exclusively to pay expenditures
 set forth in the DIP Budget, expressly permitted by the DIP Orders and by Sections 6.11 and 7.20 of this
 Agreement.

         5.20       Compliance with ERISA.

          (a)      Either (i) each Borrower and each of its ERISA Affiliates (A) do not maintain, contribute
 to or are obligated to maintain or contribute to, any Plans and (B) are not, or have not ever been at any time


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 within the past six years, a “party in interest” (as defined in section 3(14) of ERISA) or a “disqualified
 person” (as defined in section 4975 of the Code) with respect to any Plan or (ii) each Borrower and each of
 its ERISA Affiliates have operated and administered each Plan in compliance in all material respects with
 all applicable laws. No Borrower nor any of its ERISA Affiliates has incurred any liability pursuant to
 Title I or IV of ERISA or the penalty or excise tax provisions of the Code relating to employee benefit plans
 (as defined in section 3 of ERISA), and no event, transaction or condition has occurred or exists that could,
 individually or in the aggregate, reasonably be expected to result in the incurrence of any such liability by
 any Borrower or any of its ERISA Affiliates, or in the imposition of any Lien on any of the rights, properties
 or assets of any Borrower or any of its ERISA Affiliates, in either case pursuant to Title I or IV of ERISA
 or to section 430(k) of the Code or to any such penalty or excise tax provisions under the Code or federal
 law or section 4068 of ERISA or by the granting of a security interest in connection with the amendment
 of a Plan, other than such liabilities or Liens as would not be individually or in the aggregate material.

          (b)      Either (i) each Borrower and each of its ERISA Affiliates (A) do not maintain, contribute
 to or are obligated to maintain or contribute to, any Plans and (B) are not, or have not ever been at any time
 within the past six years, a “party in interest” (as defined in section 3(14) of ERISA) or a “disqualified
 person” (as defined in section 4975 of the Code) with respect to any Plan or (ii) the present value of the
 aggregate benefit liabilities under each of the Plans (other than Multiemployer Plans), determined as of the
 end of such Plan’s most recently ended plan year on the basis of the actuarial assumptions specified for
 funding purposes in such Plan’s most recent actuarial valuation report, did not exceed the aggregate current
 value of the assets of such Plan allocable to such benefit liabilities. The term “benefit liabilities” has the
 meaning specified in section 4001 of ERISA and the terms “current value” and “present value” have the
 meaning specified in section 3 of ERISA.

         (c)     Each Borrower and its ERISA Affiliates, if any, have not incurred withdrawal liabilities
 (and are not subject to contingent withdrawal liabilities) under section 4201 or 4204 of ERISA in respect
 of Multiemployer Plans.

          (d)     The expected postretirement benefit obligation, if any, of each Borrower (determined as of
 the last day of the Borrowers’ most recently ended fiscal year in accordance with Financial Accounting
 Standards Board Accounting Standards Codification Topic 715-60, without regard to liabilities attributable
 to continuation coverage mandated by section 4980B of the Code or similar state law) is not material to the
 Borrowers.

         (e)      The execution and delivery of this Agreement and the extensions of credit hereunder will
 not involve any transaction that is subject to the prohibitions of section 406 of ERISA or in connection with
 which a tax could be imposed pursuant to section 4975(c)(1)(A)-(D) of the Code.

          5.21    Material Project Documents. The Material Project Documents listed on Schedule 5.21
 constitute and include all contracts and agreements that are material to the ownership, operation and
 maintenance of the Projects and the generation, transmission and sale of energy generated by the Projects,
 other than contracts for consumables and non-material services that are readily available and do not involve
 material expense. Each Material Project Document identified on Part I of Schedule 5.21 is in full force and
 effect. Each Material Project Document listed in Part II of Schedule 5.21 is not required to be obtained
 until after the Closing Date and shall be subject to the advance approval of the Required Lenders. Other
 than defaults disclosed in writing to the Lenders prior to the date hereof that existed as of the Petition Date,
 no Borrower is in default under any of the Material Project Documents as described in Schedule 5.21, nor
 has an event or omission occurred which with the giving of notice or lapse of time, or both, would constitute
 a default by any Borrower, under any of the Material Project Documents.




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         5.22      Bank Accounts. The account numbers, names of the applicable financial institutions, and
 locations of all bank accounts, deposit accounts, and investment accounts of the Borrowers are set forth on
 Schedule 5.22 hereto, which Schedule identifies all such accounts (if any) used as tax accounts, to hold any
 amounts with respect to a Demand for Collateral or payroll accounts.

          5.23     Collateral. The Collateral, as described in the Loan Documents, as applicable, includes all
 of the real and personal property of each Borrower (other than those items of property specifically excluded
 as Collateral by the terms thereof in such Loan Documents), and all Equity Interests in each Project
 Company, and constitutes all assets reasonably necessary for the operation and maintenance of the Projects.
 The security interests in the Collateral granted to the Collateral Agent (for the benefit of the Secured Parties)
 pursuant to the Loan Documents: (a) constitute as to personal property included in the Collateral and, with
 respect to subsequently acquired personal property included in the Collateral, will constitute, upon entry of
 the DIP Orders, a perfected first-priority security interest and Lien (subject in priority only to the Carve
 Out and the Permitted Prior Liens), and (b) upon entry of the DIP Orders, are, and, with respect to such
 subsequently acquired property, will be, as to Collateral perfected pursuant to the DIP Orders, superior and
 prior to the rights of all third Persons now existing or hereafter arising whether by way of mortgage, Lien,
 security interests, encumbrance, assignment or otherwise (subject in priority only to the Carve Out and the
 Permitted Prior Liens). Subject to entry of the DIP Orders, all action as is necessary has been taken to
 establish and perfect the Collateral Agent’s rights in and to, and the first lien priority (subject in priority
 only to the Carve Out and the Permitted Prior Liens) of its Lien on, the Collateral for the benefit of the
 Secured Parties. The applicable DIP Order has been entered by the required date hereunder and, upon such
 entry, shall be effective to create and perfect the Lien and security interest described above and with the
 priority thereof.

         5.24       Foreign Assets Control Regulations, Etc.

         (a)    No Borrower nor any Controlled Entity (i) is a Blocked Person, (ii) has been notified that
 its name appears or may in the future appear on a State Sanctions List or (iii) is a target of sanctions that
 have been imposed by the United Nations or the European Union.

         (b)     No Borrower nor any Controlled Entity (i) has violated, been found in violation of, or been
 charged or convicted under, any applicable U.S. Economic Sanctions Laws, Anti-Money Laundering Laws
 or Anti-Corruption Laws or (ii) to the Borrowers’ knowledge after due inquiry, is under investigation by
 any Governmental Authority for possible violation of any U.S. Economic Sanctions Laws, Anti-Money
 Laundering Laws or Anti-Corruption Laws.

       (c)      No proceeds of any Credit Extension have been used, directly or indirectly, by any
 Borrower or an of their respective directors, officers, employees and agents that:

                 (i)     constitutes or will constitute funds obtained on behalf of any Blocked Person or
         will otherwise be used by the Borrowers or any Controlled Entity, directly or indirectly, (A) in
         connection with any investment in, or any transactions or dealings with, any Blocked Person, (B)
         for any purpose that would cause any Secured Party to be in violation of any U.S. Economic
         Sanctions Laws or (C) otherwise in violation of any U.S. Economic Sanctions Laws;

                  (ii)    will be used, directly or indirectly, in violation of, or cause any Secured Party to
         be in violation of, any applicable Anti-Money Laundering Laws;

                 (iii)     will be used, directly or indirectly, for the purpose of making any improper
         payments, including bribes, to any Governmental Authority or commercial counterparty in order
         to obtain, retain or direct business or obtain any improper advantage, in each case which would be

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         in violation of, or cause any Secured Party to be in violation of, any applicable Anti-Corruption
         Laws; or

                    (iv)    will be in violation of Section 7.10.

                                              ARTICLE VI
                                        AFFIRMATIVE COVENANTS

        So long as any Lender shall have any Commitment hereunder, any Loan or other Obligation
 hereunder shall remain unpaid or unsatisfied, each Borrower shall:

          6.01     Financial Statements. Deliver to the Administrative Agent and each Lender, in form and
 detail satisfactory to the Required Lenders:

          (a)     as soon as available, but in any event within one-hundred twenty (120) days after the end
 of each fiscal year of the Borrowers, (i) a balance sheet of Agilon (and a consolidated balance sheet with
 each Project Company) as at the end of such year and (ii) a statement of income, profit and loss statement
 and cash flows statement for Agilon (and consolidating statements with each Project Company) for such
 year, in each case, setting forth in each case in comparative form the figures for the previous fiscal year, all
 in reasonable detail, prepared in accordance with GAAP, or accompanied by GAAP reconciliations;

          (b)      as soon as available, but in any event within forty-five (45) days after the end of each
 quarterly fiscal period in each fiscal year of the Borrowers, (i) an unaudited balance sheet of each Borrower
 as at the end of such quarter and (ii) an unaudited profit and loss statement and cash flows statement for
 each Borrower for such quarter and (in the case of the second and third quarters) for the portion of the fiscal
 year ending with such quarter, in each case, setting forth in each case in comparative form the figures for
 the corresponding periods in the previous fiscal year, all in reasonable detail, prepared in accordance with
 GAAP applicable to quarterly financial statements generally, or accompanied by GAAP reconciliations,
 and certified by a Responsible Officer of the Borrowers as fairly presenting the financial position and results
 of operations and cash flows of the Borrowers, subject to changes resulting from year-end adjustments and
 the absence of footnotes;

         (c)        on a weekly basis and by no later than 1:00 p.m. on Friday of each week thereafter,

                  (i)    an updated thirteen week cash flow forecast setting forth all sources and uses of
         cash and beginning and ending cash balances, and with a reasonable disclosure of the key
         assumptions and drivers with respect to such forecast, and a written update regarding material
         operational, business and financial developments relating the Borrowers (such forecast as of any
         date, the “Cash Flow Forecast”),

                 (ii)     a cash balance report showing the aggregate cash balance amount held in all
         accounts of the Borrowers as of close of business on Wednesday of such week (such report as of
         any date, the “Cash Balance Report”), and

                  (iii)   a variance report reconciling the most recent DIP Budget for the prior week to the
         actual sources and uses of cash for such prior week on an aggregate basis, along with a line-by-line
         reconciliation and detailed explanation of variances in excess of the greater of 5% and $10,000
         from such DIP Budget (the “Variance Report”), in each case, in form and detail acceptable to the
         Required Lenders and certified by a Responsible Officer of the Borrowers to the effect that the DIP
         Budget contains good faith estimates (utilizing assumptions believed to be reasonable at the time
         of delivery of such DIP Budget) and with respect to the Cash Flow Forecast, Cash Balance Report


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         and Variance Report, that such reports are accurate and complete in all material respects and that
         the Variance Report is in compliance with Section 7.23; and

          (d)      DIP Budget. no later than the last week of the then in effect DIP Budget, a proposed DIP
 Budget for the following rolling 13-week period (the “Proposed DIP Budget”), which shall be consistent in
 form and subject (other than dollar amounts) with the Initial DIP Budget, and that shall be subject to the
 approval of the Required Lenders in their sole discretion. If such Proposed DIP Budget is approved it shall
 then become the “DIP Budget” then in effect; provided, however, that if such Proposed DIP Budget is not
 approved by the Required Lenders, then the last approved DIP Budget will be rolled forward on a week-to-
 week basis. Notwithstanding the foregoing, the Borrowers may submit a Proposed DIP Budget to the
 Administrative Agent and the Lenders during the sixth week of the Initial DIP Budget for approval. If the
 Required Lenders approve such Proposed DIP Budget (which may be withheld or granted in the Required
 Lenders’ sole discretion), such Proposed DIP Budget shall replace and supersede the Interim DIP Budget
 for all purposes hereunder. If such Proposed DIP Budget is not approved, the Initial DIP Budget delivered
 on the Closing Date shall remain in effect until replaced or rolled-forward as set forth in the first sentence
 of this clause (d).

         6.02    Certificates; Notices; Other Information. Deliver to the Administrative Agent and each
 Lender, in form and detail satisfactory to the Required Lenders:

          (a)     promptly upon becoming available, one copy of each regular or periodic report and filing
 (without exhibits except as expressly requested by a Lender) made by any Borrower to or with any State or
 federal regulatory body;

          (b)     promptly, and in any event within five (5) Business Days after a Responsible Officer of
 any Borrower becoming aware of the existence of any Default or Event of Default or that any Person has
 given any notice or taken any action with respect to a claimed default hereunder or that any Person has
 given any notice or taken any action with respect to a claimed default of the type referred to in Section
 8.01(e) or Section 8.01(k), a written notice specifying the nature and period of existence thereof and what
 action the Borrowers are taking or proposes to take with respect thereto;

         (c)      promptly, and in any event within five (5) Business Days after receipt, the results of any
 audit reports relating to any Borrower;

         (d)      promptly, and in any event within five (5) Business Days after a Responsible Officer
 becoming aware of any of the following, a written notice setting forth the nature thereof and the action, if
 any, that the Borrowers or an ERISA Affiliate proposes to take with respect thereto:

                 (i)     with respect to any Plan, any reportable event, as defined in section 4043(c) of
         ERISA and the regulations thereunder, for which notice thereof has not been waived pursuant to
         such regulations as in effect on the date hereof; or

                  (ii)     the taking by the PBGC of steps to institute, or the threatening by the PBGC of the
         institution of, proceedings under section 4042 of ERISA for the termination of, or the appointment
         of a trustee to administer, any Plan, or the receipt by any Borrower or any ERISA Affiliate of a
         notice from a Multiemployer Plan that such action has been taken by the PBGC with respect to
         such Multiemployer Plan; or

                 (iii)   any event, transaction or condition that could reasonably be expected to result in
         the incurrence of any liability by any Borrower or any ERISA Affiliate pursuant to Title I or IV of
         ERISA or the penalty or excise tax provisions of the Code relating to employee benefit plans (within

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         the meaning of section 3(3) of ERISA), or in the imposition of any Lien on any of the rights,
         properties or assets of any Borrower or any ERISA Affiliate pursuant to Title I or IV of ERISA or
         such penalty or excise tax provisions, if such liability or Lien, taken together with any other such
         liabilities or Liens then existing, could reasonably be expected to have a Material Adverse Effect.

          (e)    promptly, and in any event within thirty (30) days of receipt thereof, copies of any material
 notice to any Borrower from any federal or State Governmental Authority;

          (f)    (i) promptly, and in any event within three (3) Business Days of receipt thereof, any
 Demand for Collateral or any notice (other than ordinary course notices), including any notice that a
 Demand for Collateral will be made, received from or delivered under any Material Project Document and
 (ii) a biweekly report of the Option Provider’s market-to-market exposure with respect to any Material
 Project Document,

        (g)     promptly, and in any event within five (5) Business Days of receipt thereof, a copy of the
 monthly report provided to the Borrowers by Tateswood Energy Company, LLC or any successor asset
 management service approved by the Required Lenders;

         (h)     promptly, and in any event within thirty (30) days after the end of each month after the
 Closing Date, a monthly operating report with respect to such Project substantially in the form attached
 hereto as Schedule 6.02(h) or such other form as is acceptable to the Administrative Agent;

         (i)     promptly, and in any event within thirty (30) days of the end of each fiscal year of the
 Borrowers, commencing with the fiscal year ending December 31, 2021 and upon the reasonable request
 of the Required Lenders, evidence of insurance in effect that meets the requirements of Section 6.07;

          (j)      promptly, and in any event within two (2) Business Days of receipt thereof, copies of any
 certificates, reports or other documentation delivered by Borrower to the holders of the Subordinated Notes
 in connection with the Subordinated Notes pursuant to the Securities Purchase Agreement;

          (k)     promptly, such additional information regarding the business, financial, legal or corporate
 affairs of any Borrower, or compliance with the terms of the Loan Documents, as the Administrative Agent
 or any Lender may from time to time reasonably request;

         (l)    promptly, and in any event within two (2) Business Days of receipt thereof, copies of any
 material documentation or notices received under or with respect to the Prepetition Indebtedness or the
 Subordinated Debt not otherwise provided to the Administrative Agent under this Agreement and/or the
 other Loan Documents;

          (m)     promptly, and in any event within two (2) Business Days after any delivery thereof, copies
 of all material written reports and presentations delivered by or on behalf of any Borrower to the Committee
 or any other party in interest in the Cases that have not been filed publicly on the Bankruptcy Court’s docket
 within such period;

         (n)        promptly, and in any event within five (5) Business Days of receipt (or knowledge) thereof:

                 (i)     any press releases and other public statements about a Project made available
         generally by the Borrowers;

                 (ii)   notice of the occurrence of any condition or event that could reasonably result in a
         Material Adverse Effect;


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                 (iii)    copies of any notice of or other correspondence regarding a violation, breach or
         event of default under any Material Project Document;

                  (iv)   any actual termination or rescission or any written threat of termination or
         rescission of any Material Project Document, any notice of exercise of a right of termination or
         suspension of a Material Project Document and any proposed amendment (after such proposal has
         been reviewed by and is determined to be substantially acceptable to the Administrative Borrower)
         or final amendment of any Material Project Document;

                (v)     notice of any material pending or threatened adversarial or contested proceeding
         of or before a Governmental Authority relating to the Project and any correspondence and
         documentation related thereto;

                    (vi)     notice of any termination, suspension or other loss of any Required Approval;

                    (vii)    any claim of Force Majeure Event under any Material Project Document;

                    (viii)   verification of the results of each relative accuracy test audit (RATA); and

         (o)     with reasonable promptness, such other data and information then in any Borrower’s
 possession relating to the business, operations, affairs, financial condition, assets or properties of any
 Borrower or relating to the ability of any Borrower to perform its obligations hereunder and under the Loan
 Documents (including the DIP Budget) as from time to time may be reasonably requested by any Lender.

          6.03    Officer’s Certificate. Each set of financial statements delivered to the Lenders pursuant to
 Section 6.01(a) or Section 6.01(b) shall be accompanied by a certificate of a Responsible Officer of the
 Borrowers setting forth a statement that such Responsible Officer has reviewed the relevant terms hereof
 and has made, or caused to be made, under his or her supervision, a review of the transactions and conditions
 of the Borrowers from the beginning of the annual or quarterly period covered by the statements then being
 furnished to the date of the certificate and that such review shall not have disclosed the existence during
 such period of any condition or event that constitutes a Default or an Event of Default or, if any such
 condition or event existed or exists (including, without limitation, any such event or condition resulting
 from the failure of any Borrower to comply with any Environmental Law), specifying the nature and period
 of existence thereof and what action such Borrower shall have taken or proposes to take with respect thereto.

          6.04    Payment of Obligations. Subject to Section 7.23 and the DIP Orders, pay and discharge as
 the same shall become due and payable, all its obligations and liabilities constituting post-petition
 obligations that constitute administrative expenses in the Cases under the Bankruptcy Code or otherwise
 permitted to be paid (whether as ordinary course obligations or otherwise) or required to be paid pursuant
 to an effective order issued by the Bankruptcy Court, including (a) all tax liabilities (including sales tax),
 assessments and governmental charges or levies upon it or its properties or assets; (b) all lawful claims
 which, if unpaid, would by law become a Lien upon its property; and (c) all Indebtedness, as and when due
 and payable, but subject to any subordination provisions contained in any instrument or agreement
 evidencing such Indebtedness; unless, in the case of clause (a) above or mechanics’ Liens, materialmen’s
 Liens or other similar Liens in the case of clause (b) above, the same are being contested in good faith by
 appropriate proceedings diligently conducted and adequate reserves in accordance with GAAP are being
 maintained by such Borrower.




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         6.05   Preservation of Existence, Etc. Preserve and keep in full force and effect its limited liability
 company existence and maintain all rights, privileges and franchises necessary in the normal conduct of its
 business.

         6.06     Title, Etc. Maintain good, valid, marketable and insurable title to, or leasehold interests in,
 the Projects and the other Collateral described in the Loan Documents, subject to Permitted Liens and other
 Liens permitted under Section 7.01, and will at all times warrant and defend the title to such property and
 such Collateral against all claims that do not constitute Permitted Liens or other Liens permitted under
 Section 7.01.

         6.07   Maintenance of Insurance. Maintain, with financially sound and reputable insurers,
 insurance meeting the requirements of Schedule 6.07.

           6.08   Compliance with Laws. Comply in all material respects with all laws, ordinances or
 governmental rules or regulations to which it is subject, including, without limitation, ERISA, the USA
 PATRIOT Act and Environmental Laws. Each Borrower will obtain and maintain in effect all licenses,
 certificates, permits, franchises and other governmental authorizations necessary to the ownership of their
 respective properties, the conduct of their businesses and the operation and financing of the Projects, and
 will promptly pay when due all necessary license, franchise and other fees and charges due and payable
 thereunder (provided that the Borrowers need not pay any such license, franchise and other fees and charges
 if (a) the amount, applicability or validity thereof is contested by such Borrower on a timely basis in good
 faith and in appropriate proceedings, and such Borrower has established adequate reserves therefor in
 accordance with GAAP on its books, (b) the nonpayment of all such license, franchise and other fees and
 charges during the pendency of such contest could not, individually or in the aggregate, reasonably be
 expected to result in a Material Adverse Effect), or (c) to the extent such payment is excused by, or is
 otherwise prohibited by the provisions of the Bankruptcy Code or order of the Bankruptcy Court. Each
 Project Company shall abide by all ERCOT Protocols when transacting business with ERCOT.

          6.09    Books and Records. Maintain proper books of record and accounts in conformity with
 GAAP and all applicable requirements of any Governmental Authority having legal or regulatory
 jurisdiction over such Borrower and in a manner consistent with Prudent Industry Practices.

          6.10    Inspection Rights. At the expense of the Borrowers, permit representatives of
 Administrative Agent or the Required Lenders to: (i) visit the principal executive office of each Borrower
 and examine all their books of account, records, reports and other papers and make copies and extracts
 therefrom, (ii) discuss the affairs, finances and accounts of any Borrower with such Borrower’s officers,
 directors and managers, and their independent public accountants and other professional advisors, and (iii)
 visit the other offices and properties of the Borrowers; in each case, from time to time, with reasonable
 prior written notice to the Administrative Borrower and during normal business hours and subject to
 reasonable requirements of safety; provided, however, that, if no Default or Event of Default has occurred
 and is continuing, visits to the Borrowers shall be limited to three (3) in any 12-month period.

          6.11     Use of Proceeds; Margin Regulations. Use the proceeds of the Credit Extensions hereunder
 solely for the purposes set forth in Section 5.19. No part of the proceeds of Loans will be used, directly or
 indirectly, for the purpose of buying or carrying any margin stock within the meaning of Regulation U of
 the Board of Governors of the Federal Reserve System (12 CFR 221), or for the purpose of buying or
 carrying or trading in any securities under such circumstances as to involve any Borrower in a violation of
 Regulation X of said Board (12 CFR 224) or to involve any broker or dealer in a violation of Regulation T
 of said Board (12 CFR 220). As used in this Section, the terms “margin stock” and “purpose of buying or
 carrying” shall have the meanings assigned to them in Regulation U.


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         6.12     Material Project Documents. Subject to the DIP Orders, the DIP Budget and any necessary
 order or authorization of the Bankruptcy Court, (a) perform and observe in all material respects all of the
 terms, covenants, provisions and agreements of such Borrower under the Material Project Documents, (b)
 perform and observe in all material respects all of the terms covenants, provisions and agreements of such
 Borrower under all other material agreements to which it is a party, and (c) take reasonable actions to
 enforce all rights and obligations under the Material Project Documents and other agreements.

        6.13        Accounts. Establish and maintain all deposit accounts of the Borrowers as Controlled
 Accounts.

          6.14     Further Assurances. Promptly upon request by the Administrative Agent, or any Lender
 or the Collateral Agent through the Administrative Agent, (a) correct any material defect or error that may
 be discovered in any Loan Document or in the execution, acknowledgment, filing or recordation thereof,
 and (b) do, execute, acknowledge, deliver, record, re-record, file, re-file, register and re-register any and all
 such further acts, deeds, certificates, assurances and other instruments as the Administrative Agent, or any
 Lender through the Administrative Agent, may reasonably require from time to time in order to (i) carry
 out more effectively the purposes of the Loan Documents, (ii) to the fullest extent permitted by applicable
 law, subject any Borrower’s properties, assets, rights or interests to the Liens now or hereafter intended to
 be covered by this Agreement or the DIP Orders, (iii) perfect and maintain the validity, effectiveness and
 priority of any of the Liens intended to be created hereunder or under any of the DIP Orders and (iv) assure,
 convey, grant, assign, transfer, preserve, protect and confirm more effectively unto the Secured Parties the
 rights granted or now or hereafter intended to be granted to the Secured Parties under any Loan Document
 or under any other instrument executed in connection with any Loan Document to which any Borrower is
 or is to be a party. No Borrower shall form or acquire or permit to exist any Subsidiary, whether direct or
 indirect, after the Closing Date. Each Borrower shall take such additional actions as may be necessary or
 desirable to ensure a valid first priority perfect Lien over the assets of each Borrower (subject only to the
 Carve Out and the Permitted Prior Liens) including filing a copy of the DIP Orders in the real property
 records in the county where the Projects are located.

         6.15       [Reserved].

          6.16     Material Contracts. Subject to the DIP Budget, the DIP Orders and any necessary order or
 authorization of the Bankruptcy Court, perform and observe all the terms and provisions of each Material
 Contract to be performed or observed by it, maintain each such Material Contract in full force and effect,
 enforce each such Material Contract in accordance with its terms, take all such action to such end as may
 be from time to time requested by the Administrative Agent and, upon request of the Administrative Agent,
 make to each other party to each such Material Contract such demands and requests for information and
 reports or for action as any Borrower is entitled to make under such Material Contract, except, in any case,
 to the extent such Material Contract may not be enforced solely as a result of the filing of the Cases.

         6.17     Compliance with Anti-Corruption Laws; Anti-Money Laundering Laws and Sanctions.
 Maintain in effect and enforce policies and procedures designed to ensure compliance by the Borrowers
 and their respective directors, officers, employees and agents with all Anti-Corruption Laws, Anti-Money
 Laundering Laws and applicable Sanctions.

       6.18    Filing with the PUCTX. Each Project Company is qualified as a “Power Generation
 Company” under the rules and regulations of the PUCTX and has filed with PUCTX for “Power Generation
 Company” status for a generating facility.

         6.19     Exempt Wholesale Generator Status. Each Project Company has filed with the FERC a
 notice of self-certification in accordance with 18 C.F.R. § 366.7 demonstrating that the applicable Project

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 satisfies the definition of an Exempt Wholesale Generator and the FERC shall not have issued a notice or
 order that removes such self-certification.

          6.20    Emissions Credits. No later than (a) December 31 of each calendar year of operations for
 each Project, the Borrowers will purchase a sufficient amount of nitrogen oxide (“NOx”) allowances as
 required by the Texas Commission on Environmental Quality (“TCEQ”) to offset the actual amount of each
 Project’s NOx emissions for such calendar year; and (b) December 31 of each calendar year of operations
 for each Project, each Project Company shall transfer to the Administrator the amount of NOx allowances
 required pursuant to 40 CFR Part 97, Subpart EEEEE for CSAPR NOx Ozone Season Group 2 Trading
 Program. No later than (c) December 31 of each calendar year of operations for each Project, the Borrowers
 will purchase a sufficient amount of NOx allowances as required by the TCEQ to offset the actual amount
 of the each Project’s NOx emissions for such calendar year; and (d) December 31 of each calendar year of
 operations for the each Project, each Project Company shall transfer to the Administrator the amount of
 NOx allowances required pursuant to 40 CFR Part 97, Subpart EEEEE for CSAPR NOx Ozone Season
 Group 2 Trading Program.

         6.21       [Reserved].

          6.22    Cash Management Arrangements; Payment of Professional Fees. (a) Maintain, and cause
 each of the other Borrowers to maintain, all deposit accounts and securities accounts as Controlled
 Accounts, (b) deposit all receivables, securities, cash and Cash Equivalents into a Controlled Account, and
 (c) otherwise maintain a cash management system in accordance with any Cash Management Order and as
 satisfactory to the Required Lenders. Upon the occurrence and during the continuation of an Event of
 Default, subject to Section 8.02, all deposits in such Controlled Accounts shall be transferred to an account
 designated by the Required Lenders on each Business Day and applied to repay the outstanding Obligations
 in accordance with Section 8.03. The cash management system of the Borrowers shall be otherwise
 maintained in a manner satisfactory to the Required Lenders. All Professional Fees at any time paid by the
 Borrowers, or any of them, shall be paid by the Borrowers pursuant to an order of the Bankruptcy Court,
 including, without limitation the DIP Orders and pursuant to the DIP Budget.

         6.23    Weekly Lender Calls. Upon the request of Required Lenders, on a date to be mutually
 agreed upon by the Administrative Borrower and the Required Lenders (a “Weekly Lender Call Date”),
 commencing with the first full calendar week ending after the Closing Date, hold a conference call (at a
 time mutually agreed upon by the Administrative Borrower and the Required Lenders) with all Lenders
 who choose to attend such conference call, during which conference call the Borrowers shall discuss the
 Cases, the Sale Process, the financial condition and results of operations of the Borrowers, including the
 DIP Budget and the Variance Reports.

                                            ARTICLE VII
                                        NEGATIVE COVENANTS

        So long as any Lender shall have any Commitment hereunder, any Loan or other Obligation
 hereunder shall remain unpaid or unsatisfied, no Borrower shall:

          7.01     Liens. Create, incur, assume or suffer to exist any Lien upon any of its property, assets or
 revenues, whether now owned or hereafter acquired, or sign or file or suffer to exist under the UCC of any
 jurisdiction a financing statement that names any Borrower as debtor, or assign any accounts or other right
 to receive income, other than the following:

         (a)        Liens pursuant to any Loan Document;



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         (b)        Permitted Liens;

        (c)       Liens created pursuant to Capitalized Leases or purchase money Indebtedness permitted
 pursuant to this Agreement;

         (d)      Liens securing the Prepetition Indebtedness, including without limitation, the Prepetition
 Letters of Credit;

         (e)        Permitted Prior Liens;

         (f)        Adequate Protection Liens; and

          (g)      to the extent validly existing prior to the Petition Date, the Liens (including a description
 of the assets) set forth on Schedule 5.08(b) that are not Permitted Prior Liens; provided that such Liens shall
 be subject to the priority and treatment set forth in the DIP Orders and all rights of the Lenders and the
 Borrower to challenge such Liens are preserved;

 provided, further, that, all Permitted Liens (other than the Carve Out and Permitted Prior Liens), while any
 portion of the Obligations remain outstanding, shall at all times be junior and subordinate to the Liens
 granted under the Loan Documents and the DIP Orders, which prohibition specifically restricts, without
 limitation, any Borrower, the Committee, or any other party-in-interest in the Cases or any successor case,
 from priming or creating Liens senior to or pari passu with any Liens of the Collateral Agent, the Lenders
 or any other Secured Party (other than the Carve Out and Permitted Prior Liens) irrespective of whether
 such Liens may be “adequately protected” without the prior written approval, which may be withheld in
 the sole and absolute discretion, of the Lenders.

         7.02       Indebtedness. Create, incur, assume or suffer to exist any Indebtedness, except:

          (a)      obligations (contingent or otherwise) existing or arising under any Swap Contract entered
 into prior to the Petition Date in the ordinary course of business for the purpose of directly mitigating risks
 associated with fluctuations in interest rates, provided that such Swap Contract does not contain any
 provision exonerating the non-defaulting party from its obligations to make payments on outstanding
 transactions to the defaulting party;

         (b)        Indebtedness under the Loan Documents;

        (c)    Indebtedness outstanding as of the Petition Date in respect of Capitalized Leases and
 purchase money obligations for fixed or capital assets as set forth on Schedule 7.02;

          (d)     to the extent constituting Indebtedness, the obligations of the Borrowers outstanding as of
 the Petition Date under the Material Project Documents as set forth on Schedule 7.02;

         (e)      the Subordinated Debt, and any guarantee of the Subordinated Debt by the Borrowers, in
 each case subject to the subordination provisions set forth in the Subordinated Note Documents, and in a
 principal amount not to exceed $22,00,000.00, plus accrued and capitalized interest thereon, in accordance
 with the terms thereof as in effect and as outstanding as of the Petition Date;

         (f)        the Prepetition Indebtedness; and

          (g)   the Indebtedness purported to be secured by the Liens described in Section 7.01(g) pursuant
 to the agreements and in the amounts set forth in Schedule 7.02; provided that such Indebtedness shall be


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 subject in all respects to the DIP Orders and all rights of the Lenders and the Borrowers to challenge such
 Indebtedness are preserved.

        7.03     Investments. Make or hold any Investments, except Investments described on Schedule
 7.03 and Investments held by a Borrower in the form of Cash Equivalents, provided, that such Cash
 Equivalents are maintained in a Controlled Account.

          7.04     Fundamental Changes. Merge, dissolve, liquidate, consolidate with or into another Person,
 or Dispose of (whether in one transaction or in a series of transactions and including by way of a
 Division/Series Transaction) all or substantially all of its assets (whether now owned or hereafter acquired)
 to or in favor of any Person, except that, so long as no Default exists or would result therefrom:

           (a)      Dispositions pursuant to Section 7.05 shall be permitted; and

           (b)      Dispositions in accordance with the Sale Process shall be permitted.

           7.05     Dispositions. Make any Disposition or enter into any agreement to make any Disposition,
 except:

         (a)     Dispositions of obsolete or worn out equipment that is no longer used or useful in
 connection with the operation of the applicable Project in the ordinary course of business or that is replaced
 promptly;

         (b)      Dispositions of equipment to the extent that (i) such property is exchanged for credit
 against the purchase price of similar replacement property or (ii) the proceeds of such transfer or other
 Disposition are reasonably promptly applied to the purchase price of such replacement property;

           (c)      Distributions permitted under Section 7.06;

           (d)      Dispositions permitted by Section 7.04; and

           (e)      Permitted Investments, as contemplated by the DIP Orders and any Cash Management
 Order;

 provided, however, that any Disposition pursuant to Section 7.05(b) shall be for fair market value and shall
 be on arm’s length terms.

         7.06    Restricted Payments. The Borrowers will not, directly or indirectly, make or declare any
 Distribution except that each Project Company may make Distributions to the Administrative Borrower.

          7.07    Change in Nature of Business. No Borrower shall engage in any material business other
 than the direct or indirect development, financing, construction, ownership, operation and maintenance of
 the Projects and sale of the Projects’ electrical output at wholesale and businesses incidental or ancillary
 thereto.

          7.08    Transactions with Affiliates. Enter into any transaction of any kind with any Affiliate of a
 Borrower after the date hereof, except in the ordinary course and pursuant to the reasonable requirements
 of any Borrower’s business and upon fair and reasonable terms no less favorable to such Borrower than
 would be obtainable in a comparable arm’s-length transaction with a Person not an Affiliate. Affiliate
 transactions currently in existence are set forth on Schedule 7.08. No Borrower shall amend or waive any
 provision of a Material Project Document to which an Affiliate of any Borrower is a party except with the


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 prior written consent of the Required Lenders (such consent not to be unreasonably withheld, delayed or
 conditioned).

          7.09     Regulatory Standing. Take or cause to be taken any action which could reasonably be
 expected to result in either (a) any Borrower becoming a “public utility” under the FPA, (b) Agilon
 becoming a “public-utility company” under PUHCA or subject to regulation as a “holding company” under
 PUHCA, (c) a Project Company becoming a “holding company” under PUHCA, losing its Exempt
 Wholesale Generator status, or otherwise becoming subject to regulation under PUHCA, except for
 maintaining Exempt Wholesale Generator status, (d) any disapproval, rejection, suspension, other action
 adverse to the continued effectiveness of any applicable Material Project Document by the FERC or the
 PUCTX, as applicable, (e) any Secured Party or any “affiliate” (as that term is defined in PUHCA) of any
 Secured Party, solely as a result of any Borrower’s or any of its Affiliates’ actions relating to the
 development, construction, ownership, leasing, operation or maintenance of the Project, the sale of
 electricity therefrom or the entering into of any Loan Document or any transaction contemplated thereby,
 becoming subject to, or not exempt from regulation by the FERC under PUHCA or the FPA or by the
 PUCTX under PURA, other than any such regulation that may result from the exercise by any Secured
 Party of its remedies under the Loan Documents, or (f) a Project Company losing its “Power Generation
 Company” status for a generating facility under Texas law or losing its status as a “Generation Resource”
 or a “Quick Start Generator Resource” under the ERCOT Protocols.

         7.10       Margin Stock; Sanctions.

         (a)      Use the proceeds of any Credit Extension, whether directly or indirectly, and whether
 immediately, incidentally or ultimately, to purchase or carry margin stock (within the meaning of
 Regulation U of the FRB) or to extend credit to others for the purpose of purchasing or carrying margin
 stock or to refund indebtedness originally incurred for such purpose.

          (b)       Request any Credit Extension, or use or permit any of its respective subsidiaries, directors,
 managers, officers, employees and agents to use, the proceeds of any Credit Extension, directly or
 indirectly, (i) in furtherance of an offer, payment, promise to pay, or authorization of the payment or giving
 of money, or anything else of value, to any Person in violation of any Anti-Corruption Laws, (ii) for the
 purpose of funding, financing or facilitating any activities, business or transaction of or with any Sanctioned
 Person, or in any Sanctioned Country, or (ii) in any manner that would result in the violation of any
 Sanctions applicable to any party hereto.

          (c)      Will not, and will not permit any Controlled Entity to, (x) become (including by virtue of
 being owned or controlled by a Blocked Person), own or control a Blocked Person or (y) directly or
 indirectly have any investment in or engage in any dealing or transaction (including any investment, dealing
 or transaction involving the proceeds of the Loans) with any Person if such investment, dealing or
 transaction (i) would cause any Lender or any of their Affiliates to be in violation of, or subject to sanctions
 under, any law or regulation applicable to such Lender, or (ii) is prohibited by or subject to sanctions under
 any U.S. Economic Sanctions Laws.

         7.11    Reporting Practices. Make any change in reporting practices, except as may be required
 or permitted by GAAP, without the prior written consent of the Required Lenders.

         7.12     Equity Capital. Directly or indirectly, by the issuance of rights or options for, or securities
 convertible into such interests, or otherwise, issue, sell or dispose of any of its membership interests or
 other equity interests, other than the membership and other Equity Interests pledged to the Collateral Agent
 pursuant to the Loan Documents.



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         7.13       Amendments to Organization Documents. Amend any of its Organization Documents.

          7.14     No Employees; No ERISA Plans. (a) Hire or become the employer of any employees,
 other than the retention of independent contractors with the consent of the Required Lenders, or (b) maintain
 or be a participating employer in any Plan, or enter into any indemnity agreement or similar arrangement
 with, or assume any liability or obligation with respect to, any ERISA Affiliate in connection with any Plan
 maintained at any time by such ERISA Affiliate or in connection with any Plan to which any ERISA
 Affiliate may at any time contribute, except as may be required by ERISA or the Code.

         7.15    Prepayments, Etc. of Indebtedness. Prepay, redeem, purchase, defease or otherwise satisfy
 prior to the scheduled maturity thereof in any manner, or make any payment in violation of any
 subordination terms of, any Indebtedness for borrowed money except (a) [reserved], (b) the repayment of
 the Emergency DIP Obligations with the proceeds of the initial Loan on the Closing Date in accordance
 with this Agreement and the DIP Orders, (c) prepayments of the Credit Extensions permitted under and
 made in accordance with the terms of this Agreement, (d) the roll-up of a portion of the Prepetition
 Indebtedness in accordance with Section 2.01(c) and the DIP Orders, and (e) any other payments expressly
 permitted under and made in accordance with this Agreement, the DIP Budget and the DIP Orders.

         7.16       Amendment, Etc. of Related Documents and Indebtedness.

        (a)    Amend, modify or waive in any manner any term, provision or condition of any
 Subordinated Note Document, without the prior written consent of the Required Lenders; or

        (b)     Amend, modify or waive in any manner any term, provision or condition of any Material
 Contract or any Prepetition Senior Secured Note Document, without the prior written consent of the
 Required Lenders.

       7.17    No Subsidiaries. Agilon will not have any Subsidiary entities other than the Project
 Companies, and the Project Companies shall not have any Subsidiary entities.

        7.18    No Margin Stock. Make or authorize any investment in, or otherwise purchase or carry,
 any margin stock within the meaning of Regulation U of the Board of Governors of the Federal Reserve
 System (12 CFR 221).

         7.19   Accounts. Maintain, establish or use any deposit or securities accounts, other than the
 Controlled Accounts at Allegiance Bank in existence and as in effect on the Closing Date.

          7.20     Use of Proceeds. Use any proceeds from the Loans or any cash collateral, directly or
 indirectly, for any purposes other than to pay or fund:

         (a)        The Emergency DIP Obligations;

         (b)        Adequate Protection Fees and Expenses;

        (c)         The roll-up of certain Prepetition Indebtedness in accordance with Section 2.01(c) and the
 DIP Orders,

         (d)        the Carve Out; and

         (e)        the working capital needs of the Borrowers during the Case;



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         in each case, solely in accordance with the DIP Budget and the DIP Orders.

          Notwithstanding anything to the contrary contained in any Loan Document, none of the proceeds
 of the Loans and none of the Obligations, the cash collateral, the Collateral or the Carve Out may be used
 for the following purposes: (i) to object, contest or raise any defense to, the validity or priority of the
 Prepetition Indebtedness or the Prepetition Senior Secured Note Documents, the Obligations, the Loan
 Documents or the liens, security interests or claims granted under the Interim DIP Order, the Final DIP
 Order, this Agreement, the other Loan Documents or the Prepetition Senior Secured Note Documents, (ii)
 investigate, initiate or prosecute any claims and defenses or causes of action against any of the
 Administrative Agent, the Collateral Agent, the Lenders, the Prepetition Noteholders, the Prepetition
 Secured Parties, or their respective agents, affiliates, representative, attorneys, or advisors under or relating
 to the Prepetition Indebtedness, the Prepetition Senior Secured Note Documents, the Prepetition Collateral,
 the Collateral, the Obligations or the Loan Documents, (iii) prevent, hinder or otherwise delay the Collateral
 Agent’s or any Lender’s assertion, enforcement or realization on the cash collateral or the Collateral in
 accordance with the Loan Documents, (iv) seek to modify any of the rights granted to the Collateral Agent,
 the Lenders, the Prepetition Noteholders or the Prepetition Secured Parties hereunder or under the Loan
 Documents or the Prepetition Senior Secured Note Documents, in each of the foregoing cases without such
 parties’ prior written consent, (v) seek to sell or otherwise dispose of the Collateral (other than as permitted
 under Section 7.05) without the prior written consent of the Required Lenders, or (vi) pay any amount on
 account of any claims arising prior to the Petition Date, to fund acquisitions, capital expenditures, capital
 lease, or any other expenditure, unless such payments or expenditures are (A) approved by an order of the
 Bankruptcy Court and (B) in accordance with this Agreement and any relevant DIP Budget; provided that,
 advisors to the Committee may investigate the Prepetition Indebtedness and the Liens on the Prepetition
 Collateral at an expense for such investigation not to exceed $75,000 in the aggregate.

         7.21      Lease Obligations. Except for the Site Leases, create or suffer to exist any obligations for
 the payment under operating leases or agreements to lease (but excluding any obligations under leases
 required to be classified as capital leases under GAAP) if the rental obligations under such operating leases
 or agreements to lease would exceed $40,000 in the aggregate in any fiscal year.

          7.22     Material Project Documents. Subject to Section 7.26, enter into, amend, modify,
 supplement, vary, waive, cancel, terminate, agree to terminate or agree or purport to do any of the foregoing
 in relation to, any other Material Project Document, except with the prior written consent of the Required
 Lenders.

         7.23       Case Matters. Shall, or shall support any other Person, in any of the following:

         (a)      assert, file or seek, or consent to the filing or the assertion of or joinder in, or use any
 portion of the proceeds of the Loans, the Collateral, the Carve Out or cash collateral to compensate services
 rendered or expenses incurred in connection with, any claim, counterclaim, action, proceeding, order,
 application, pleading, motion, objection, any other papers or documents, defense (including offsets and
 counterclaims of any nature of kind), or other contested matter (including any of the foregoing the purpose
 of which is to seek, or the result of which would be to obtain, any order, judgment, determination,
 declaration or similar relief) for the purpose of:

                 (i)    avoiding, re-characterizing, recovering, reducing, subordinating (except pursuant
         to the DIP Orders), disallowing, or otherwise challenging (under sections 105, 506(c), 542, 543,
         544, 545, 547, 548, 549, 550, 551, 552(b), or 553 of the Bankruptcy Code or applicable non-
         bankruptcy law), in each case, in whole or in part, of the Obligations, the DIP Liens, the Loan
         Documents, the Prepetition Indebtedness, the Prepetition Senior Secured Note Documents or the


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         Prepetition Liens; reversing, modifying, amending, staying, or vacating the DIP Orders, without
         the prior written consent of the Required Lenders;

                  (ii)    granting priority for any administrative expense, secured claim or unsecured claim
         against any Borrower (now existing or hereafter arising of any kind or nature whatsoever, including
         without limitation any administrative expenses of the kind specified in, or arising or ordered under,
         sections 105, 326, 327, 328, 330, 331, 503(b)m 506(c), 507(a), 507(b), 546, 726, 1113 and 1114 of
         the Bankruptcy Code) equal or superior to the priority of the Collateral Agent and the Lenders in
         respect of the Obligations, except as provided under the Carve Out or to the extent expressly
         permitted under the DIP Orders;

                 (iii)   granting or imposing under sections 364(c) or 364(d) of the Bankruptcy Code or
         otherwise, any additional financing under such sections or any Lien equal or superior to the priority
         of the DIP Liens except to the extent expressly permitted under the DIP Orders;

                (iv)     permitting the use of cash collateral as defined in section 363 of the Bankruptcy
         Code, except as expressly permitted by the DIP Orders and this Agreement; or

                  (v)    modifying, altering or impairing in any manner any part of the DIP Liens or the
         Prepetition Liens, or any of the Administrative Agent’s, the Collateral Agent’s, the Lenders’ or the
         Prepetition Secured Parties’ rights or remedies under the DIP Orders, any of the Loan Documents,
         or any of the Prepetition Senior Secured Note Documents or any documents related thereto
         (including the right to demand payment of all Obligations and Adequate Protection Fees and
         Expenses, as applicable, and to enforce is Liens and security interests in the Collateral and the
         Prepetition Collateral, as applicable), whether by plan of reorganization or liquidation, order of
         confirmation or any financings of, extensions of credit to, or incurring of debt by any Borrower or
         otherwise, whether pursuant to section 364 of the Bankruptcy Code or otherwise;

          (b)    without the prior written consent of the Required Lenders, seek or consent to any order (i)
 dismissing any of the Cases under sections 105, 305 or 1112 of the Bankruptcy Code or otherwise; (ii)
 converting any of the Cases to cases under Chapter 7 of the Bankruptcy Code; (iii) appointing a Chapter 11
 trustee in any of the Cases; (iv) appointing an examiner with enlarged powers beyond those set forth in
 sections 1104(d) and 1106(a)(3) and (4) of the Bankruptcy Code in any of the Cases; or (v) granting a
 change of venue with respect to any Case or any related adversary proceeding;

         (c)     make any payments or transfer any property on account of claims asserted by any vendors
 of any Borrower for reclamation in accordance with section 2-702 of any applicable UCC and section 546(c)
 of the Bankruptcy Code, unless otherwise ordered by the Bankruptcy Court upon prior notice to the Lenders
 or unless otherwise consented to by the Required Lenders;

        (d)     return any inventory or other property to any vendor pursuant to section 546(g) of the
 Bankruptcy Code, unless otherwise ordered by the Bankruptcy Court in accordance with section 546(g) of
 the Bankruptcy Code upon prior notice to the Lenders or unless otherwise consented to by the Required
 Lenders;

          (e)    propose to the Bankruptcy Court, or otherwise, any Plan of Reorganization that does not
 provide for the payment in full in cash of the Obligations and the obligations in connection with the
 Prepetition Senior Secured Note Documents on the effective date of such Plan of Reorganization and is
 otherwise acceptable to the Required Lenders; and




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         (f)      propose to Bankruptcy Court, or otherwise, a sale of all or substantially all of the Collateral,
 other than in accordance with the Sale Process.

         7.24    Amendments to Orders. Amend, modify, or waive (or make any payment consistent with
 an amendment, modification or waiver of), or apply to the Bankruptcy Court for authority to make an
 amendment, modification or waiver of, any provision of any Cash Management Order, the Interim DIP
 Order or the Final DIP Order without, in each case the prior written consent of the Required Lenders.

         7.25       Disbursements; DIP Budget Variance.

         (a)     Make any disbursements other than those set forth in the DIP Budget (or as otherwise
 permitted in accordance with the terms of the DIP Orders); or

          (b)      As of the fourth (4th) Business Day of every calendar week after the Closing Date (each
 such date, a “Test Date”), with the first Test Date being the fourth (4th) Business Day of the first full
 calendar week after the Closing Date, cause or permit the actual amounts for such initial period and
 thereafter (with such week period ending on the preceding Sunday), each four-week rolling period, to be
 (i) for any week during which any Borrower collects receipts, on an aggregate basis, less than (x) with
 respect to the first four (4) weeks after the Closing Date, 0%, and (y) for any week thereafter, 5%, in each
 case with respect the gross margin calculated by dividing (A) the sum of net receipts minus Variable Costs
 by (B) net receipts and (ii) on an aggregate basis, greater than (x) with respect to the first four weeks after
 the Closing Date, 15% and (y) for any week thereafter 10%, in each case with respect to the amount of cash
 disbursements for Controllable Costs (provided, however, that (I) notwithstanding anything herein to the
 contrary, costs associated with the operation of the Projects for purposes other than the generation of power
 for sale into the relevant market shall not be included for purposes of measuring compliance with the
 variance tests hereunder, (II) the Borrowers may reserve budgeted professional fees on a weekly basis with
 such fees to be reconciled with actual professional fees upon actual billing, and (III) notwithstanding
 anything herein to the contrary, the disbursements for the professional fees and expenses incurred by any
 of the Administrative Agent, the Collateral Agent, the Lenders, the Prepetition Agent and the Prepetition
 Noteholders shall not be included for purposes of measuring compliance with the variance test hereunder),
 in each case, as projected for such period as set forth in the applicable DIP Budget as certified to the
 Administrative Agent and the Lenders by a Responsible Officer of the Borrowers in the applicable Variance
 Report; provided that, if a Proposed DIP Budget becomes the DIP Budget pursuant to Section 6.01(d) then
 the applicable DIP Budget for the weeks preceding the first week of such Proposed DIP Budget shall be the
 DIP Budget that preceded such Proposed DIP Budget.

          7.26    Material Contracts. File motions seeking entry of an order approving procedures for the
 rejection, negotiation or assumption, as applicable, of any Material Contracts without the prior written
 consent of the Required Lenders, which such motions shall be in form and substance reasonably satisfactory
 to the Required Lenders and may not be amended or otherwise modified without the prior written consent
 the Required Lenders.

                                           ARTICLE VIII
                                 EVENTS OF DEFAULT AND REMEDIES

         8.01       Events of Default. Any of the following shall constitute an Event of Default:

          (a)    Non-Payment. Any Borrower fails to (i) pay when and as required to be paid herein, any
 amount of principal of or interest on any Loan, or any fee due hereunder, or (ii) pay within three (3) days
 after the same becomes due, any other amount payable hereunder or under any other Loan Document; or



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         (b)     Specific Covenants. (i) Any Borrower fails to perform or observe any term, covenant or
 agreement contained in any of Section 6.01, 6.02, 6.03, 6.05, 6.07, 6.10, 6.11, 6.17, 6.22, 6.23, or Article
 VII, Article X or Article XII; or

         (c)      Other Defaults. Any Borrower fails to perform or observe any other covenant or agreement
 (not specified in Section 8.01(a) or (b) above) contained in any Loan Document on its part to be performed
 or observed and such failure continues for fifteen (15) days; or

         (d)     Representations and Warranties. Any representation, warranty, certification or statement
 of fact made or deemed made by or on behalf of any Borrower, in any other Loan Document, or in any
 document delivered in connection herewith or therewith shall be incorrect or misleading when made or
 deemed made; or

          (e)     Cross-Default. (i) Any Borrower (A) fails to make any payment when due (whether by
 scheduled maturity, required prepayment, acceleration, demand, or otherwise) in respect of any post-
 petition Indebtedness or Guarantee (other than Indebtedness hereunder and Indebtedness under Swap
 Contracts) having an aggregate principal amount (including undrawn committed or available amounts and
 including amounts owing to all creditors under any combined or syndicated credit arrangement) of more
 than the Threshold Amount, or (B) fails to observe or perform any other agreement or condition relating to
 any such post-petition Indebtedness or Guarantee or contained in any instrument or agreement evidencing,
 securing or relating thereto, or any other event occurs, the effect of which default or other event is to cause,
 or to permit the holder or holders of such post-petition Indebtedness or the beneficiary or beneficiaries of
 such Guarantee (or a trustee or agent on behalf of such holder or holders or beneficiary or beneficiaries) to
 cause, with the giving of notice if required, such post-petition Indebtedness to be demanded or to become
 due or to be repurchased, prepaid, defeased or redeemed (automatically or otherwise), or an offer to
 repurchase, prepay, defease or redeem such post-petition Indebtedness to be made, prior to its stated
 maturity, or such Guarantee to become payable or cash collateral in respect thereof to be demanded; (ii)
 there occurs under any Swap Contract an Early Termination Date (as defined in such Swap Contract)
 resulting from (A) any event of default under such Swap Contract as to which a Borrower is the Defaulting
 Party (as defined in such Swap Contract) or (B) any Termination Event (as so defined) under such Swap
 Contract as to which a Borrower is an Affected Party (as so defined) and, in either event, the Swap
 Termination Value owed by such Borrower as a result thereof is greater than the Threshold Amount; or (iii)
 any Borrower fails to pay any Adequate Protection Fees and Expenses; or

          (f)     Judgments. There is entered against any Borrower (i) one or more final judgments or orders
 that are not subject to the Automatic Stay for the payment of money in an aggregate amount (as to all such
 judgments and orders) exceeding the Threshold Amount (to the extent not pursuant to an order of the
 Bankruptcy Court or covered by independent third-party insurance as to which the insurer is rated at least
 “A-” by A.M. Best Company, has been notified of the potential claim and does not dispute coverage), or
 (ii) any one or more non-monetary final judgments that have, or could reasonably be expected to have,
 individually or in the aggregate, a Material Adverse Effect and, in either case, (A) enforcement proceedings
 are commenced by any creditor upon such judgment or order, or (B) there is a period of thirty (30)
 consecutive days during which a stay of enforcement of such judgment, by reason of a pending appeal or
 the Automatic Stay or otherwise, is not in effect; or

          (g)      Invalidity of Loan Documents. Any provision of any Loan Document, at any time after its
 execution and delivery and for any reason other than as expressly permitted hereunder or thereunder or
 satisfaction in full of all the Obligations, ceases to be in full force and effect; or any Borrower or any other
 Person contests in any manner the validity or enforceability of any provision of any Loan Document; or
 any Borrower denies that it has any or further liability or obligation under any provision of any Loan
 Document, or purports to revoke, terminate or rescind any provision of any Loan Document; or

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         (h)        [Reserved]; or

          (i)       Liens and Super-Priority Claims. Any Lien or super-priority claims granted to the
 Collateral Agent for the benefit of the Secured Parties with respect to any material portion of the Collateral
 intended to be secured thereby (i) ceases to be, or is not at any time, valid, perfected and prior to all other
 Liens and claims (other than Liens and claims granted in respect of the Carve Out and the Permitted Prior
 Liens) or (ii) is terminated, revoked, or declared void (unless released or terminated pursuant to the terms
 of this Agreement); or

         (j)      Subordination. (i) The subordination provisions (including, without limitation, the
 provisions set forth in the Subordinated Note Documents) of the documents evidencing or governing any
 subordinated Indebtedness (including the Subordinated Debt) (collectively, the “Subordination
 Provisions”) shall, in whole or in part, terminate, cease to be effective or cease to be legally valid, binding
 and enforceable against any holder of the applicable subordinated Indebtedness; or (ii) any Borrower or any
 holder of subordinated Indebtedness shall, directly or indirectly, disavow or contest in any manner (A) the
 effectiveness, validity or enforceability of any of the Subordination Provisions, (B) that the Subordination
 Provisions exist for the benefit of the Prepetition Secured Parties or the Agents and the Lenders, as
 applicable or (C) that all payments of principal of or premium and interest on applicable subordinated
 Indebtedness, or realized from the liquidation of any property of any Borrower, shall be subject to any of
 the Subordination Provisions; or

         (k)     Default under Material Contracts. There occurs any “default”, “event of “default”, other
 breach or termination or words of similar import under (i) any Material Contract or (ii) any other contract.
 license or agreement which, in the case of clause (ii) only, (x) individually or in the aggregate, could
 reasonably be expected to have a Material Adverse Effect or (y) enforcement under which is not subject to
 the Automatic Stay; or

         (l)     Licenses and Permits. There occurs the loss, suspension or revocation of, or failure to
 renew, any license (including liquor licenses) or permit now held or hereafter acquired by any Borrower
 which loss could be reasonably expected to result in a Material Adverse Effect; or

         (m)     Material Uninsured Loss. Any Borrower shall suffer a loss or casualty of any of its assets
 exceeding the Threshold Amount (to the extent not covered by independent third-party insurance as to
 which the insurer is rated at least “A-” by A.M. Best Company, has been notified of the potential claim and
 does not dispute coverage); or

         (n)      other than as a result of the filing of the Cases, any Borrower is enjoined, restrained or in
 any way prevented by an order of any court or any Governmental Authority from conducting all or any
 material part of its business; or

           (o)    an order shall be entered in any of the Cases appointing, or any Borrower shall file an
 application for an order with respect to any of the Cases seeking the appointment of, in either case without
 the prior written consent of the Required Lenders, (i) a trustee under section 1104 of the Bankruptcy Code
 or (ii) an examiner or any other Person with enlarged powers relating to the operation of the business (i.e.,
 powers beyond those set forth in sections 1104(d) and 1106(a)(3) and (4) of the Bankruptcy Code) under
 section 1106(b) of the Bankruptcy Code; or

         (p)     the filing of a motion by any of the Borrowers seeking dismissal of any of the Cases, the
 dismissal of any of the Cases, the filing of a motion by any of the Borrowers seeking to convert any of the
 Cases to a case under Chapter 7 of the Bankruptcy Code or the conversion of any of the Cases to a case
 under Chapter 7 of the Bankruptcy Code; or

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         (q)     an order shall be entered that is not stayed pending appeal granting relief from the
 Automatic Stay to any creditor of a Borrower (other than the Agents or the Lenders) with respect to any
 claim against any property; or

          (r)    any Borrower’s board of directors (or equivalent governing body) shall authorize the
 liquidation of such Borrower’s business pursuant to one or more sales pursuant to section 363 of the
 Bankruptcy Code or otherwise, or shall file any motion under section 363 of the Bankruptcy Code seeking
 approval to liquidate all or substantially all of the assets of the Borrowers, other than in accordance with
 the Sale Process and as consented to by the Required Lenders; or

         (s)      failure of the Final DIP Order to be entered in the Cases within twenty-one (21) calendar
 days after the Interim Order Entry Date; or

         (t)     an order shall be entered terminating or reducing the Borrowers’ exclusivity period for
 proposing a Plan of Reorganization (to the extent such motion is not made by Administrative Agent or any
 Lender) or any party in interest other than the Borrowers shall have the right to file a plan in the Cases,
 including but not limited under section 1121(c) or (d) of the Bankruptcy Code; or; or

          (u)      (i) the amendment, modification, reversal, revocation, issuance of a stay or order to vacate,
 or supplementing of any Cash Management Order, the Interim DIP Order, the Final DIP Order, any Loan
 Document or any other order of the Bankruptcy Court, in any way adversely affecting or relating to the
 Facility or the claims of the Collateral Agent, the Administrative Agent and the Lenders, in a manner not
 satisfactory to the Lenders (ii) the waiver of any condition of the Sale Process in any manner not reasonably
 acceptable to any Lender or (iii) an order shall be entered with respect to the Case or Cases, without the
 prior written consent of the Required Lenders (A) to permit any administrative expense or any claim (now
 existing or hereafter arising, of any kind or nature whatsoever) to have administrative priority equal or
 superior to the priority of the Collateral Agent and Lenders in respect of the Obligations other than the
 Carve Out, (B) terminating or denying the use of cash collateral, or authorizing the use of cash collateral,
 or (C) granting or permitting the grant of a lien that is equal in priority with or senior to the liens securing
 the Obligations other than the Carve Out and the Permitted Prior Liens; or

          (v)    failure of the Borrowers to satisfy any of the Milestones by the date set forth on Annex I;
 provided that the Required Lenders may agree to an extension of any of the Milestone dates in their sole
 discretion; or

           (w)     the solicitation, filing and/or seeking or entry of an order by the Bankruptcy Court
 confirming a Plan of Reorganization or liquidation in any of the Cases which (i) does not contain a provision
 for termination of the Commitments and indefeasible payment in full in cash of all Obligations hereunder
 and under the other Loan Documents on or before the effective date of such plan upon entry thereof and
 (ii) is not otherwise reasonably acceptable to the Required Lenders; or

        (x)    the failure by any Borrower to comply with any provisions of any of the DIP Orders and
 any Cash Management Order; or

          (y)    any Borrower rejects an unexpired lease or other contract that is projected to give rise to a
 prepetition damages claim or an administrative expense claim, other than with the prior written consent of
 the Required Lenders,

        (z)      the commencement of any adversary proceeding, contested matter or other action by any
 Borrower, or by any of their Affiliated or Related Parties or any other person if such action is supported by
 any Borrower, asserting any claims and defenses or otherwise against any of the Prepetition Agent or the

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 Prepetition Noteholders with respect to the obligations of any Borrower under the Prepetition Senior
 Secured NPA or the other Prepetition Senior Secured Note Documents or the Prepetition Liens (including
 any motion or order), except as may be expressly permitted under the DIP Orders; or

          (aa)    unless consented to by the Required Lenders, any Borrower shall make any payment or
 grant any form of adequate protection with respect to Indebtedness existing prior to the Petition Date other
 than, in each case, as expressly permitted under this Agreement or the DIP Orders; or

         (bb)     any Material Project Document is declared by any Governmental Authority to be null and
 void or otherwise unenforceable, or any party thereto claims that any Material Project Document is null,
 void or unenforceable or otherwise repudiates any Material Project Document, and such Material Project
 Document is not replaced within ninety (90) days with a valid, binding and enforceable agreement that has
 substantially the same or more favorable terms to the Borrowers than the Material Project Document being
 replaced; or

         (cc)   Victoria Bloomington, LLC fails to deliver a renewal notice pursuant to section 3.01 of the
 Victoria Port Master Lease at least fifteen (15) months prior to expiration of the existing term.

         8.02       Consequences of an Event of Default.

          (a)      Remedies. If an Event of Default exists, the Administrative Agent may, or shall at the
 request of the Required Lenders, at any time or times and in any order, without notice to or demand on any
 Borrower (except for such notice or consent that is expressly provided for hereunder, under the Interim DIP
 Order or the Final DIP Order, or required by applicable Laws): (i) restrict the amount of or refuse to permit
 any Lender to make any Loan, (ii) terminate all or any portion (ratably as among the Lenders) of the
 Commitments, and thereupon such Commitments shall terminate immediately, (iii) [reserved], (iv) after
 providing five (5) Business Days’ prior notice to the Borrowers, the United States Trustee, the Committee
 and any other official committee (but this shall not serve as a consent to the use of the Loans hereunder to
 pay professional fees incurred by any other such official committee), (A) direct the Collateral Agent to
 exercise the right to realize on all Collateral, (B) charge the Default Rate, and (C) declare the Obligations
 then outstanding to be due and payable in whole (or in part, in which case any principal not so declared to
 be immediately due and payable may thereafter be declared to be due and payable), and thereupon the
 principal of the Loans so declared to be immediately due and payable, together with accrued interest thereon
 and all fees and other Obligations of the Borrowers accrued hereunder and under the other Loan Documents,
 shall become due and payable immediately, in each case under this clause (iv), without the necessity of
 obtaining any further relief or order from the Bankruptcy Court, subject to the right of the Borrowers to
 seek continuation of the automatic stay during such five (5) Business Day period (such period referred to
 in this Section 8.02 as the “Remedies Notice Period”) solely on the basis that no Event of Default has
 occurred; (v) assume control over the use of cash in any accounts; provided that the Borrowers shall be
 permitted to use cash during the Remedies Notice Period to the extent necessary to preserve their business;
 and (vi) pursue its other rights and remedies under the Loan Documents, the DIP Orders and/or applicable
 law. Except as otherwise provided in the DIP Orders, the foregoing remedies may be exercised without
 demand and without further application to or order of the Bankruptcy Court. In any hearing regarding any
 exercise of remedies under this Section 8.02 (which hearing must take place within the Remedies Notice
 Period), the only issue that may be raised by any party in opposition thereto shall be whether, in fact, an
 Event of Default has occurred and is continuing, and the Borrowers, any committee and all other parties in
 interest shall not be entitled to seek relief, including, without limitation, under section 105 of the Bankruptcy
 Code, to the extent such relief would in any way impair or restrict the rights and remedies of the
 Administrative Agent, the Collateral Agent or the Lenders set forth in the DIP Order, this Agreement or the
 Loan Documents, as applicable. If no such order is entered during the Remedies Notice Period, all use of


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 the Collateral shall cease and the Administrative Agent, the Collateral Agent and the Lenders shall be
 entitled to enforce the remedies hereunder.

         (b)        Sales; UCC.

                  (i)      Sales. Each Borrower recognizes that the Agents may be unable to effect a public
         sale of any or all of the Collateral that constitutes securities to be sold by reason of certain
         prohibitions contained in the Laws of any jurisdiction outside the United States or in applicable
         federal or state securities laws but may be compelled to resort to one or more private sales thereof
         to a restricted group of Lenders who will be obliged to agree, among other things, to acquire such
         Collateral to be sold for their own account for investment and not with a view to the distribution or
         resale thereof. Each Borrower acknowledges and agrees that any such private sale may result in
         prices and other terms less favorable to the seller than if such sale were a public sale and,
         notwithstanding such circumstances, agrees that any such private sale shall, to the extent permitted
         by law, be deemed to have been made in a commercially reasonable manner. Unless required by
         applicable Law, the Agents shall not be under any obligation to delay a sale of any of such
         Collateral to be sold for the period of time necessary to permit the issuer of such securities to
         register such securities under the laws of any jurisdiction outside the United States or under any
         applicable federal or state securities laws, even if such issuer would agree to do so. Each Borrower
         further agrees to do or cause to be done, to the extent that such Borrower may do so under the Law,
         all such other acts and things as may be necessary to make such sales or resales of any portion or
         all of such Collateral or other property to be sold valid and binding and in compliance with any and
         all Laws at the Borrowers’ expense. Each Borrower further agrees that a breach of any of the
         covenants contained in this Section 8.02 will cause irreparable injury to the Agents and the Lenders
         for which there is no adequate remedy at law and, as a consequence, agrees that each covenant
         contained in this Section 8.02 shall be specifically enforceable against such Borrower, and each
         Borrower hereby waives and agrees, to the fullest extent permitted by law, not to assert as a defense
         against an action for specific performance of such covenants that (i) such Borrower’s failure to
         perform such covenants will not cause irreparable injury to the Agents and the Lenders or (ii) the
         Agents or the Lenders have an adequate remedy at law in respect of such breach. Each Borrower
         further acknowledges the impossibility of ascertaining the amount of damages which would be
         suffered by the Agents and the Lenders by reason of a breach of any of the covenants contained in
         this Section 8.02 and consequently, agrees that, if such Borrower shall breach any of such
         covenants and the Agents or the Lenders shall sue for damages for such breach, such Borrower
         shall pay to the Agents, for the benefit of the Agents and the Lenders, as liquidated damages and
         not as a penalty, an aggregate amount equal to the value of the Collateral or other property to be
         sold on the date the Agent shall demand compliance with this Section 8.02(b).

                   (ii)    UCC. If an Event of Default has occurred and is continuing, the Collateral Agent
         shall have for the benefit of the Lenders, in addition to all other rights of the Agents and the Lenders,
         the rights and remedies of a secured party under the UCC, and without limiting the generality of
         the foregoing, the Collateral Agent shall be empowered and entitled to, subject to the terms of the
         DIP Orders: (i) take possession of, foreclose on and/or request a receiver of the Collateral and keep
         it on any Borrower’s premises at any time, at no cost to the Agents or any Lender, or remove any
         part of it to such other place or places as the Administrative Agent (at the direction of the Required
         Lenders) may determine, or the Borrowers shall, upon the Administrative Agent’s or Required
         Lender’s demand, at the Borrowers’ cost, assemble the Collateral and make it available to the
         Collateral Agent at a place convenient to the Collateral Agent; (ii) sell and deliver any Collateral
         at public or private sales, for cash, upon credit, or otherwise, at such prices and upon such terms as
         the Administrative Agent and the Required Lenders deem advisable, in their sole discretion, and
         may postpone or adjourn any sale of the Collateral by an announcement at the time and place of

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         sale or of such postponed or adjourned sale; (iii) hold, lease, develop, manage, operate, control and
         otherwise use the Collateral upon such terms and conditions as may be reasonable under the
         circumstances (making such repairs, alterations, additions and improvements and taking other
         actions, from time to time, as may be reasonably necessary or desirable), exercise all such rights
         and powers of each Borrower with respect to the Collateral, whether in the name of such Borrower
         or otherwise, including without limitation the right to make, cancel, enforce or modify leases,
         obtain and evict tenants, and demand, sue for, collect and receive all rents, in each case, in
         accordance with the standards applicable to the Administrative Agent under the Loan Documents,
         (iv) employ consultants to inspect the Collateral and to assure compliance by each Borrower of the
         terms and conditions of the Loan Documents and (v) take any other actions, as may be necessary
         or desirable, in connection with the Collateral (including preparing for the disposition thereof), and
         all actual, out-of-pocket fees and expenses incurred in connection therewith shall be borne by the
         Borrowers. Upon demand from the Collateral Agent (at the direction of the Required Lenders), the
         applicable Borrower shall direct the grantor or licensor of, or the contracting party to, any property
         agreement with respect to any property to recognize and accept the Collateral Agent, for the benefit
         of and on behalf of the Lenders, as the party to such agreement for any and all purposes as fully as
         it would recognize and accept such Borrower and the performance of such Borrower thereunder
         and, in such event, without further notice or demand and at the Borrowers’ cost and expense, the
         Collateral Agent, for the benefit of and on behalf of the Lenders (at the direction of the Required
         Lenders), may exercise all rights of such Borrower arising under such agreements. Without in any
         way requiring notice to be given in the following manner, each Borrower agrees that any notice by
         the Administrative Agent of sale, disposition, or other intended action hereunder or in connection
         herewith, whether required by the UCC or otherwise, shall constitute reasonable notice to such
         Borrower if such notice is mailed by registered or certified mail, return receipt requested, postage
         prepaid, or is delivered personally against receipt, at least ten (10) Business Days prior to such
         action to the Borrowers’ address in accordance with Section 11.02 of this Agreement. If any
         Collateral is sold on terms other than payment in full at the time of sale, no credit shall be given
         against the Obligations until the Administrative Agent or the Lenders receive payment, and if the
         buyer defaults in payment, the Collateral Agent may resell the Collateral. In the event the Collateral
         Agent seeks to take possession of all or any portion of the Collateral by judicial process, each
         Borrower irrevocably waives: (A) the posting of any bond, surety, or security with respect thereto
         which might otherwise be required; (B) any demand for possession prior to the commencement of
         any suit or action to recover the Collateral; and (C) any requirement that the Collateral Agent retain
         possession and not dispose of any Collateral until after trial or final judgment. Each Borrower
         agrees that the Collateral Agent has no obligation to preserve rights to the Collateral or marshal
         any Collateral for the benefit of any Person. The proceeds of sale shall be applied as set forth in the
         DIP Orders. The Administrative Agent will return any excess to the applicable Borrower or as
         directed by a court of competent jurisdiction and the Borrowers shall remain liable for any
         deficiency.

          (c)     Relief. An Event of Default shall occur as set forth in this Agreement even if an act or
 circumstance which gives rise, directly or indirectly, to such Event of Default has been authorized by the
 Bankruptcy Court or another court or tribunal with jurisdiction over the Cases. Neither the Administrative
 Agent, the Collateral Agent nor any Lender shall have any obligation whatsoever to object to any relief
 requested by any Borrower from the Bankruptcy Court or another court or tribunal with jurisdiction over
 the Cases if and because such relief would or may constitute, or would or may lead to, an Event of Default,
 or the Administrative Agent’s, the Collateral Agent’s or any Lender’s failure to object to such relief shall
 not limit the Events of Default under this Agreement, constitute a waiver or release of rights and remedies
 under this Agreement, estop or preclude the Administrative Agent, the Collateral Agent or any Lender from
 fully enforcing the same, or have any res judicata effect on whether an Event of Default has occurred under
 this Agreement. Each Borrower shall be fully responsible for determining whether any relief it seeks from

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 the Bankruptcy Court or another court or tribunal with jurisdiction over the Cases would or may constitute,
 or would or may lead to, an Event of Default under this Agreement, and authorization for such relief shall
 not limit in any manner whatsoever such Borrower’s obligation to fully comply with all of the terms and
 conditions of this Agreement.

          (d)      Secured Parties’ Rights and Remedies. The rights, remedies, powers, privileges, and
 discretions of the Agents and the Lenders hereunder (herein, the “Secured Parties’ Rights and Remedies”)
 shall be cumulative and not exclusive of any rights or remedies which they would otherwise have. No delay
 or omission by the Agents or any Lender in exercising or enforcing any of the Secured Parties’ Rights and
 Remedies shall operate as, or constitute, a waiver thereof. No waiver by the Administrative Agent or the
 Lenders of any Default or Event of Default or of any default under any other agreement shall operate as a
 waiver of any other default hereunder or under any other agreement. No single or partial exercise of any of
 the Secured Parties’ rights or remedies, and no express or implied agreement or transaction of whatever
 nature entered into between an Agent and any person, at any time, shall preclude the other or further exercise
 of the Secured Parties’ Rights and Remedies. No waiver by an Agent or the Lenders of any of the Secured
 Parties’ Rights and Remedies on any one occasion shall be deemed a waiver on any subsequent occasion,
 nor shall it be deemed a continuing waiver. All of the Secured Parties’ Rights and Remedies and all of the
 Agents’ and Lenders’ rights, remedies, powers, privileges, and discretions under any other agreement or
 transaction are cumulative, and not alternative or exclusive, and may be exercised by the Agents and the
 Lenders, as applicable, at such time or times and in such order of preference as the Lenders in their sole
 discretion may determine. The Secured Parties’ Rights and Remedies may be exercised without resort or
 regard to any other source of satisfaction of the Obligations.

         8.03    Application of Funds. After the exercise of remedies provided for in Section 8.02 (or after
 the Loans have automatically become immediately due and payable), any amounts received on account of
 the Obligations shall be applied in the following order:

         First, to payment of all amounts owing to and all costs and expenses incurred by the Administrative
 Agent and the Collateral Agent, pursuant to the terms of the Loan Documents or in connection with any
 enforcement of rights or exercise of remedies pursuant thereto, including all court costs and the fees and
 expenses of agents and legal counsel and, in each case, including all costs and expenses incurred in
 enforcing its rights to obtain such payment;

         Second, to payment of that portion of the Obligations constituting fees, indemnities and other
 amounts (other than principal and interest) payable to the Agents and the Lenders (including fees, charges
 and disbursements of counsel to the respective Agents and Lenders (including fees and time charges for
 attorneys who may be employees of any Lender) arising under the Loan Documents and amounts payable
 under Article III, ratably among them in proportion to the respective amounts described in this clause
 Second payable to them;

         Third, to payment of that portion of the Obligations constituting interest on the Loans and other
 Obligations arising under the Loan Documents with respect thereto, ratably among the Lenders in
 proportion to the respective amounts described in this clause Third payable to them;

          Fourth, to payment of that portion of the Obligations constituting unpaid principal of the Loans,
 ratably among the Lenders, in proportion to the respective amounts described in this clause Fourth held by
 them;

         and




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       Fifth, the balance, if any, after all of the Obligations have been indefeasibly paid in full, to the
 Borrowers or as otherwise required by Law and the DIP Orders.

                                                ARTICLE IX
                                                 AGENTS

          9.01    Appointment and Authority. Each Lender hereby designates and appoints the
 Administrative Agent as its agent under this Agreement and the other Loan Documents and each Lender
 hereby irrevocably authorizes the Administrative Agent to execute and deliver each of the other Loan
 Documents (where required) on its behalf and to take such other action on its behalf under the provisions
 of this Agreement and each other Loan Document and to exercise such powers and perform such duties as
 are expressly delegated to the Administrative Agent by the terms of this Agreement or any other Loan
 Document, together with such powers as are reasonably incidental thereto. Each Lender hereby designates
 and appoints the Collateral Agent as its agent under this Agreement and the other Loan Documents and
 each Lender hereby irrevocably authorizes the Collateral Agent to execute and deliver each of the other
 Loan Documents (where required) on its behalf and to take such other action on its behalf under the
 provisions of this Agreement and each other Loan Document and to exercise such powers and perform such
 duties as are expressly delegated to the Collateral Agent by the terms of this Agreement or any other Loan
 Document, together with such powers as are reasonably incidental thereto. Each Agent agrees to act as
 agent for and on behalf of the Lenders on the conditions contained in this Article IX. Any provision to the
 contrary contained elsewhere in this Agreement or in any other Loan Document notwithstanding, neither
 Agent shall not have any duties or responsibilities, except those expressly set forth herein or in the other
 Loan Documents, nor shall either Agent have or be deemed to have any fiduciary relationship with any
 Lender, and no implied covenants, functions, responsibilities, duties, obligations or liabilities shall be read
 into this Agreement or any other Loan Document or otherwise exist against such Agent. Without limiting
 the generality of the foregoing, the use of the term “agent” in this Agreement or the other Loan Documents
 with reference to the Administrative Agent or Collateral Agent is not intended to connote any fiduciary or
 other implied (or express) obligations arising under agency doctrine of any applicable law. Instead, such
 term is used merely as a matter of market custom, and is intended to create or reflect only a representative
 relationship between independent contracting parties. In this connection, the Agents, and any co-agents,
 sub-agents and attorneys-in-fact appointed by either Agent for purposes of holding or enforcing any Lien
 on the Collateral (or any portion thereof) granted under any Loan Document, or for exercising any rights
 and remedies thereunder at the direction of the Required Lenders, shall be entitled to the benefits of all
 provisions of this Article IX. Except as expressly otherwise provided in this Agreement, the Administrative
 Agent shall have and may use its sole discretion with respect to exercising or refraining from exercising
 any discretionary rights or taking or refraining from taking any actions that the Administrative Agent
 expressly is entitled to take or assert under or pursuant to this Agreement and the other Loan Documents.
 Without limiting the generality of the foregoing, or of any other provision of the Loan Documents that
 provides rights or powers to the Agents, Lenders agree that the applicable Agent shall have the right, but
 not the obligation, to exercise the following powers as long as this Agreement remains in effect: (a)
 maintain, in accordance with its customary business practices, ledgers and records reflecting the status of
 the Obligations, the Collateral, payments and proceeds of Collateral, and related matters, (b) execute or file
 any and all financing or similar statements or notices, amendments, renewals, supplements, documents,
 instruments, proofs of claim, notices and other written agreements with respect to the Loan Documents, or
 to take any other action with respect to any Collateral or Loan Documents which may be necessary to
 perfect, and maintain perfected, the security interests and Liens upon Collateral pursuant to the Loan
 Documents, (c) exclusively receive, apply, and distribute payments and proceeds of the Collateral as
 provided in the Loan Documents, (d) open and maintain such bank accounts and cash management
 arrangements as the Administrative Agent deems necessary and appropriate in accordance with the Loan
 Documents for the foregoing purposes, (e) perform, exercise, and enforce any and all other rights and
 remedies of the Secured Parties with respect to any Borrower, the Obligations, the Collateral, or otherwise

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 related to any of same as provided in the Loan Documents, and (f) incur and pay such expenses as the
 Administrative Agent or the Collateral Agent may deem necessary or appropriate for the performance and
 fulfillment of its functions and powers pursuant to the Loan Documents.

         9.02    Delegation of Duties. Each Agent may execute any of its duties under this Agreement or
 any other Loan Document by or through agents, employees or attorneys in fact and shall be entitled to
 advice of counsel concerning all matters pertaining to such duties. Neither Agent shall be responsible for
 the negligence or misconduct of any agent or attorney in fact that it selects as long as such selection was
 made with due care.

           9.03      Liability of the Agents. None of the Agent-Related Persons shall (a) be liable for any
 action taken or omitted to be taken by any of them under or in connection with this Agreement or any other
 Loan Document or the transactions contemplated hereby (except in the case of gross negligence or willful
 misconduct, as determined by a court of competent jurisdiction by final and non-appealable judgment), or
 (b) be responsible in any manner to any of the Lenders for any recital, statement, representation or warranty
 made by any Borrower or any of its Affiliates, or any officer or director thereof, contained in this Agreement
 or in any other Loan Document, or in any certificate, report, statement or other document referred to or
 provided for in, or received by the Administrative Agent or the Collateral Agent under or in connection
 with, this Agreement or any other Loan Document, or the validity, effectiveness, genuineness,
 enforceability or sufficiency of this Agreement or any other Loan Document, or for any failure of any
 Borrower or any other party to any Loan Document to perform its obligations hereunder or thereunder. No
 Agent-Related Person shall be under any obligation to any Lenders to ascertain or to inquire as to the
 observance or performance of any of the agreements contained in, or conditions of, this Agreement or any
 other Loan Document, or to inspect the books and records or properties of any Borrower. No Agent-Related
 Person shall have any liability to any Lender, any Borrower or any of their respective Affiliates if any
 request for any Loan or other extension of credit was not authorized by the Borrowers. Neither Agent shall
 not be required to take any action that, in its opinion or in the opinion of its counsel, may expose it to
 liability or that is contrary to any Loan Document or applicable law or regulation. No Agent-Related Person
 shall be under any obligation to any Lender or participant to ascertain or to inquire as to the observance or
 performance of any of the agreements contained in, or conditions of, this Agreement or any other Loan
 Document, or to inspect the properties, books or records of any Borrower or any Affiliate thereof. Neither
 Agent shall be liable for any action taken, or errors in judgment made, in good faith by it or any of its
 officers, employees or agents. The permissive rights of the Agents to do things enumerated in this
 Agreement shall not be construed as a duty and, with respect to such permissive rights, neither Agent shall
 be liable for any acts or omissions, except for such losses, damages or expenses which have been finally
 adjudicated by a court of competent jurisdiction to have directly resulted from the applicable Agent’s gross
 negligence or willful misconduct. Nothing in this Agreement shall require either Agent to expend or risk
 its own funds or otherwise incur any financial liability in the performance of any of its duties or in the
 exercise of any of its rights or powers hereunder. Notwithstanding anything herein or in any other Loan
 Document to the contrary, neither Agent shall have an obligation to give, execute, deliver, file, record,
 authorize or obtain any financing statements, notices, mortgages, instruments, documents, agreements,
 consents or other papers as shall be necessary to (i) create, preserve, perfect (or continue the perfection) or
 validate the security interest granted to the Collateral Agent for the benefit of the Secured Parties pursuant
 to this Agreement or (ii) enable the Collateral Agent to exercise and enforce its rights under this Agreement
 with respect to such pledge and security interest. Neither Agent shall be responsible or liable for any failure
 or delay in the performance of its obligations under this Agreement or any other Loan Document arising
 out of or caused, directly or indirectly, by circumstances beyond its control, including without limitation,
 any act or provision of any present or future law or regulation or governmental authority; acts of God;
 earthquakes; fires; floods; wars; terrorism; civil or military disturbances; sabotage; epidemics; pandemics;
 riots; interruptions, loss or malfunctions of utilities, computer (hardware or software) or communications


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 service; accidents; labor disputes; acts of civil or military authority or governmental actions; or the
 unavailability of the Federal Reserve Bank wire or telex or other wire or communication facility.

          9.04     Reliance by Agents. Each Agent shall be entitled to rely, and shall be fully protected in
 relying, upon any writing, resolution, notice, consent, certificate, judgment, order, affidavit, letter, telegram,
 telefacsimile or other electronic method of transmission, telex or telephone message, statement or other
 document or conversation believed by it to be genuine and correct and to have been signed, sent, or made
 by the proper Person or Persons, and upon advice and statements of legal counsel (including counsel to the
 Borrowers or counsel to any Lender), independent accountants and other experts selected by such Agent.
 Each Agent may consult with legal counsel, independent public accountants and other experts selected by
 it and shall not be liable for any action taken or omitted to be taken in good faith by it in accordance with
 the advice of such counsel, accountants or experts. Each Agent shall be fully justified in failing or refusing
 to take any action under this Agreement or any other Loan Document unless the applicable Agent shall first
 receive such advice or concurrence of the Lenders as it deems appropriate and until such instructions are
 received, the applicable Agent shall act, or refrain from acting, as it deems advisable. If either Agent so
 requests, it shall first be indemnified to its satisfaction by the Lenders against any and all liability and
 expense that may be incurred by it by reason of taking or continuing to take any such action. Each Agent
 shall in all cases be fully protected in and shall not be liable for acting, or in refraining from acting, under
 this Agreement or any other Loan Document in accordance with a request, instruction or consent of the
 Required Lenders and such request, instruction and any action taken or failure to act pursuant thereto shall
 be binding upon all of the Lenders. The Agents may treat each institution that is party to this Agreement as
 a “lender” as an obligor hereunder until the Agents receive written notice of the assignment or transfer of
 the Loans owed to such Lender or the Commitments of such Lender in form and substance satisfactory to
 the Administrative Agent.

          9.05    Notice of Default or Event of Default. The Agents shall not be deemed to have knowledge
 or notice of the occurrence of any Default or Event of Default, except, in the case of the Administrative
 Agent, with respect to defaults in the payment of principal, interest, fees, and expenses required to be paid
 to the Administrative Agent for the account of the Lenders and, except with respect to Events of Default of
 which the Administrative Agent has actual knowledge, unless the Administrative Agent shall have received
 written notice from a Lender or a Borrower referring to this Agreement, describing such Default or Event
 of Default, and stating that such notice is a “notice of default.” The Administrative Agent promptly will
 notify the Lenders of its receipt of any such notice or of any Event of Default of which the Administrative
 Agent has actual knowledge. If any Lender obtains actual knowledge of any Event of Default, such Lender
 promptly shall notify the other Lenders and the Administrative Agent of such Event of Default. Each
 Lender shall be solely responsible for giving any notices to its Participants, if any. Subject to Section 9.04,
 the Administrative Agent shall take such action with respect to such Default or Event of Default as may be
 requested by the Required Lenders in accordance with Article VIII; provided, that unless and until the
 Administrative Agent has received any such request, the Administrative Agent may (but shall not be
 obligated to) take such action, or refrain from taking such action, with respect to such Default or Event of
 Default as it shall deem advisable.

         9.06     Credit Decision. Each Lender acknowledges that none of the Agent-Related Persons has
 made any representation or warranty to it, and that no act by either Agent hereinafter taken, including any
 review of the affairs of any Borrower and its Affiliates, shall be deemed to constitute any representation or
 warranty by any Agent-Related Person to any Lender. Each Lender represents to the Administrative Agent
 and the Collateral Agent that it has, independently and without reliance upon any Agent-Related Person
 and based on such due diligence, documents and information as it has deemed appropriate, made its own
 appraisal of and investigation into the business, prospects, operations, property, financial and other
 condition and creditworthiness of each Borrower or any other Person party to a Loan Document, and all
 applicable bank regulatory laws relating to the transactions contemplated hereby, and made its own decision

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 to enter into this Agreement and to extend credit to the Borrowers. Each Lender also represents that it will,
 independently and without reliance upon any Agent-Related Person and based on such documents and
 information as it shall deem appropriate at the time, continue to make its own credit analysis, appraisals
 and decisions in taking or not taking action under this Agreement and the other Loan Documents, and to
 make such investigations as it deems necessary to inform itself as to the business, prospects, operations,
 property, financial and other condition and creditworthiness of each Borrower or any other Person party to
 a Loan Document. Except for notices, reports, and other documents expressly herein required to be
 furnished to the Lenders by the Administrative Agent, the Administrative Agent shall not have any duty or
 responsibility to provide any Lender with any credit or other information concerning the business,
 prospects, operations, property, financial and other condition or creditworthiness of the Borrowers or any
 other Person party to a Loan Document that may come into the possession of any of the Agent-Related
 Persons, it being understood that the Administrative Agent shall deliver to each Lender each notice, report,
 request, demand, communication and other document the Administrative Agent receives hereunder. Each
 Lender acknowledges that the Administrative Agent does not have any duty or responsibility, either initially
 or on a continuing basis (except to the extent, if any, that is expressly specified herein) to provide such
 Lender with any credit or other information with respect to the Borrowers, their Affiliates or any of their
 respective business, legal, financial or other affairs, and irrespective of whether such information came into
 the Administrative Agent’s or its Affiliates’ or representatives’ possession before or after the date on which
 such Lender became a party to this Agreement.

          9.07    Costs and Expenses; Indemnification. The Administrative Agent and the Collateral Agent
 may incur and pay costs, expenses and disbursements to the extent each of the Administrative Agent and
 the Collateral Agent reasonably deems necessary or appropriate for the performance and fulfillment of its
 functions, powers, and obligations pursuant to the Loan Documents, including court costs, attorneys’ fees
 and expenses, fees and expenses of financial accountants, advisors, consultants, and appraisers, costs of
 collection by outside collection agencies, auctioneer fees and expenses, and costs of security guards or
 insurance premiums paid to maintain the Collateral, whether or not the Borrowers are obligated to
 reimburse the Administrative Agent, the Collateral Agent or Lenders for such expenses pursuant to this
 Agreement or otherwise. The Administrative Agent and the Collateral Agent are authorized and directed to
 deduct and retain sufficient amounts from payments or proceeds of the Collateral received by the
 Administrative Agent or the Collateral Agent to reimburse the Administrative Agent and the Collateral
 Agent for such out-of-pocket costs and expenses prior to the distribution of any amounts to Lenders. In the
 event the Administrative Agent and the Collateral Agent are not reimbursed for such costs and expenses by
 the Borrowers, each Lender hereby agrees that it is and shall be obligated to pay promptly to the
 Administrative Agent and the Collateral Agent such Lender’s ratable share thereof. Whether or not the
 transactions contemplated hereby are consummated, each of the Lenders, on a ratable basis, shall indemnify
 and defend the Agent-Related Persons (to the extent not reimbursed by or on behalf of the Borrowers and
 without limiting the obligation of the Borrowers to do so) from and against any and all Indemnified
 Liabilities; provided, that no Lender shall be liable for the payment to any Agent-Related Person of any
 portion of such Indemnified Liabilities resulting solely from such Person’s gross negligence or willful
 misconduct, as determined by a court of competent jurisdiction by final and nonappealable judgment.
 Without limitation of the foregoing, each Lender shall reimburse the Administrative Agent and the
 Collateral Agent upon demand for such Lender’s ratable share of any fees, costs or out of pocket expenses
 (including attorneys, accountants, advisors, and consultants fees and expenses) incurred by the
 Administrative Agent and the Collateral Agent in connection with the preparation, execution, delivery,
 administration, modification, amendment, or enforcement (whether through negotiations, legal proceedings
 or otherwise) of, or legal advice in respect of rights or responsibilities under, this Agreement or any other
 Loan Document to the extent that the Borrowers are required to pay or reimburse the Administrative Agent
 and the Collateral Agent for such fees, costs and expenses and the Administrative Agent and the Collateral
 Agent are not paid or reimbursed promptly for such fees, costs and expenses by or on behalf of the


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 Borrowers. The undertaking in this Section shall survive the payment of all Obligations hereunder and the
 resignation or replacement of the Administrative Agent and the Collateral Agent.

          9.08    Administrative Agent in Individual Capacity. The Administrative Agent and its Affiliates
 may make loans to, issue letters of credit for the account of, accept deposits from, provide bank products
 to, acquire Equity Interests in, and generally engage in any kind of banking, trust, financial advisory,
 underwriting, or other business with any Borrower or its Affiliates and any other Person party to any Loan
 Document as though it were not the Administrative Agent hereunder, and, in each case, without notice to
 or consent of the other Secured Parties. The other Secured Parties acknowledge that, pursuant to such
 activities, the Administrative Agent or its Affiliates may receive information regarding a Borrower or its
 Affiliates or any other Person party to any Loan Documents that is subject to confidentiality obligations in
 favor of such Borrower or such other Person and that prohibit the disclosure of such information to the
 Lenders, and the Lenders acknowledge that, in such circumstances (and in the absence of a waiver of such
 confidentiality obligations, which waiver the Administrative Agent will use its reasonable best efforts to
 obtain), the Administrative Agent shall not be under any obligation to provide such information to them.
 With respect to its Loans (if any), Administrative Agent shall have the same rights and powers under the
 Loan Documents as each other Lender, and may exercise the same as though it were not Administrative
 Agent.

         9.09     Successor Agent. Each Agent may resign as the Administrative Agent or Collateral Agent,
 as applicable, upon thirty (30) days (ten (10) days if an Event of Default has occurred and is continuing)
 prior written notice to the Lenders (unless such notice is waived by the Required Lenders), and the
 Administrative Borrower (unless such notice is waived by the Administrative Borrower or a Default or
 Event of Default has occurred and is continuing). Each Agent may also be removed at the direction of the
 Required Lenders. If either Agent resigns or is removed under this Agreement, the Required Lenders shall
 be entitled, with (so long as no Event of Default has occurred and is continuing) the consent of the
 Administrative Borrower (such consent not to be unreasonably withheld, delayed, or conditioned), to
 appoint a successor Collateral Agent or Administrative Agent, as applicable, for the Lenders. If no
 successor Collateral Agent or Administrative Agent is appointed prior to the effective date of the resignation
 of the Collateral Agent or Administrative Agent, the applicable Agent may appoint, after consulting with
 the Lenders and the Administrative Borrower, a successor Agent. If the Administrative Agent or Collateral
 Agent has materially breached or failed to perform any material provision of this Agreement or of applicable
 law, the Required Lenders may agree in writing to remove and replace the Administrative Agent or
 Collateral Agent, as applicable, with a successor Administrative Agent from among the Lenders with (so
 long as no Event of Default has occurred and is continuing) the consent of the Administrative Borrower
 (such consent not to be unreasonably withheld, delayed, or conditioned). In any such event, upon the
 acceptance of its appointment as successor Administrative Agent or Collateral Agent, as applicable,
 hereunder, such successor Administrative Agent or Collateral Agent shall succeed to all the rights, powers,
 and duties of the retiring Administrative Agent or Collateral Agent and the term “Administrative Agent” or
 “Collateral Agent”, as applicable, shall mean such successor Administrative Agent or Collateral Agent and
 the retiring Administrative Agent’s or Collateral Agent’s appointment, powers, and duties as the
 Administrative Agent or Collateral Agent shall be terminated. After any retiring Administrative Agent’s or
 Collateral Agent’s resignation or removal hereunder as the Administrative Agent or Collateral Agent, the
 provisions of this Article IX shall inure to its benefit as to any actions taken or omitted to be taken by it
 while it was Administrative Agent or Collateral Agent under this Agreement. If no successor
 Administrative Agent or Collateral Agent has accepted appointment as the Administrative Agent or
 Collateral Agent, as applicable, by the date which is thirty (30) days following a retiring Administrative
 Agent’s or Collateral Agent’s notice of resignation, the retiring Administrative Agent’s or Collateral
 Agent’s resignation shall nevertheless thereupon become effective and the Lenders shall perform all of the
 duties of Administrative Agent or Collateral Agent hereunder until such time, if any, as the Lenders appoint
 a successor Administrative Agent or Collateral Agent as provided for above. Any corporation or

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 association into which the Administrative Agent or Collateral Agent may be converted or merged, or with
 which it may be consolidated, or to which it may sell or transfer all or substantially all of its corporate trust
 business and assets as a whole or substantially as a whole, or any corporation or association resulting from
 any such conversion, sale, merger, consolidation or transfer to which the Administrative Agent or Collateral
 Agent is a party, will be and become the successor of the Administrative Agent or the Collateral Agent, as
 applicable, under this Agreement and will have and succeed to the rights, duties, benefits, privileges,
 protections, indemnities and immunities as its predecessor, without the execution or filing of any instrument
 or paper or the performance of any further act.

         9.10       Collateral Matters.

           (a)     The Lenders hereby irrevocably authorize the Collateral Agent to release any Lien on any
 Collateral (i) upon the payment and satisfaction in full by the Borrowers of all of the Obligations, (ii)
 constituting property being sold or disposed of (to a person which is not a Borrower) if a release is required
 or desirable in connection therewith and if the Borrowers certify to the Administrative Agent and the
 Collateral Agent that the sale or disposition is permitted under Section 7.05 (and the Administrative Agent
 and the Collateral Agent may rely conclusively on any such certificate, without further inquiry), (iii)
 constituting property in which no Borrower owned any interest at the time the Collateral Agent’s Lien was
 granted nor at any time thereafter, (iv) constituting property leased or licensed to a Borrower under a lease
 or license that has expired or is terminated in a transaction permitted under this Agreement, or (v) in
 connection with a credit bid or purchase authorized under this Section 9.10. The Borrowers and the Lenders
 hereby irrevocably authorize the Collateral Agent, based upon the instruction of the Required Lenders, to
 (I) consent to the sale of, credit bid, or purchase (either directly or indirectly through one or more entities)
 all or any portion of the Collateral at any sale thereof conducted under the provisions of the Bankruptcy
 Code, including section 363 of the Bankruptcy Code, (II) credit bid or purchase (either directly or indirectly
 through one or more entities) all or any portion of the Collateral at any sale or other disposition thereof
 conducted under the provisions of the Bankruptcy Code, including pursuant to sections 9-610 or 9-620 of
 the UCC, or (III) credit bid or purchase (either directly or indirectly through one or more entities) all or any
 portion of the Collateral at any other sale or foreclosure conducted or consented to by the Collateral Agent
 at the direction of the Required Lenders in accordance with applicable law in any judicial action or
 proceeding or by the exercise of any legal or equitable remedy. In connection with any such credit bid or
 purchase, (i) the Obligations owed to the Lenders shall be entitled to be, and shall be, credit bid on a ratable
 basis (with Obligations with respect to contingent or unliquidated claims being estimated for such purpose
 if the fixing or liquidation thereof would not impair or unduly delay the ability of the Collateral Agent to
 credit bid or purchase at such sale or other disposition of the Collateral and, if such contingent or
 unliquidated claims cannot be estimated without impairing or unduly delaying the ability of the Collateral
 Agent to credit bid at such sale or other disposition, then such claims shall be disregarded, not credit bid,
 and not entitled to any interest in the Collateral that is the subject of such credit bid or purchase) and the
 Lenders whose Obligations are credit bid shall be entitled to receive interests (ratably based upon the
 proportion of their Obligations credit bid in relation to the aggregate amount of Obligations so credit bid)
 in the Collateral that is the subject of such credit bid or purchase (or in the Equity Interests of the any
 entities that are used to consummate such credit bid or purchase), and (ii) the Collateral Agent, based upon
 the instruction of the Required Lenders, may accept non-cash consideration, including debt and equity
 securities issued by any entities used to consummate such credit bid or purchase and in connection therewith
 the Administrative Agent may reduce the Obligations owed to the Lenders (ratably based upon the
 proportion of their Obligations credit bid in relation to the aggregate amount of Obligations so credit bid)
 based upon the value of such non-cash consideration. Except as provided above, the Collateral Agent will
 not execute and deliver a release of any Lien on any Collateral without the prior written authorization of
 (y) if the release is of all or substantially all of the Collateral, all of the Lenders, or (z) otherwise, the
 Required Lenders. Upon request by the Collateral Agent or the Administrative Borrower at any time, the
 Lenders will confirm in writing the Collateral Agent’s authority to release any such Liens on particular

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 types or items of Collateral pursuant to this Section 9.10; provided, that (1) anything to the contrary
 contained in any of the Loan Documents notwithstanding, the Collateral Agent shall not be required to
 execute any document or take any action necessary to evidence such release on terms that, in the Collateral
 Agent’s opinion, could expose the Collateral Agent to liability or create any obligation or entail any
 consequence other than the release of such Lien without recourse, representation, or warranty, and (2) such
 release shall not in any manner discharge, affect, or impair the Obligations or any Liens (other than those
 expressly released) upon (or obligations of the Borrowers in respect of) any and all interests retained by
 any Borrower, including, the proceeds of any sale, all of which shall continue to constitute part of the
 Collateral.

          (b)      The Agents shall have no obligation whatsoever to any of the Lenders (i) to verify or assure
 that the Collateral exists or is owned by a Borrower or is cared for, protected, or insured or has been
 encumbered, (ii) to verify or assure that the Collateral Agent’s Liens have been properly or sufficiently or
 lawfully created, perfected, protected, or enforced or are entitled to any particular priority, it being
 understood that the Borrowers shall be responsible for such verifications and assurances, (iii) to verify or
 assure that any particular items of Collateral meet the eligibility criteria applicable in respect thereof, (iv)
 to impose, maintain, increase, reduce, implement, or eliminate any particular reserve hereunder or to
 determine whether the amount of any reserve is appropriate or not, or (v) to exercise at all or in any
 particular manner or under any duty of care, disclosure or fidelity, or to continue exercising, any of the
 rights, authorities and powers granted or available to either Agent pursuant to any of the Loan Documents,
 it being understood and agreed that in respect of the Collateral, or any act, omission, or event related thereto,
 subject to the terms and conditions contained herein, each Agent may act in any manner it may deem
 appropriate, in its sole discretion, and each Agent shall have no other duty or liability whatsoever to any
 Lender as to any of the foregoing, except as otherwise expressly provided herein.

         9.11       Restrictions on Actions by Lenders; Sharing of Payments.

         (a)     Each of the Lenders agrees that it shall not, without the express written consent of the
 Administrative Agent, and that it shall, to the extent it is lawfully entitled to do so, upon the written request
 of the Administrative Agent, set off against the Obligations, any amounts owing by such Lender to any
 Borrower or any deposit accounts of any Borrower now or hereafter maintained with such Lender. Each
 of the Lenders further agrees that it shall not, unless specifically requested to do so in writing by the
 Administrative Agent, take or cause to be taken any action, including, the commencement of any legal or
 equitable proceedings to enforce any Loan Document against any Borrower or to foreclose any Lien on, or
 otherwise enforce any security interest in, any of the Collateral.

          (b)     If, at any time or times any Lender shall receive (i) by payment, foreclosure, setoff, or
 otherwise, any proceeds of Collateral or any payments with respect to the Obligations, except for any such
 proceeds or payments received by such Lender from the Administrative Agent pursuant to the terms of this
 Agreement, or (ii) payments from the Administrative Agent in excess of such Lender’s Applicable
 Percentage of all such distributions by the Administrative Agent, such Lender promptly shall (A) turn the
 same over to the Administrative Agent, in kind, and with such endorsements as may be required to negotiate
 the same to the Administrative Agent, or in immediately available funds, as applicable, for the account of
 all of the Lenders and for application to the Obligations in accordance with the applicable provisions of this
 Agreement, or (B) purchase, without recourse or warranty, an undivided interest and participation in the
 Obligations owed to the other Lenders so that such excess payment received shall be applied ratably as
 among the Lenders in accordance with their respective Applicable Percentage; provided, that to the extent
 that such excess payment received by the purchasing party is thereafter recovered from it, those purchases
 of participations shall be rescinded in whole or in part, as applicable, and the applicable portion of the
 purchase price paid therefor shall be returned to such purchasing party, but without interest except to the


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 extent that such purchasing party is required to pay interest in connection with the recovery of the excess
 payment.

          9.12    Agency for Perfection. The Collateral Agent hereby appoints each Lender as its agent (and
 each Lender hereby accepts such appointment) for the purpose of perfecting the Collateral Agent’s Liens
 in assets which, in accordance with Article 8 or Article 9, as applicable, of the UCC can be perfected by
 possession or control. Should any Lender obtain possession or control of any such Collateral, such Lender
 shall notify the Administrative Agent thereof, and, promptly upon the Administrative Agent’s request
 therefor shall deliver possession or control of such Collateral to the Collateral Agent or in accordance with
 the Collateral Agent’s instructions.

         9.13    Payments by Administrative Agent to the Lenders. All payments to be made by the
 Administrative Agent to the Lenders shall be made by bank wire transfer of immediately available funds
 pursuant to such wire transfer instructions as each party may designate for itself by written notice to the
 Administrative Agent. Concurrently with each such payment, the Administrative Agent shall identify
 whether such payment (or any portion thereof) represents principal, premium, fees, or interest of the
 Obligations.

          9.14     Concerning the Collateral and Related Loan Documents. Each Secured Party authorizes
 and directs the Collateral Agent to enter into this Agreement and the other Loan Documents. Each Secured
 Party agrees that any action taken by the Collateral Agent in accordance with the terms of this Agreement
 or the other Loan Documents relating to the Collateral and the exercise by the Collateral Agent of its powers
 set forth therein or herein, together with such other powers that are reasonably incidental thereto, shall be
 binding upon all of the Lenders.

          9.15    Reports and Information. The Administrative Agent shall provide to each Lender a copy
 of any report, notice, request, document, or other information or communications provided by any Borrower
 to the Administrative Agent that has not been contemporaneously provided by such Borrower to such
 Lender. By becoming a party to this Agreement, each Lender may to the extent that the Administrative
 Agent is entitled, under any provision of the Loan Documents, to request additional reports, documents,
 notices or information from any Borrower, from time to time, reasonably request the Administrative Agent
 to exercise such right as specified in such Lender’s notice to the Administrative Agent, whereupon the
 Administrative Agent promptly shall request of the Borrowers the additional reports, documents, notices or
 information reasonably specified by such Lender, and, upon receipt thereof from such Borrower, the
 Administrative Agent promptly shall provide a copy of same to such Lender.

           9.16     Several Obligations; No Liability. Notwithstanding that certain of the Loan Documents
 now or hereafter may have been or will be executed only by or in favor of the Administrative Agent or the
 Collateral Agent in its capacity as such, and not by or in favor of the Lenders, any and all obligations on
 the part of the Administrative Agent (if any) to make any credit available hereunder shall constitute the
 several (and not joint) obligations of the respective Lenders on a ratable basis, according to their respective
 Commitments, to make an amount of such credit not to exceed, in principal amount, at any one time
 outstanding, the amount of their respective Commitments. Nothing contained herein shall confer upon any
 Lender any interest in, or subject any Lender to any liability for, or in respect of, the business, assets, profits,
 losses, or liabilities of any other Lender. Each Lender shall be solely responsible for notifying its
 Participants of any matters relating to the Loan Documents to the extent any such notice may be required,
 and no Lender shall have any obligation, duty, or liability to any Participant of any other Lender. Except
 as provided in Section 9.07, no Secured Party shall have any liability for the acts of any other Secured Party.
 No Lender shall be responsible to the Borrowers or any other Person for any failure by any other Lender to
 fulfill its obligations to make credit available hereunder, nor to advance for such Lender or on its behalf,


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 nor to take any other action on behalf of such Lender hereunder or in connection with the financing
 contemplated herein.

                                    ARTICLE X
             JOINT AND SEVERAL OBLIGATIONS; ADMINISTRATIVE BORROWER

         10.01 Joint and Several Obligations. All Obligations shall constitute joint and several obligations
 of Borrowers and shall be secured by the Collateral Agent’s Lien upon all of the Collateral, and by all other
 Liens heretofore, now or at any time hereafter granted by each Borrower to the Collateral Agent to the
 extent provided in the Loan Documents under which such Lien arises. Each Borrower expressly represents
 and acknowledges that it is part of a common enterprise with the other Borrowers and that any financial
 accommodations by Administrative Agent, Collateral Agent and the other Lenders to any other Borrower
 hereunder and under the other Loan Documents are and will be of direct and indirect interest, benefit and
 advantage to all Borrowers. Each Borrower acknowledges that any notice or request given by any Borrower
 to the Administrative Agent or any Lender shall bind all Borrowers, and that any notice given by the
 Administrative Agent or any Lender to any Borrower shall be effective with respect to all Borrowers. Each
 Borrower acknowledges and agrees that each Borrower shall be liable, on a joint and several basis, for all
 of the Loans and other Obligations, regardless of which Borrower actually may have received the proceeds
 of any of such Loan or other extensions of credit or the amount of such Loan received or the manner in
 which the Administrative Agent or any Lender accounts among the Borrowers for such Loan or other
 extensions of credit on its books and records, and further acknowledges and agrees that the Loans and other
 extensions of credit to any Borrower inure to the mutual benefit of all of the Borrowers and that the
 Administrative Agent and the Lenders are relying on the joint and several liability of the Borrowers in
 extending the Loans and other financial accommodations hereunder. Each Borrower shall be entitled to
 subrogation and contribution rights from and against the other Borrowers to the extent any Borrower is
 required to pay to any Lender any amount in excess of the Loans advanced directly to, or other Obligations
 incurred directly by, such Borrower or as otherwise available under applicable law; provided, however, that
 such subrogation and contribution rights are and shall be subject to the terms and conditions of this Section
 10.01.

          In the event any Borrower shall make any payment or payments under the Loan Documents or shall
 suffer any loss as a result of any realization upon any Collateral granted by it to secure its obligations
 hereunder, such Borrower shall have the right to seek contribution payments from each other Borrower to
 the extent permitted by applicable law. Nothing in this Section 10.01 shall affect any Borrower’s joint and
 several liability to the Administrative Agent and the Lenders for the entire amount of its Obligations. Each
 Borrower covenants and agrees that its right to receive any contribution hereunder from a contributing
 Borrower shall be subordinate and junior in right of payment, in full, in cash, to all Obligations of the
 Borrowers to the Agents and the Lenders under the Loan Documents. No Borrower will exercise any rights
 that it may acquire by way of subrogation hereunder or under any other Loan Document or at law by any
 payment made hereunder or otherwise, nor shall a Borrower seek or be entitled to seek any contribution or
 reimbursement from any other Borrower in respect of payments made by such Borrower hereunder or under
 any other Loan Document. If any amounts shall be paid to a Borrower on account of such subrogation or
 contribution rights at any time, such amount shall be held by such Borrower in trust for the Administrative
 Agent and the Lenders segregated from other funds of such Borrower, and shall, forthwith upon receipt by
 such Borrower, be turned over to the Administrative Agent in the exact form received by such Borrower
 (duly endorsed by such Borrower to the Administrative Agent, if required), to be applied against the
 Obligations, whether matured or unmatured, as provided for herein.

         10.02 Administrative Borrower. Each Borrower hereby irrevocably appoints Agilon as the
 borrowing agent and attorney-in-fact for all Borrowers (“Administrative Borrower”) which appointment
 shall remain in full force and effect unless and until the Administrative Agent shall have received prior

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 written notice signed by each Borrower that such appointment has been revoked and that another Borrower
 has been appointed Administrative Borrower. Each Borrower hereby irrevocably appoints and authorizes
 Administrative Borrower (a) to provide the Administrative Agent and the Lenders with all notices with
 respect to Loans obtained for the benefit of any Borrower and all other notices and instructions under this
 Agreement and the other Loan Documents (and any notice or instruction provided by Administrative
 Borrower shall be deemed to be given by Borrowers hereunder and shall bind each Borrower), (b) to receive
 notices and instructions from the Administrative Agent or any Lender (and any notice or instruction
 provided by the Administrative Agent or any Lender to the Administrative Borrower in accordance with
 the terms hereof shall be deemed to have been given to each Borrower), and (c) to take such action as
 Administrative Borrower deems appropriate on its behalf to obtain Loans and to exercise such other powers
 as are reasonably incidental thereto to carry out the purposes of this Agreement. It is understood that the
 handling of the Collateral in a combined fashion, as more fully set forth herein, is done solely as an
 accommodation to Borrowers in order to utilize the collective borrowing powers of Borrowers in the most
 efficient and economical manner and at their request, and that the Lenders shall not incur liability to any
 Borrower as a result hereof. Each Borrower expects to derive benefit, directly or indirectly, from the
 handling of the Collateral in a combined fashion since the successful operation of each Borrower is
 dependent on the continued successful performance of the integrated group.

                                              ARTICLE XI
                                            MISCELLANEOUS

          11.01 Amendments, Etc. No amendment or waiver of any provision of this Agreement or any
 other Loan Document, and no consent to any departure by any Borrower therefrom, shall be effective unless
 in writing signed by the Required Lenders and the Borrowers, as the case may be, and acknowledged by
 the Administrative Agent and the Collateral Agent, and each such waiver or consent shall be effective only
 in the specific instance and for the specific purpose for which given; provided, however, that no such
 amendment, waiver or consent shall:

          (a)     waive, change or otherwise modify any provision set forth in Sections 11.06(b)(ii), (iii).
 (v) or (vi) without the written consent of each Lender;

         (b)     extend or increase the Commitment of any Lender (or reinstate any Commitment
 terminated pursuant to Section 8.02) without the written consent of such Lender;

         (c)    postpone any date fixed by this Agreement or any other Loan Document for any payment
 (excluding mandatory prepayments) of principal, interest, fees or other amounts due to the Lenders (or any
 of them) hereunder or under such other Loan Document without the written consent of each Lender entitled
 to such payment;

         (d)      reduce the principal of, or the rate of interest specified herein on, any Loan or (subject to
 clause (iv) of the second proviso to this Section 11.01) any fees or other amounts payable hereunder or
 under any other Loan Document without the written consent of each Lender entitled to such amount;
 provided, however, that only the consent of the Required Lenders shall be necessary to amend the definition
 of “Default Rate” or to waive any obligation of the Borrowers to pay interest at the Default Rate;

         (e)     change (i) Section 8.03 in a manner that would alter the pro rata sharing of payments
 required thereby without the written consent of each Lender, or (ii) the order of application of any reduction
 in the Commitments or any prepayment of Loans among the Facility from the application thereof set forth
 in the applicable provisions of Section 2.05 or 2.06(b), respectively, in any manner that materially and
 adversely affects the Lenders without the written consent of all Lenders;



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         (f)      change any provision of this Section 11.01 or the definition of “Required Lenders” or any
 other provision hereof specifying the number or percentage of Lenders required to amend, waive or
 otherwise modify any rights hereunder or make any determination or grant any consent hereunder (other
 than the definitions specified in clause (ii) of this Section 11.01(g)), without the written consent of each
 Lender;

          (g)     release all or substantially all of the Collateral in any transaction or series of related
 transactions, without the written consent of each Lender; or

         (h)     impose any greater restriction on the ability of any Lender to assign any of its rights or
 obligations hereunder without the written consent of the affected Lender;

 and provided, further, that no amendment, waiver or consent shall, unless in writing and signed by the
 Administrative Agent in addition to the Lenders required above, affect the rights or duties of the
 Administrative Agent under this Agreement or any other Loan Document, and no amendment, waiver or
 consent shall, unless in writing and signed by the Collateral Agent in addition to the Lenders required above,
 affect the rights or duties of the Collateral Agent under this Agreement or any other Loan Document.

 Notwithstanding anything in this Agreement to the contrary, each Lender hereby irrevocably authorizes the
 Administrative Agent on its behalf, and without further consent of any Lender (but with the consent of the
 Administrative Borrower and the Administrative Agent), to (x) amend and restate this Agreement if, upon
 giving effect to such amendment and restatement, such Lender shall no longer be a party to this Agreement
 (as so amended and restated), the Commitments of such Lender shall have terminated, such Lender shall
 have no other commitment or other obligations hereunder and shall have been paid in full all principal,
 interest and other amounts owing to it or accrued for its account under this Agreement, and (y) enter into
 amendments or modifications to this Agreement (including, without limitation, amendments to this Section
 11.01) or any of the other Loan Documents.

         11.02      Notices; Effectiveness; Electronic Communications.

          (a)     Notices Generally. Except in the case of notices and other communications expressly
 permitted to be given by telephone (and except as provided in subsection (b) below), all notices and other
 communications provided for herein shall be in writing and shall be delivered by hand or overnight courier
 service, mailed by certified or registered mail or sent by electronic mail or facsimile as follows, and all
 notices and other communications expressly permitted hereunder to be given by telephone shall be made to
 the applicable telephone number, as follows:

                 (i)      if to the Borrowers or the Administrative Agent or the Collateral Agent, to the
         address, telecopier number, electronic mail address or telephone number specified for such Person
         on Schedule 11.02; and

                 (ii)   if to any other Lender, to the address, telecopier number, electronic mail address
         or telephone number specified in its Administrative Questionnaire.

 Notices and other communications sent by hand or overnight courier service, or mailed by certified or
 registered mail, shall be deemed to have been given when received; notices and other communications sent
 by telecopier shall be deemed to have been given when sent (except that, if not given during normal business
 hours for the recipient, shall be deemed to have been given at the opening of business on the next business
 day for the recipient). Notices and other communications delivered through electronic communications to
 the extent provided in subsection (b) below shall be effective as provided in such subsection (b).



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         (b)     Electronic Communications. Notices and other communications to the Lenders hereunder
 may be delivered or furnished by electronic communication (including e-mail and Internet or intranet
 websites) pursuant to procedures approved by the Administrative Agent, provided that the foregoing shall
 not apply to notices to any Lender pursuant to Article II if such Lender has notified the Administrative
 Agent that it is incapable of receiving notices under such Article by electronic communication. The
 Administrative Agent or the Borrowers may, in its discretion, agree to accept notices and other
 communications to it hereunder by electronic communications pursuant to procedures approved by it;
 provided that approval of such procedures may be limited to particular notices or communications.

          Unless the Administrative Agent otherwise prescribes, (i) notices and other communications sent
 to an e-mail address shall be deemed received upon the sender’s receipt of an acknowledgment from the
 intended recipient (such as by the “return receipt requested” function, as available, return e-mail or other
 written acknowledgment), provided that if such notice or other communication is not sent during the normal
 business hours of the recipient, such notice or communication shall be deemed to have been sent at the
 opening of business on the next business day for the recipient, and (ii) notices or communications posted
 to an Internet or intranet website shall be deemed received upon the deemed receipt by the intended recipient
 at its e-mail address as described in the foregoing clause (i) of notification that such notice or
 communication is available and identifying the website address therefor.

         (c)        [Reserved].

          (d)      Change of Address, Etc. Each Borrower and each Agent may change its address, telecopier
 or telephone number for notices and other communications hereunder by notice to the other parties hereto.
 Each other Lender may change its address, telecopier or telephone number for notices and other
 communications hereunder by notice to the Borrowers and the Administrative Agent. In addition, each
 Lender agrees to notify the Administrative Agent from time to time to ensure that the Administrative Agent
 has on record (i) an effective address, contact name, telephone number, telecopier number and electronic
 mail address to which notices and other communications may be sent and (ii) accurate wire instructions for
 such Lender. Furthermore, each Lender agrees to cause at least one individual at or on behalf of such
 Lender to at all times have selected the “Private Side Information” or similar designation on the content
 declaration screen of the Platform in order to enable such Lender or its delegate, in accordance with such
 Lender’s compliance procedures and applicable Law, including United States Federal and state securities
 Laws, to make reference to materials that are not made available through the “Public Side Information”
 portion of the Platform and that may contain material non-public information with respect to the Borrowers
 or their securities for purposes of United States Federal or state securities laws.

          (e)    Reliance by Agents and Lenders. Each Agent and the Lenders shall be entitled to rely and
 act upon any notices (including telephonic Committed Loan Notices) purportedly given by or on behalf of
 the Borrowers even if (i) such notices were not made in a manner specified herein, were incomplete or were
 not preceded or followed by any other form of notice specified herein, or (ii) the terms thereof, as
 understood by the recipient, varied from any confirmation thereof. The Borrowers shall indemnify the
 Agents, each Lender and the Related Parties of each of them from all losses, costs, expenses and liabilities
 resulting from the reliance by such Person on each notice purportedly given by or on behalf of the
 Borrowers. All telephonic notices to and other telephonic communications with either Agent may be
 recorded by such Agent, and each of the parties hereto hereby consents to such recording.

         11.03 No Waiver; Cumulative Remedies; Enforcement. No failure by any Lender or either Agent
 to exercise, and no delay by any such Person in exercising, any right, remedy, power or privilege hereunder
 or under any other Loan Document shall operate as a waiver thereof; nor shall any single or partial exercise
 of any right, remedy, power or privilege hereunder preclude any other or further exercise thereof or the
 exercise of any other right, remedy, power or privilege. The rights, remedies, powers and privileges herein

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 provided, and provided under each other Loan Document, are cumulative and not exclusive of any rights,
 remedies, powers and privileges provided by law.

          Notwithstanding anything to the contrary contained herein or in any other Loan Document, the
 authority to enforce rights and remedies hereunder and under the other Loan Documents against the
 Borrowers or any of them shall be vested exclusively in, and all actions and proceedings at law in
 connection with such enforcement shall be instituted and maintained exclusively by, the Agents in
 accordance with Section 8.02 for the benefit of all the Lenders; provided, however, that the foregoing shall
 not prohibit (a) either Agent from exercising on its own behalf the rights and remedies that inure to its
 benefit (solely in its capacity as an Agent) hereunder and under the other Loan Documents, (b) any Lender
 from exercising setoff rights in accordance with Section 11.08 (subject to the terms of Section 2.10), or (c)
 any Lender from filing proofs of claim or appearing and filing pleadings on its own behalf during the
 pendency of a proceeding relative to any Borrower under any Debtor Relief Law; and provided, further,
 that if at any time there is no Person acting as Administrative Agent or Collateral Agent hereunder and
 under the other Loan Documents, then (i) the Required Lenders shall have the rights otherwise ascribed to
 the Administrative Agent or Collateral Agent, as applicable, pursuant to Section 8.02 and (ii) in addition to
 the matters set forth in clauses (b) and (c) of the preceding proviso and subject to Section 2.10, any Lender
 may, with the consent of the Required Lenders, enforce any rights and remedies available to it and as
 authorized by the Required Lenders.

         11.04      Expenses; Indemnity; Damage Waiver.

          (a)     Costs and Expenses. Whether or not the transactions contemplated hereby are
 consummated, the Borrowers will pay all documented costs and expenses (including documented attorneys’
 fees of a special counsel and, if reasonably required by the Required Lenders, local or other counsel)
 incurred by the Agents and the Lenders in connection with such transactions and in connection with any
 amendments, waivers or consents under or in respect of this Agreement or the other Loan Documents
 (whether or not such amendment, waiver or consent becomes effective), including, without limitation: (a)
 the costs and expenses incurred in enforcing or defending (or determining whether or how to enforce or
 defend) any rights under this Agreement or any other Loan Document or in responding to any subpoena or
 other legal process or informal investigative demand issued in connection with this Agreement or any other
 Loan Document, or by reason of being an Agent or a Lender, (b) the costs and expenses, including financial
 advisors’ fees and other consultant’s fees, incurred in connection with the Cases, the Sale Process or in
 connection with any work-out or restructuring of the transactions contemplated hereby and the other Loan
 Documents and (c) the costs and expenses incurred in connection with the filing of this Agreement any the
 Loan Documents and all related documents. In addition, the Borrowers will pay the fees and disbursements
 of the FTI Consulting, Inc., the Independent Engineer and other consultants retained by the Administrative
 Agent and/or the Lenders from time to time in connection with this Agreement and the transactions
 contemplated hereby.

          (b)       Indemnification by the Borrowers. The Borrowers will pay, and will save each Lender,
 each Agent and each of their respective Affiliates, officers, directors, representatives, employees, advisors
 and agents (collectively, the “Indemnified Parties”) harmless from, all claims in respect of any fees, costs
 or expenses, if any, of brokers and finders and any judgment, liability, claim, order, decree, cost, fee,
 expense, loss, action or obligation, other than Excluded Taxes, resulting from the consummation of the
 transactions contemplated hereby, including the use of the proceeds of the Loans by the Borrowers and any
 and all liabilities, obligations, losses, damages, penalties, actions, judgments, suits, costs, claims, expenses
 or disbursements of any kind or nature whatsoever which may at any time be imposed on, incurred by or
 asserted against any Indemnified Party in any way relating to, arising out of or incurred in respect of either
 Project, this Agreement, any other Loan Document or any documents contemplated by or referred to herein
 or therein or the transactions contemplated hereby or thereby or the enforcement of any of the terms hereof

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 or thereof or of any such other documents, including any Environmental Claims, arising in connection with
 the release or presence of any Hazardous Material at a Project or a Site, whether foreseeable or
 unforeseeable, including all costs of removal and disposal of such Hazardous Material, all costs required
 by any Governmental Authority or under any applicable law to be incurred in determining whether a Project
 or a Site is in compliance, and causing the Project or the Site to be in compliance, with all applicable
 requirements of law, all costs associated with claims for damages to persons or property, and reasonable
 attorneys’ and consultants’ fees and court costs (collectively, the “Indemnified Losses”), except to the
 extent that any Indemnified Loss is finally determined by a court of competent jurisdiction to be the direct
 result from the gross negligence or willful misconduct of the party seeking indemnification (and, upon any
 such determination by such court, any indemnification payments with respect to such losses, claims,
 damages, liabilities or related costs and expenses previously received by such Indemnified Party shall be
 subject to reimbursement by such Indemnified Party if provided by such court).

           (c)     Reimbursement by Lenders. To the extent that the Borrowers for any reason fail to
 indefeasibly pay any amount required under subsection (a) or (b) of this Section to be paid by it to the
 Agents (or any sub-agent thereof), or any Related Party of any of the foregoing, each Lender severally
 agrees to pay to the Agents (or any such sub-agent), or such Related Party, as the case may be, such Lender’s
 Applicable Percentage (determined as of the time that the applicable unreimbursed expense or indemnity
 payment is sought) of such unpaid amount, provided that the unreimbursed expense or indemnified loss,
 claim, damage, liability or related expense, as the case may be, was incurred by or asserted against the
 Agents (or any such sub-agent) in its capacity as such, or against any Related Party of any of the foregoing
 acting for the Agents (or any such sub-agent) in connection with such capacity. The obligations of the
 Lenders under this subsection (c) are subject to the provisions of Section 2.10(d). Paragraph (c) of this
 Section shall not apply with respect to Taxes other than any Taxes that represent losses, claims, damages,
 etc. arising from any non-Tax claim.

           (d)      Waiver of Consequential Damages, Etc. To the fullest extent permitted by applicable law,
 each Borrower shall not assert, and hereby waives, any claim against any Indemnified Party, on any theory
 of liability, for special, indirect, consequential or punitive damages (as opposed to direct or actual damages)
 arising out of, in connection with, or as a result of, the Cases, this Agreement, any other Loan Document
 or any agreement or instrument contemplated hereby, the transactions contemplated hereby or thereby, any
 Loan or the use of the proceeds thereof. No Indemnified Party referred to in subsection (b) above shall be
 liable for any damages arising from the use by unintended recipients of any information or other materials
 distributed to such unintended recipients by such Indemnified Party through telecommunications, electronic
 or other information transmission systems in connection with this Agreement or the other Loan Documents
 or the transactions contemplated hereby or thereby other than for direct or actual damages resulting from
 the gross negligence or willful misconduct of such Indemnified Party as determined by a final and
 nonappealable judgment of a court of competent jurisdiction.

        (e)     Payments. All amounts due under this Section shall be payable not later than ten (10)
 Business Days after demand therefor.

         (f)     Survival. The agreements in this Section 11.04 shall survive the resignation of the
 Administrative Agent or Collateral Agent, the replacement of any Lender, the termination of the
 Commitments and the repayment, satisfaction or discharge of all the other Obligations, and shall continue
 in the Cases and in any successor cases, following the dismissal of the Cases of any successor cases.

         11.05 Payments Set Aside. To the extent that any payment by or on behalf of any Borrower is
 made to the Administrative Agent, the Collateral Agent or any Lender, or the Administrative Agent, the
 Collateral Agent or any Lender exercises its right of setoff, and such payment or the proceeds of such setoff
 or any part thereof is subsequently invalidated, declared to be fraudulent or preferential, set aside or required

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 (including pursuant to any settlement entered into by the Administrative Agent, the Collateral Agent or
 such Lender in its discretion) to be repaid to a trustee, receiver or any other party, in connection with any
 proceeding under any Debtor Relief Law or otherwise, then (a) to the extent of such recovery, the obligation
 or part thereof originally intended to be satisfied shall be revived and continued in full force and effect as
 if such payment had not been made or such setoff had not occurred, and (b) each Lender severally agrees
 to pay to the Administrative Agent and the Collateral Agent upon demand its applicable share (without
 duplication) of any amount so recovered from or repaid by the Administrative Agent or the Collateral
 Agent, plus interest thereon from the date of such demand to the date such payment is made at a rate per
 annum equal to the Federal Funds Rate from time to time in effect. The obligations of the Lenders under
 clause (b) of the preceding sentence shall survive the payment in full of the Obligations and the termination
 of this Agreement.

         11.06      Successors and Assigns.

         (a)       Successors and Assigns Generally. The provisions of this Agreement shall be binding upon
 and inure to the benefit of the parties hereto and their respective successors and assigns permitted hereby,
 except that none of the Borrowers may assign or otherwise transfer any of its rights or obligations hereunder
 without the prior written consent of each Lender and no Lender may assign or otherwise transfer any of its
 rights or obligations hereunder except (i) to an assignee in accordance with the provisions of Section
 11.06(b), (ii) by way of participation in accordance with the provisions of Section 11.06(d), or (iii) by way
 of pledge or assignment of a security interest subject to the restrictions of Section 11.06(f) (and any other
 attempted assignment or transfer by any party hereto shall be null and void). Nothing in this Agreement,
 expressed or implied, shall be construed to confer upon any Person (other than the parties hereto, their
 respective successors and assigns permitted hereby, Participants to the extent provided in subsection (d) of
 this Section and, to the extent expressly contemplated hereby, the Related Parties of each Agent and each
 of the Lenders) any legal or equitable right, remedy or claim under or by reason of this Agreement.

          (b)     Assignments by Lenders. Any Lender may at any time assign to one or more assignees all
 or a portion of its rights and obligations under this Agreement (including all or a portion of its
 Commitment(s) and the Loans at the time owing to it); provided that any such assignment shall be subject
 to the following conditions:

                    (i)     Minimum Amounts.

                            (A)      in the case of an assignment of the entire remaining amount of the
                    assigning Lender’s Commitment under the Facility and the Loans at the time owing to it
                    under the Facility or in the case of an assignment to a Lender, an Affiliate of a Lender or
                    an Approved Fund, no minimum amount need be assigned; and

                             (B)     in any case not described in subsection (b)(i)(A) of this Section, the
                    aggregate amount of the Commitment (which for this purpose includes Loans outstanding
                    thereunder) or, if the Commitment is not then in effect, the principal outstanding balance
                    of the Loans of the assigning Lender subject to each such assignment, determined as of the
                    date the Assignment and Assumption with respect to such assignment is delivered to the
                    Administrative Agent or, if “Trade Date” is specified in the Assignment and Assumption,
                    as of the Trade Date, shall not be less than $500,000, unless the Administrative Agent
                    otherwise consents; provided, however, that concurrent assignments to members of an
                    Assignee Group and concurrent assignments from members of an Assignee Group to a
                    single Eligible Assignee (or to an Eligible Assignee and members of its Assignee Group)
                    will be treated as a single assignment for purposes of determining whether such minimum
                    amount has been met;

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                 (ii)     Proportionate Amounts. Each partial assignment shall be made as an assignment
         of a proportionate part of all the assigning Lender’s rights and obligations under this Agreement
         with respect to the Loans or the Commitment assigned;

                  (iii)   Required Consents. No consent shall be required for any assignment except to the
         extent required by subsection (b)(i)(B) of this Section.

                  (iv)   Assignment and Assumption. The parties to each assignment shall execute and
         deliver to the Administrative Agent an Assignment and Assumption, together with a processing
         and recordation fee in the amount of $3,500 with respect to assignments to a Person that is not a
         Lender, an Affiliate of a Lender or an Approved Fund with respect to such Lender; provided,
         however, that the Administrative Agent may, in its sole discretion, elect to waive such processing
         and recordation fee in the case of any assignment. The assignee, if it is not a Lender, shall deliver
         to the Administrative Agent an Administrative Questionnaire.

                  (v)      No Assignment to Borrower. No such assignment shall be made to any Borrower,
         the Sponsor, any such Person’s respective Affiliates or Subsidiaries, or any other Person with a
         direct or indirect ownership interest in any Borrower.

                    (vi)   No Assignment to Natural Persons. No such assignment shall be made to a natural
         person.

 Subject to acceptance and recording thereof by the Administrative Agent pursuant to subsection (c) of this
 Section, from and after the effective date specified in each Assignment and Assumption, the assignee
 thereunder shall be a party to this Agreement and, to the extent of the interest assigned by such Assignment
 and Assumption, have the rights and obligations of a Lender under this Agreement, and the assigning
 Lender thereunder shall, to the extent of the interest assigned by such Assignment and Assumption, be
 released from its obligations under this Agreement (and, in the case of an Assignment and Assumption
 covering all of the assigning Lender’s rights and obligations under this Agreement, such Lender shall cease
 to be a party hereto) but shall continue to be entitled to the benefits of Sections 3.01, 3.03 and 11.04 with
 respect to facts and circumstances occurring prior to the effective date of such assignment. Upon request,
 the Borrowers (at their expense) shall execute and deliver a Note to the assignee Lender. Any assignment
 or transfer by a Lender of rights or obligations under this Agreement that does not comply with this
 subsection shall be treated for purposes of this Agreement as a sale by such Lender of a participation in
 such rights and obligations in accordance with Section 11.06(d).

          (c)     Register. The Administrative Agent, acting solely for this purpose as a non-fiduciary agent
 of the Borrowers, shall maintain at the Administrative Agent’s Office a copy of each Assignment and
 Assumption delivered to it and a register for the recordation of the names and addresses of the Lenders, and
 the Commitments of, and principal amounts of the Loans owing to, each Lender pursuant to the terms hereof
 from time to time (the “Register”). The entries in the Register shall be conclusive, and the Borrowers, the
 Administrative Agent and the Lenders may treat each Person whose name is recorded in the Register
 pursuant to the terms hereof as a Lender hereunder for all purposes of this Agreement, notwithstanding
 notice to the contrary. The Register shall be available for inspection by any Lender, at any reasonable time
 and from time to time upon reasonable prior notice.

         (d)     Participations. Any Lender may at any time, without the consent of, or notice to, any
 Borrower or the Administrative Agent, sell participations to any Person (other than a natural person or any
 Borrower or any of the Borrowers’ Affiliates) (each, a “Participant”) in all or a portion of such Lender’s
 rights and/or obligations under this Agreement (including all or a portion of its Commitment and/or the
 Loans; provided that (i) such Lender’s obligations under this Agreement shall remain unchanged, (ii) such

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 Lender shall remain solely responsible to the other parties hereto for the performance of such obligations
 and (iii) the Borrowers, the Administrative Agent, and the Lenders shall continue to deal solely and directly
 with such Lender in connection with such Lender’s rights and obligations under this Agreement. For the
 avoidance of doubt, each Lender shall be responsible for the indemnity under Section 3.01(c)(ii) with
 respect to any payments made by such Lender to its Participant(s)

          Any agreement or instrument pursuant to which a Lender sells such a participation shall provide
 that such Lender shall retain the sole right to enforce this Agreement and to approve any amendment,
 modification or waiver of any provision of this Agreement; provided that such agreement or instrument
 may provide that such Lender will not, without the consent of the Participant, agree to any amendment,
 waiver or other modification described in the first proviso to Section 11.01 that affects such Participant.
 Each Borrower agrees that each Participant shall be entitled to the benefits of Sections 3.01 and 3.02
 (subject to the requirements and limitations therein, including the requirements under Section 3.01(e) (it
 being understood that the documentation required under Section 3.01(e) shall be delivered to the
 participating Lender)) to the same extent as if it were a Lender and had acquired its interest by assignment
 pursuant to subsection (b) of this Section; provided that such Participant (A) agrees to be subject to the
 provisions of Section 3.06 as if it were an assignee under subsection (b) of this Section; and (B) shall not
 be entitled to receive any greater payment under Sections 3.01, with respect to any participation, than its
 participating Lender would have been entitled to receive, except to the extent such entitlement to receive a
 greater payment results from a Change in Law that occurs after the Participant acquired the applicable
 participation. To the extent permitted by law, each Participant also shall be entitled to the benefits of
 Section 11.08 as though it were a Lender; provided that such Participant agrees to be subject to Section
 2.11 as though it were a Lender.

          (e)     Participant Register. Each Lender that sells a participation shall, acting solely for this
 purpose as a non-fiduciary agent of the Borrowers, maintain a register on which it enters the name and
 address of each Participant and the principal amounts (and stated interest) of each Participant’s interest in
 the Loans or other obligations under the Loan Documents (the “Participant Register”); provided that no
 Lender shall have any obligation to disclose all or any portion of the Participant Register (including the
 identity of any Participant or any information relating to a Participant's interest in any commitments, loans
 or its other obligations under any Loan Document) to any Person except solely to the extent that such
 disclosure is necessary to establish that such commitment, loan, letter of credit or other obligation is in
 registered form under Section 5f.103-1(c) of the United States Treasury Regulations. The entries in the
 Participant Register shall be conclusive absent manifest error, and such Lender shall treat each Person
 whose name is recorded in the Participant Register as the owner of such participation for all purposes of
 this Agreement notwithstanding any notice to the contrary. For the avoidance of doubt, the Administrative
 Agent (in its capacity as Administrative Agent) shall have no responsibility for maintaining a Participant
 Register.

          (f)     Certain Pledges. Any Lender may at any time pledge or assign a security interest in all or
 any portion of its rights under this Agreement (including under its Note, if any) to secure obligations of
 such Lender, including any pledge or assignment to secure obligations to a Federal Reserve Bank; provided
 that no such pledge or assignment shall release such Lender from any of its obligations hereunder or
 substitute any such pledgee or assignee for such Lender as a party hereto.

          11.07 Treatment of Certain Information; Confidentiality. Each of Agent and the Lenders agrees
 to maintain the confidentiality of the Information (as defined below), except that Information may be
 disclosed (a) to its Affiliates and to its and its Affiliates’ respective partners, directors, officers, employees,
 agents, trustees, advisors and representatives (it being understood that the Persons to whom such disclosure
 is made will be informed of the confidential nature of such Information and instructed to keep such
 Information confidential), (b) to the extent requested by any regulatory authority purporting to have

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 jurisdiction over it (including any self-regulatory authority, such as the National Association of Insurance
 Commissioners), (c) to the extent required by applicable laws or regulations or by any subpoena or similar
 legal process including the Bankruptcy Court or in connection with the Cases, (d) to any other party hereto,
 (e) in connection with the exercise of any remedies hereunder or under any other Loan Document or any
 action or proceeding relating to this Agreement or any other Loan Document or any Swap Contract or the
 enforcement of rights hereunder or thereunder, (f) subject to an agreement containing provisions
 substantially the same as those of this Section, to (i) any assignee of or Participant in, or any prospective
 assignee of or Participant in, any of its rights or obligations under this Agreement or (ii) any actual or
 prospective counterparty (or its advisors) to any swap or derivative transaction relating to the Borrowers
 and their obligations, (g) with the consent of the Administrative Borrower or (h) to the extent such
 Information (i) becomes publicly available other than as a result of a breach of this Section or (ii) becomes
 available to either Agent, any Lender, or any of their respective Affiliates on a nonconfidential basis from
 a source other than a Borrower.

          For purposes of this Section, “Information” means all information received from any Borrower
 relating to any Borrower or their respective businesses, other than any such information that is available to
 the Administrative Agent, the Collateral Agent, or any Lender on a nonconfidential basis prior to disclosure
 by any Borrower, provided that, in the case of information received from a Borrower after the date hereof,
 such information is clearly identified at the time of delivery as confidential. Any Person required to
 maintain the confidentiality of Information as provided in this Section shall be considered to have complied
 with its obligation to do so if such Person has exercised the same degree of care to maintain the
 confidentiality of such Information as such Person would accord to its own confidential information.

          Each of the Administrative Agent, the Collateral Agent and the Lenders acknowledges that (a) the
 Information may include material non-public information concerning a Borrower, (b) it has developed
 compliance procedures regarding the use of material non-public information and (c) it will handle such
 material non-public information in accordance with applicable Law, including United States Federal and
 state securities Laws. The confidentiality requirements under this Section 11.07 shall expire one year after
 the Maturity Date.

          11.08 Right of Setoff. If an Event of Default shall have occurred and be continuing, each Lender
 and each of their respective Affiliates is hereby authorized at any time and from time to time, to the fullest
 extent permitted by applicable law and the Bankruptcy Court, to set off and apply any and all deposits
 (general or special, time or demand, provisional or final, in whatever currency) at any time held and other
 obligations (in whatever currency) at any time owing by such Lender or any such Affiliate to or for the
 credit or the account of any Borrower against any and all of the obligations of such Borrower now or
 hereafter existing under this Agreement or any other Loan Document to such Lender, irrespective of
 whether or not such Lender shall have made any demand under this Agreement or any other Loan Document
 and although such obligations of such Borrower may be contingent or unmatured or are owed to a branch
 or office of such Lender different from the branch or office holding such deposit or obligated on such
 indebtedness. The rights of each Lender and their respective Affiliates under this Section are in addition to
 other rights and remedies (including other rights of setoff) that such Lender or their respective Affiliates
 may have. Each Lender agrees to notify the Administrative Borrower and the Administrative Agent
 promptly after any such setoff and application, provided that the failure to give such notice shall not affect
 the validity of such setoff and application.

          11.09 Interest Rate Limitation. Notwithstanding anything to the contrary contained in any Loan
 Document, the interest paid or agreed to be paid under the Loan Documents shall not exceed the maximum
 rate of non-usurious interest permitted by applicable Law (the “Maximum Rate”). If the Administrative
 Agent or any Lender shall receive interest in an amount that exceeds the Maximum Rate, the excess interest
 shall be applied to the principal of the Loans or, if it exceeds such unpaid principal, refunded to the

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 Borrowers. In determining whether the interest contracted for, charged, or received by the Administrative
 Agent or a Lender exceeds the Maximum Rate, such Person may, to the extent permitted by applicable
 Law, (a) characterize any payment that is not principal as an expense, fee, or premium rather than interest,
 (b) exclude voluntary prepayments and the effects thereof, and (c) amortize, prorate, allocate, and spread
 in equal or unequal parts the total amount of interest throughout the contemplated term of the Obligations
 hereunder.

          11.10 Counterparts; Integration; Effectiveness. This Agreement may be executed in counterparts
 (and by different parties hereto in different counterparts), each of which shall constitute an original, but all
 of which when taken together shall constitute a single contract. This Agreement and the other Loan
 Documents constitute the entire contract among the parties relating to the subject matter hereof and
 supersede any and all previous agreements and understandings, oral or written, relating to the subject matter
 hereof. Except as provided in Section 4.01, this Agreement shall become effective when it shall have been
 executed by the Administrative Agent and when the Administrative Agent shall have received counterparts
 hereof that, when taken together, bear the signatures of each of the other parties hereto. Delivery of an
 executed counterpart of a signature page of this Agreement by telecopy or other electronic imaging means
 shall be effective as delivery of a manually executed counterpart of this Agreement.

         11.11 Survival of Representations and Warranties. All representations and warranties made
 hereunder and in any other Loan Document or other document delivered pursuant hereto or thereto or in
 connection herewith or therewith shall survive the execution and delivery hereof and thereof. Such
 representations and warranties have been or will be relied upon by the Administrative Agent and each
 Lender, regardless of any investigation made by the Administrative Agent or any Lender or on their behalf
 and notwithstanding that the Administrative Agent or any Lender may have had notice or knowledge of
 any Default at the time of any Credit Extension, and shall continue in full force and effect as long as any
 Loan or any other Obligation hereunder shall remain unpaid or unsatisfied.

          11.12 Severability. If any provision of this Agreement or the other Loan Documents is held to
 be illegal, invalid or unenforceable, (a) the legality, validity and enforceability of the remaining provisions
 of this Agreement and the other Loan Documents shall not be affected or impaired thereby and (b) the
 parties shall endeavor in good faith negotiations to replace the illegal, invalid or unenforceable provisions
 with valid provisions the economic effect of which comes as close as possible to that of the illegal, invalid
 or unenforceable provisions. The invalidity of a provision in a particular jurisdiction shall not invalidate or
 render unenforceable such provision in any other jurisdiction.

         11.13      [Reserved].

          11.14 No Strict Construction. The parties hereto have participated jointly in the negotiation and
 drafting of this Agreement and the other Loan Documents. In the event an ambiguity or question of intent
 or interpretation arises under any provision of this Agreement or any Loan Document, this Agreement or
 such other Loan Document shall be construed as if drafted jointly by the parties thereto, and no presumption
 or burden of proof shall arise favoring or disfavoring any party by virtue of the authorship of any of the
 provisions of this Agreement or any other Loan Document.

         11.15      Governing Law; Jurisdiction; Etc.

       (a)  GOVERNING LAW.     EXCEPT TO THE EXTENT GOVERNED BY THE
 BANKRUPTCY CODE, THE INTERNAL LAWS OF THE STATE OF NEW YORK SHALL GOVERN
 ALL MATTERS ARISING OUT OF, IN CONNECTION WITH OR RELATING TO THIS
 AGREEMENT AND THE OTHER LOAN DOCUMENTS, INCLUDING THE VALIDITY,
 INTERPRETATION, CONSTRUCTION, PERFORMANCE AND ENFORCEMENT THEREOF

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 (INCLUDING ANY CLAIMS SOUNDING IN CONTRACT OR TORT LAW ARISING OUT OF THE
 SUBJECT MATTER THEREOF AND ANY DETERMINATIONS WITH RESPECT TO POST-
 JUDGMENT INTEREST).

       (b)   SUBMISSION TO JURISDICTION. EACH BORROWER IRREVOCABLY AND
 UNCONDITIONALLY SUBMITS, FOR ITSELF AND ITS PROPERTY, TO THE EXCLUSIVE
 JURISDICTION OF THE BANKRUPTCY COURT, AND IF THE BANKRUPTCY COURT ABSTAINS
 FROM HEARING OR REFUSES TO EXERCISE JURISDICTION, TO THE EXCLUSIVE
 JURISDICTION OF THE COURTS OF THE STATE OF NEW YORK SITTING IN NEW YORK
 COUNTY AND OF THE UNITED STATES DISTRICT COURT OF THE SOUTHERN DISTRICT OF
 NEW YORK, AND ANY APPELLATE COURT FROM ANY THEREOF, IN ANY ACTION OR
 PROCEEDING ARISING OUT OF OR RELATING TO THIS AGREEMENT OR ANY OTHER LOAN
 DOCUMENT, OR FOR RECOGNITION OR ENFORCEMENT OF ANY JUDGMENT, AND EACH OF
 THE PARTIES HERETO IRREVOCABLY AND UNCONDITIONALLY AGREES THAT ALL
 CLAIMS IN RESPECT OF ANY SUCH ACTION OR PROCEEDING MAY BE HEARD AND
 DETERMINED IN SUCH BANKRUPTCY COURT OR NEW YORK STATE COURT OR, TO THE
 FULLEST EXTENT PERMITTED BY APPLICABLE LAW, IN SUCH FEDERAL COURT. EACH OF
 THE PARTIES HERETO AGREES THAT A FINAL JUDGMENT IN ANY SUCH ACTION OR
 PROCEEDING SHALL BE CONCLUSIVE AND MAY BE ENFORCED IN OTHER JURISDICTIONS
 BY SUIT ON THE JUDGMENT OR IN ANY OTHER MANNER PROVIDED BY LAW. NOTHING IN
 THIS AGREEMENT OR IN ANY OTHER LOAN DOCUMENT SHALL AFFECT ANY RIGHT THAT
 THE ADMINISTRATIVE AGENT, THE COLLATERAL AGENT OR ANY LENDER MAY
 OTHERWISE HAVE TO BRING ANY ACTION OR PROCEEDING RELATING TO THIS
 AGREEMENT OR ANY OTHER LOAN DOCUMENT AGAINST ANY BORROWER OR ITS
 PROPERTIES IN THE COURTS OF ANY JURISDICTION.

       (c)  WAIVER OF VENUE.         EACH BORROWER IRREVOCABLY AND
 UNCONDITIONALLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW,
 ANY OBJECTION THAT IT MAY NOW OR HEREAFTER HAVE TO THE LAYING OF VENUE OF
 ANY ACTION OR PROCEEDING ARISING OUT OF OR RELATING TO THIS AGREEMENT OR
 ANY OTHER LOAN DOCUMENT IN ANY COURT REFERRED TO IN SUBSECTION (B) OF THIS
 SECTION. EACH OF THE PARTIES HERETO HEREBY IRREVOCABLY WAIVES, TO THE
 FULLEST EXTENT PERMITTED BY APPLICABLE LAW, THE DEFENSE OF AN INCONVENIENT
 FORUM TO THE MAINTENANCE OF SUCH ACTION OR PROCEEDING IN ANY SUCH COURT.

       (d)  SERVICE OF PROCESS. EACH PARTY HERETO IRREVOCABLY CONSENTS TO
 SERVICE OF PROCESS IN THE MANNER PROVIDED FOR NOTICES IN SECTION 11.02.
 NOTHING IN THIS AGREEMENT WILL AFFECT THE RIGHT OF ANY PARTY HERETO TO
 SERVE PROCESS IN ANY OTHER MANNER PERMITTED BY APPLICABLE LAW.

       11.16 WAIVER OF JURY TRIAL. EACH PARTY HERETO HEREBY IRREVOCABLY
 WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY
 HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING DIRECTLY OR INDIRECTLY
 ARISING OUT OF OR RELATING TO THIS AGREEMENT OR ANY OTHER LOAN DOCUMENT
 OR THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY (WHETHER BASED ON
 CONTRACT, TORT OR ANY OTHER THEORY). EACH PARTY HERETO (A) CERTIFIES THAT
 NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PERSON HAS REPRESENTED,
 EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PERSON WOULD NOT, IN THE EVENT OF
 LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER AND (B) ACKNOWLEDGES THAT
 IT AND THE OTHER PARTIES HERETO HAVE BEEN INDUCED TO ENTER INTO THIS


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 AGREEMENT AND THE OTHER LOAN DOCUMENTS BY, AMONG OTHER THINGS, THE
 MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.

          11.17 No Advisory or Fiduciary Responsibility. In connection with all aspects of each
 transaction contemplated hereby (including in connection with any amendment, waiver or other
 modification hereof or of any other Loan Document), each Borrower acknowledges and agrees, and
 acknowledges its Affiliates’ understanding, that: (i) (A) the arranging and other services regarding this
 Agreement provided by the Administrative Agent are arm’s-length commercial transactions between the
 Borrowers and their Affiliates, on the one hand, and the Administrative Agent on the other hand, (B) each
 Borrower has consulted its own legal, accounting, regulatory and tax advisors to the extent it has deemed
 appropriate, and (C) each Borrower is capable of evaluating, and understands and accepts, the terms, risks
 and conditions of the transactions contemplated hereby and by the other Loan Documents; (ii) (A) the
 Administrative Agent and each Lender each is and has been acting solely as a principal and has not been,
 is not, and will not be acting as an advisor, agent or fiduciary for the Borrowers or any of their Affiliates,
 or any other Person and (B) neither the Administrative Agent, nor any of the Lenders has any obligation to
 the Borrowers or any of their Affiliates with respect to the transactions contemplated hereby except those
 obligations expressly set forth herein and in the other Loan Documents; and (iii) the Administrative Agent
 the Lenders and their respective Affiliates may be engaged in a broad range of transactions that involve
 interests that differ from those of the Borrowers and their Affiliates, and neither the Administrative Agent
 nor any of the Lenders has any obligation to disclose any of such interests to the Borrowers or any of their
 Affiliates. To the fullest extent permitted by law, the Borrowers hereby waive and release any claims that
 it may have against the Administrative Agent and the Lenders with respect to any breach or alleged breach
 of agency or fiduciary duty in connection with any aspect of any transaction contemplated hereby.

          11.18 Electronic Execution of Assignments and Certain Other Documents. The words
 “execution,” “signed,” “signature,” and words of like import in any Assignment and Assumption or in any
 amendment or other modification hereof (including waivers and consents) shall be deemed to include
 electronic signatures or the keeping of records in electronic form, each of which shall be of the same legal
 effect, validity or enforceability as a manually executed signature or the use of a paper-based recordkeeping
 system, as the case may be, to the extent and as provided for in any applicable law, including the Federal
 Electronic Signatures in Global and National Commerce Act, the New York State Electronic Signatures
 and Records Act, or any other similar state laws based on the Uniform Electronic Transactions Act.

          11.19 USA PATRIOT Act; Anti-Money Laundering Laws. The Administrative Agent and each
 Lender hereby notifies the Borrowers that pursuant to the requirements of the PATRIOT Act or any other
 Anti-Money Laundering Laws, each of them is required to obtain, verify and record information that
 identifies each Borrower, which information includes the name and address of each Borrower and other
 information that will allow the Administrative Agent and/or such Lender to identify each Borrower in
 accordance with the USA PATRIOT Act or such Anti-Money Laundering Laws.

         11.20 Acknowledgement and Consent to Bail-In of EEA Financial Institutions. Notwithstanding
 anything to the contrary in any Loan Document or in any other agreement, arrangement or understanding
 among any such parties, each party hereto acknowledges that any liability of any EEA Financial Institution
 arising under any Loan Document, to the extent such liability is unsecured, may be subject to the Write-
 Down and Conversion Powers of an EEA Resolution Authority and agrees and consents to, and
 acknowledges and agrees to be bound by:

         (a)     the application of any Write-Down and Conversion Powers by an EEA Resolution
 Authority to any such liabilities arising hereunder which may be payable to it by any party hereto that is an
 EEA Financial Institution; and


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         (b)        the effects of any Bail-in Action on any such liability, including, if applicable:

                    (i)     a reduction in full or in part or cancellation of any such liability;

                (ii)     a conversion of all, or a portion of, such liability into shares or other instruments
         of ownership in such EEA Financial Institution, its parent undertaking, or a bridge institution that
         may be issued to it or otherwise conferred on it, and that such shares or other instruments of
         ownership will be accepted by it in lieu of any rights with respect to any such liability under this
         Agreement or any other Loan Document; or

                (iii)  the variation of the terms of such liability in connection with the exercise of the
         Write-Down and Conversion Powers of any EEA Resolution Authority.

          11.21 Incorporation of DIP Orders by Reference. Each of the Borrowers, the Agents and the
 Lenders agrees that any reference contained herein to (i) the Interim DIP Order shall include all terms,
 conditions and provisions of such Interim DIP Order and that the Interim DIP Order is incorporated herein
 for all purposes, and (ii) the Final DIP Order shall include all terms, conditions and provisions of such Final
 DIP Order and that the Final DIP Order is incorporated herein for all purposes. To the extent there is any
 inconsistency between the terms of this Agreement and the terms of either the Interim DIP Order of the
 Final DIP Order, the terms of the Interim DIP Order and the Final DIP Order, as applicable, shall govern.

                                              ARTICLE XII
                                          SECURITY AGREEMENT


         12.01      Grant of Security Interest.

          (a)      Each Borrower hereby grants to the Collateral Agent, for the benefit of the Secured Parties,
 to secure the payment and performance in full of all of the Obligations, a Lien on and a security interest in
 and pledges and collaterally assigns to the Collateral Agent, for the benefit of the Secured Parties, all right,
 title and interest of such Borrower in all of its assets ad properties (real and personal), wherever located,
 whether now owned or hereafter acquired or arising, and all proceeds and products thereof, in each case
 subject to the DIP Orders (all of the same being hereinafter called the “Collateral”) including: (i) all goods
 (including inventory, equipment and any accessions thereto), instruments (including promissory notes), (ii)
 documents (including, if applicable, electronic documents) and accounts, (iii) chattel paper (whether
 tangible or electronic), (iv) deposit accounts. (v) letter-of-credit rights (whether or not the letter of credit is
 evidenced by a writing), (vi) actions brought under section 549 of the Bankruptcy Code, (vii) proceeds of
 avoidance actions, (viii) leases, (ix) commercial tort claims (including, without limitation, those set forth
 on Schedule 12.01(a) attached hereto), (x) securities accounts, securities and all other investment property,
 (xi) supporting obligations, (xii) any other contract rights or rights to the payment of money, receivables
 (including credit card receivables), (xiii) insurance claims, (xiv) all general intangibles (including all
 payment intangibles), (xv) money, cash and cash equivalents, (xvi) intellectual property, (xvii) software,
 books, records, ledger cards, files, correspondence, computer programs, tapes, disks, and related data
 processing software, (xviii) real property, (xix) proceeds of the Borrowers’ rights under sections 506(c) and
 550 of the Bankruptcy Code; (xx) all other personal, fixture and real property of every kind and nature and
 all to the extent not otherwise included, and (xxi) all accessions, proceeds and products of any and all of
 the foregoing.

          (b)     Notwithstanding anything to the contrary contained herein, as and to the extent provided
 in this Section 12.02, the Collateral shall not include, and the Lien of this Agreement shall not attach to, the
 following:

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                   (i)      any item of, tangible or intangible, property to the extent and only for so long as
         the creation, attachment or perfection of the security interest granted herein by any Borrower in its
         right, title and interest in such item of property is prohibited by applicable Law or is permitted only
         with the consent (that has not been obtained) of a Governmental Authority and such restriction,
         prohibition and/or requirement of consent is not rendered ineffective by applicable Law (including
         pursuant to sections 9-406, 9-407, 9-408 or 9-409 of the UCC);

                  (ii)     any property subject to a Lien permitted under Subsection 7.02(f) of this
         Agreement to the extent and only for so long as the applicable purchase money security agreement,
         Capital Lease or other applicable documentation contains a term that restricts, prohibits or requires
         a consent (that has not been obtained) of a Person (other than such Borrower or any other Borrower)
         to, the creation, attachment or perfection of the security interest granted herein and such restriction,
         prohibition and/or requirement of consent is not rendered ineffective by applicable Law (including
         pursuant to sections 9-406, 9-407, 9-408 or 9-409 of the UCC); and

                  (iii)   any lease, license, contract, property rights or agreement to which a Borrower is a
         party or any of such Borrower’s rights or interests thereunder, in any case if and for so long as and
         to the extent that the grant of such security interest or lien shall constitute or result in (a) the
         abandonment, invalidation or unenforceability of any material right, title or interest of such
         Borrower therein or (b) a breach or termination pursuant to the terms of, or a default under, any
         such lease, license, contract, property rights or agreement (other than, in the case of the above
         clauses (a) and (b), to the extent that any such abandonment, invalidation, unenforceability, breach,
         termination or default would be rendered ineffective pursuant to sections 9-406, 9-407, 9-408 or 9-
         409 of the UCC (or any successor provision or provisions) of any relevant jurisdiction or any other
         applicable law or principles of equity); provided, however, that to the extent Liens and consents to
         assignments are not permitted pursuant to the foregoing each Borrower hereby grants to the
         Collateral Agent for the benefit of the Secured Parties (A) consent rights with respect to the
         rejection of leases, (B) rights to select replacement lessees for rejected leases, and (C) rights to
         compel assumption and assignment (regardless of prior assumption) or the sale of leases upon an
         Event of Default.

 If at any time the creation, attachment or perfection of the security interest granted herein in any of property
 subject to clauses (b)(i) through clauses (b)(iii) of this Section 12.01(b) shall be permitted or consent in
 respect thereof shall have been obtained, then the applicable Borrower shall at such time be deemed to have
 granted a security interest in such property (and such security interest will attach immediately without any
 further action). Notwithstanding anything to the contrary set forth above, the rights to receive, and any
 interest in, all proceeds of, or monies or other consideration received or receivable from or attributable to
 the sale, transfer, assignment or other disposition of, any of the property subject to this Section 12.01(b) (to
 the extent a direct security interest in such property proceeds from the sale or disposition of such property
 shall not have already been granted) shall attach immediately and be subject to the security interest granted
 pursuant to Section 12.01.

         (c)     Subject to the Carve Out and subject to the scheme of priority set forth in the DIP Order,
 pursuant to Bankruptcy Code Section 364(c)(1) the Collateral Agent and the Secured Parties have been
 granted a superpriority administrative claim over any and all administrative claims of the type specified in
 Bankruptcy Code sections 503(b) and 507(b). As collateral for the Loans and security for the full and timely
 payment and performance of all Obligations when due (whether at stated maturity, by acceleration or
 otherwise), the Collateral Agent, for the benefit of the Secured Parties, is hereby granted (i) pursuant to
 section 364(c)(2) of the Bankruptcy Code, a perfected first priority Lien on the Collateral that is otherwise
 unencumbered as of the commencement of the Cases; (ii) pursuant to section 364(c)(3) of the Bankruptcy
 Code, a perfected Lien on all Collateral of the Secured Parties, junior only to (A) Permitted Prior Liens,

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 and (B) valid Liens in existence at the time of such commencement that are perfected subsequent to such
 commencement as permitted by section 546(b) of the Bankruptcy Code; and (iii) pursuant to section
 364(d)(1) of the Bankruptcy Code, a perfected senior priming Lien on all of the Borrowers’ Collateral that
 is subject only to the Carve Out.

          (d)     Pledged Equity. As security for the Obligations, each of the Borrowers pledges,
 hypothecates, assigns, transfers, sets over and delivers unto the Collateral Agent, its successors and assigns,
 for the benefit of the Lenders, and grants to the Collateral Agent, its successors and assigns, for the benefit
 of the Lenders, a continuing security interest in and to the following (hereinafter collectively called the
 “Pledged Equity”):

                  (i)       Subject to Section 12.01(b), all of the Equity Interests now held and hereafter
         acquired by such Borrower at any time, and any certificates representing such Equity Interests, all
         of the right, title and interest of such Borrower in, to and under its percentages interest, shares or
         units as an owner thereof, and all investment property in respect thereof, including, without
         limitation, such Borrower’s interests in (or allocations of) the profits, losses, income, gains,
         deductions, credits or similar items in respect of any Equity Interests now held or hereafter acquired
         by such Borrower, and the right to receive dividends or distributions in respect thereof, cash, other
         property, assets, and all options and warrants for the purchase of Equity Interests, all of such
         Borrower’s right, title and interest to receive payments of principal and interest on any loans and/or
         other extensions of credit made by such Borrower to any other Borrower, all of such Borrower’s
         voting rights, whether now existing or hereafter arising, whether arising under the terms of the other
         Organization Documents of each Person in which it holds or acquires any Equity Interests, at law
         or in equity, or otherwise and any and all of the proceeds thereof, and all distributions, cash,
         instruments, investment property and other property from time to time received, receivable or
         otherwise distributed in respect of, or in exchange for, any or all of the Pledged Equity;

                  (ii)    all other property hereafter delivered to the Collateral Agent by such Borrower in
         substitution for or in addition to any of the foregoing, all certificates and instruments representing
         or evidencing such other property and all cash, securities, interest, dividends, rights and other
         property at any time and from time to time received, receivable or otherwise distributed in respect
         of or in exchange for any or all thereof; and

                    (iii)   all products and proceeds of all of the foregoing.

         TO HAVE AND TO HOLD the Pledged Equity, together with all rights, titles, interests, privileges
 and preferences appertaining or incidental thereto, unto the Collateral Agent forever, subject, however, to
 the terms, covenants and conditions hereafter set forth.

          12.02 No Filings Required; Perfection of Security Interests; Priority. The Liens and security
 interests referred to herein shall be deemed valid and perfected by entry of the DIP Orders. The Collateral
 Agent shall not be required (but shall have the option and authority) to file any financing statements,
 mortgages, notices of Lien or similar instruments in any jurisdiction or filing office or to take any other
 action in order to validate or perfect the Lien and security interest granted by or pursuant to this Agreement,
 any other Loan Document or the DIP Orders. The DIP Liens in the Collateral will not be junior in priority
 to any Lien other than the Carve Out and the Permitted Prior Liens (to the extent, and only to the extent,
 set forth in the DIP Orders).




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         12.03      Certain Perfection Actions; Further Assurances.

         (a)       Notwithstanding the perfection of any security interest granted hereunder pursuant to the
 order of the Bankruptcy Court under the applicable DIP Order, each Borrower shall, as applicable, at such
 Person’s expense, perform all steps requested by the Agents or the Lenders to perfect, maintain, protect,
 and enforce the DIP Liens including, upon request by the Required Lenders, delivering to the Collateral
 Agent (who shall hold on behalf of the Lenders), the originals of all Pledged Debt, certificated investment
 property, instruments, documents and chattel paper and all other Collateral of which the Required Lenders
 determine that the Collateral Agent should have physical possession of in order to perfect and protect the
 security interest of the Secured Parties therein, duly pledged, endorsed or assigned to the Collateral Agent
 without restriction. To the fullest extent permitted by applicable law, the Collateral Agent may, and at the
 direction of the Required Lenders, shall, file (i) one or more financing statements disclosing the DIP Liens
 on the Collateral and (ii) a copy of the DIP Orders (including this Agreement attached thereto) in real
 property records, in each case disclosing the DIP Liens on the Collateral.

         (b)     To the extent any Borrower owns any investment property, such Borrower agrees as
 follows with respect to such investment property:

                  (i)    All cash dividends, cash distributions, and other cash or cash equivalents in respect
         of such investment property at any time payable or deliverable to such Borrower shall be deposited
         a Controlled Account; and

                 (ii)    Such Borrower will not acknowledge any transfer or encumbrance in respect of
         such investment property to or in favor of any Person other than the Collateral Agent or a Person
         designated by the Collateral Agent in writing.

         (c)     The Collateral Agent shall have the right, at any time, after the occurrence and during the
 continuance of an Event of Default, to transfer to or to register in the name of the Collateral Agent or its
 nominee any Equity Interest in any Project Company. In addition, the Collateral Agent shall have the right
 at any time to exchange certificates or instruments representing or evidencing Equity Interests of such
 Project Company for certificates or instruments of smaller or larger denominations.

         (d)      Subject to Section 12.03(a), each Borrower agrees, at its expense, to execute, acknowledge,
 deliver and cause to be duly filed all such further instruments and documents and take all such actions as
 the Collateral Agent or any Lender may from time to time reasonably request for the perfection and
 preserving of the security interests and the rights and remedies created hereby, including but not limited to,
 the execution and delivery of such additional conveyances, assignments, agreements, instruments and
 endorsements, the payment of any fees and taxes required in connection with the execution and delivery of
 this Agreement, the granting of the security interests created hereby and the execution, filing and
 recordation of any financing statements (including fixture filings or real property filings) or other
 documents as Collateral Agent may deem reasonably necessary or desirable for the perfection of the
 security interests granted hereunder.

         12.04      Powers of Attorney.

          (a)     Each Borrower hereby irrevocably appoints Collateral Agent (and any officer or agent of
 Collateral Agent), on behalf of and for the benefit of the Lenders, as its true and lawful proxy and attorney-
 in-fact, with power of substitution for and in the name of Collateral Agent or otherwise, which power of
 attorney shall be coupled with an interest, for the use and benefit of Administrative Agent to, effective upon
 the occurrence and during the continuance of an Event of Default and subject to the DIP Orders: (i) receive,
 endorse the name of such Borrower upon and deliver any notes, acceptances, checks, drafts, money orders

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 or other evidences of payment that may come into the possession of Collateral Agent with respect to the
 Collateral; (ii) cause such Borrower’s mail to be transferred to Collateral Agent’s own offices and to receive
 and open all mail addressed to such Borrower for the purposes of removing any such notes, acceptances,
 checks, drafts, money orders or other evidences of payment; (iii) demand, collect and receive payment in
 respect of the Collateral and to apply any such payments directly to the payment of the Obligations in
 accordance with this Agreement; (iv) receive and give discharges and releases of all or any of the Collateral;
 (v) commence and prosecute any and all suits, actions or proceedings at law or in equity in any court of
 competent jurisdiction, to collect or otherwise realize on all or any part of the Collateral or to enforce any
 rights in respect thereof; (vi) sign the name of such Borrower on any invoice or bill of lading relating to
 any of the Collateral; (vii) send verification of any accounts to any account debtor or customer; (viii) notify
 any account debtor or other obligor of such Borrower with respect to any Collateral to make payment to
 Administrative Agent; (ix) settle, compromise, compound, adjust or defend any actions, suits or
 proceedings relating or pertaining to all or any of the Collateral; (x) take any action for purposes of carrying
 out of the terms of this Agreement; (xi) enforce all of such Borrower’s rights and powers under and pursuant
 to any and all agreements with respect to the Collateral; (xii) to effectuate the transfer of the Pledged Equity
 on the books of the issuer thereof to the name of the Collateral Agent or to the name of the Collateral
 Agent’s nominee, designee or assignee; (xiii) to exercise all voting rights or any other ownership or
 consensual rights (including (x) the right to remove and appoint directors and officers or the equivalent
 thereof and (y) dividend and distribution rights ) and to exercise all rights, powers and privileges and
 remedies which any holder of any of the Pledged Equity would be entitled including giving or withholding
 consents of members, calling and attending special or regularly scheduled meeting of members and voting
 at such meetings and (xiv) generally, to sell, assign, transfer, pledge, make any agreement with respect to
 or otherwise deal with all or any of the Collateral, and to do all other acts and things necessary to carry out
 this Agreement, as fully and completely as though Collateral Agent were the absolute owner of the
 Collateral for all purposes; provided, however, nothing herein contained shall be construed as requiring or
 obligating Collateral Agent to make any commitment or to make any inquiry as to the nature or sufficiency
 of any payment received by Collateral Agent, or to present or file any claim or notice, or to take any action
 with respect to the Collateral or any part thereof or the moneys due or to become due in respect thereof or
 any property covered thereby, and no action taken by Collateral Agent or omitted to be taken with respect
 to the Collateral or any part thereof shall give rise to any defense, counterclaim or offset in favor of such
 Borrower or to any claim or action against Collateral Agent. It is understood and agreed that the power of
 attorney granted to Collateral Agent for the purposes set forth above in this Section 12.04 is coupled with
 an interest and is irrevocable and shall be effective automatically without any action or notice upon an
 Event of Default. Such appointment as proxy and attorney-in-fact shall be valid and irrevocable
 notwithstanding any limitations to the contrary set forth in the organizational documents of any Borrower
 or any issuer of the Pledged Equity. All prior proxies given by any Borrower with respect to any of the
 Pledged Equity (other than to the Collateral Agent), are hereby revoked, and no subsequent proxies (other
 than to the Collateral Agent) will be given with respect to any of the Pledged Equity, unless the
 Administrative Agent at the direction of the Required Lenders otherwise subsequently agrees in writing.
 To the fullest extent permitted by applicable law, the Collateral Agent shall have no agency, fiduciary, or
 other implied duties to any Borrower or any other Person when acting in its capacity as such proxy or
 attorney-in-fact. Each Borrower hereby waives and releases to the fullest extent permitted by applicable
 law any claims that it may otherwise have against the Collateral Agent or any other Secured Party with
 respect to any breach or alleged breach of any such agency, fiduciary, or other duty. Each Borrower hereby
 ratifies and approves all acts of such attorney-in-fact made in accordance with this Agreement and agrees
 that such attorney-in-fact will not be liable for any such acts, omissions, errors of judgment or mistakes of
 law or fact other than by such Person’s gross negligence or willful misconduct. The provisions of this
 Section 12.04 shall in no event relieve any Borrower of any of its obligations hereunder with respect to the
 Collateral or any part thereof or impose any obligation on Collateral e Agent to proceed in any particular
 manner with respect to the Collateral or any part thereof, or in any way limit the exercise by Collateral


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 Agent of any other or further right which it may have on the date of this Agreement or hereafter, whether
 hereunder, by law or otherwise.

         (b)       Beyond the duty of Collateral Agent to exercise reasonable care in the custody of any
 Collateral in its possession, Collateral Agent shall not, under any circumstance or in any event whatsoever,
 have any liability for any part of the Collateral, nor shall Collateral Agent have any liability for any error
 or omission or delivery of any kind incurred in the good faith settlement, collection or payment of any of
 the Collateral or any monies received in payment therefor or for any damages resulting therefrom, nor shall
 this Agreement impose upon Collateral Agent any obligation to perform any obligation with respect to the
 Collateral. The costs of collection, notification and enforcement, including but not limited to, reasonable
 attorneys’ fees and reasonable out-of-pocket expenses, shall be borne by the Borrowers, whether the same
 are incurred by a Lender or Collateral Agent.

         12.05 Certain Waivers; Borrowers Not Discharged. Each Borrower expressly and irrevocably
 waives (to the extent permitted by applicable law) presentment, demand of payment and protest of
 nonpayment in respect of its Obligations under this Agreement. The obligations and duties of each
 Borrower hereunder are irrevocable, absolute, and unconditional and shall not be discharged, impaired or
 otherwise affected by (a) the failure of either Agent to assert any claim or demand or to enforce any right
 or remedy against any Borrower or any grantee under the provisions of this Agreement or any waiver,
 consent, extension, indulgence or other action or inaction in respect thereof, (b) any extension or renewal
 of any part of the Obligations, (c) any rescission, waiver, amendment or modification of any of the terms
 or provisions of any agreement related to this Agreement, (d) the release of any liens on or security interests
 in any part of the Collateral or the release, sale or exchange of or failure to foreclose against any security
 held by or for the benefit of Collateral Agent for payment or performance of the Obligations, (e) the
 bankruptcy, insolvency or reorganization of any Borrower or any grantee or any other Persons, (f) any
 change, restructuring or termination of the organization structure or existence of any Borrower or any
 grantee or any restructuring or refinancing of all or any portion of the Obligations, or (g) any other event
 that under law would discharge the obligations of a surety other than payment and satisfaction in full of all
 Obligations.

          12.06 Adequate Protection. The Prepetition Secured Parties have been granted adequate
 protection in accordance with the DIP Orders to the extent of any diminution in the value of the Collateral
 as of the Petition Date, including but not limited to any diminution in value resulting from (i) the use, sale
 or lease of Collateral pursuant to Bankruptcy Code section 363(c) or (ii) the imposition of the automatic
 stay pursuant to Bankruptcy Code section 362(a), in the form of Adequate Protection Liens, the Adequate
 Protection Superpriority Claim and Adequate Protection Fees and Expenses.

                    [Remainder of Page Intentionally Left Blank; Signature Pages Follow.]




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                  IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
 executed as of the date first above written.

                                                              AGILON ENERGY HOLDINGS II, LLC



                                                              By:
                                                                    Name:
                                                                    Title:

                                                              VICTORIA PORT POWER, LLC



                                                              By:
                                                                    Name:
                                                                    Title:

                                                              VICTORIA CITY POWER LLC



                                                              By:
                                                                    Name:
                                                                    Title:




DB1/ 123296677.18   [Agilon – Signature Page to Senior Secured Superpriority Debtor-in-Possession Credit Agreement]
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                                                                    THE PRUDENTIAL INSURANCE COMPANY
                                                                    OF AMERICA, as Administrative Agent


                                                              By:
                                                                    Name:
                                                                    Title:




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                                                                    WILMINGTON TRUST, NATIONAL
                                                                    ASSOCIATION, as Collateral Agent



                                                              By:
                                                                    Name:
                                                                    Title:




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                                                              ______________________________________,
                                                              as a Lender



                                                              By:
                                                                    Name:
                                                                    Title:




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                                   SCHEDULES




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                                                 Schedule 1
                                       Acceptable Sale Provisions
 The Sale Process shall incorporate the following Acceptable Sale Provisions:

  1. The Sale Process may be a public auction or a private sale process;

  2. The Borrowers shall, as soon as reasonably practicable, upon any information becoming available to
     the Borrowers, provide the Prepetition Agent and the Administrative Agent with: (a) (i) copies of any
     informational packages provided to potential bidders; (ii) any draft order pertaining to the Auction,
     (iii) any draft and final agency or sale agreements; (iv) the proposed deadlines established as to receipt
     of bids and other customary dates related to the Auction; (iv) copies of any indications of interest in
     acquiring or bids submitted to acquire any of the Borrowers’ assets; (v) access to any dataroom
     compiled in respect of the Auction; and, (b) upon request of the Prepetition Agent or the Administrative
     Agent, (i) a status report and updated information relating to such motions and copies of any bids
     received from any proposed bidder for all or any portion of the Borrowers’ assets and (ii) any updates,
     modifications or supplements to such information and materials. Notwithstanding the foregoing, in the
     event the Prepetition Agent and/or the Administrative Agent submits an indication of interest or bid
     for any of the Debtors’ assets, the Debtors shall only be required to provide such information as is
     provided to other interested parties or bidders, consistent with the order approving bidding procedures;

  3.    The Sale Process will require that any bid (other than a Credit Bid as defined below) contain a cash
       component or other form of consideration acceptable to the Required Lenders, in their sole discretion,
       sufficient to repay all amounts outstanding under the Facility;

  4. The right of the Prepetition Agent (on behalf of the Prepetition Noteholders) (subject to the Challenge
     Period (as defined in the Interim DIP Order) and, at their option, the Administrative Agent (on behalf
     of the Lenders), to credit bid, whether as the stalking horse or otherwise (the “Credit Bid”), up to the
     full amount of their claims under the Prepetition Senior Secured Note Documents and the Facility,
     respectively, on terms and conditions satisfactory to (i) the Prepetition Agent with respect to a Credit
     Bid by the Prepetition Noteholders and (ii) each Lender with respect to a Credit Bid by the
     Administrative Agent on behalf of the Lenders, shall be fully preserved in all circumstances; and

  5. Stalking horse bid protections acceptable to the Prepetition Noteholders.




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                                            SCHEDULE 2

                                             EASEMENTS

Part I - Victoria Port Power LLC

   1. Water Line Easement (Blanket) dated February 23, 2018 from Victoria County Navigation
      District in favor of Victoria Bloomington, LLC and Victoria Port Power LLC.

   2. Wastewater discharge casements from Victoria County Navigation District in favor of Victoria
      Bloomington, LLC and Victoria Port Power LLC as described in Victoria Port Master Lease.

   3. Electric High Voltage Line Easement from Victoria County Navigation District in favor of
      Victoria Port Power LLC.

   4. Metering Station Easement Agreement (with access easement) from Victoria County Navigation
      District in favor of Tennessee Gas Pipeline Co. affecting the Victoria Port Site.


Part II - Victoria City Power LLC

   1. Access Easement elated February 23, 2018 from Victoria Willow, LLC in favor of Victoria City
      Power LLC.

   2. Groundwater & Wastewater Discharge Easement from Victoria Willow, LLC in favor of Victoria
      City Power LLC.

   3. Easement from the City of Victoria, Texas along E. Wharf Street, Willow Street and Bottom
      Street in the City of Victoria, Texas in favor of Victoria Willow, LLC and Victoria City Power
      LLC to run high-voltage cables to connect the Victoria City Site to the ERCOT grid at the
      existing AEP Victoria Substation.

   4. Easement from the City of Victoria, Texas along E. Wharf Street, Willow Street and Bottom
      Street in the City of Victoria, Texas in favor of Victoria Willow, LLC and Victoria City Power
      LLC to run natural gas supply piping to connect to existing various natural gas metering stations
      situated adjacent to the above-mentioned streets.

   5. First Amendment to Easements and Rights of Way between Victoria Willow, LLC and AEP-
      related entity for purposes of locating with specificity four existing blanket casements in favor of
      AEP-related entities affecting the Victoria City Site.

   6. Metering Station Easement Agreement (with access casement) from Victoria Willow, LLC in
      favor of Kinder Morgan affecting the Victoria City Site.
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                                  SCHEDULE 2.01

            COMMITMENTS AND APPLICABLE PERCENTAGES
                                           Facility                   Applicable
                                         Commitment                   Percentage
         Lender               New Money            Roll-Up Loans
                                Facility
  The Prudential Insurance   $9,332,622.38          $9,332,622.38    62.2174825%
    Company of America
     Prudential Legacy       $3,093,146.85        $3,093,146.85      20.6209790%
Insurance Company of New
           Jersey
   Prudential Retirement     $2,574.230.77        $2,574.230.77      17.1615385%
   Insurance and Annuity
         Company
           Total             $15,000,000.00       $15,000,000.00    100.000000000%
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                                SCHEDULE 5.03

                          REQUIRED APPROVALS

                   Permit/Approval            Responsible Agency

           Federal

           Exempt Wholesale Generator FERC
           Certificate

           Spill Prevention Control and EPA
           Countermeasures Plan

           State

           EGU Standard Air Permit          TCEQ

           General Construction Storm       TCEQ
           Water Discharge Permit

           Wastewater Discharge             TCEQ
           Authorization

           Acid Rain Permit                 TCEQ

           Title V Operating Permit         TCEQ

           Groundwater Permit               Victoria County
                                            Groundwater
                                            Conservation District
                                            (VCGCD)

           Permits-By-Rule (“PBR”) for      TCEQ
           the following emissions:
                  Soldering, Welding
                   (PBR 106.227)
                  Hand-held and
                   Manually-operated
                   machines (PBR
                   106.265)
                  MSS emissions (PBR
                   106.263 or de minimis
                   by 30 TAC 116.119)
                  Fuel and oil transfers
                   (PBR 106.472)
                  Diesel black start
                   generator (PBR
                   106.511)
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                 Wastewater treatment
                  (PBR 106.532)
           Industrial Waste Generation    TCEQ

           Aboveground Storage Tanks      TCEQ
           Power Generation Company PUCT
           Registration

           Standard           Generation ERCOT
           Interconnection    Agreement
           (SGIA)

           Resource Entity Registration   ERCOT

           Resource Asset Registration ERCOT
           Form (RARF)

           Qualified Scheduling Entity ERCOT
           (QSE) Registration

           Standard     Form     Market ERCOT
           Participant Agreement

           Entity Registration Form       TRE
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                                            SCHEDULE 5.06



Ref
    Case Name                                 Case Number     Court Name
No.
1   AEROVENT vs. VICTORIA CITY                202123556       Harris County District Court
    POWER LLC
2   Bay Ltd. vs. Castleman Power              21-06-87378-B   Victoria County District Court
    Development, LLC, et al

3    CASTLEMAN POWER                          201990427       Harris County District Court
     DEVELOPMENT LLC vs. FLUOR
     ENTERPRISES INC
4    CORMETECH INC vs. CASTLEMAN              202036547       Harris County District Court
     POWER DEVELOPMENT LLC

5    Fluor Enterprises Inc vs. Castleman      20-01-85391-C   Victoria County District Court
     Power Development, LLC, et al

6    NEXUS CONTROLS LLC VS.                   202102094       Harris County District Court
     VICTORIA PORT POWER LLC

7    ProEnergy Services, LLC vs. Victoria     19-09-85036-D   Victoria County District Court
     Port Power, LLC, et al

8    SOUTHWEST ENERGY L P vs.                 202139515       Harris County District Court
     VICTORIA CITY POWER LLC

9    TURNER, RANDY vs. NRG TEXAS              202124797       Harris County District Court
     POWER
10   Ultimate Industrial Group LLC vs.        21-04-87062-B   Victoria County District Court
     Castleman Power Development LLC, et
     al
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                               SCHEDULE 5.08(b)

                                      LIENS

   Ref                                           Amount        Property listed in
           Borrower        Lien Claimant
   No.                                           Asserted             Claim
    1    Agilon Energy   The Prudential       $24,136,694.00 All real and personal
         Holdings II,    Insurance Company                   property of the Issuer
         LLC             of America                          and each Project
                                                             Company and all
                                                             equity interest in the
                                                             Issuer and each Project
                                                             Company

    2    Agilon Energy   The Prudential       $12,853,337.00 All real and personal
         Holdings II,    Insurance Company                   property of the Issuer
         LLC             of America                          and each Project
                                                             Company and all
                                                             equity interest in the
                                                             Issuer and each Project
                                                             Company

    3    Agilon Energy   Prudential Legacy    $16,563,330.00 All real and personal
         Holdings II,    Insurance Company                   property of the Issuer
         LLC             of New Jersey                       and each Project
                                                             Company and all
                                                             equity interest in the
                                                             Issuer and each Project
                                                             Company

    4    Agilon Energy   Prudential           $13,784,613.00 All real and personal
         Holdings II,    Retirement                          property of the Issuer
         LLC             Insurance and                       and each Project
                         Annuity Company                     Company and all
                                                             equity interest in the
                                                             Issuer and each Project
                                                             Company

    5    Victoria City   Allied Fire               $4,769.50 Fire sprinkler system
         Power LLC       Protection, LP

    6    Victoria City   American               $301,162.60 Real property and
         Power LLC       Moistening                         improvements
                         Company
    7    Victoria City   ProEnergy Services    $7,000,000.00 Real property and
         Power LLC       LLC                                 improvements

    8    Victoria City   Prudential Legacy    $16,563,330.00 All real and personal
         Power LLC       Insurance Company                   property of the Issuer
                         of New Jersey                       and each Project
                                                             Company and all
                                                             equity interest in the
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                                                               Issuer and each Project
                                                               Company

    9    Victoria City   Prudential            $13,784,613.00 All real and personal
         Power LLC       Retirement                           property of the Issuer
                         Insurance and                        and each Project
                         Annuity Company                      Company and all
                                                              equity interest in the
                                                              Issuer and each Project
                                                              Company
   10    Victoria City   The Prudential        $24,136,694.00 All real and personal
         Power LLC       Insurance Company                    property of the Issuer
                         of America                           and each Project
                                                              Company and all
                                                              equity interest in the
                                                              Issuer and each Project
                                                              Company
   11    Victoria City   The Prudential        $12,853,337.00 All real and personal
         Power LLC       Insurance Company                    property of the Issuer
                         of America                           and each Project
                                                              Company and all
                                                              equity interest in the
                                                              Issuer and each Project
                                                              Company
   12    Victoria City   The Ultimate            $201,918.03 Real property and
         Power LLC       Industrial Group                    improvements thereon
                                                             at Victoria County
                                                             property
   13    Victoria Port   Bay Ltd                 $640,422.43 Real property and
         Power LLC                                           improvements

   14    Victoria Port   Byron Albers; Fluor     $823,798.78 Real property and
         Power LLC       Enterprises Inc.                    improvements

   15    Victoria Port   McHale                    $29,370.07 Real property and
         Power LLC       Performance                          improvements

   16    Victoria Port   ProEnergy Services     $7,000,000.00 Real property and
         Power LLC       LLC                                  improvements

   17    Victoria Port   Prudential Legacy     $16,563,330.00 All real and personal
         Power LLC       Insurance Company                    property of the Issuer
                         of New Jersey                        and each Project
                                                              Company and all
                                                              equity interest in the
                                                              Issuer and each Project
                                                              Company
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   18    Victoria Port   The Prudential      $24,136,694.00 All real and personal
         Power LLC       Insurance Company                  property of the Issuer
                         of America                         and each Project
                                                            Company and all
                                                            equity interest in the
                                                            Issuer and each Project
                                                            Company

   19    Victoria Port   Saber Power           $406,945.00 Real property and
         Power LLC       Services, LLC                     improvements

   20    Victoria Port   Prudential          $13,784,613.00 All real and personal
         Power LLC       Retirement                         property of the Issuer
                         Insurance and                      and each Project
                         Annuity Company                    Company and all
                                                            equity interest in the
                                                            Issuer and each Project
                                                            Company
   21    Victoria Port   The Prudential      $12,853,337.00 All real and personal
         Power LLC       Insurance Company                  property of the Issuer
                         of America                         and each Project
                                                            Company and all
                                                            equity interest in the
                                                            Issuer and each Project
                                                            Company
   22    Victoria Port   The Ultimate          $201,918.03 Real property and
         Power LLC       Industrial Group                  improvements thereon
                                                           at Victoria County
                                                           property
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                                   SCHEDULE 5.08(c)

                                          LEASES

Ref
       Borrwer                   Lessor                     Property Location
No.
 1     Victoria City Power LLC   Victoria Willow LLC        1301 Willow St.
                                                            Victoria, TX 77901
 2     Victoria Port Power LLC   Victoria Bloomington LLC   2100 Old Bloomington Rd.
                                 (Sublessor)                Victoria, TX 77905,
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                                        SCHEDULE 5.08(g)

                                         INVESTMENTS

Ref
       Borrower                              Investment                Ownership
No.
 1     Agilon Energy Holdings II, LLC        Victoria City Power LLC   100%

 2     Agilon Energy Holdings II, LLC        Victoria Port Power LLC   100%
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                                      SCHEDULE 5.11

                                           TAXES

Ref
       Borrower                  Taxing Entity            Basis for Claim       Amount
No.
 1     Victoria City Power LLC   Victoria County, Texas   2020 Property Taxes       $669,365.78

 2     Victoria Port Power LLC   Victoria County, Texas   2020 Property Taxes       $438,655.92
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                                       SCHEDULE 5.12(a)

           ORGANIZATION AND OWNERSHIP OF INTERESTS IN BORROWER

Ref
      Entity                                  Owner                        Ownership
No.
 1    Agilon Energy II LLC                    Castleman Power              18.3% Class A
                                              Development LLC              Common Units
 2    Agilon Energy II LLC                    Castleman Power Investment   81.7% Class A
                                              II LLC                       Common Units
 3    Agilon Energy II LLC                    Castleman Power              100% Class B
                                              Development LLC              Common Units
 4    Agilon Energy II LLC                    Prudential Capital Energy    100% Class C
                                              Partners, L.P.               Common Units
 5    Agilon Energy Holdings II, LLC          Agilon Energy II LLC         100%
 6    Victoria City Power LLC                 Agilon Energy Holdings II,   100%
                                              LLC
 7    Victoria Port Power                     Agilon Energy Holdings II,   100%
                                              LLC


                                          OFFICERS

Ref
      Borrower                                Name                         Position
No.
 1    Agilon Energy Holdings II, LLC          Hugh Smith                   Sole Manager
 2    Victoria City Power LLC                 Hugh Smith                   Sole Manager
 3    Victoria Port Power LLC                 Hugh Smith                   Sole Manager
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                                       SCHEDULE 5.12(b)

                                        BORROWERS

Ref
      Debtor                            Jurisdiction   Address                     US Taxpayer ID
No.
 1    Agilon Energy Holdings II, LLC    Texas          480 Wildwood Forest Drive   XX-XXXXXXX
                                                       Suite 475
                                                       Spring, Texas 77380

 2    Victoria City Power LLC           Texas          480 Wildwood Forest Drive   XX-XXXXXXX
                                                       Suite 475
                                                       Spring, Texas 77380

 3    Victoria Port Power LLC           Texas          480 Wildwood Forest Drive   XX-XXXXXXX
                                                       Suite 475
                                                       Spring, Texas 77380
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                                                    SCHEDULE 5.21

                                     MATERIAL PROJECT DOCUMENTS

    Ref
        Borrower                              Agreement With                     Agreement Name
    No.
     1                                        Castleman Power                    Asset Management Agreement 1
        N/A                                   Development, LLC and
                                              Agilon Energy II, LLC

    2    Victoria City Power LLC              AEP Texas Inc.                     ERCOT Standard Generation
                                                                                 Interconnection Agreement

    3    Victoria City Power LLC              Kinder Morgan Tejas                Facilities Agreement
                                              Pipeline LLC

    4    Victoria City Power LLC              NAES Corporation                   O&M Services Agreement


    5    Victoria City Power LLC              Shell Energy North America         Master Power Purchase and Sale
                                              (US), L.P.                         Agreement

    6    Victoria City Power LLC              Shell Energy North America         Energy Marketing & QSE Services
                                              (US), L.P.                         Agreement

    7    Victoria City Power LLC              Shell Energy North America         Mutual Netting/Closeout Agreement
                                              (US), L.P.

    8    Victoria City Power LLC              Southwest Energy, LP               Fuel Management Services Agreement


    9    Victoria City Power LLC              Southwest Energy, LP               Base Contract for Sale and Purchase of
                                                                                 Natural Gas

    10   Victoria City Power LLC              Victoria Midstream LLC             Pipeline Construction, Operation and
                                                                                 Gas Transportation Agreement

    11   Victoria City Power LLC              Victoria Willow, LLC               Ground Lease Agreement


    12   Victoria Port Power LLC              AEP Texas Inc.                     ERCOT Standard Generation
                                                                                 Interconnection Agreement

    13   Victoria Port Power LLC              NAES Corporation                   O&M Services Agreement


    14   Victoria Port Power LLC              Shell Energy North America         Master Power Purchase and Sale
                                              (US), L.P.                         Agreement



1
  The inclusion of this agreement on this Schedule 5.21 does not constitute an admission that such agreement is in effect or
that the Borrowers are currently obligated to perform under this agreement in any way, including but not limited to the
payment of postpetition management fees.
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15   Victoria Port Power LLC      Shell Energy North America    Energy Marketing & QSE Services
                                  (US), L.P.                    Agreement


16   Victoria Port Power LLC      Shell Energy North America    Mutual Netting/Closeout Agreement
                                  (US), L.P.

17   Victoria Port Power LLC      Southwest Energy, LP          Fuel Management Services Agreement


18   Victoria Port Power LLC      Southwest Energy, LP          Base Contract for Sale and Purchase of
                                                                Natural Gas

19   Victoria Port Power LLC      Tennessee Gas Pipeline        Balancing Agreement
                                  Company, L.L.C.

20   Victoria Port Power LLC      Victoria Bloomington, LLC     Sublease Agreement


21   Victoria Port Power LLC      Victoria Midstream LLC        Pipeline Construction, Operation and
                                                                Gas Transportation Agreement

22   Victoria Port Power LLC      Victoria Port Power II, LLC   Co-Tenancy and Common Facilities
                                                                Agreement (Electricity)

23   Victoria Port Power LLC      Victoria Port Power II, LLC   Co-Tenancy and Common Facilities
                                                                Agreement (Gas)

24   Victoria Port Power LLC      Victoria Port Power II, LLC   Co-Tenancy and Common Facilities
                                                                Agreement (Water)

25   Agilon Energy Holdings II,   Tateswood Energy              Asset Management Agreement
     LLC                          Company, LLC

26   Agilon Energy Holdings II,   Hugh Smith Advisors, LLC      Consulting Agreement
     LLC

27   Victoria City Power LLC      Shell Energy North America    Energy Marketing & QSE Services
                                  (US), L.P.                    Agreement

28   Victoria City Power LLC      Shell Energy North America    Base Contract for Sale and Purchase of
                                  (US), L.P.                    Natural Gas

29   Victoria City Power LLC      Shell Energy North America    Transaction Confirmation
                                  (US), L.P.

30   Victoria City Power LLC      Shell Energy North America    Mutual Netting/Closeout Agreement
                                  (US), L.P.

31   Victoria Port Power LLC      Shell Energy North America    Energy Marketing & QSE Services
                                  (US), L.P.                    Agreement
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32   Victoria Port Power LLC   Shell Energy North America   Base Contract for Sale and Purchase of
                               (US), L.P.                   Natural Gas

33   Victoria Port Power LLC   Shell Energy North America   Transaction Confirmation
                               (US), L.P.

34   Victoria Port Power LLC   Shell Energy North America   Mutual Netting/Closeout Agreement
                               (US), L.P.
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                                       SCHEDULE 5.22

                                       BANK ACCOUNTS

Ref   Borrower                          Financial Institution   Account     Location
No.                                                             Number
 1    Agilon Energy Holdings II, LLC    Allegiance Bank         x4226       United States


 2    Agilon Energy Holdings II, LLC    Allegiance Bank         x4234       United States


 3    Victoria City Power               Allegiance Bank         x4291       United States


 4    Victoria City Power               Wilmington Trust        x7541-006   United States


 5    Victoria Port Power               Allegiance Bank         x4325       United States


 6    Victoria Port Power               Wilmington Trust        x7541-007   United States
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                                   SCHEDULE 6.02(h)

                          FORM OF MONTHLY OPERATING REPORT

                                   Monthly Operations
                                    Report for [date]
Highlights:

[To be completed]

1. Safety Performance & Process

[To be completed]

2. Environmental & Regulatory Compliance



                                                               12 Month
                                  Current       12 Month        Rolling      Total
                                  Month        Rolling Total    Permit    % of Permit
         VOC Tons (calculated)


         CO Tons (calculated)


          NOx Tons (actual)


        SO2 Tons (calculated)


               Diesel Usage
              Usage (Gallons)




                                      Schedule 6.02(h) - 1
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3. Operational Highlights

[To be completed]

    Operating Hours =

    Monthly Equivalent Starts =
4. Maintenance Highlights

[To be completed]

5. Inventory / Spare Parts

[To be completed]

6. Capital Projects

[To be completed]

7. Corporate & Technical Support:

[To be completed]

8. Personnel & Training:

[To be completed]

9. Monthly Statistics:
                                        Monthly Actual     Petition Date to Date
                                                                   Actual
 Energy (MWh)
 Gas Consumption
 Net Plant Heat Rate (BTU/KWh)
 Fired Hours
 Requested Starts
 Actual Starts




                                    Schedule 6.02(h) - 2
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                                           SCHEDULE 6.07

                                             INSURANCE

         Section 1.1 General Requirements. The Borrowers shall, without cost to the Secured
 Parties, maintain or cause to be maintained on its behalf in effect at all times on and after the
 Closing Date the types of insurance required by the following provisions together with any other
 types of insurance required hereunder or pursuant to the Material Project Documents with respect
 to each Project, in such form reasonably acceptable to the Required Lenders, with insurance
 companies rated “A-” or better, with a minimum size rating of “VIII” by Best’s Insurance Guide
 and Key Ratings (or an equivalent rating by another nationally recognized insurance rating agency
 of similar standing if Best’s Insurance Guide and Key Ratings shall no longer be published) or
 other companies reasonably satisfactory to the Required Lenders and the Borrowers, until all
 Obligations have been paid in full and fully discharged, other than contingent indemnification and
 reimbursement obligations for which no claim has been asserted.

                 (a)     All-Risk Property / Machinery Breakdown. “All-Risk property,” as such
 term is used in the insurance industry, in an amount of not less than the replacement cost value of
 the Projects, including coverage for mechanical and electrical breakdown plus resulting or ensuing
 damage and the perils of flood, earthquake, windstorm (named or unnamed), hail, lightning, riot
 and civil commotion, theft, vandalism and malicious mischief, subject to terms that are consistent
 with current industry practice, insuring all real and personal property of the Borrowers whether at
 a fixed (including non-owned location for off-Site repair or refurbishment), off-Site storage or a
 warehouse location or while in the course of inland transit, for an amount of not less than the full
 replacement cost value of such property and equipment at each location, or as set forth in the
 sublimits below or such other amount as agreed by the Required Lenders and that is sufficient to
 comply with the insurance requirements, if any, of all Material Project Documents. All
 responsibility for verification of compliance with the Material Project Documents shall rest solely
 with the Borrowers.

                   Sublimits are permitted with respect to the following perils:

                         (i)    off-Site property, to the extent exposures exist, in an amount not less
                          than $1,000,000;

                         (ii)   inland transit in the amount of $10,000,000 or an amount adequate
                          to cover the replacement cost of items in transit;

                         (iii)   earthquake, in an amount not less than the replacement value of a
                          single location in the annual aggregate, shared for each site, including
                          business interruption insurance required in Section 1.1(d) below;

                         (iv)    flood, in an amount not less than the replacement value of a single
                          location in the annual aggregate and aggregate limits of $10,000,000 for
                          High Hazard Zones, shared for each site, including business interruption
                          insurance required in Section 1.1(b) below with a deductible of 5% of the
                          total insured value at time of loss, minimum $500,000;


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                      (v)     windstorm, (named or unnamed), including tornadoes, in an amount
                       not less than a project replacement value of a single location in the annual
                       aggregate shared for each Site including the amount of business interruption
                       insurance required in Section 1.1(b) below but in no event less than the
                       Obligations per occurrence and in the annual aggregate for the Projects, or
                       such other amount required or agreed by the Required Lenders; with
                       deductible of 5% of the total insured value a time of loss, minimum
                       $500,000 and;

                      (vi)    such other coverages that are customarily sub-limited and/or
                       aggregated or restricted in reasonable amounts consistent with current
                       industry practice with respect to similar risks and acceptable to the Required
                       Lenders. Sublimits and deductibles under (i)-(v) are subject to review upon
                       request based on industry practice and market availability.

                Such policy shall include: (a) an automatic reinstatement of limits following each
 loss (except for the perils of earthquake, pollution cleanup, flood and named windstorm) unless
 otherwise agreed by the Required Lenders, (b) a replacement cost valuation endorsement with no
 deduction for depreciation and no coinsurance clauses (or a waiver thereof) and (c) coverage for
 physical damage that is not covered by warranty or guaranty to the extent normally insured.

                  All such policies may have per occurrence deductibles of not greater than $500,000
 for all perils, except $1,000,000 for turbines and generator and 5% / $500,000 minimum for flood,
 5% / $500,000 minimum for named windstorm (provided that tornadoes and windstorms other
 than hurricanes, tropical storms, cyclones and typhoons are not included) and 5% / $500,000 for
 earthquake unless otherwise approved by the Required Lenders.

                 (b)     Business Interruption Insurance. The Borrowers shall maintain or cause to
 be maintained, with respect to each Project, business interruption insurance following all perils
 required and insured above under the all risk property / machinery breakdown required above with
 limits of not less than the projected equivalent of 12 months gross revenues, less non-continuing
 expenses and other standard business interruption allowances. If coverage is subject to an
 indemnification period, such period shall not be less than 12 months. Contingent business
 interruption limit of $1,000,000 shall be included with respect to covered loss or damage to the
 first non-owned substation. The deductible or waiting period shall not exceed 60 days on a per
 occurrence basis.

                (c)     Commercial General Liability Insurance. Commercial general liability
 insurance covering the Borrowers and all operations of the Projects, written on an "occurrence"
 policy form, including coverage for premises/operations, products/completed operations, , blanket
 contractual liability, and personal injury, with no exclusions for explosion, collapse and
 underground perils, or fire with primary coverage limits of no less than $1,000,000 per occurrence
 and $2,000,000 annual aggregate for injuries or death to one or more persons or damage to property
 resulting from any one occurrence. The commercial general liability policy shall include a
 severability of interest clause with no exclusions or limitations on cross liability to the extent
 insurable and allowed by law. Deductibles in excess of $10,000 shall be subject to review and
 approval by the Required Lenders.

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                (d)     Automobile Liability Insurance. Automobile liability insurance covering
 the Borrowers, including coverage for owned (if any), leased, non-owned and hired automobiles
 for both bodily injury and property damage in accordance with statutory legal requirements, with
 combined single limits of no less than $1,000,000 per accident with respect to bodily injury,
 property damage or death. To the extent that the Borrowers do not own any automobiles,
 contingent liability for hired, leased and non-owned automobiles may be obtained through
 endorsement to the general liability policy required in Section 1.1(c) above. Deductibles in excess
 of $1000 shall be subject to review and approval by the Required Lenders.

                 (e)    Workers' Compensation / Employers Liability Insurance. Workers'
 compensation insurance in accordance with statutory and/or provincial requirements at any time
 in which the Borrowers have employees, including coverage for employer's liability with a limit
 of not less than $1,000,000 and such other forms of insurance which the Borrowers are required
 by law to provide for loss resulting from injury, sickness, disability or death of each of their
 employees. To the extent applicable, insurance shall cover Jones Act, Longshore and Harbor
 Workers Act (as such Acts are commonly understood in the insurance industry). Deductibles in
 excess of $5,000 shall be subject to review and approval by the Required Lenders.

                 (f)     Umbrella or Excess Liability Insurance. Umbrella or excess liability
 insurance of not less than $20,000,000 per occurrence and annual aggregate (inclusive of the
 requirements and in addition to the limits in Sections 1.1(c), (d) and (e)) of this Schedule
 6.07. Such coverages shall be on an occurrence policy forms or AEGIS claims-made form (or
 other acceptable claims-made form) and over and above coverage provided by the policies
 described in Sections 1.1(c), (d) and (e) of this Schedule 6.07 with respect to employer's liability,
 if applicable. If the policy or policies provided under this Section 1.1(f) contain(s) aggregate
 limits, and such limits are diminished below $1,000,000 during the applicable policy term by any
 one or more incident, occurrence, claim, settlement or judgment against such insurance which has
 caused the insurer to establish a reserve, the Borrowers shall, within ten (10) Business Days after
 obtaining knowledge of such event, inform the Secured Parties in writing of such reduction and
 the events giving rise thereto, and within 30 Business Days purchase an additional umbrella/excess
 liability insurance policy satisfying the requirements of this Section 1.1(f). Per occurrence
 deductibles for the types of liability coverages required to be maintained herein shall not be greater
 than $10,000, unless otherwise approved by the Required Lenders.

                (g)    Pollution Liability Insurance. Pollution liability insurance with a limit
 commensurate with industry practice for similar operations but not less than $5,000,000 per
 occurrence and in the annual aggregate and as otherwise required by the Material Project
 Documents. Coverage will provide for property damage and bodily injury to third parties arising
 out of "sudden and accidental" pollution conditions as a result of either Project’s operations. All
 such coverages can be included in the commercial general liability and umbrella or excess liability
 policies or provided under a separate pollution liability policy. Claims made coverage forms are
 acceptable. Deductibles in excess of $25,000 shall be subject to review and approval by the
 Required Lenders.

                (h)      Contractors and Subcontractors. Borrowers shall use commercially
 reasonable efforts to require the operator and other contractors or subcontractors with which they
 have a direct contractual relationship, if any, that will be performing construction, operations and

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 maintenance or other on-Site work on the Borrowers’ behalf (as applicable), to obtain and maintain
 the basic "types" of insurance required in Sections 1.1(c), (d), and (e) above in amounts that are
 customary for contractors and subcontractors performing similar work and operations.

          1.2      Special Insurance Provisions.

                (a)     Lender Loss Payable Endorsement. All property related policies of
 insurance required herein (including all risk property, business interruption, machinery
 breakdown, etc.) to be maintained pursuant to Section 1.1(a) of this Schedule 6.07, shall name The
 Prudential Insurance Company of America, 655 Broad Street, 16 th Floor, Newark, NJ 07102, in its
 capacity as the Administrative Agent on behalf of the Secured Parties, and its successors and/or
 assigns in such capacity, as the "sole" loss payee for all losses insured thereunder pursuant to a
 lender loss payable endorsement, its equivalent or other lender loss payable form approved by the
 Required Lenders (such approval not to be unreasonably withheld, conditioned or delayed).

                 (b)    Non-Vitiation. All property related policies of insurance required herein
 shall insure the interests of the Administrative Agent and the Secured Parties regardless of any
 breach or violation by any of the Borrowers, any Affiliate of the Borrowers or of any Secured
 Party or others acting on their behalf of any warranties, declarations or conditions contained in
 such policies, any action or inaction, or any foreclosure relating to either Project or any change in
 ownership of all or any portion of either Project (the foregoing may be accomplished by the use of
 an approved lender loss payable endorsement, acceptable mortgagee clause or multiple insureds
 clause).

                 (c)   Additional Insured & Waiver of Subrogation. All polices of insurance
 required above other than workers compensation and employers liability that are maintained by
 the Borrowers or on behalf of the Borrowers shall include the Administrative Agent and the
 Secured Parties and each of their successors or assigns as additional insureds (with the exception
 of workers' compensation and professional/pollution liability) and provide a waiver of subrogation
 in their favor.

                 (d)    Severability of Interest, Primary and Non-Contributory. All liability
 policies required above that are maintained by the Borrowers or on behalf of the Borrowers shall
 expressly provide that all provisions thereof, except the limits of liability (which shall be applicable
 to all insureds as a group) shall operate in the same manner as if there were a separate policy
 covering each such insured. All policies required herein shall be considered primary and non-
 contributory with any other policies the Administrative Agent or the Secured Parties may hold;

                 (e)    Notice of Cancellation. All polices of insurance required herein shall
 provide thirty (30) days written notice of cancellation to the Administrative Agent and the Secured
 Parties, with the exception of ten (10) days’ notice for nonpayment of premium, to the extent
 commercially available. To the extent endorsement of the required policies to provide such written
 notice of cancellation is not commercially available, the Borrowers shall be obligated to provide
 written notice of cancellation to the Administrative Agent and the Secured Parties. The Borrowers
 shall provide prompt notice of material change in policy conditions to the Administrative Agent
 and the Secured Parties. For purposes of this section, material change is considered to be any



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 modification or reduction in coverage that would cause the Borrowers’ insurance policies to be
 out of compliance with the terms of this Schedule 6.07.

                 (f)     Claims-Made Forms. If any liability insurance required under the
 provisions of this Schedule 6.07 is permitted to be written on a "claims made" basis, then such
 insurance shall include (i) a retroactive date (as such term is specified in each of such policies) that
 is no later than the Closing Day; and (ii) each time any policy written on a "claims made" basis is
 not renewed or the retroactive date of such policy is to be changed, the Borrowers shall obtain or
 shall cause to be obtained for each such policy or policies the broadest extended reporting period
 coverage, or "tail", reasonably available in the commercial insurance market for each such policy
 or policies. In the alternative, the Borrowers can have the policy endorsed to provide "prior acts"
 coverage from a subsequent insurance carrier.

                (g)     Loss Notification. The Borrowers shall promptly notify the Administrative
 Agent and the Secured Parties of any single loss or event likely to give rise to a property or liability
 insurance claim in an amount in excess of $100,000 whether or not covered by insurance.

                 (h)     Loss Adjustment and Settlement. Any loss insured by the inland transit,
 operational physical damage, machinery damage or business interruption or other first party
 insurance policies or coverages shall be adjusted with the respective insurance companies,
 including the filing in a timely manner of appropriate proceedings, by the Borrowers, in
 consultation with the Required Lenders if such loss is in excess of $250,000. In addition, the
 Borrowers may, in their reasonable judgment, consent to the settlement of any loss, provided that
 in the event that the amount of the loss exceeds $250,000 the terms of such settlement is agreed in
 writing by the Required Lenders.

                (i)    Acceptable Policy Terms and Conditions. All policies of insurance
 required to be maintained herein shall contain terms and conditions reasonably acceptable to the
 Required Lenders.

                  (j)    Reports/Documentation. Concurrently with the furnishing of the
 certification referred to in Section 1.4 of this Schedule 6.07, the Borrowers shall deliver to the
 Administrative Agent, a report from the Borrowers’ insurance broker, signed by an authorized
 representative of such broker, stating that in the opinion of such broker, the insurance then carried
 or to be renewed or procured is in accordance with the terms of this Schedule 6.07, or at the
 discretion of the Required Lenders, the Borrowers may provide insurance documentation in
 sufficient detail such that insurance coverages required in this insurance schedule can be
 individually verified. To the extent that insurance is split among multiple independent brokers,
 and such confirmation cannot be obtained, an officer of the Borrowers may produce a letter of
 compliance. Upon request from the Required Lenders or Administrative Agent, the Borrowers
 will promptly furnish it with additional evidence each of the requirements pursuant to this
 Schedule 6.07 including the name of the insurance company, policy number, type of insurance,
 major limits of liability and expiration date of the required insurance policies along with the
 following additional policy information.

                   Policy declarations page detailing limits, sub-limits and deductibles
                   Schedule of forms and endorsements or table of contents as applicable

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                   Insuring agreement (physical damage and business interruption)
                   Policy exclusions
                   Copies of actual policy endorsements/policy working for the following:
                              − Property*

                                 Additional Insured
                                 Waiver of Subrogation
                                 Lender Loss Payable wording
                                 Valuation clauses (e.g., replacement cost with no-coinsurance)
                                    o *if certificates are used to add parties as additional
                                        insureds/lender loss payees/mortgagees then the certificates
                                        must specifically reference the required parties, the
                                        applicable agreement and that the provisions of the lender
                                        loss payable endorsement apply to the designated loss payee.

                          −      Liability

                                 Additional Insured
                                 Waiver of Subrogation
                                 Primary and non-contributory
                                 Severability of interest (confirmation of no exclusions for cross
                                        liability or named insured vs. named insured)
                                 Notice of cancellation

                 (k)     Failure to Maintain Insurance. In the event the Borrowers fail to take out
 or maintain the full insurance coverage required by this Schedule 6.07, the Administrative Agent
 (acting at the direction of the Required Lenders) may (but shall not be obligated to), upon 30 days'
 prior notice (unless the aforementioned insurance would lapse within such period, in which event
 notice should be given as soon as reasonably possible) to the Borrowers of any such failure, take
 out the required policies of insurance and pay the premiums on the same.

                 (l)     Failure to Collect. In the event that the Borrowers fail to respond in a timely
 and appropriate manner to take any steps necessary or reasonably requested by the Required
 Lenders to collect from any insurers for any loss covered by any insurance required to be
 maintained by this insurance schedule, and such failure continues for five Business Days, the
 Required Lenders shall have the right to make all proofs of loss, negotiate all claims and/or receive
 all or any part of the proceeds of the foregoing insurance policies, either in its own name or the
 name of the Borrowers; provided, however, that the Borrowers shall, upon the request of the
 Required Lenders and at the Borrowers’ own cost and expense, make all proofs of loss and take
 all other steps necessary or reasonably requested by the Required Lenders to collect from insurers
 for any loss covered by any insurance required to be obtained by this insurance schedule.

        1.3     Other Insurance Requirements. In addition to the other requirements of this
 insurance schedule, such other or additional insurance (as to risks covered, policy amounts, policy
 provisions or otherwise) as the Required Lenders may reasonably request from time to time
 provided that such other insurance and amounts are then commonly insured against with respect


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 to similar properties in similar regions with similar exposures and which are available on
 commercially reasonable terms.

          1.4     Certification of Compliance. The Borrowers shall deliver to the Administrative
 Agent and the Secured Parties, within ten (10) Business Days after each annual policy renewal
 date for each policy, (1) certificates of insurance or binders, in form and substance reasonably
 satisfactory to the Required Lenders, evidencing all of the insurance required by the provisions of
 this Schedule 6.07. Such certificates of insurance/binders shall be executed by each insurer or by
 an authorized representative of each insurer where it is not practical for such insurer to execute the
 certificate itself. Such certificates of insurance/binders shall identify underwriters, the type of
 insurance, the insurance limits and the policy term and shall specifically list the special provisions
 enumerated for such insurance required by this insurance schedule. Upon reasonable request, the
 Borrowers will promptly furnish the Administrative Agent and the Secured Parties with copies of
 all insurance policies (except in the case of corporate insurance programs where detailed insurance
 summaries shall be acceptable), binders and cover notes or other evidence of such insurance
 relating to the insurance required to be maintained by the Borrowers. The schedule of insurance
 shall include the name of the insurance company, policy number, type of insurance, major limits
 of liability and expiration date of the insurance policies.

         1.5    No Duty to Verify Insurance Compliance. The Administrative Agent and any
 Secured Party shall be entitled, upon reasonable advance notice, to review the Borrowers’ (or other
 appropriate party’s) books and records regarding all insurance policies maintained with respect to
 the Projects and the Borrowers’ obligations under this Schedule 6.07. Notwithstanding the
 foregoing, no provision of this Schedule 6.07 or any other provision of this Agreement or any other
 Financing Document shall impose on the Administrative Agent or any Secured Party any duty or
 obligation to verify the existence or adequacy of the insurance coverage maintained by the
 Borrowers, nor shall the Administrative Agent or the Secured Parties be responsible for any
 representations or warranties made by or on behalf of the Borrowers, or any other party to any
 insurance company or underwriter. Any failure on the part of the Administrative Agent or the
 Secured Parties to pursue or obtain the evidence of insurance required herein from the Borrowers
 or any other party and/or failure of the Administrative Agent or any Secured Party to point out any
 non-compliance of such evidence of insurance shall not constitute a waiver of any of the insurance
 requirements in the Financing Documents, including without limitation this Schedule 6.07.

          1.6      Waiver of Insurance Requirements.

                 (a)    Notwithstanding any of the foregoing provisions of this Schedule 6.07, any
 insurance required to be maintained pursuant to this Schedule 6.07 (including the limits or
 deductibles or any other terms under policies for such insurance or any additional insurance
 requested pursuant to this Schedule 6.07) is not available on a commercially reasonable basis at
 the time of renewal or request, as applicable, the Borrowers shall provide written notice to the
 Administrative Agent and the Secured Parties accompanied by a letter from the Borrowers’
 insurance broker stating that, in its opinion, such insurance is unavailable on a commercially
 reasonable basis and recommending such replacement insurance (or replacement additional
 insurance in respect of the insurance being requested pursuant to this Schedule 6.07) therefore that
 is available on a commercially reasonable basis. Such notice shall be given not less than 60 days
 prior to the scheduled date for renewal of any such policy or within 30 days after any request for

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 additional insurance is received by the Borrowers pursuant to this Schedule 6.07. Upon receipt of
 such notice by the Administrative Agent and the Secured Parties, the Required Lenders, shall, not
 less than 30 days before the date for renewal of such insurance (or not more than 30 days after
 receipt of any notice with respect to any request for additional insurance), indicate to the Borrowers
 whether or not the Required Lenders concur with the opinion of the Borrowers’ insurance broker.
 If the Required Lenders do concur with such opinion, the Borrowers shall obtain the replacement
 insurance recommended in such opinion prior to the date for renewal of such insurance (and in
 respect of any additional insurance requested pursuant to this Schedule 6.07, within 30 days after
 the Required Lenders have notified the Borrowers that they concur with the Borrowers’ broker),
 and the Required Lenders shall issue a waiver to the Borrower for a period of one year with respect
 to the insurance not available on a commercially reasonable basis; and,

                 (b)     Should the Required Lenders not concur, the Required Lenders shall choose
 an independent insurance expert from an internationally recognized insurance brokerage firm to
 conduct a review of the relevant insurance requirements of this Schedule 6.07 and the insurance
 market for such insurance at the time. Upon conclusion of such review, the insurance expert shall
 issue a written report stating whether such insurance is available or unavailable on a commercially
 reasonable basis; and,

                 (c)    If the insurance expert concludes that such insurance is not available on a
 commercially reasonable basis, the insurance expert shall provide a written recommendation for
 replacement insurance not less than 30 days before the date for renewal of such insurance (and in
 respect of any additional insurance requested pursuant to this Schedule 6.07, within 30 days after
 the Required Lenders have notified the Borrowers that they do not concur with the Borrowers’
 broker concerning whether such additional insurance is commercially available at the time of
 request) which shall be conclusive and binding on both the Borrowers and the Secured Parties.
 The Required Lenders shall issue a waiver to the Borrowers for a period of one year upon the
 insurance expert certifying that the relevant insurance is not available on a commercially
 reasonable basis and the Borrowers having implemented the recommendation of the insurance
 expert for such replacement insurance prior to the scheduled date of renewal of the insurance being
 replaced (and in respect of any additional insurance requested pursuant to this Schedule 6.07,
 implementing the insurance expert’s recommendation within 30 days after the insurance expert
 has provided its written recommendation as provided in this Section 1.6); and,

                 (d)     If the insurance expert concludes that such insurance is available on a
 commercially reasonable basis, such insurance expert and the Borrowers’ insurance broker shall
 choose a mutually agreeable independent insurance expert from an internationally recognized
 insurance brokerage firm reasonably to conduct a review of the relevant insurance requirements
 of this Schedule 6.07 and the insurance market for such insurance at the time. Upon conclusion of
 such review, the independent insurance expert shall issue a written report stating whether, in its
 opinion, such insurance is available or unavailable on a commercially reasonable basis and, if
 unavailable, a written recommendation for such replacement insurance (or in respect of any request
 for additional insurance pursuant to this Schedule 6.07, replacement additional insurance) therefor
 that is available on a commercially reasonable basis. The determination of the independent
 insurance expert shall be conclusive and binding on both the Borrowers and the Secured Parties.
 If the independent insurance expert concludes that the insurance required by this Schedule 6.07 is
 not available on a commercially reasonable basis, the Required Lenders shall issue a waiver to the

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 Borrowers for a period of one year upon the Borrowers having implemented the recommendation
 of such insurance expert for such replacement insurance therefor that is available on a
 commercially reasonable basis prior to the scheduled date of renewal of the insurance being
 replaced; provided, that if the review is not concluded prior to such scheduled date of renewal (or
 not more than 30 days after receipt of any such notice of unavailability on a commercially
 reasonable basis with respect to any request for additional insurance), the Borrowers will obtain
 the replacement insurance recommended by the Borrowers’ insurance broker in clause (a) of this
 Section 1.6 prior to such scheduled date of renewal (or expiration of such 30-day period) and
 thereafter comply with the recommendation of the independent insurance expert no later than 30
 days after its report is delivered pursuant to this Section 1.6(d) and, so long as the Borrowers
 comply with their obligations set forth herein, no Default or Event of Default shall be deemed to
 exist as a result of this Section 1.6(d); and,

               (e)     All fees, costs and expenses associated with the review by the Borrowers’
 insurance broker and any insurance experts shall be for the sole account of the Borrowers.

                (f)     All time frames in section 1.6 regarding Issuer notification shall be waived
 based on marketplace circumstance and notification to the Issuer shall be made the soonest
 possible from time of known deficiency or required change for a notice of Waiver or Replacement
 Insurance request.

 Schedule of Required Lenders/Secured Parties

 Lenders

 The Prudential Insurance Company of America
 c/o Prudential Capital Group
 655 Broad Street, 16th Floor
 Newark, NJ 07102
 Attention: Managing Director, Energy Finance Group – Power

 Prudential Legacy Insurance Company of New Jersey
 c/o Prudential Capital Group
 655 Broad Street, 16th Floor
 Newark, NJ 07102
 Attention: Managing Director, Energy Finance Group – Power

 Prudential Retirement Insurance and Annuity Company
 c/o Prudential Capital Group
 655 Broad Street, 16th Floor
 Newark, NJ 07102
 Attention: Managing Director, Energy Finance Group – Power

 Administrative Agent

 The Prudential Insurance Company of America
 c/o Prudential Capital Group

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 655 Broad Street, 16th Floor
 Newark, NJ 07102
 Attention: Managing Director, Energy Finance Group – Power

 Collateral Agent

 Wilmington Trust, National Association
 1100 North Market Street
 Wilmington, DE 19890




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                                   SCHEDULE 7.02

                                   INDEBTEDNESS

None.
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                                        SCHEDULE 7.03

                                        INVESTMENTS

Ref
       Borrower                            Investment                Ownership
No.
 1     Agilon Energy Holdings II, LLC      Victoria City Power LLC   100%

 2     Agilon Energy Holdings II, LLC      Victoria Port Power LLC   100%
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                                       SCHEDULE 7.08

                                AFFILIATE TRANSACTIONS



Ref
       Borrower              Agreement With        Agreement Name
No.
1      Victoria City Power   Victoria Willow,      Lease Agreement
       LLC                   LLC

2      Victoria Port Power   Victoria              Sublease Agreement
       LLC                   Bloomington, LLC

3      Victoria Port Power   Victoria Midstream    Pipeline Construction, Operation and Gas
       LLC                   LLC                   Transportation Agreement

4      Victoria Port Power   Victoria Port Power   Co-Tenancy and Common Facilities Agreement
       LLC                   II, LLC               (Electricity)

5      Victoria Port Power   Victoria Port Power   Co-Tenancy and Common Facilities Agreement
       LLC                   II, LLC               (Gas)

6      Victoria Port Power   Victoria Port Power   Co-Tenancy and Common Facilities Agreement
       LLC                   II, LLC               (Water)

7      Agilon Energy         Agilon Energy II      Assignment Instrument
       Holdings II, LLC      LLC

8      Agilon Energy         Agilon Energy II      Assignment and Assumption Agreement
       Holdings II, LLC      LLC
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                                         SCHEDULE 11.02

                                            NOTICES


Administrative Agent:
The Prudential Insurance Company of America
655 Broad Street, 16th Floor
Newark, NJ 07102
Attn: Paul Procyk
Email: cpw@prudential.com
       paul.procyk@prudential.com

with a copy to:

Morgan, Lewis & Bockius LLP
101 Park Avenue
New York, NY 10178-0060
Attn: Kristen Campana
Telephone: 212-309-6030
Fax: 212-309-6001
Email: kristen.campana@morganlewis.com

Collateral Agent:
Wilmington Trust, National Association
1100 North Market Street
Wilmington, DE 19890
Attn: Marion Zinowski
Telephone: 212-941-4421
Email: mzinowski@wilmingtontrust.com
and
Attn: Steve Barone
Email: sbarone@wilmingtontrust.com

with a copy to:

Ballard Spahr LLP
2000 IDS Center, 80 South 8th Street
Minneapolis, MN 55402-2119
Attn: George Singer
Telephone: 612-371-2493
Fax: 612-371-3207
Email: singerg@ballardspahr.com
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Borrowers:

Agilon Energy Holdings II LLC
480 Wildwood Forest Drive, Suite 475
Spring, TX 77380
Attn: Hugh Smith
Telephone: 480-319-2178
Email: hugh.smith@readisuite.com

with a copy to:

Locke Lord LLP
600 Travis St., Suite 2800
Houston, TX 77002
Attn: Elizabeth Guffy
Telephone: 713-226-1328
Email: eguffy@lockelord.com
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                                 SCHEDULE 12.01(a)

                            COMMERCIAL TORT CLAIMS

None.
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                                    EXHIBITS




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                                            EXHIBIT A

                         FORM OF COMMITTED LOAN NOTICE

                                                                       Date: ___________, _____

To:    The Prudential Insurance Company of America, as Administrative Agent

Ladies and Gentlemen:

        Reference is made to that certain Senior Secured Superpriority Debtor-in-Possession Credit
Agreement dated as of September 2, 2021 (as amended, amended and restated, restated,
supplemented, modified or otherwise in effect from time to time, the “DIP Credit Agreement”, the
terms defined therein being used herein as therein defined), by and among Agilon Energy Holdings
II, LLC, a Texas limited liability company (“Administrative Borrower” or “Agilon”), Victoria Port
Power LLC, a Texas limited liability company (“Victoria Port”), Victoria City Power LLC, a
Texas limited liability company (“Victoria City”, together with Agilon and Victoria Port, the
“Borrowers”), each lender from time to time party thereto (collectively, the “Lenders” and
individually, a “Lender”), The Prudential Insurance Company of America, as administrative agent
for the Secured Parties (in such capacity, the “Administrative Agent”), and Wilmington Trust,
National Association, as collateral agent for the Secured Parties (in such capacity, the “Collateral
Agent”).

               The undersigned hereby requests (select one):

                    A Borrowing of Loans

               1.      On                                            (a Business Day).

               2.      In the amount of $

               3.      As a [LIBOR Loan][Prime Loan].

                    A conversion of Loans

               1.      On                                            (a Business Day).

               2.      In the amount of $

            3.      Converting from a [LIBOR Loan]/[Prime Loan] to a [Prime
Loan]/[LIBOR Loan].

                    A continuation of LIBOR Loans

               1.      On                                            (a Business Day).

               2.      In the amount of $
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                The Administrative Borrower hereby represents and warrants that the conditions
 specified in Section 4.02 shall be satisfied on and as of the date of any applicable Borrowing.




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        IN WITNESS WHEREOF, the Administrative Borrower has caused this Committed Loan
 Notice to be duly executed as of the date first above written.

                                            AGILON ENERGY HOLDINGS II, LLC



                                            By:
                                                  Name:
                                                  Title:




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                                             EXHIBIT B

                                         FORM OF NOTE

      THIS NOTE (“NOTE”) AND THE OBLIGATIONS EVIDENCED HEREBY MAY
 NOT BE TRANSFERRED EXCEPT IN COMPLIANCE WITH THE TERMS AND
 PROVISIONS OF THE DIP CREDIT AGREEMENT REFERRED TO BELOW.
 TRANSFERS OF THIS NOTE AND THE OBLIGATIONS EVIDENCED HEREBY MUST
 BE RECORDED IN THE REGISTER MAINTAINED BY THE ADMINISTRATIVE
 AGENT PURSUANT TO THE TERMS OF SUCH DIP CREDIT AGREEMENT.

                                                                                 $[______________]

                                                                                  ___________, 20__

          FOR VALUE RECEIVED, the undersigned, Agilon Energy Holdings II, LLC, a Texas
 limited liability company (“Administrative Borrower” or “Agilon”), Victoria Port Power LLC, a
 Texas limited liability company (“Victoria Port”), Victoria City Power LLC, a Texas limited
 liability company (“Victoria City”, together with Agilon and Victoria Port, the “Borrowers”),
 hereby promises to pay to _____________________ or registered assigns (the “Lender”), in
 accordance with the provisions of the DIP Credit Agreement (as hereinafter defined), the principal
 amount of $[___________] ([___________]) made by the Lender to the Borrowers under that
 certain Senior Secured Superpriority Debtor-in-Possession Credit Agreement, dated as of
 September 2, 2021 (the “DIP Credit Agreement”, the terms defined therein being used herein as
 therein defined), by and among the Borrowers, each lender from time to time party thereto, The
 Prudential Insurance Company of America, as administrative agent for the Secured Parties (in such
 capacity, the “Administrative Agent”), and Wilmington Trust, National Association, as collateral
 agent for the Secured Parties (in such capacity, the “ Collateral Agent”). Reference is hereby made
 to the DIP Credit Agreement and Loan Documents for a description of the Collateral in which a
 security interest has been granted, the nature and extent of the security and the guarantees, the
 terms and conditions upon which the security interests and each guarantee were granted and the
 rights of the holder of this Note in respect thereof. Each holder hereof, by its acceptance of this
 Note, agrees to the terms of, and to be bound by and to observe the provisions applicable to the
 Lenders contained in, the DIP Credit Agreement and the Loan Documents. Capitalized terms used
 herein which are defined in the DIP Credit Agreement shall have such defined meanings unless
 otherwise defined herein or unless the context otherwise requires.

         The Borrowers promise to pay interest on the unpaid principal amount of this Note made
 by the Lender from the date of such Loan until such principal amount is paid in full, at such interest
 rates and at such times as provided in the DIP Credit Agreement. All payments of principal and
 interest shall be made to the Administrative Agent for the account of the Lenders in Dollars in
 immediately available funds at the Administrative Agent’s Office. If any amount is not paid in
 full when due hereunder, such unpaid amount shall bear interest, to be paid upon demand, from
 the due date thereof until the date of actual payment (and before as well as after judgment)
 computed at the per annum rate set forth in the DIP Credit Agreement.



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         This Note is one of the Notes referred to in the DIP Credit Agreement, is entitled to the
 benefits thereof and may be prepaid in whole or in part subject to the terms and conditions provided
 therein. This Note is also secured by the Collateral pursuant to the terms of the Loan Documents.
 Upon the occurrence and continuation of one or more of the Events of Default specified in the DIP
 Credit Agreement, all amounts then remaining unpaid on this Note shall become, or may be
 declared to be, immediately due and payable all as provided in the DIP Credit Agreement. The
 Loan made by the Lender shall be evidenced by one or more loan accounts or records maintained
 by the Lender in the ordinary course of business. The Lender may also attach schedules to this
 Note and endorse thereon the date, amount and maturity of its Loan and payments with respect
 thereto.

         All parties now and hereafter liable with respect to this Note, whether maker, principal,
 surety, guarantor, endorser or otherwise, hereby waive, to the maximum extent permitted by
 applicable law, presentment, demand, protest and all other notices of any kind under this Note.

         The Borrowers waive presentment; demand; notice of dishonor; notice of default or
 delinquency; notice of acceleration; notice of protest and nonpayment; notice of costs, expenses
 or losses and interest thereon; notice of late charges; and diligence in taking any action to collect
 any sums owing under this Note or in proceeding against any of the rights or interests in or to
 properties securing payment of this Note. No previous waiver and no failure or delay by Lender
 in acting with respect to the terms of this Note or the Loan Documents shall constitute a waiver of
 any breach, default, or failure of condition under this Note. A waiver of any term of this Note must
 be made in writing and shall be limited to the express written terms of such waiver.



                            [Remainder of Page Intentionally Left Blank.]




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      THIS NOTE SHALL BE GOVERNED BY AND CONSTRUED IN ACCORDANCE
 WITH THE LAWS OF THE STATE OF NEW YORK WITHOUT REGARD TO CONFLICT
 OF LAWS PRINCIPLES THEREOF (OTHER THAN SECTIONS 5-1401 AND 5-1402 OF THE
 NEW YORK GENERAL OBLIGATIONS LAW), AND TO THE EXTENT APPLICABLE, THE
 BANKRUPTCY CODE.

                                         AGILON ENERGY HOLDINGS II, LLC



                                         By:
                                               Name:
                                               Title:

                                         VICTORIA PORT POWER LLC



                                         By:
                                               Name:
                                               Title:

                                         VICTORIA CITY POWER LLC



                                         By:
                                               Name:
                                               Title:




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                     LOANS AND PAYMENTS WITH RESPECT THERETO

                                        Amount of      Outstanding
                                        Principal or    Principal
                           Amount of   Interest Paid   Balance This   Notation
                   Date    Loan Made     This Date         Date       Made By




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                                                        EXHIBIT C

                              FORM OF ASSIGNMENT AND ASSUMPTION

                  This Assignment and Assumption (this “Assignment and Assumption”) is dated as of
 the Effective Date set forth below and is entered into by and between [the][each]1 Assignor identified
 in item 1 below ([the][each, an] “Assignor”) and [the][each]2 Assignee identified in item 2 below
 ([the][each, an] “Assignee”). [It is understood and agreed that the rights and obligations of [the
 Assignors][the Assignees]3 hereunder are several and not joint.]4 Capitalized terms used but not
 defined herein shall have the meanings given to them in the Senior Secured Superpriority Debtor-in-
 Possession Credit Agreement identified below (as amended, amended and restated, restated,
 supplemented, modified or otherwise in effect from time to time, the “DIP Credit Agreement”), receipt
 of a copy of which is hereby acknowledged by the Assignee. The Standard Terms and Conditions set
 forth in Annex 1 attached hereto are hereby agreed to and incorporated herein by reference and made
 a part of this Assignment and Assumption as if set forth herein in full.

                  For an agreed consideration, [the][each] Assignor hereby irrevocably sells and assigns
 to [the Assignee][the respective Assignees], and [the][each] Assignee hereby irrevocably purchases
 and assumes from [the Assignor][the respective Assignors], subject to and in accordance with the
 Standard Terms and Conditions and the DIP Credit Agreement, as of the Effective Date inserted by
 the Administrative Agent as contemplated below (i) all of [the Assignor’s][the respective Assignors’]
 rights and obligations in [its capacity as a Lender][their respective capacities as Lenders] under the
 DIP Credit Agreement and any other documents or instruments delivered pursuant thereto to the extent
 related to the amount and percentage interest identified below of all of such outstanding rights and
 obligations of [the Assignor][the respective Assignors] under the respective facilities identified below
 and (ii) to the extent permitted to be assigned under applicable law, all claims, suits, causes of action
 and any other right of [the Assignor (in its capacity as a Lender)][the respective Assignors (in their
 respective capacities as Lenders)] against any Person, whether known or unknown, arising under or in
 connection with the DIP Credit Agreement, any other documents or instruments delivered pursuant
 thereto or the loan transactions governed thereby or in any way based on or related to any of the
 foregoing, including, but not limited to, contract claims, tort claims, malpractice claims, statutory
 claims and all other claims at law or in equity related to the rights and obligations sold and assigned
 pursuant to clause (i) above (the rights and obligations sold and assigned by [the][any] Assignor to
 [the][any] Assignee pursuant to clauses (i) and (ii) above being referred to herein collectively as
 [the][an] “Assigned Interest”). Each such sale and assignment is without recourse to [the][any]
 Assignor and, except as expressly provided in this Assignment and Assumption, without representation
 or warranty by [the][any] Assignor.




 1
   For bracketed language here and elsewhere in this form relating to the Assignor(s), if the assignment is from a single
 Assignor, choose the first bracketed language. If the assignment is from multiple Assignors, choose the second bracketed
 language.
 2
   For bracketed language here and elsewhere in this form relating to the Assignee(s), if the assignment is to a single Assignee,
 choose the first bracketed language. If the assignment is to multiple Assignees, choose the second bracketed language.
 3
   Select as appropriate.
 4
   Include bracketed language if there are either multiple Assignors or multiple Assignees.
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            1.        Assignor[s]:     ______________________________

                                       ______________________________

            2.        Assignee[s]:     ______________________________

                                  ______________________________
            [for each Assignee, indicate [Affiliate][Approved Fund] of [identify Lender]]

          3.    Borrowers:     Agilon Energy Holdings II, LLC, a Texas limited
 liability company, Victoria Port Power LLC, a Texas limited liability company,
 and Victoria City Power LLC, a Texas limited liability company.

        4.      Administrative Agent: The Prudential Insurance Company of America, as
 administrative agent for the Secured Parties under the DIP Credit Agreement.

        5.     Collateral Agent: Wilmington Trust, National Association, as collateral agent for
 the Secured Parties under the DIP Credit Agreement.

        6.     DIP Credit Agreement:         Senior Secured Superpriority Debtor-in-Possession
 Credit Agreement, dated as of September 2, 2021, by and among the Borrowers, the Lenders from
 time to time party thereto, The Prudential Insurance Company of America, as Administrative
 Agent, and Wilmington Trust, National Association, as Collateral Agent.

            7.        Assigned Interest:

     Assignor[s]5   Assignee[s]6       Aggregate                   Amount of                        Percentage
                                      Amount of                   Commitment                 Assigned of Commitment/
                                   Commitment/Loans                 /Loans                            Loans8
                                    for all Lenders7               Assigned



                                   $________________              $_________                      ____________%
                                   $________________              $_________                      ____________%
                                   $________________              $_________                      ____________%



             [8.      Trade Date:      __________________]9




 5
   List each Assignor, as appropriate.
 6
   List each Assignee, as appropriate.
 7
   Amounts in this column and in the column immediately to the right to be adjusted by the counterparties to take into account
 any payments or prepayments made between the Trade Date and the Effective Date.
 8
   Set forth, to at least 9 decimals, as a percentage of the Commitment/Loans of all Lenders thereunder.
 9
   To be completed if the Assignor and the Assignee intend that the minimum assignment amount is to be determined as of
 the Trade Date.
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     Effective Date: __________________, 20__ [TO BE INSERTED BY
 ADMINISTRATIVE AGENT AND WHICH SHALL BE THE EFFECTIVE DATE OF
 RECORDATION OF TRANSFER IN THE REGISTER THEREFOR.]




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 The terms set forth in this Assignment and Assumption are hereby agreed to:

                                               ASSIGNOR:

                                               [NAME OF ASSIGNOR]



                                               By:
                                                     Name:
                                                     Title:

                                               ASSIGNEE:

                                               [NAME OF ASSIGNEE]



                                               By:
                                                     Name:
                                                     Title:




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 [Consented to and]10 Accepted:

 [THE PRUDENTIAL INSURANCE COMPANY OF AMERICA,
 as Administrative Agent]


 By:
 Name:
 Title:




 10
   To be removed only if the consent of the Administrative Agent is not required pursuant to Sections 11.06(b)(i)(B)
 and 11.06(b)(iii) of the DIP Credit Agreement.

                         [Agilon – Signature Page to Form of Assignment and Assumption]
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                               ANNEX 1 TO ASSIGNMENT AND ASSUMPTION

                         STANDARD TERMS AND CONDITIONS FOR

                               ASSIGNMENT AND ASSUMPTION

 1.       Representations and Warranties.

 1.1. Assignor. [The][Each] Assignor (a) represents and warrants that (i) it is the legal and
 beneficial owner of [the][the relevant] Assigned Interest, (ii) [the][such] Assigned Interest is free
 and clear of any lien, encumbrance or other adverse claim (other than, to the extent applicable, the
 Pre-Petition Priority Liens) and (iii) it has full power and authority, and has taken all action
 necessary, to execute and deliver this Assignment and Assumption and to consummate the
 transactions contemplated hereby; and (b) assumes no responsibility with respect to (i) any
 statements, warranties or representations made in or in connection with the DIP Credit Agreement
 or any other Loan Document, (ii) the execution, legality, validity, enforceability, genuineness,
 sufficiency or value of the Loan Documents or any collateral thereunder, (iii) the financial
 condition of the Loan Parties, any of their Subsidiaries or Affiliates or any other Person obligated
 in respect of any Loan Document or (iv) the performance or observance by the Loan Parties, any
 of their Subsidiaries or Affiliates or any other Person of any of their respective obligations under
 any Loan Document.

 1.2. Assignee. [The][Each] Assignee (a) represents and warrants that (i) it has full power and
 authority, and has taken all action necessary, to execute and deliver this Assignment and
 Assumption and to consummate the transactions contemplated hereby and to become a Lender
 under the DIP Credit Agreement, (ii) it meets all the requirements to be an assignee under Section
 11.06(b)(iii), (v) and (vi) of the DIP Credit Agreement (subject to such consents, if any, as may be
 required under Sections 11.06(b)(i)(B) and 11.06(b)(iii) of the DIP Credit Agreement), (iii) from
 and after the Effective Date, it shall be bound by the provisions of the DIP Credit Agreement as a
 Lender thereunder and, to the extent of [the][the relevant] Assigned Interest, shall have the
 obligations of a Lender thereunder, (iv) it is sophisticated with respect to decisions to acquire assets
 of the type represented by [the][such] Assigned Interest and either it, or the Person exercising
 discretion in making its decision to acquire [the][such] Assigned Interest, is experienced in
 acquiring assets of such type, (v) it has received a copy of the DIP Credit Agreement, and has
 received or has been accorded the opportunity to receive copies of the most recent financial
 statements delivered pursuant to Section 6.01 thereof, as applicable, and such other documents and
 information as it deems appropriate to make its own credit analysis and decision to enter into this
 Assignment and Assumption and to purchase [the][such] Assigned Interest, (vi) it has,
 independently and without reliance upon the Administrative Agent, the Collateral Agent or any
 other Lender and based on such documents and information as it has deemed appropriate, made
 its own credit analysis and decision to enter into this Assignment and Assumption and to purchase
 [the][such] Assigned Interest, and (vii) if it is a Foreign Lender, attached hereto is any
 documentation required to be delivered by it pursuant to the terms of the DIP Credit Agreement,
 duly completed and executed by [the][such] Assignee; and (b) agrees that (i) it will, independently
 and without reliance upon the Administrative Agent, the Collateral Agent, [the][any] Assignor or
 any other Lender, and based on such documents and information as it shall deem appropriate at
 the time, continue to make its own credit decisions in taking or not taking action under the Loan


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 Documents, and (ii) it will perform in accordance with their terms all of the obligations which by
 the terms of the Loan Documents are required to be performed by it as a Lender.

 2.     Payments. From and after the Effective Date, the Administrative Agent shall make all
 payments in respect of [the][each] Assigned Interest (including payments of principal, interest,
 fees and other amounts) to [the][the relevant] Assignor for amounts which have accrued to but
 excluding the Effective Date and to [the][the relevant] Assignee for amounts which have accrued
 from and after the Effective Date.

 3.      General Provisions. This Assignment and Assumption shall be binding upon, and inure to
 the benefit of, the parties hereto and their respective successors and assigns. This Assignment and
 Assumption may be executed in any number of counterparts, which together shall constitute one
 instrument. Delivery of an executed counterpart of a signature page of this Assignment and
 Assumption by telecopy shall be effective as delivery of a manually executed counterpart of this
 Assignment and Assumption. This Assignment and Assumption shall be governed by, and
 construed in accordance with, the law of the State of New York without regard to conflict of law
 principles thereof (other than Sections 5-1401 and 5-1402 of the New York General Obligations
 Law).




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                                                           ANNEX I

                                                           Milestones

 The DIP Orders shall expressly authorize and require the Borrowers to comply with the following
 milestones (collectively, the “Milestones”), which may be extended from time to time with the consent of
 the Administrative Agent (in its sole discretion).

 1.        On or before [September 22, 2021]1, the Final DIP Order authorizing and approving the Facility
 and the transactions contemplated thereby, in form and substance satisfactory to the Required Lenders shall
 have been entered by the Bankruptcy Court;

 2.       On or before November 30, 2021, the Borrowers shall have filed a motion seeking entry of an
 order (the “Bidding Procedures Order”) approving the Sale Process and including the Acceptable Sale
 Provisions and an asset purchase agreement in form and substance acceptable to the Required Lenders;

 4.       On or before December 21, 2021, the Bidding Procedures Order shall have been approved by order
 of the Bankruptcy Court, in form and substance acceptable to the Required Lenders;

 5.        On or before February 10, 2022, an auction (to the extent necessary) for the sale of substantially
 all of the Borrowers’ assets shall have occurred in accordance with the requirements for the Sale Process
 (as defined below), including, without limitation, the Acceptable Sale Provisions (such process, the
 “Auction”);

 6.      On or before February 15, 2022, the Bankruptcy Court shall have approved the results of the
 Auction and an agreement or agreements for the sale of the assets (the “Approved Sale(s)”), which order
 and agreements shall be in form and substance acceptable to the Required Lenders;

 7.     The Approved Sale(s) shall be consummated within 2 days of Bankruptcy Court approval of such
 Approved Sale(s);

 “Sale Process” shall mean the implementation of bidding and sale procedures in respect of all of the
 Borrowers’ assets and property, approved by an order of the Bankruptcy Court, in form and substance
 acceptable to the Administrative Agent at the direction of the Required Lenders in all respects, and which
 at a minimum includes compliance with the Acceptable Sale Provisions and the Milestones.




 1
     21 days after the Closing Date of the DIP facility.


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                              Exhibit 2

                             BUDGET
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Agilon Energy Holdings II LLC
13 Week Cash Flow Forecast Update
Week 4 through Week 16


                                                           Forecast           Forecast            Forecast           Forecast           Forecast           Forecast          Forecast            Forecast       Forecast       Forecast      Forecast        Forecast       Forecast          Forecast
                                  Week ending Sunday       9/26/2021          10/3/2021          10/10/2021         10/17/2021         10/24/2021         10/31/2021         11/7/2021          11/14/2021     11/21/2021     11/28/2021     12/5/2021      12/12/2021     12/19/2021          TOTAL
                                             Week           Week 4             Week 5             Week 6             Week 7             Week 8             Week 9            Week 10             Week 11        Week 12        Week 13       Week 14         Week 15        Week 16           13 Weeks

 Receipts
 Total NET Receipts                                    $      489,958     $             -    $             -    $             -    $             -    $       813,526    $           -      $           -              -          560,621            -              -              -      $    1,864,105

     Fuel Supply                                              (288,055)                 -                  -                  -                  -           (532,190)               -                  -              -         (466,789)           -              -              -           (1,287,034)
     Other Variable Costs                                      (34,608)                 -                  -                  -                  -            (44,392)               -                  -              -          (39,216)           -              -              -             (118,216)
   Total Variable Costs                                       (322,663)                 -                  -                  -                  -           (576,582)               -                  -              -         (506,005)           -              -              -           (1,405,250)
 Gross Margin                                                 167,294                   -                  -                  -                  -            236,944                -                  -              -           54,616            -              -              -             458,855
 Disbursements
     Gas Transport (Kinder for VC)                                   -                -                    -                -                    -                  -                -                  -              -              -              -              -              -                 -
     Gas Transport (Tennessee for VP)                                -            (26,000)                 -                -                    -                  -            (13,000)               -              -              -          (13,000)           -              -             (52,000)
     Gas Transport (Victoria Midstream)                              -            (37,716)                 -                -                    -                  -            (37,716)               -              -              -          (37,716)           -              -            (113,148)
     Water                                                           -            (11,000)                 -                -                    -                  -            (11,000)               -              -              -          (11,000)           -              -             (33,000)
     IntelleTrace Communications                                     -                -                    -             (5,813)                 -                  -                -               (5,813)           -              -              -              -           (5,813)          (17,439)
   Total Fixed Costs                                                 -            (74,716)                 -             (5,813)                 -                  -            (61,716)            (5,813)           -              -          (61,716)           -           (5,813)         (215,587)
     Telecommunications                                            -                  -                 (600)               -                  -                  -                 (600)               -              -              -             (600)           -              -               (1,800)
     Insurance                                                     -                  -                  -                  -                  -                  -                  -                  -              -              -              -              -              -                  -
     Permit Fees                                                   -                  -                  -                  -                  -              (50,000)               -                  -              -              -              -              -              -              (50,000)
     Energy Management (QSE) Costs                                 -                  -                  -                  -                  -                  -              (20,000)               -              -              -          (20,000)           -              -              (40,000)
     Plant Management                                              -             (136,331)               -                  -                  -                  -             (136,331)               -              -              -         (111,331)           -              -             (383,994)
     Asset Management                                              -              (55,000)               -                  -                  -                  -              (55,000)               -              -              -          (55,000)           -              -             (165,000)
     Contract Employee                                             -                  -                  -               (6,500)               -                  -                  -                  -           (6,500)           -              -              -           (6,500)           (19,500)
     Plant Rent/Lease                                              -              (23,617)               -                  -                  -                  -              (23,617)               -              -              -          (23,617)           -              -              (70,851)
     Utility Electricity                                           -               (8,808)               -                  -                  -                  -               (8,808)               -              -              -           (8,808)           -              -              (26,425)
     Property Tax/Franchise Tax                                    -                  -                  -                  -                  -                  -                  -                  -              -              -              -              -              -                  -
     Waste/Trash                                                   -                 (550)               -                  -                  -                  -                 (550)               -              -              -             (550)           -              -               (1,650)
     Plant Maintenance                                         (14,417)           (14,417)           (14,417)            (9,612)            (9,612)            (9,612)            (9,612)            (9,612)        (9,612)        (4,806)           -              -              -             (105,727)
     Other NAES Expenses                                        (6,925)               -                  -                  -                  -               (6,925)               -                  -              -           (2,175)           -              -              -              (16,025)
     Other Expenses                                            (15,000)           (15,000)           (15,000)           (15,000)           (15,000)           (15,000)           (15,000)           (15,000)       (15,000)       (15,000)       (15,000)       (15,000)       (15,000)          (195,000)
   Total Other Disbursements                                   (36,342)          (253,724)           (30,017)           (31,112)           (24,612)           (81,537)          (269,518)           (24,612)       (31,112)       (21,981)      (234,907)       (15,000)       (21,500)        (1,075,972)
 Total Operating Disbursements                                 (36,342)          (328,440)           (30,017)           (36,925)           (24,612)           (81,537)          (331,234)           (30,425)       (31,112)       (21,981)      (296,623)       (15,000)       (27,313)        (1,291,559)
 Operating Cash Flow                                          130,952            (328,440)           (30,017)           (36,925)           (24,612)           155,408           (331,234)           (30,425)       (31,112)        32,635       (296,623)       (15,000)       (27,313)         (832,704)




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Agilon Energy Holdings II LLC
13 Week Cash Flow Forecast Update
Week 4 through Week 16


                                                          Forecast       Forecast        Forecast       Forecast       Forecast       Forecast      Forecast        Forecast       Forecast       Forecast      Forecast        Forecast       Forecast      Forecast
                                     Week ending Sunday   9/26/2021      10/3/2021      10/10/2021     10/17/2021     10/24/2021     10/31/2021     11/7/2021      11/14/2021     11/21/2021     11/28/2021     12/5/2021      12/12/2021     12/19/2021      TOTAL
                                                 Week      Week 4         Week 5         Week 6         Week 7         Week 8         Week 9        Week 10         Week 11        Week 12        Week 13       Week 14         Week 15        Week 16       13 Weeks
 Major Project Outlays
     GE Turbine Repair                                            -              -         (212,000)           -              -              -              -              -              -              -              -              -              -         (212,000)
     RATA Testing                                                 -              -              -              -              -              -              -              -              -              -              -              -              -              -
     Other repair/maintenance                                     -              -         (100,000)           -              -              -         (250,000)           -              -              -              -              -              -         (350,000)
     Major Project Outlays                                        -              -         (312,000)           -              -              -         (250,000)           -              -              -              -              -              -         (562,000)
 Controllable Costs (per Credit Agmt)                         (36,342)      (328,440)      (342,017)       (36,925)       (24,612)       (81,537)      (581,234)       (30,425)       (31,112)       (21,981)      (296,623)       (15,000)       (27,313)    (1,853,559)

 Net Operating Cash Flow                                     130,952        (328,440)      (342,017)       (36,925)       (24,612)       155,408       (581,234)       (30,425)       (31,112)        32,635       (296,623)       (15,000)       (27,313)    (1,394,704)
 Non-Recurring Expense
     Collateral - Gas                                               -              -              -              -              -              -            -              -              -              -              -              -              -               -
     Collateral - QSE                                               -              -              -              -              -              -            -              -              -              -              -              -              -               -
     Other Non-recurring expense                                    -              -              -              -              -              -            -              -              -              -              -              -              -               -
   Non-Recurring Expense                                            -              -              -              -              -              -            -              -              -              -              -              -              -               -

 Restructuring Costs
      Lender Advisors (Legal and FA)                         (345,000)           -                -              -            -         (345,000)           -              -              -         (235,000)           -              -              -         (925,000)
      Grant Thornton (FA)                                    (136,000)           -                -              -            -          (32,000)           -              -              -          (24,000)           -              -              -         (192,000)
      Locke Lord (Legal)                                     (200,000)           -                -              -            -         (144,000)           -              -              -         (120,000)           -              -              -         (464,000)
      Porter Hedges (Legal - conflict counsel)                    -          (40,000)             -              -            -          (64,000)           -              -              -          (64,000)           -              -              -         (168,000)
      Hugh Smith Associates (CRO)                             (29,200)           -                -              -            -          (29,200)           -              -              -          (29,200)           -              -              -          (87,600)
      ERM Capital (IB)                                            -          (28,000)             -              -            -          (24,750)           -              -              -          (24,750)           -              -              -          (77,500)
      UCC Advisors                                           (140,000)           -                -              -            -         (140,000)           -              -              -         (140,000)           -              -              -         (420,000)
      US Trustee                                                  -              -                -              -        (38,365)           -              -              -              -              -              -              -              -          (38,365)
      Claims Agent                                            (40,000)           -                -              -            -          (10,000)           -              -              -          (10,000)           -              -              -          (60,000)
      Other                                                       -              -                -              -            -              -              -              -                             -              -              -              -              -
      Restructuring Costs                                    (890,200)       (68,000)             -              -        (38,365)      (788,950)           -              -              -         (646,950)           -              -              -       (2,432,465)

 Net Cash Flow before DIP Financing                          (759,248)      (396,440)      (342,017)       (36,925)       (62,976)      (633,542)      (581,234)       (30,425)       (31,112)      (614,315)      (296,623)       (15,000)       (27,313)    (3,827,169)

 Beginning Cash                                             1,068,625        309,377        412,937         70,920        533,996        471,019        637,477         56,243        825,818        794,707        480,392        183,769        468,769      1,068,625
     Net Change in Cash                                      (759,248)      (396,440)      (342,017)       (36,925)       (62,976)      (633,542)      (581,234)       (30,425)       (31,112)      (614,315)      (296,623)       (15,000)       (27,313)    (3,827,169)
     Interim DIP Draw (Repayment)                                 -              -              -              -              -              -              -              -              -              -              -              -              -              -
     New DIP Draw (Repayment)                                     -          500,000            -          500,000            -          800,000            -          800,000            -          300,000            -          300,000            -        3,200,000
 Ending Cash Balance                                          309,377        412,937         70,920        533,996        471,019        637,477         56,243        825,818        794,707        480,392        183,769        468,769        441,456        441,456




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Agilon Energy Holdings II LLC
13 Week Cash Flow Forecast Update
Week 4 through Week 16


                                                                     Forecast         Forecast         Forecast        Forecast        Forecast        Forecast        Forecast        Forecast        Forecast        Forecast        Forecast        Forecast        Forecast       Forecast
                                         Week ending Sunday         9/26/2021        10/3/2021        10/10/2021      10/17/2021      10/24/2021      10/31/2021      11/7/2021       11/14/2021      11/21/2021      11/28/2021      12/5/2021       12/12/2021      12/19/2021       TOTAL
                                                     Week            Week 4           Week 5           Week 6          Week 7          Week 8          Week 9          Week 10         Week 11         Week 12         Week 13         Week 14         Week 15         Week 16        13 Weeks
      Beginning DIP Balance                                           4,508,625        4,508,625        5,008,625       5,008,625       5,508,625       5,508,625       6,308,625       6,308,625       7,108,625       7,108,625       7,408,625       7,408,625       7,708,625       4,508,625
          Interim DIP Rollover plus cash interest                           -                -                -               -               -               -               -               -               -               -               -               -               -               -
          DIP Draw/(Paydown)                                                -            500,000              -           500,000             -           800,000             -           800,000             -           300,000             -           300,000             -         3,200,000
          Agency Fee                                                        -                -                -               -               -               -               -               -               -               -               -               -               -               -
      Ending DIP Balance                                              4,508,625        5,008,625        5,008,625       5,508,625       5,508,625       6,308,625       6,308,625       7,108,625       7,108,625       7,408,625       7,408,625       7,708,625       7,708,625       7,708,625

DIP Availability
  DIP Commitment                                                    $ 15,000,000     $ 15,000,000     $ 15,000,000    $ 15,000,000    $ 15,000,000    $ 15,000,000    $ 15,000,000    $ 15,000,000    $ 15,000,000    $ 15,000,000    $ 15,000,000    $ 15,000,000    $ 15,000,000
  Less: Outstanding Borrowings                                        (4,508,625)      (5,008,625)      (5,008,625)     (5,508,625)     (5,508,625)     (6,308,625)     (6,308,625)     (7,108,625)     (7,108,625)     (7,408,625)     (7,408,625)     (7,708,625)     (7,708,625)
Ending Availability                                                 $ 10,491,375      $ 9,991,375      $ 9,991,375     $ 9,491,375     $ 9,491,375     $ 8,691,375     $ 8,691,375     $ 7,891,375     $ 7,891,375     $ 7,591,375     $ 7,591,375     $ 7,291,375     $ 7,291,375

DIP Lender Claim
  DIP Borrowings                                                       4,508,625        5,008,625        5,008,625       5,508,625       5,508,625       6,308,625       6,308,625       7,108,625       7,108,625       7,408,625       7,408,625       7,708,625       7,708,625
  Add: Accrued Interest                                                   25,435           34,200           42,966          52,606          62,246          73,286          84,326          96,766         109,206         122,171         135,136         148,626         162,117
  Add: Commitment Fee                                                    300,000          300,000          300,000         300,000         300,000         300,000         300,000         300,000         300,000         300,000         300,000         300,000         300,000
  Add: Unused Fee                                                          1,705            2,677            3,648           4,571           5,494           6,339           7,184           7,951           8,718           9,456          10,194          10,903          11,612
Total DIP Lender Claim                                               $ 4,835,766      $ 5,345,502      $ 5,355,239     $ 5,865,801     $ 5,876,364     $ 6,688,249     $ 6,700,134     $ 7,513,342     $ 7,526,549     $ 7,840,252     $ 7,853,955     $ 8,168,154     $ 8,182,353

Liquidity
   Ending Cash Balance                                                   309,377          412,937           70,920         533,996         471,019         637,477          56,243         825,818         794,707         480,392         183,769         468,769         441,456
   DIP Availability                                                   10,491,375        9,991,375        9,991,375       9,491,375       9,491,375       8,691,375       8,691,375       7,891,375       7,891,375       7,591,375       7,591,375       7,291,375       7,291,375
Total Liquidity                                                     $ 10,800,752     $ 10,404,312     $ 10,062,295    $ 10,025,371     $ 9,962,394     $ 9,328,852     $ 8,747,618     $ 8,717,193     $ 8,686,082     $ 8,071,767     $ 7,775,144     $ 7,760,144     $ 7,732,831

DIP Roll-Up (1x)
     Interim Roll-Up Loan                                                    -                -                -               -               -               -               -               -               -               -               -               -               -
     Final Roll-Up Loan                                                9,000,000              -                -               -               -               -               -               -               -               -               -               -               -
Total Roll-Up Loans                                                   15,000,000       15,000,000       15,000,000      15,000,000      15,000,000      15,000,000      15,000,000      15,000,000      15,000,000      15,000,000      15,000,000      15,000,000      15,000,000
     DIP Commitment Balance                                           15,000,000       15,000,000       15,000,000      15,000,000      15,000,000      15,000,000      15,000,000      15,000,000      15,000,000      15,000,000      15,000,000      15,000,000      15,000,000
Secured Superpriority DIP Outstanding                               $ 30,000,000     $ 30,000,000     $ 30,000,000    $ 30,000,000    $ 30,000,000    $ 30,000,000    $ 30,000,000    $ 30,000,000    $ 30,000,000    $ 30,000,000    $ 30,000,000    $ 30,000,000    $ 30,000,000
                                  1
Memo: Total Accrued Interest                                            $ 83,185        $ 118,200       $ 153,216       $ 189,106       $ 224,996       $ 262,286       $ 299,576       $ 338,266       $ 376,956       $ 416,171       $ 455,386       $ 495,126       $ 524,367
(1)
      Cumulative accrued interest on both outstanding DIP borrowings and prepetition roll-up amount




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